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                                                                                                                      Current Priority   Current Secured                         Current Admin    Total Current
              Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                            Admin Priority
                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                    Amount
MANLEY'S RECYCLING INC
503 MILL ST
MIDDLEPORT, OH 45760                               1      6/12/2013    Exide Technologies, LLC            $6,886.80              $0.00                                                                 $6,886.80
SUPER SERVICE LLC
6000 CLAY AVE
GRAND RAPIDS, MI 49548                             2      6/13/2013    Exide Technologies, LLC           $22,054.10                                                                                   $22,054.10
GENERAL ALLOYS INC
135 W WYLIE AVE
WASHINGTON, PA 15301                               3      6/14/2013    Exide Technologies, LLC            $2,924.16                                                                                    $2,924.16
SCHNEIDER NATIONAL INC
ATTN CREDIT DEPARTMENT
3101 S PACKERLAND DR
GREEN BAY, WI 54313                                4      6/14/2013    Exide Technologies, LLC           $10,229.79                                                                                   $10,229.79
EARTHLINK BUSINESS FDBA ONE COMMUNICATIONS
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 5126
TIMONIUM, MD 21094                                 5      6/14/2013    Exide Technologies, LLC              $400.07                                                                                      $400.07
FILLMORE AUTOMOTIVE
6088 ARSENAL ST
ST LOUIS, MO 63139                                 6      6/14/2013    Exide Technologies, LLC            $2,475.67                                                                                    $2,475.67
ITW DELPRO
18531 SPRING CREEK DR
TINLEY PARK, IL 60477-6239                         7      6/14/2013    Exide Technologies, LLC            $9,834.73                                                                                    $9,834.73
EAST PENN MANUFACTURING CO INC
PO BOX 147 DEKA RD
LYON STATION, PA 19536-0147                        8      6/14/2013    Exide Technologies, LLC                                                                          $0.00                              $0.00
FERRO MAGNETICS CORPORATION
C/O POLSINELLI PC
ATTN SHANTI M KATONA
222 DELAWARE AVE STE 1101
WILMINGTON, DE 19801                               9      6/11/2013    Exide Technologies, LLC                                                                          $0.00                              $0.00
BRENTWOOD INDUSTRIES INC
ATTN JASON BAUDER, CREDIT & COLLECTION MGR
PO BOX 605
READING, PA 19603-0605                             10     6/14/2013    Exide Technologies, LLC                                   $0.00                                  $0.00                              $0.00
FREDERICK SWANSTON INC
ATTN TERESA WARTHEN
11800 AMBERPARK DR STE 100
ALPHARETTA, GA 30009                               11     6/15/2013    Exide Technologies, LLC           $20,225.00                                                                                   $20,225.00
DALLAS COUNTY
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN ELIZABETH WELLER
2323 BRYAN ST STE 1600
DALLAS, TX 75201                                   12     6/15/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
COPPELL ISD
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN ELIZABETH WELLER
2323 BRYAN ST STE 1600
DALLAS, TX 75201                                   13     6/15/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00


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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                         Amount                                                        Amount
CITY OF FRISCO
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN ELIZABETH WELLER
2323 BRYAN ST STE 1600
DALLAS, TX 75201                                      14     6/15/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BEXAR COUNTY
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN DAVID G AELVOET
711 NAVARRO STE 300
SAN ANTONIO, TX 78205                                 15     6/15/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BENNINGTON OIL CO INC
202 N ROCK ST
MINNEAPOLIS, KS 67467-2400                            16     6/17/2013    Exide Technologies, LLC           $23,132.30                                                                                       $23,132.30
OMNI WHOLESALE EQUIPMENT INC
DBA OMNI INDUSTRIAL TIRE
PO BOX 1976
BOERNE, TX 78006-6976                                 17     6/17/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RED E PRINT
101 E 5TH ST STE 211
ST PAUL, MN 55101                                     18     6/17/2013    Exide Technologies, LLC            $4,976.85                                                                                        $4,976.85
LUBBOCK CENTRAL APPRAISAL DISTRICT
C/O PERDUE BRANDON FIELDER COLLINS & MOTT LLP
ATTN LAURA J MONROE
PO BOX 817
LUBBOCK, TX 79408                                     19     6/17/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
MINE EQUIPMENT & DESIGN LLC
6295 DRY FORK RD
CLEVES, OH 45061                                      20     6/17/2013    Exide Technologies, LLC            $2,148.75                                                                                        $2,148.75
FRASIER TRANSPORT INC
8171 E EXECUTIVE AVE
NAMPA, ID 83687                                       21     6/17/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HARRIS MACHINE & TOOL INC
158 WARE RD
PHENIX CITY, AL 36869                                 22     6/18/2013    Exide Technologies, LLC            $6,546.00                  $0.00                              $1,295.00                          $7,841.00
ADVANCED GEOSERVICES CORP
ATTN L PERANTEAU
1055 ANDREW DR STE A
WEST CHESTER, PA 19380                                23     6/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KELLY SCOTT & MADISON INC
303 E WACKER DR 8TH FL
CHICAGO, IL 60601                                     24     6/18/2013    Exide Technologies, LLC           $29,461.00                                                                                       $29,461.00
FERRELLGAS INC
ONE LIBERTY PLAZA MD#40
LIBERTY, MO 64068                                     25     6/17/2013    Exide Technologies, LLC            $8,456.73                                                                                        $8,456.73
SEIBEL MODERN MFG & WELDING CORP
C/O HODGSON RUSS LLP
ATTN CRAIG T LUTTERBEIN
THE GUARANTY BLDG
140 PEARL ST STE 100
BUFFALO, NY 14202-4040                                26     6/18/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00

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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
HUDSON EXTRUSIONS INC
PO BOX 255
HUDSON, OH 44236                                 27     6/19/2013    Exide Technologies, LLC             $5,455.51                                                                                      $5,455.51
AVAYA INC
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 361345
COLUMBUS, OH 43236-1345                          28     6/20/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SOUTHWESTERN ELECTRICAL CO INC
1638 E FIRST ST
WICHITA, KS 67214                                29     6/20/2013    Exide Technologies, LLC            $61,673.00                                                  $69,468.36                        $131,141.36
ROUTE 51 AUTO & TRUCK PARTS LLC
C/O WATSON MUNDORFF BROOK & SEPIC LLP
ATTN TIMOTHY J WITT, ESQ
720 VANDERBILT RD
CONNELLSVILLE, PA 15425                          30     6/20/2013    Exide Technologies, LLC            $14,050.40                                                   $5,301.49                         $19,351.89
JMC SERVICES INC
C/O JMC ELECTRIC
3407 MERRIAM DR
OCERLAND PARK, KS 66203                          31     6/20/2013    Exide Technologies, LLC             $1,050.00                                                     $125.67                          $1,175.67
SECURITY GUARDS INC
600 PARK RD N
PO BOX 6283
WYOMISSING, PA 19610                             32     6/20/2013    Exide Technologies, LLC            $31,519.81                 $0.00                                 $0.00                         $31,519.81
PRAXAIR INC
ATTN TRACEY BOUTOT, CREDIT MANAGER
39 OLD RIDGEBURY RD
DANBURY, CT 06810-5113                           33     6/20/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
OLYMPIC FOREST PRODUCTS CO
2200 CARNEGIE AVE
CLEVELAND, OH 44115                              34     6/20/2013    Exide Technologies, LLC           $115,080.66                                                  $34,819.70                        $149,900.36
FMC CORPORATION
C/O CURTIN & HEEFNER LLP
ATTN ROBERT SZWAJKOS, ESQ
250 N PENNSYLVANIA AVE PO BOX 217
MORRISVILLE, PA 19067                            35     6/20/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
ENGINEERED PLASTIC PRODUCTS INC
269 MERCER ST
PO BOX 196
STIRLING, NJ 07980                               36     6/21/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ENGINEERING SOLUTIONS INC
1401 S 950 W
ANDERSON, IN 46012                               37     6/21/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
DOUGLAS WELDING & MACHINE INC
ATTN LEEROY DOUGLAS
116 W MAIN
KIPP-SALINA, KS 67401                            38     6/21/2013    Exide Technologies, LLC            $10,800.00                 $0.00                                                               $10,800.00
DELBERT M DAWSON & SON INC
1405 W KILGORE AVE
MUNCIE, IN 47305-2134                            39     6/21/2013    Exide Technologies, LLC             $5,950.00                                                                                      $5,950.00


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
ADAIR PRINTING COMPANY INC
7850 SECOND ST
DEXTER, MI 48130                                 40     6/21/2013    Exide Technologies, LLC            $12,288.45                                                       $0.00                         $12,288.45
UNITED RENTALS (NORTH AMERICA) INC
3200 HARBOR LN N
MINNEAPOLIS, MN 55447                            41     6/21/2013    Exide Technologies, LLC              $203.85                                                                                         $203.85
UNITED RENTALS (NORTH AMERICA) INC
3200 HARBOR LN N
MINNEAPOLIS, MN 55447                            42     6/21/2013    Exide Technologies, LLC             $2,337.83                                                                                      $2,337.83
MCTEL CO INC
11841 SW KERNS RD
STEWARTSVILLE, MO 64490                          43     6/21/2013    Exide Technologies, LLC              $684.60                                                      $275.00                            $959.60
CENTRAL INDUSTRIAL CONTRACTORS INC
1000 N PARK AVE
MARION, IN 46952                                 44     6/21/2013    Exide Technologies, LLC             $3,447.00                                                                                      $3,447.00
WIESE USA INC
1435 WOODSON RD
ST LOUIS, MO 63132                               45     6/21/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
DUNHAM RUBBER & BELTING CORP
PO BOX 47249
INDIANAPOLIS, IN 46247-0249                      46     6/21/2013    Exide Technologies, LLC             $2,157.50                                                                                      $2,157.50
NCB COMMODITIES INC
PO BOX 3338
3340 CONCORD RD
YORK, PA 17402                                   47     6/21/2013    Exide Technologies, LLC           $105,425.46                                                       $0.00                        $105,425.46
CBM TRADING INC
601 AYRES PROGRESS DR
WILTON, IA 52778                                 48     6/21/2013    Exide Technologies, LLC             $9,569.92                                                                                      $9,569.92
MCMASTER-CARR SUPPLY COMPANY
PO BOX 4355
CHICAGO, IL 60680                                49     6/21/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
ANXE BUSINESS CORP
2000 TOWN CTR STE 2050
SOUTHFIELD, MI 48075                             50     6/21/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
WIESE USA INC
1435 WOODSON RD
ST LOUIS, MO 63132                               51     6/20/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
DELL MARKETING LP
C/O STREUSAND LANDON OZBURN LLP
ATTN SABRINA L STREUSAND
811 BARTON SPRINGS RD STE 811
AUSTIN, TX 78704                                 52     6/21/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
STAPLES INC
ATTN DANEEN KASTANEK
300 ARBOR LAKE DR
COLUMBIA, SC 29223                               53     6/18/2013    Exide Technologies, LLC            $31,776.92                                                                                     $31,776.92
OLYMPIC TELEPHONE INC
2803 29TH AVE SW
TUMWATER, WA 98512                               54     6/18/2013    Exide Technologies, LLC             $1,927.93                                                                                      $1,927.93


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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
SUPERIOR PLUMBING
1645 COPPER CT
SALINA, KS 67401                                   55     6/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SUPERIOR PLUMBING
1645 COPPER CT
SALINA, KS 67401                                   56     6/20/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
XPEDX A DIVISION OF INTERNATIONAL PAPER
5786 COLLETT RD
FARMINGTON, NY 14425-9536                          57     6/18/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
MACALLISTER MACHINERY CO INC
PO BOX 660200
INDIANAPOLIS, IN 46266                             58     6/17/2013    Exide Technologies, LLC           $138,938.26                                                                                     $138,938.26
PRECISION CABLE ASSEMBLIES INC
16830 PHEASANT DR
BROOKFIELD, WI 53005                               59     6/22/2013    Exide Technologies, LLC            $73,286.00                                                    $9,130.70                         $82,416.70
STALCOP LLC
C/O COFACE NORTH AMERICA INSURANCE COMPANY
50 MILLSTONE RD BLDG 100 STE 360
EAST WINDSOR, NJ 08520                             60     6/22/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
PIERCE COUNTY BUDGET & FINANCE
ATTN ALLEN RICHARDSON
615 S 9TH ST STE 100
TACOMA, WA 98405                                   61     6/22/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
PIERCE COUNTY BUDGET & FINANCE
ATTN ALLEN RICHARDSON
615 S 9TH ST STE 100
TACOMA, WA 98405                                   62     6/22/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
P & K RIVERSIDE TRACTOR INC
(P & K EQUIPMENT INC)
102 S VAN BUREN
ENID, OK 73703                                     63     6/22/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
NORTHERN STATES POWER CO A MINNESOTA CORP
DBA XCEL ENERGY
3215 COMMERCE ST
LA CROSSE, WI 54603                                64     6/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
AUTOMATIONDIRECT.COM INC
3505 HUTCHINSON RD
CUMMING, GA 30040                                  65     6/22/2013    Exide Technologies, LLC             $3,819.25                                                                                       $3,819.25
AUTOMATIONDIRECT.COM INC
3505 HUTCHINSON RD
CUMMING, GA 30040                                  66     6/22/2013    Exide Technologies, LLC             $8,648.66                                                    $2,419.00                         $11,067.66
CITY OF EL PASO
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN DAVID G AELVOET
711 NAVARRO STE 300
SAN ANTONIO, TX 78205                              67     6/22/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
AUTOMATION PRODUCTS & DESIGN INC
ATTN LYLE HAUG
26511 S SOUTHLAKE DR
HARRISONVILLE, MO 64701                            68     6/24/2013    Exide Technologies, LLC             $6,326.39                                                                                       $6,326.39

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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                         Amount                                                        Amount
COMBUSTION SYSTEMS CO INC
ATTN KEVIN HART
5701 W MINNESOTA ST
INDIANAPOLIS, IN 46241                                69     6/24/2013    Exide Technologies, LLC           $36,011.81                                                     $3,244.47                         $39,256.28
PSC ENVIRONMENTAL SERVICES LLC
C/O PSC LLC
ATTN JESSICA BELTRAN
5151 SAN FELIPE STE 1600
HOUSTON, TX 77056                                     70     6/24/2013    Exide Technologies, LLC           $44,036.36                                                                                       $44,036.36
CINTAS
7700 BENT BRANCH DR STE 130
IRVING, TX 75063                                      71     6/24/2013    Exide Technologies, LLC            $8,760.63                                                     $1,198.60                          $9,959.23
MID-STATES SUPPLY COMPANY INC
ATTN KATRINA CROUCH
1716 GUINOTTE AVE
KANSAS CITY, MO 64120                                 72     6/24/2013    Exide Technologies, LLC            $2,143.10                                                     $2,318.92                          $4,462.02
NORTHWEST FIRE PROTECTION INC
2430 S VICKSBURG
FT SMITH, AR 72901                                    73     6/24/2013    Exide Technologies, LLC            $9,241.58                  $0.00                                                                 $9,241.58
HILL MANUFACTURING COMPANY INC
ATTN KEVIN LEVITAS
1500 JONESBORO RD SE
ATLANTA, GA 30315                                     74     6/24/2013    Exide Technologies, LLC              $192.60                                                                                          $192.60
ANTIBUS SCALES & SYSTEMS INC
4809 ILLINOIS RD
FORT WAYNE, IN 46804                                  75     6/24/2013    Exide Technologies, LLC              $525.00                                                                                          $525.00
CROWN EQUIPMENT CORPORATION
ATTN RODNEY J HINDERS, ESQ
102 S WASHINGTON ST
NEW BREMEN, OH 45869                                  76     6/25/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
HUSCH BLACKWELL LLP
ATTN GARY L VINCENT, ESQ
190 CARONDELET PLAZA STE 600
ST LOUIS, MO 63105                                    77     6/24/2013    Exide Technologies, LLC           $14,752.28                                                                                       $14,752.28
3M COMPANY
ATTN ALAN BROWN, SPECIAL COUNSEL
3M CENTER 220-9E-02
ST PAUL, MN 55144                                     78     6/24/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TN DEPT OF LABOR & WORKFORCE DEV-BOILER/
ELEVATOR DIV
C/O TN ATTY GENERAL, BANKRUPTCY DIV
PO BOX 20207
NASHVILLE, TN 37202-0207                              79     6/24/2013    Exide Technologies, LLC              $120.00                                                                                          $120.00
SPRING BRANCH INDEPENDENT SCHOOL DISTRICT
C/O PERDUE BRANDON FIELDER COLLINS & MOTT LLP
ATTN OWEN M SONIK
1235 NORTH LOOP WEST STE 600
HOUSTON, TX 77008                                     80     6/24/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00



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                                                                                                      Amount                                                       Amount
ALLIANCE ONE LLC
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE ROAD EAST SUITE 2005
PRINCETON, NJ 08540                                81     6/26/2013    Exide Technologies, LLC           $48,600.00                                                    $2,500.00                         $51,100.00
SALSON LOGISTICS INC
888 DOREMUS AVE
NEWARK, NJ 07114                                   82     6/26/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SUMEEKO LTD
41400 EXECUTIVE DR
HARRISON TWP, MI 48045                             83     6/26/2013    Exide Technologies, LLC           $44,550.00                  $0.00                            $21,330.00                         $65,880.00
FDL FASTENERS
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE ROAD EAST, STE 2005
PRINCETON, NJ 08540                                84     6/26/2013    Exide Technologies, LLC           $34,583.44                                                    $1,861.00                         $36,444.44
SILKROAD TECHNOLOGY INC
ATTN JACQUIE WEAKLAND
102 W THIRD ST STE 250
WINSTON-SALEM, NC 27101                            85     6/26/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
HAYLEX MANUFACTURING LLC
PO BOX 2608
MUNCIE, IN 47307                                   86     6/27/2013    Exide Technologies, LLC            $9,222.00                                                                                       $9,222.00
KROFF CHEMICAL COMPANY
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE ROAD EAST, STE 2005
PRINCETON, NJ 08540                                87     6/27/2013    Exide Technologies, LLC           $25,074.00                                                                                      $25,074.00
PROLOGIKA LLC
5325 SPALDING BRIDGE CT
NORCROSS, GA 30092                                 88     6/27/2013    Exide Technologies, LLC            $8,675.00                                                                                       $8,675.00
ACE AUTO RECYCLERS INC
2752 S RIVERSIDE DR
IOWA CITY, IA 52246                                89     6/27/2013    Exide Technologies, LLC            $2,805.00                                                    $1,531.80                          $4,336.80
FRUITION PARTNERS INC
168 N CLINTON ST 6TH FL
CHICAGO, IL 60661                                  90     6/27/2013    Exide Technologies, LLC           $25,151.48                                                                                      $25,151.48
SERVICE TECH COOLING TOWERS
ATTN MR KELLY BOYD, CEO
801 S 29TH ST
CHICKASHA, OK 73018                                91     6/27/2013    Exide Technologies, LLC           $26,789.79                                                                                      $26,789.79
CUNNINGHAM BROTHERS USED AUTO
ATTN SETH BIGHAM
10980 WARDS RD
RUSTBURG, VA 24588                                 92     6/27/2013    Exide Technologies, LLC            $7,770.00                                                                                       $7,770.00
CENTRIFUGAL CASTINGS
ATTN DWYN VON BEREGHY
136 E WALKER ST
MILWAUKEE, WI 53204                                93     6/27/2013    Exide Technologies, LLC            $9,202.10                                                    $1,961.37                         $11,163.47
VORTEX DOORS
ATTN MICHELLE CRECELIUS
3198-M AIRPORT LOOP DR
COSTA MESA, CA 92626-3407                          94     6/27/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00

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                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
IQTV INC (DBA IQ INTERACTIVE)
280 INTERSTATE NORTH CIRCLE STE 300
ATLANTA, GA 30339                                      95     6/27/2013    Exide Technologies, LLC           $216,626.00                                                                                     $216,626.00
THE DOE RUN RESOURCES CORPORATION
C/O POLSINELLI PC
ATTN CHRISTOPHER A WARD
222 DELAWARE AVE STE 1101
WILMINGTON, DE 19801                                   96     6/27/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
ADT SECURITY SERVICES INC
3190 S VAUGHN WAY STE 150
AURORA, CO 80014-3537                                  97     6/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                                  98     6/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ADT SECURITY SERVICES INC
14200 E. EXPOSITION AVENUE
AURORA, CO 80012                                       99     6/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAWSON PRODUCTS INC
8770 BRYN MAWR AVE
CREDIT ADMINISTRATION
CHICAGO, IL 60631                                     100     6/24/2013    Exide Technologies, LLC            $30,989.96                                                                                      $30,989.96
LAWSON PRODUCTS INC
8770 W BRYN MAWR
CHICAGO, IL 60631                                     101     6/24/2013    Exide Technologies, LLC              $204.37                                                     $6,100.85                          $6,305.22

METROPOLITAN EDISON COMPANY A FIRSTENERGY COMPANY
101 CRAWFORDS CORNER RD
HOLMDEL, NJ 07733-1900                                102     6/20/2013    Exide Technologies, LLC            $11,555.93                                                                                      $11,555.93
STATE OF NEBRASKA
TREASURER OF DOUGLAS COUNTY NEBRASKA
ATTN TIMOTHY K DOLAN, DEPUTY COUNTY ATTORNEY
909 CIVIC CENTER, 1819 FARNAM ST
OMAHA, NE 68183                                       103     6/25/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
MH EQUIPMENT CO
PO BOX 50
MOSSVILLE, IL 61552                                   104     6/28/2013    Exide Technologies, LLC             $5,304.37                                                                                       $5,304.37
OKLAHOMA COUNTY TREASURER
ATTN FORREST "BUTCH" FREEMAN
320 ROBERT S KERR RM 307
OKLAHOMA CITY, OK 73102                               105     6/28/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
USA HAULING & RECYCLING INC
PO BOX 808
EAST WINDSOR, CT 06088                                106     6/28/2013    Exide Technologies, LLC              $770.92                                                                                          $770.92
D & K TRUCK COMPANY
319 E NORTH ST
LANSING, MI 48906                                     107     6/28/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
PUBLIC SERVICE ELECTRIC AND GAS COMPANY
PSE&G
ATTN BANKRUPTCY DEPT
PO BOX 490
CRANFORD, NJ 07016                              108     6/28/2013    Exide Technologies, LLC             $6,456.34                                                                                      $6,456.34
SPARKS COMMERCIAL TIRE INC
PO BOX 177
FINDLAY, OH 45839                               109     6/28/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
NU-TECH INDUSTRIAL SALES INC
PO BOX 1177
BREA, CA 92822-1177                             110     6/28/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SHARPE SERVICE CO LLC
4703 16TH AVE
PHENIX CITY, AL 36867                           111     6/28/2013    Exide Technologies, LLC            $10,984.12                                                                                     $10,984.12
CHUNMAN YU
8920 MERION DR
DULUTH, GA 30097                                112     6/28/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
JB HUNT TRANSPORT INC
615 JB HUNT CORPORATE DR
LOWELL, AR 72745                                113     6/28/2013    Exide Technologies, LLC            $24,038.59                                                                                     $24,038.59
THE SYSTEM GROUP INC
C/O KEITH S SMARTT
PO BOX 869 B
MCMINNVILLE, TN 37111                           114     6/28/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
NORMA THOMAS FNA NORMA TIRINO
C/O LAW OFFICES OF ROBERT WASHUTA PC
ATTN ROBERT WASHUTA ESQ
11 BROADWAY STE 615
NEW YORK, NY 10004                              115     6/29/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CON-WAY FREIGHT
C/O RMS
PO BOX 5126
TIMONIUM, MD 21094                              116     6/29/2013    Exide Technologies, LLC            $14,622.86                                                                                     $14,622.86
PLANT PROJECTS INC
C/O DONALD DEBOISBLANC JR ESQ
410 S RAMPART ST
NEW ORLEANS, LA 70112                           117     6/29/2013    Exide Technologies, LLC             $6,850.00                                                                                      $6,850.00
SHERTEK INC
3000A SHAWNEE INDUSTRIAL WAY STE 110
SUWANEE, GA 30024                               118     6/29/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
AUL PIPE & TUBING INC
2701 S BONNIE BEACH PL
LOS ANGELES, CA 90058                           119     6/29/2013    Exide Technologies, LLC           $108,805.02                                                                                    $108,805.02
TRAY TRANSPORT
103 C ST
STATESVILLE, NC 28677                           120      7/1/2013    Exide Technologies, LLC             $1,847.50                                                                                      $1,847.50
ENVIROSAFE SERVICES OF OHIO INC
2300 COMPUTER AVE STE L61
WILLOW GROVE, PA 19090                          121      7/1/2013    Exide Technologies, LLC            $57,030.41                 $0.00                                 $0.00                         $57,030.41


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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                               Amount                                                        Amount
LIQUITECH INC
13520 W 107TH ST
LENEXA, KS 66215                                           122      7/1/2013    Exide Technologies, LLC             $11,670.27                                                   $4,218.86                         $15,889.13
ELECTROREP-ENERGY PRODUCTS INC
2121 SCHUETZ RD
ST LOUIS, MO 63146                                         123      7/1/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
RIG MASTERS INC
6601 HWY 565
MONTEREY, LA 71354                                         124      7/1/2013    Exide Technologies, LLC             $79,737.70                                                                                     $79,737.70
L & L SCRAP METALS RECYCLING INC
128 TEXAS RD
GALLIPOLIS, OH 45631                                       125      7/1/2013    Exide Technologies, LLC              $4,567.84                                                   $3,959.98                          $8,527.82
WHOLESALE ELECTRIC SUPPLY CO INC
803 S ROBISON RD
TEXARKANA, TX 75501                                        126      7/1/2013    Exide Technologies, LLC            $121,221.40                                                   $7,881.40                        $129,102.80
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF OLSON
PACKAGING SERVICES INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              127      7/2/2013    Exide Technologies, LLC                                                                          $4,332.15                          $4,332.15
OLSON PACKAGING SERVICES INC
1445 KNOX HWY 32
PO BOX 392
GALESBURG, IL 61402                                        127      7/2/2013    Exide Technologies, LLC              $3,806.92                                                                                      $3,806.92
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                        128      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                        129      7/2/2013    Exide Technologies, LLC                                                       $117.83                                                 $117.83
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                        130      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                        131      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                        132      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                        133      7/2/2013    Exide Technologies, LLC                                                       $108.27                                                 $108.27



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                                                                                                       Amount                                                        Amount
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                134      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                135      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                136      7/2/2013    Exide Technologies, LLC                                                       $109.30                                                 $109.30
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                137      7/2/2013    Exide Technologies, LLC                                                       $391.29                                                 $391.29
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                138      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                139      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                140      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                141      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                142      7/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
JESSE R BORDER DBA VIBTECH
PO BOX 2221
SINKING SPRING, PA 19608                           143      7/2/2013    Exide Technologies, LLC             $4,900.00                                                                                       $4,900.00
BAGHOUSE & INDUSTRIAL SHEET METAL SERVICES
1731 POMONA RD
CORONA, CA 92880                                   144      7/2/2013    Exide Technologies, LLC            $42,567.78                                                                                      $42,567.78
COVERALL OF EASTERN TENNESSEE
ATTN LAURA BURKE
109 S NORTHSHORE DR STE 300
KNOXVILLE, TN 37919                                145      7/2/2013    Exide Technologies, LLC              $390.00                                                                                          $390.00
CALUMET AUTO SALVAGE
8501 W CALUMET RD
MILWAUKEE, WI 53224                                146      7/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                      Amount                                                        Amount
MAGELLAN DIAGNOSTICS INC
101 BILLERICA AVE BLDG 4
BILLERICA, MA 01862                               147      7/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
US PUMPS
15919 PHOEBE AVE
LA MIRADA, CA 90670                               148      7/2/2013    Exide Technologies, LLC            $6,573.29                                     $0.00                                              $6,573.29
AIM LEASING CO DBA AIM NATIONALEASE
1500 TRUMBULL AVE
GIRARD, OH 44420                                  149      7/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
AG POWER ENTERPRISES INC
PO BOX C
OWATONNA, MN 55060                                150      7/2/2013    Exide Technologies, LLC            $1,125.00                                                                                        $1,125.00
ROCK'S TELECOM SERVICES
FKA PARRISH COMMUNICATIONS
PO BOX 8582
COLUMBUS, GA 31908-8582                           151      7/2/2013    Exide Technologies, LLC              $575.50                                                       $417.12                            $992.62
NORMA THOMAS FNA NORMA TIRINO
C/O LAW OFFICES OF ROBERT WASHUTA PC
ATTN ROBERT WASHUTA ESQ
11 BROADWAY STE 615
NEW YORK, NY 10004                                152      7/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HARRIS COUNTY ET AL
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN JOHN P DILLMAN
PO BOX 3064
HOUSTON, TX 77253-3064                            153      7/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                      154      7/1/2013    Exide Technologies, LLC              $661.42                                                                                          $661.42
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                      155      7/1/2013    Exide Technologies, LLC              $225.22                                                                                          $225.22
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                      156      7/1/2013    Exide Technologies, LLC              $331.83                                                                                          $331.83
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                      157      7/1/2013    Exide Technologies, LLC              $493.30                                                                                          $493.30
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                      158      7/1/2013    Exide Technologies, LLC              $112.91                                                                                          $112.91
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                      159      7/1/2013    Exide Technologies, LLC              $675.96                                                                                          $675.96

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                     160      7/1/2013    Exide Technologies, LLC              $332.35                                                                                         $332.35
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                     161      7/1/2013    Exide Technologies, LLC              $244.16                                                                                         $244.16
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                     162      7/1/2013    Exide Technologies, LLC              $134.06                                                                                         $134.06
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                     163      7/1/2013    Exide Technologies, LLC              $439.26                                                                                         $439.26
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                     164      7/1/2013    Exide Technologies, LLC              $228.90                                                                                         $228.90
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                     165      7/1/2013    Exide Technologies, LLC              $435.62                                                                                         $435.62
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                     166      7/1/2013    Exide Technologies, LLC             $1,030.56                                                                                      $1,030.56
UNIQUE SANITATION CO INC
45 DALE ST
WEST BABYLON, NY 11704                           167      7/3/2013    Exide Technologies, LLC              $549.36                                                        $0.00                            $549.36
NORTHEAST BATTERY & ALTERNATOR INC
240 WASHINGTON ST
AUBURN, MA 01501                                 168      7/3/2013    Exide Technologies, LLC             $2,955.00                                                                                      $2,955.00
CK-KLEIN-MACFARLANE LTD
C/O VANDEVENTER BLACK LLP
ATTN J BRANDON SIEG, ESQ
EIGHTH & MAIN BLDG
707 E MAIN ST STE 1700 PO BOX 1558
RICHMOND, VA 23218-1558                          169      7/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
QUAD POWER PRODUCTS LLC
ATTN STEVE HEDGPETH
11609 HICKMAN MILLS DR
KANSAS CITY, MO 64134                            170      7/3/2013    Exide Technologies, LLC            $27,947.69                                                                                     $27,947.69
ROSENDAHL MASCHINEN GMBH
ATTN MR CHRISTIAN FRIESENBICHLER
SCHACHEN 57
A-8212 PISCHELSDORF
AUSTRIA                                          171      7/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
O M IMPIANTI SRL AND O M IMPIANTI USA LLC
C/O GRAYDON HEAD & RITCHEY LLP
ATTN J MICHAEL DEBBELER
1900 FIFTH THIRD CENTER
511 WALNUT ST
CINCINNATI, OH 45202-3157                         172      7/1/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
CELLUSUEDE PRODUCTS INC
C/O HINSHAW & CULBERTSON LLP
ATTN CHARLES M TATELBAUM
ONE E BROWARD BLVD STE 1010
FT LAUDERDALE, FL 33301                           173      7/2/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
ACCESS AMERICA TRANSPORT
AAT
1110 MARKET ST STE 315
CHATTANOOGA, TN 37402-2253                        174      7/5/2013    Exide Technologies, LLC            $184,313.76                                                                                   $184,313.76
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                             175      7/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                             176      7/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ATLAS IRON & METAL CO
ATTN GARY WEISENBERG
10019 S ALAMEDA ST
LOS ANGELES, CA 90002                             177      7/5/2013    Exide Technologies, LLC             $11,030.82                $0.00                                 $0.00                         $11,030.82
ABSORBTECH LLC
2700 S 160TH ST
NEW BERLIN, WI 53151                              178      7/5/2013    Exide Technologies, LLC              $2,339.78                                                                                     $2,339.78
AVISTA UTILITIES
PO BOX 3727
SPOKANE, WA 99220-3727                            179      7/5/2013    Exide Technologies, LLC                $46.23                                                                                         $46.23
MASTERWARE CORPORATION
ATTN DAVID DIPASQUALE
PO BOX 25834
SHAWNEE MISSION, KS 66225-5834                    180      7/5/2013    Exide Technologies, LLC              $1,300.00                                                                                     $1,300.00
S & S METAL RECYCLERS II INC
336 E SULLIVAN RD
AURORA, IL 60505                                  181      7/5/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
COMPASS ENGINEERING CORPORATION
1061 PLANTERS LN
GREENSBORO, GA 30642                              182      7/5/2013    Exide Technologies, LLC              $4,450.82                                                                                     $4,450.82
DATA SUPPORT CO INC
ATTN DANIEL BANAYAN
14639 ARMINTA ST
PANORAMA CITY, CA 91402                           183      7/5/2013    Exide Technologies, LLC              $1,848.04                                                                                     $1,848.04
DIXIE STRAPPING & TWINE CO INC
ATTN CLIFF HINDMAN
PO BOX 129
ODENVILLE, AL 35120                               184      7/5/2013    Exide Technologies, LLC              $4,680.00                                                                                     $4,680.00


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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                             Admin Priority
                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                     Amount
RJ EVERCREST POLYMERS INC
1234 WRIGHTS LN
WEST CHESTER, PA 19380                           185      7/5/2013    Exide Technologies, LLC                                                                       $4,624.50                          $4,624.50
STELLAR MANUFACTURING COMPANY
1647 SAUGET BUSINESS BLVD
SAUGET, IL 62206                                 186      7/5/2013    Exide Technologies, LLC            $44,429.30                                                 $5,052.69                         $49,481.99
COOPER CONSULTING & PROPERTY MGMT INC
2400 WEST CR 500 SOUTH
MUNCIE, IN 47302                                 187      7/5/2013    Exide Technologies, LLC             $2,045.18                                                                                    $2,045.18
YINGKOU ZHONGJIE SHIDA SEPARATOR CO LTD
ATTN GEORGE WONG
LUNAN DEVELOPMENT ZONE
YINGKOU LIAONING CHINA

CHINA                                            188      7/6/2013    Exide Technologies, LLC            $41,640.20                                                                                   $41,640.20
LINDSAY MACHINE WORKS INC
ATTN SUSANNA LINDSAY
PO BOX 488
LIBERTY, MO 64069                                189      7/6/2013    Exide Technologies, LLC             $3,485.00                                                                                    $3,485.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                              190      7/6/2013    Exide Technologies, LLC                                                    $218.60                                                 $218.60
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                              191      7/6/2013    Exide Technologies, LLC                                                    $224.00                                                 $224.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                              192      7/6/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                              193      7/6/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                              194      7/6/2013    Exide Technologies, LLC                                                    $222.72                                                 $222.72
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                              195      7/6/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                              196      7/6/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
ASSOCIATED EQUIPMENT CORP
5043 FARLIN AVE
ST LOUIS, MO 63115                               197      7/6/2013    Exide Technologies, LLC                                                                           $0.00                              $0.00

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                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                        Amount
MIDAMERICAN ENERGY CO
PO BOX 4350 CREDIT
DAVENPORT, IA 52808                                           198      7/6/2013    Exide Technologies, LLC             $1,072.56                                                                                       $1,072.56
RHINE AUTO INC
W5695 GARTON RD
PLYMOUTH, WI 53073                                            199      7/6/2013    Exide Technologies, LLC             $1,586.75                                                    $1,544.00                          $3,130.75
LEGGETTE BRASHEARS & GRAHAM
4 RESEARCH DR
SHELTON, CT 06484                                             200      7/6/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SKYLINE AUTO PARTS
21905 AL HWY 79
SCOTTSBORO, AL 35768                                          201      7/6/2013    Exide Technologies, LLC              $747.95                                                                                          $747.95
FAIR HARBOR CAPITAL, LLC AS TRANSFEREE OF THE PARTNERSHIP
OF ATLANTA INC
ANSONIA FINANCE STATION
PO BOX 237037
NEW YORK, NY 10023                                            202      7/6/2013    Exide Technologies, LLC             $3,675.00                                                                                       $3,675.00
ENGLUND EQUIPMENT COMPANY INC
ATTN HEATHER WALLUS
PO BOX 250
CASHION, AZ 85329                                             203      7/6/2013    Exide Technologies, LLC             $1,728.84                                                                                       $1,728.84
CASH FLOW ENHANCEMENT GROUP SOUTH INC
5490 MCGINNIS FERRY VILLAGE STE 220
ALPHARETTA, GA 30005                                          204      7/6/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
VIPER PRECISION MACHINE AND DESIGN LLC
521 BROADCAST DR
SPARTANBURG, SC 29303                                         205      7/6/2013    Exide Technologies, LLC            $12,066.00                                                                                      $12,066.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                           206      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                           207      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                           208      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                           209      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                           210      7/6/2013    Exide Technologies, LLC                                                       $327.90                                                 $327.90




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                                                                                                              Amount                                                    Amount
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       211      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       212      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
CUSTOM HARDWARE ENGINEERING & CONSULTING INC
ATTN DAVID L YORK, PRESIDENT
1576 FENCORP DR
FENTON, MO 63206                                          213      7/6/2013    Exide Technologies, LLC            $4,069.10                                                                                    $4,069.10
FAIR HARBOR CAPITAL, LLC AS TRANSFEREE OF QUICK CABLE
CORP
ANSONIA FINANCE STATION
PO BOX 237037
NEW YORK, NY 10023                                        214      7/6/2013    Exide Technologies, LLC            $3,922.56                                                   $556.00                          $4,478.56
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       215      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       216      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       217      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       218      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       219      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       220      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       221      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                       222      7/6/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00


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                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                      Amount
INBATEC GMBH
KONRAD ADENAUER RING 40
58135 HAGEN GERMANY

GERMANY                                          223      7/8/2013    Exide Technologies, LLC                                     $0.00              $0.00               $0.00                              $0.00
JOBCO INCORPORATED
1913 TOWSON AVE
FORT SMITH, AR 72901                             224      7/8/2013    Exide Technologies, LLC              $3,198.16                                                   $900.00                          $4,098.16
CONVEYOR HANDLING COMPANY INC
6715 SANTA BARBARA CT
ELKRIDGE, MD 21075-5830                          225      7/8/2013    Exide Technologies, LLC              $1,364.67                                                                                    $1,364.67
GENERAL MAINTENANCE ENTERPRISES INC
2340 WR LARSON RD
SAN ANTONIO, TX 78209                            226      7/8/2013    Exide Technologies, LLC              $3,164.00                                                     $0.00                          $3,164.00
QUALITY COMPRESSED AIR SERVICES INC
PO BOX 1837
BRANDON, MS 39043                                227      7/8/2013    Exide Technologies, LLC               $403.50                                                                                       $403.50
ECO-BAT AMERICA
C/O RSR CORPORATION
2777 STEMMONS FWY STE 1800
DALLAS, TX 75207                                 228      7/8/2013    Exide Technologies, LLC             $76,187.93                                                                                   $76,187.93
NATIONWIDE ENVIRONMENTAL SERVICES
ATTN ANI SAMUELIAN
11914 FRONT ST
NORWALK, CA 90650                                229      7/8/2013    Exide Technologies, LLC             $22,732.50                                                                                   $22,732.50
GOLDENWEST LUBRICANTS INC
ATTN KEN A CARIFFE
5650 EL CAMINO REAL STE 210
CARLSBAD, CA 92008                               230      7/8/2013    Exide Technologies, LLC              $8,419.00                                                                                    $8,419.00
HOLT TEXAS LTD DBA HOLT CAT
C/O DEWEY M DALTON
8828 GREENVILLE AVE
DALLAS, TX 75243                                 231      7/8/2013    Exide Technologies, LLC                                                        $0.00                                                  $0.00
PUROLATOR INC
5995 AVEBURY RD 3RD FL
MISSISSAUGA ONT L5R 3T8 CANADA

CANADA                                           232      7/8/2013    Exide Technologies, LLC              $1,921.68                                                                                    $1,921.68
H & M TRUCKING INC
2522 ED BABE GOMEZ AVE
OMAHA, NE 68107                                  233      7/8/2013    Exide Technologies, LLC            $130,630.49                                                                                  $130,630.49
PORT HUDSON PRODUCTS
6655 E ACHORD RD
BATON ROUGE, LA 70817                            234      7/9/2013    Exide Technologies, LLC            $289,419.23              $0.00                                                               $289,419.23
HOLLINGSWORTH & VOSE CO
112 WASHINGTON ST
EAST WALPOLE, MA 02032                           235      7/9/2013    Exide Technologies, LLC            $719,554.63                                               $183,876.08                        $903,430.71




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                                                                                                               Amount                                                       Amount
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
ATTN WILBUR E HOOKS DIRECTOR
PO BOX 20207
NASHVILLE, TN 37202-0207                                   236      7/8/2013    Exide Technologies, LLC                                                                                                $0.00            $0.00
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
PO BOX 20207
NASHVILLE, TN 37202-0207                                   237      7/8/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
JONES MANUFACTURING INC
948 ELM ST
YORK, PA 17403                                             238     7/10/2013    Exide Technologies, LLC             $1,729.78                                                                                       $1,729.78
UNITED TELEPHONE SOUTHEAST-TN DBA CENTURYLINK
ATTN BANKRUPTCY
1801 CALIFORNIA ST RM 900
DENVER, CO 80202-2658                                      239     7/10/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
QWEST COMMUNICATIONS COMPANY LLC
DBA CENTURYLINK QCC
ATTN BANKRUPTCY
1801 CALIFORNIA ST RM 900
DENVER, CO 80202-2658                                      240     7/10/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GAUTHIER NON FERROUS PRODUCTS INC
C/O LAVERY DE BILLY
ATTN MS EMILIE LAPLANTE PAQUIN
1 PLACE VILLE MARIE STE 4000
MONTREAL, QC H3B 4M4
CANADA                                                     241     7/10/2013    Exide Technologies, LLC                                                                        $68,704.52                          $68,704.52
ALLEN V THAYER
4641 PARRAU DR
COLUMBUS, OH 43228                                         242     7/10/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
THE BAILEY COMPANY
501 COWAN ST
NASHVILLE, TN 37207                                        243     7/11/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CLEAN HARBORS ENVIRONMENTAL SVCS INC
42 LONGWATER DR
NORWELL, MA 02061                                          244     7/11/2013    Exide Technologies, LLC            $93,646.82                                                                                      $93,646.82
POWER TECHNOLOGY SYSTEMS
C/O 1430865 ONTARIO INC
24 STEELE ROAD RR 3
SHANTY BAY
ONTARIO CANADA L0L 2L0

CANADA                                                     245     7/11/2013    Exide Technologies, LLC             $5,553.74                                                     $405.00                           $5,958.74
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF BATTERY
RECYCLERS OF AMERICA (VENDOR #11320165)
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                         246     7/11/2013    Exide Technologies, LLC                                                                        $22,878.96                          $22,878.96




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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                 Amount                                                       Amount
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF
CARTERBALDWIN EXECUTIVE SEARCH
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                           247     7/11/2013    Exide Technologies, LLC            $118,539.07                                                                                   $118,539.07

LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF EZRED COMPANY
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                         248     7/11/2013    Exide Technologies, LLC              $9,539.62                                                                                     $9,539.62
LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
PO BOX 54110
LOS ANGELES, CA 90054-0110                                   249     7/11/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHN DEERE FINANCIAL FSB
PO BOX 6600
JOHNSTON, IA 50131                                           250      7/9/2013    Exide Technologies, LLC             $21,084.23                                                                                    $21,084.23
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                           251      7/2/2013    Exide Technologies, LLC              $4,652.38                                                                                     $4,652.38
CONNECTICUT LIGHT AND POWER COMPANY
C/O NORTHEAST UTILITIES CREDIT & COLLECTIONS
PO BOX 2899
HARTFORD, CT 06101-8307                                      252      7/2/2013    Exide Technologies, LLC              $1,531.79                                                                                     $1,531.79
AMEREN MISSOURI
PO BOX 66881 - MAIL CODE 310
SAINT LOUIS, MO 63166                                        253      7/2/2013    Exide Technologies, LLC               $801.96                                                                                        $801.96
CITY OF RICHMOND
DEPARTMENT OF PUBLIC UTILITIES
730 E BROAD ST 5TH FL
RICHMOND, VA 23219                                           254      7/2/2013    Exide Technologies, LLC                $39.47                                                                                         $39.47
ADECCO USA INC
175 BROADHOLLOW RD
MELVILLE, NY 11747                                           255      7/2/2013    Exide Technologies, LLC            $122,419.26                                                                                   $122,419.26
MCMASTER-CARR SUPPLY COMPANY
PO BOX 4355
CHICAGO, IL 60680                                            256     6/25/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
UNITED RENTALS INC
ATTN RHONDA SIMS
6125 LAKEVIEW RD #300
CHARLOTTE, NC 28269                                          257      7/2/2013    Exide Technologies, LLC               $415.10                                                                                        $415.10
QUEST DIAGNOSTICS INCORPORATED
ATTN CHAWN M WRIGHT
1001 ADAMS AVE
MAIL CODE - MR461
NORRISTOWN, PA 19403                                         258      7/1/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
INDIANAPOLIS POWER & LIGHT COMPANY
PO BOX 1595
INDIANAPOLIS, IN 46206-1595                                  259      7/1/2013    Exide Technologies, LLC               $975.97                                                                                        $975.97


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                                                                                                        Amount                                                        Amount
KIRK LITTRUP
C/O GEORGE T UNDERWOOD JR, ATTORNEY
5401 KINGSTON PIKE, STE 520B
KNOXVILLE, TN 37919                                 260      7/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CINTAS
8100 HWY 45 SOUTH
FT SMITH, AR 72916                                  261     6/28/2013    Exide Technologies, LLC            $10,376.53                                                                                      $10,376.53
SPHERION STAFFING
ATTN CAROL TRAHAN
2513 WESLEY ST STE 4
JOHNSON CITY, TN 37601-1762                         262      7/1/2013    Exide Technologies, LLC             $7,569.00                                                                                       $7,569.00
OKLAHOMA COUNTY TREASURER
ATTN FOREST "BUTCH" FREEMAN
320 ROBERT S KERR RM 307
OKLAHOMA CITY, OK 73102                             263      7/1/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                               264      7/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                  265      7/2/2013    Exide Technologies, LLC             $7,665.86                                                                                       $7,665.86
MURREYS DISPOSAL
PO BOX 399
PUYALLUP, WA 98371                                  266      7/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SIEMENS INDUSTRY INC
10 TECHNOLOGY DR
LOWELL, MA 01851                                    267      7/5/2013    Exide Technologies, LLC             $2,031.41                                                                                       $2,031.41
VICTORY PACKAGING LP
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              268      7/9/2013    Exide Technologies, LLC            $79,145.24                                                                                      $79,145.24
STEIN INC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              269      7/9/2013    Exide Technologies, LLC            $96,154.75                                                                                      $96,154.75
COYOTE LOGISTICS LLC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              270      7/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DM DISPOSAL
PO BOX 399
PUYALLUP, WA 98371                                  271      7/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                  272      7/2/2013    Exide Technologies, LLC             $9,375.35                                                                                       $9,375.35




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                                                                                                                Amount                                                        Amount
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                          273      7/2/2013    Exide Technologies, LLC              $123.55                                                                                          $123.55
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                          274      7/2/2013    Exide Technologies, LLC             $2,769.13                                                                                       $2,769.13
MIDWEST SCRAP MANAGEMENT (BUR-131)
C/O BRUCE E STRAUSS
1044 MAIN ST 400 PECK'S PLAZA
KANSAS CITY, MO 64105                                       275     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RETAIL INSIGHT LLC
12710 OAKDALE VIEW DR
EDMOND, OK 73013                                            276     7/12/2013    Exide Technologies, LLC             $1,445.40                                                        $0.00                          $1,445.40

JACK HORNER'S MACHINERY & CONTRACTOR SUPPLIERS INC
PO BOX 248
ST JOSEPH, MO 64502                                         277     7/12/2013    Exide Technologies, LLC             $1,985.38                                                                                       $1,985.38
GRECO GAS INC
PO BOX 349
TARENTUM, PA 15084                                          278     7/12/2013    Exide Technologies, LLC             $4,619.16                                                                                       $4,619.16
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                                       279     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, MO 66101                                       280     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
YAFCHAK, ROBERT
1080 PARK BLVD UNIT 617
SAN DIEGO, CA 92101                                         281     7/12/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00

CONTRARIAN FUNDS, LLC AS TRANSFEREE OF PM FASTENERS INC
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         282     7/12/2013    Exide Technologies, LLC            $31,779.08                                                                                      $31,779.08
HARRISON MACHINE SHOP & WELDING INC
ATTN VANESSA HARRISON
806 S KANSAS AVE
OLATHE, KS 66061                                            283     7/12/2013    Exide Technologies, LLC            $10,396.64                                                    $6,865.00                         $17,261.64
SEQUOIA CONSULTING GROUP INC
163 PLEASANT ST STE 4
ATTLEBORO, MA 02703                                         284     7/12/2013    Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
COMMUNITY COFFEE COMPANY
3332 PARTRIDGE LANE BLDG A
BATON ROUGE, LA 70809                                       285     7/12/2013    Exide Technologies, LLC              $718.96                                     $0.00                                                $718.96
OAK LEAF AUTO SALVAGE
4208 OAK LEAF ROAD
RHINELANDER, WI 54501                                       286     7/12/2013    Exide Technologies, LLC             $1,324.80                                                    $2,097.00                          $3,421.80


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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
SELLERS, MICHAEL
PO BOX 420651
ATLANTA, GA 30342                                        287     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SMITH, DAVID
2496 ANDERS RD
THREE LAKES, WI 54562-9374                               288     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE BRASS EXCHANGE LLC
ATTN MR HAKIM SATTERFIELD
189 COBB PKWY N STE A-8
MARIETTA, GA 20062                                       289     7/12/2013    Exide Technologies, LLC             $5,473.24                                                      $845.91                          $6,319.15
BG SALVAGE LLC
7141 HURSTVILLE RD
MAQUOKETA, IA 52060                                      290     7/15/2013    Exide Technologies, LLC             $4,476.40                                                        $0.00                          $4,476.40
MCMAHON SALVAGE LLC
16211 175TH ST
MAQUOKETA, IA 52060-9086                                 291     7/15/2013    Exide Technologies, LLC              $843.60                                                         $0.00                            $843.60
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
KAPSTONE PAPER & PACKAGING CORP
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            292     7/15/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
KAPSTONE PAPER & PACKAGING
ATTN ROBERT BEAL
1101 SKOKIE BLVD
NORTHBROOK, IL 60062                                     293     7/15/2013    Exide Technologies, LLC            $92,570.74                                                                                      $92,570.74
BRADLEY SPECIALTIES CORP
SHARTLESVILLE INDUSTRIAL PARK
PO BOX 436
50 FEICK IND DR
SHARTLESVILLE, PA 19554                                  294      7/2/2013    Exide Technologies, LLC            $11,732.13                                                                                      $11,732.13
PUROLATOR FREIGHT
1151 MARTIN GROVE RD
REXDALE ON M9W 4W7

CANADA                                                   295     7/15/2013    Exide Technologies, LLC              $162.61                                                                                          $162.61
CRT SPECIAL INVESTMENTS LLC AS TRANSFEREE OF ASCENT
MOTION INDUSTRIES INC
ATTN JOSEPH E. SARACHEK
262 HARBOR DRIVE
STAMFORD, CT 06902                                       296     7/15/2013    Exide Technologies, LLC             $4,475.02                                                    $7,056.00                         $11,531.02
BROWARD COUNTY RECORDS TAXES & TREASURY DIV
TAX COLLECTOR GOVERNMENT CENTER ANNEX
ATTN LITIGATION SECTION
115 S ANDREWS AVE
FT LAUDERDALE, FL 33301                                  297     7/15/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
SAM C HORNE & SHERA B HORNE
PO BOX 958
BANDERA, TX 78003                                        298     7/15/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00




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                Creditor Name and Address                Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                               Amount                                                       Amount
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
ADVANCE FILTER LLC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              299     7/15/2013    Exide Technologies, LLC                                                                         $7,386.28                          $7,386.28
ADVANCE FILTER LLC
15335 ENDEAVOR DR STE 107
NOBLESVILLE, IN 46060                                      299     7/15/2013    Exide Technologies, LLC             $6,374.31                                                                                      $6,374.31
DRUMCO INC
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE ROAD EAST, STE 2005
PRINCETON, NJ 08540                                        300     7/15/2013    Exide Technologies, LLC            $71,963.30                                                  $34,056.00                        $106,019.30
META4 USA INC
PO BOX 1031
ELLIJAY, GA 30540                                          301     7/15/2013    Exide Technologies, LLC             $7,581.37                                                       $0.00                          $7,581.37
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR A-1 BATTERY SHOP - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                      302     7/15/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR WIRTZ MANUFACTURING - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                      303     7/15/2013    Exide Technologies, LLC                    $0.00                                                $6,438.00                          $6,438.00
JORDAN ENTERPRISES CONTROLS
ATTN ROBERT M JORDAN
34353 LA HWY 1019
DENHAM SPRINGS, LA 70706                                   304     7/16/2013    Exide Technologies, LLC            $28,060.47                                                                                     $28,060.47
WILCON INDUSTRIES
18339 PASADENA ST
LAKE ELSINORE, CA 92530                                    305     7/16/2013    Exide Technologies, LLC             $3,059.98                                                                                      $3,059.98
POLYMER MOLDING INC
1655 WEST 20 ST
ERIE, PA 16502                                             306     7/16/2013    Exide Technologies, LLC            $20,087.35                                                  $10,907.50                         $30,994.85
MATERIAL MOTION INC
C/O ISENBERG & HEWITT PC
ATTN RYAN L ISENBERG
7000 PEACHTREE DUNWOODY RD
BLDG 15 STE 100
ATLANTA, GA 30328                                          307     7/16/2013    Exide Technologies, LLC            $13,497.54                                                                                     $13,497.54
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF CLIMATE
ENGINEERS
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                        308     7/16/2013    Exide Technologies, LLC            $53,300.97                                                                                     $53,300.97
WARD INTERNATIONAL TRUCKS
2101 PERIMETER RD
MOBILE, AL 36615                                           309     7/16/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
MATRIX CABLE SOLUTIONS
ATTN ANNETTE DESPRES
PO BOX 432
AMERY, WI 54001                                  310     7/16/2013    Exide Technologies, LLC              $5,194.48                                                   $3,742.20                           $8,936.68
PUMP PRO'S INC
3000 E 14TH AVE
COLUMBUS, OH 43219                               311     7/16/2013    Exide Technologies, LLC             $30,048.44                                                                                      $30,048.44
THE BENEVA GROUP (MANAGEMENT RECRUITERS
OF SARASOTA INC)
ATTN CHARLES H FRIDLEY, PRESIDENT
7202 BENEVA RD
SARASOTA, FL 34238                               312     7/16/2013    Exide Technologies, LLC             $19,000.00                                                                                      $19,000.00
CONTINUUS-PROPERZI S P A
C/O PROPERZI INTERNATIONAL INC
909 RIDGEBROOK RD STE 102
SPARKS, MD 21152                                 313     7/16/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
POLYMER MOLDING INC
1655 WEST 20 ST
ERIE, PA 16502                                   314     7/16/2013    Exide Technologies, LLC              $1,177.16                                                   $1,669.46                           $2,846.62
HAWK ELECTRONICS LTD
MALT STREET, ACCRINGTON
LANCASHIRE BB1 5DR UNITED KINGDOM

UNITED KINGDOM                                   315     7/16/2013    Exide Technologies, LLC                    $0.00                                                                        $0.00            $0.00
AIRGAS USA LLC
C/O AIRGAS INC
ATTN DAVID BOYLE
259 N RADNOR CHESTER RD
RADNOR, PA 19087                                 316     7/17/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
STRATUS BUILDING SOLUTIONS
10530 VICTORY BLVD
NORTH HOLLYWOOD, CA 91606                        317     7/17/2013    Exide Technologies, LLC              $4,660.00                                                       $0.00                           $4,660.00
ESCA TECH INC
3747 N BOOTH ST
MILWAUKEE, WI 53212                              318     7/17/2013    Exide Technologies, LLC             $16,349.65                                                     $815.00                          $17,164.65
GREEN POWER SALES AND SERVICE
31-1736 ORANGEBROOK CT
PICKERING ON L1W 3GB CANADA

CANADA                                           319     7/17/2013    Exide Technologies, LLC              $9,755.66                                                       $0.00                           $9,755.66
CORNERSTONE INDUSTRIAL SERVICES INC
C/O NORRIS MCLAUGHLIN & MARCUS PA
ATTN REBECCA J PRICE, ESQ
1611 POND RD STE 300
ALLENTOWN, PA 18104                              320     7/17/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00
ELECTRIC CONVERSIONS
ATTN GREGORY MCCREA
515 N 10TH ST
SACRAMENTO, CA 95811                             321     7/18/2013    Exide Technologies, LLC            $186,154.26                $0.00                              $9,420.00                         $195,574.26


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
EXPRESS EMPLOYMENT PROFESSIONALS
C/O EXPRESS SERVICES
8516 NW EXPRESSWAY
OKLAHOMA CITY, OK 73162                          322     7/18/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ZEB MACHINE CO INC
5805 LEESPORT AVE
READING, PA 19605                                323     7/18/2013    Exide Technologies, LLC               $181.13                                                        $0.00                            $181.13
ORA GROSS
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                324     7/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISTY JENNINGS
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                325     7/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EDDIE MILLER
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                326     7/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
METROPOLITAN UTILITIES DISTRICT
1723 HARNEY ST
OMAHA, NE 68102-1960                             327     7/19/2013    Exide Technologies, LLC               $283.88                                                                                         $283.88
BATTERY BUDDY
3514 ROSSVILLE BLVD
CHATTANOOGA, TN 37407                            328     7/19/2013    Exide Technologies, LLC             $17,694.05                                                                                     $17,694.05
INTERCALL INC
ATTN MELODY LOHR
7171 MERCY RD STE 200
OMAHA, NE 68106                                  329     7/19/2013    Exide Technologies, LLC            $212,940.37                                                                                    $212,940.37
CROWN CREDIT COMPANY
C/O CROWN EQUIPMENT CORPORATION
ATTN RODNEY J HINDERS
102 S WASHINGTON ST
NEW BREMEN, OH 45869                             330     7/19/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
ORTEC INTERNATIONAL USA
3630 PEACHTREE RD STE 800
ATLANTA, GA 30326                                331     7/19/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
STAR MECHANICAL SUPPLY CO INC
ATTN CAROLYN FINCHER
PO BOX 109
SPRINGDALE, AR 72765                             332     7/19/2013    Exide Technologies, LLC               $228.09                                                        $0.00                            $228.09
INDUSTRIE COMPOSIZIONE STAMPATI SRL
CENTRO AZIENDALE QUERCETE SNC
81016 SAN POTITO SANNITICO CE ITALY

ITALY                                            333     7/19/2013    Exide Technologies, LLC            $135,914.75                                                                                    $135,914.75
KAGAN, LAURENCE & LISA
16 NOEL LN
JERICHO, NY 11753-1316                           334     7/20/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00


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                Creditor Name and Address                  Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                 Amount                                                       Amount
ONESOURCE EHS LLC
ATTN KAREN STRINGFELLOW
1724 N BURNSIDE AVE STE 8
GONZALES, LA 70737                                           335     7/20/2013    Exide Technologies, LLC             $21,274.86                                                                                    $21,274.86
LOFTON INDUSTRIAL SERVICES
9414 INTERLINE AVE
BATON ROUGE, LA 70809                                        336     7/20/2013    Exide Technologies, LLC             $57,449.79                $0.00                                                               $57,449.79
FAIR HARBOR CAPITAL, LLC AS TRANSFEREE OF DON SHAFER C/O
EHS MANAGEMENT
ANSONIA FINANCE STATION
PO BOX 237037
NEW YORK, NY 10023                                           337     7/20/2013    Exide Technologies, LLC              $6,210.00                                                                                     $6,210.00
THE MASON & DIXON LINES INC
ATTN REBECCA C JOHNSON
12755 E NINE MILE RD
WARREN, MI 48089                                             338     7/22/2013    Exide Technologies, LLC            $229,587.61                                                                                   $229,587.61
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR FIVE STAR FOOD SERVICE - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                             339     7/22/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR MECHANICAL EQUIPMENT - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                             340     7/22/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASIGNEE & ATT-IN-FACT
FOR JAMES H LAAS CO INC - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                        341     7/22/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00

PHILADELPHIA OCCUPATIONAL HEALTH PC DBA WORKNET
C/O SELECT MEDICAL
ATTN COURTNEY SMITH
4714 GETTYSBURG RD
MECHANICSBURG, PA 17055                                      342     7/22/2013    Exide Technologies, LLC               $994.00                                                                                        $994.00
PUTATIVE CLASS IN LASC CASE BC506901
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                                        343     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FAEGRE BAKER DANIELS LLP
ATTN JAY JAFFE
600 E 96TH ST STE 600
INDIANAPOLIS, IN 46240                                       344     7/22/2013    Exide Technologies, LLC             $11,943.12                                                                                    $11,943.12
TRAILER BRIDGE INC
ATTN MARK TANNER, CHIEF ACCOUNTING OFFICER
10405 NEW BERLIN RD E
JACKSONVILLE, FL 32226                                       345     7/22/2013    Exide Technologies, LLC             $50,895.00                                                                                    $50,895.00




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                                                                                                                                 Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address               Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF SUN
RECYCLING
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            346     7/22/2013    Exide Technologies, LLC                                                                          $5,638.22                          $5,638.22
MICHAEL BROTHERS
PO BOX 157
BETHEL PARK, PA 15102                                    347     7/22/2013    Exide Technologies, LLC             $2,971.60                                                                                       $2,971.60
HUKILL CHEMICAL CORP
C/O WELTMAN WEINBERG & REIS CO LPA
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                                      348     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PAULSON ELECTRIC CO OF DUBUQUE
ATTN MINDY OLSON
PO BOX 1625
DUBUQUE, IA 52002-1625                                   349     7/22/2013    Exide Technologies, LLC             $1,456.03                                                                                       $1,456.03
BURT K FISCHER TRUST
9245 N SUNSET RIDGE
FOUNTAIN HILLS, AZ 85268                                 350     7/22/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
SIGOURNEY TRACTOR AND IMPLEMENT
C/O CATHY MASTERSON
1407 200TH AVE
SIGOURNEY, IA 52591                                      351     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAVELLE INDUSTRIES INC
ATTN ACCOUNTS RECEIVABLE
665 MCHENRY ST
BURLINGTON, WI 53105                                     352     7/22/2013    Exide Technologies, LLC            $66,693.77                                                   $40,094.08                        $106,787.85
CAROLINA HANDLING LLC
PO BOX 7548
CHARLOTTE, NC 28241-7548                                 353     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC
C/O PITNEY BOWES INC
ATTN RECOVERY DEPT
27 WATERVIEW DR
SHELTON, CT 06484-4361                                   354     7/22/2013    Exide Technologies, LLC             $1,436.42                                                                                       $1,436.42
E2 ENVIRONMENTAL INC
15375 BARRANCA PKWY B-203
IRVINE, CA 92618                                         355     7/23/2013    Exide Technologies, LLC            $11,988.00                                                        $0.00                         $11,988.00
PACIFICORP DBA ROCKY MTN POWER & PACIFIC POWER
PO BOX 25308
SALT LAKE CITY, UT 84125                                 356     7/16/2013    Exide Technologies, LLC              $494.57                                                                                          $494.57
CHEM-AQUA A DIV OF NCH CORPORATION
2727 CHEMSEARCH BLVD
IRVING, TX 75062                                         357     7/16/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SOUTHERN CALIFORNIA GAS COMPANY
C/O THE GAS COMPANY
MASS MARKETS CREDIT & COLLECTIONS
PO BOX 30337
LOS ANGELES, CA 90030-0337                               358     7/16/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
DTE ENERGY
ONE ENERGY PLAZA 2120 WCB
DETROIT, MI 48226                                      359     7/15/2013    Exide Technologies, LLC            $13,021.17                                                                                      $13,021.17
OGLETREE DEAKINS NASH SMOAK & STEWART P C
PO BOX 167
GREENVILLE, SC 29602                                   360     7/13/2013    Exide Technologies, LLC            $18,708.00                                                                                      $18,708.00
LINDE LLC
ATTN GAIL GERSLEY, CREDIT - IE
575 MOUNTAIN AVE
MURRAY HILL, NJ 07974                                  361     7/15/2013    Exide Technologies, LLC            $14,574.25                                                                                      $14,574.25
GDF SUEZ ENERGY RESOURCES NA INC
ATTN RAY CUNNINGHAM, VP & ASST GENERAL COUNSEL
1990 POST OAK BLVD STE 1900
HOUSTON, TX 77056                                      362     7/15/2013    Exide Technologies, LLC            $73,117.57                                                                                      $73,117.57
COLUMBIA GAS OF OHIO
200 CIVIC CENTER DR 11TH FL
COLUMBUS, OH 43215                                     363     7/12/2013    Exide Technologies, LLC               $67.36                                                                                           $67.36
WINDSTREAM
C/O WINDSTREAM COMMUNICATIONS
301 N MAIN ST STE 5000
GREENVILLE, SC 29601                                   364     7/11/2013    Exide Technologies, LLC              $646.42                                                                                          $646.42
EDDIE MILLER
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                      365     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
3M COMPANY
ATTN ALAN BROWN, SPECIAL COUNSEL
3M CENTER 220-9E-02
ST PAUL, MN 55144                                      366     7/22/2013    Exide Technologies, LLC             $5,790.46                                                                                       $5,790.46
CIT COMMUNICATIONS FINANCE CORPORATION
C/O WELTMAN WEINBERG & REIS
3705 MARLANE DR
GROVE CITY, OH 43123-8895                              367     7/22/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
CIT COMMUNICATIONS FINANCE CORPORATION
C/O WELTMAN WEINBERG & REIS
3705 MARLANE DR
GROVE CITY, OH 43123-8895                              368     7/22/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
ORA GROSS
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                      369     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISTY JENNINGS
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                      370     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MILLS JR, JOSEPH L
3826 CHALLEDON RD
JARRETTSVILLE, MD 21084                                371     7/24/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00



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                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
CARDLOCK FUELS SYSTEM INC DBA SC FUELS
1800 W KATELLA AVE STE 400
ORANGE, CA 92867                                        372     7/25/2013    Exide Technologies, LLC             $4,361.75                                                                                      $4,361.75
PIGEON CREEK SANITARY AUTHORITY
508 MAIN ST
BENTLEYVILLE, PA 15314-1596                             373     7/25/2013    Exide Technologies, LLC               $59.01                                                                                          $59.01
THE PARISH GROUP LLC
11579 CEDAR PARK AVE
BATON ROUGE, LA 70809                                   374     7/25/2013    Exide Technologies, LLC            $31,884.78                                                                                     $31,884.78
SEARLES VALLEY MINERALS INC
ATTN DON PEMBERTON
9401 INDIAN CREEK PKWY STE 1000
OVERLAND PARK, KS 66210                                 375     7/25/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
HERITAGE ENVIRONMENTAL SERVICES LLC
3719 W 96TH ST
INDIANAPOLIS, IN 46268                                  376     7/25/2013    Exide Technologies, LLC            $78,877.93                                                                                     $78,877.93
HCL AMERICA INC
ATTN MANISHA AURORA
330 POTRERO AVE
SUNNYVALE, CA 94085                                     377     7/25/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
TLF INC
3901 W 86TH ST STE 200
INDIANAPOLIS, IN 46268                                  378     7/25/2013    Exide Technologies, LLC             $6,534.00                                                                                      $6,534.00
SOUTHERN COUNTIES OIL CO A CALIFORNIA LIMITED
PARTNERSHIP DBA SC FUELS
1800 W KATELLA AVE STE 400
ORANGE, CA 92867                                        379     7/25/2013    Exide Technologies, LLC            $23,931.01                                                                                     $23,931.01
COVENANT TRANSPORT INC ON BEHALF OF
STAR TRANSPORTATION INC
ATTN JANETTE WHITE, CREDIT & COLLECTION MGR
PO BOX 22997
CHATTANOOGA, TN 37422                                   380     7/25/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
DUKE ENERGY CAROLINAS
PO BOX 1321
DEC45A
CHARLOTTE, NC 28201                                     381     7/18/2013    Exide Technologies, LLC             $2,548.63                                                                                      $2,548.63

GE CAPITAL INFORMATION TECHNOLOGY SOLUTIONS INC
FDBA IKON FINANCIAL SERVICES
ATTN BANKRUPTCY ADMINISTRATION
PO BOX 13708
MACON, GA 31208                                         382     7/22/2013    Exide Technologies, LLC             $8,286.71                                                                                      $8,286.71
UNITED RENTALS (NORTH AMERICA) INC
C/O UNITED RENTALS
3200 HARBOR LN N
MINNEAPOLIS, MN 55447                                   383     7/22/2013    Exide Technologies, LLC            $26,041.25                                                                                     $26,041.25
R I DIVISION OF TAXATION
ONE CAPITOL HILL
PROVIDENCE, RI 02908                                    384     7/22/2013    Exide Technologies, LLC               $73.95                 $12.04                                                                   $85.99


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                                                                                                               Amount                                                       Amount
R I DIVISION OF TAXATION
ONE CAPITOL HILL
PROVIDENCE, RI 02908                                       385     7/22/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
ARBILL INDUSTRIES
10450 DRUMMOND RD
PHILADELPHIA, PA 19154                                     386     7/26/2013    Exide Technologies, LLC             $81,287.68                                                  $8,216.62                         $89,504.30
POWERLAB INC
PO BOX 913
TERRELL, TX 75160                                          387     7/26/2013    Exide Technologies, LLC            $151,759.40                                                                                   $151,759.40
BRENTWOOD INDUSTRIES INC
ATTN JASON BAUDER
PO BOX 605
READING, PA 19603-0605                                     388     7/26/2013    Exide Technologies, LLC                                                                        $59,733.46                         $59,733.46
LOS ANGELES COUNTY TREASURER & TAX COLLECTOR
PO BOX 54110
LOS ANGELES, CA 90054-0110                                 389     7/26/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
SIERRA LIQUIDITY FUND, LLC AS TRANSFEREE OF GELLCO
CLOTHING & SHOES INC
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                      390     7/26/2013    Exide Technologies, LLC              $4,119.25                                                  $1,450.55                          $5,569.80
ENGINEERED REFRACTORY SHAPES & SERVICES LLC
C/O ICE MILLER LLP
ATTN BEN T CAUGHEY
ONE AMERICAN SQ STE 3100
INDIANAPOLIS, IN 46280                                     391     7/26/2013    Exide Technologies, LLC             $94,402.38                                                                                    $94,402.38
ARJO WIGGINS USA INC
1200 HIGH RIDGE RD - 2ND FL
STAMFORD, CT 06905                                         392     7/26/2013    Exide Technologies, LLC            $203,814.14                                                      $0.00                        $203,814.14
C BAR P TRUCKING INC
20707 W 21ST ST N
GODDARD, KS 67052                                          393     7/26/2013    Exide Technologies, LLC             $47,333.40                                                                                    $47,333.40
PRAXAIR DISTRIBUTION INC
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 5126
TIMONIUM, MD 21094                                         394     7/25/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
COMMAND TRANSPORTATION LLC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                                     395     7/23/2013    Exide Technologies, LLC            $267,131.06                                                                                   $267,131.06
ACRAN SPILL CONTAINMENT
599 ALBANY AVE
NORTH AMITYVILLE, NY 11701                                 396     7/27/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
ERCO LLC
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE RD EAST, STE 2005
PRINCETON, NJ 08540                                        397     7/27/2013    Exide Technologies, LLC                                                                        $11,637.00                         $11,637.00
EVANS ENTERPRISES INC
PO BOX 6848
FORT SMITH, AR 72906                                       398     7/27/2013    Exide Technologies, LLC              $2,469.00                                                    $683.00                          $3,152.00


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                                                                                                               Amount                                                       Amount
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF ADDENDA
CORPORATION
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                        399     7/29/2013    Exide Technologies, LLC             $60,000.37                                                                                    $60,000.37
MCMASTER-CARR SUPPLY COMPANY
PO BOX 4355
CHICAGO, IL 60680                                          400     7/29/2013    Exide Technologies, LLC            $188,067.27                                                 $22,016.74                        $210,084.01
UNDERWRITERS LABORATORIES INC
C/O LEGAL DEPARTMENT
333 PFINGSTEN RD
NORTHBROOK, IL 60062                                       401     7/29/2013    Exide Technologies, LLC              $3,313.00                                                                                     $3,313.00
EMEDCO
PO BOX 369
BUFFALO, NY 14240                                          402     7/29/2013    Exide Technologies, LLC               $186.13                                                                                        $186.13
EMEDCO
PO BOX 369
BUFFALO, NY 14240                                          403     7/29/2013    Exide Technologies, LLC               $101.15                                                                                        $101.15
EMEDCO
PO BOX 369
BUFFALO, NY 14240                                          404     7/29/2013    Exide Technologies, LLC              $1,536.71                                                                                     $1,536.71
A & S LAWN SERVICE LLP
8218 HERMITAGE DR
FORT SMITH, AR 72908                                       405     7/29/2013    Exide Technologies, LLC              $3,300.00                $0.00                                                                $3,300.00
LUTZ SALES COMPANY INC
20 N MARTINGALE RD STE 210
SCHAUMBURG, IL 60173-2058                                  406     7/29/2013    Exide Technologies, LLC              $1,944.50                                                                                     $1,944.50
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR LUTZ SALES COMPANY - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                      407     7/29/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR KENDALL ELECTRIC INC - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           408     7/29/2013    Exide Technologies, LLC                                                                         $4,532.63                          $4,532.63
KENDALL ELECTRIC
5101 S SPRINKLE RD
PORTAGE, MI 49002                                          409     7/29/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR THE PHONE CONNECTION - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           410     7/29/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
CAMPBELL'S USED AUTO PARTS INC
36 RIVER RD
LISBON, ME 04250                                           411     7/30/2013    Exide Technologies, LLC                                                                         $1,566.95                          $1,566.95
PANHANDLE ALARM & TELEPHONE CO INC
10 INDUSTRIAL BLVD
PENSACOLA, FL 32503                                        412     7/30/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
4-VEGA LP (A FAMILY PARTNERSHIP)
809 S LEON AVE
MONAHANS, TX 79756                               413     7/30/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
PULSETECH PRODUCTS CORPORATION
ATTN TOM BRANSFORD
1100 S KIMBALL AVE
SOUTHLAKE, TX 76092-9009                         414     7/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
J J KELLER & ASSOCIATES INC
PO BOX 548
NEENAH, WI 54957-0548                            415     7/30/2013    Exide Technologies, LLC             $22,411.56                                                   $2,002.23                         $24,413.79
DELL MARKETING LP
ONE DELL WAY
RR1 MS52
ROUND ROCK, TX 78682                             416     7/29/2013    Exide Technologies, LLC            $129,754.40                                                  $11,376.15                        $141,130.55
LYNDEN TRANSPORT
C/O LYNDEN INC
18000 INTERNATIONAL BLVD
STE 800
SEATTLE, WA 98188                                417     7/31/2013    Exide Technologies, LLC             $59,024.53                                                                                     $59,024.53
CROWN PACKAGING CORP
17854 CHESTERFIELD AIRPORT RD
CHESTERFIELD, MO 63005                           418     7/31/2013    Exide Technologies, LLC               $410.00                                                                                         $410.00
CMH SERVICES
151 GREENLAWN DR
COLUMBIA, SC 29202                               419     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HYDRA-MATIC PACKING COMPANY INC
C/O PINCKNEY HARRIS & WEIDINGER LLC
ATTN DONNA L HARRIS ESQ
1220 N MARKET ST STE 950
WILMINGTON, DE 19801                             420     7/31/2013    Exide Technologies, LLC             $22,057.20                                                                                     $22,057.20
HYDRA-MATIC PACKAGING COMPANY INC
C/O PINCKNEY HARRIS & WEIDINGER LLC
ATTN DONNA L HARRIS
1220 N MARKET ST STE 950
WILMINGTON, DE 19801                             421     7/31/2013    Exide Technologies, LLC                                                                         $41,742.30                         $41,742.30
K&R PLASTICS
C/O RUGGERO LAW FIRM PC
ATTN PETER RUGGERO
1411 W AVE STE 200
AUSTIN, TX 78701                                 422      8/1/2013    Exide Technologies, LLC             $22,402.04                                   $0.00                                             $22,402.04
INSIGHT DIRECT USA INC
ATTN MICHAEL L WALKER
6820 S HARL AVE
TEMPE, AZ 85283                                  423      8/1/2013    Exide Technologies, LLC             $10,632.20                                                                                     $10,632.20
UNISOURCE WORLDWIDE
850 N ARLINGTON HTS RD
ITASCA, IL 60143                                 424     7/30/2013    Exide Technologies, LLC            $245,576.92                                                                                    $245,576.92
SC DEPARTMENT OF REVENUE
PO BOX 12265
COLUMBIA, SC 29211                               425     7/29/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                        Amount                                                        Amount
ALPHA PACKAGING INC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              426     7/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KW PLASTICS INC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              427     7/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NMHG FINANCIAL SERVICES
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                              428     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GE CAPITAL
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                              429     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NMHG FINANCIAL SERVICES
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                              430     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NMHG FINANCIAL SERVICES
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                              431     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NMHG FINANCIAL SERVICES
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                              432     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE WINSTEAD BUILDING, A NC PARTNERSHIP
ATTN STEPHEN C WOODARD JR, PARTNER
PO BOX 1960
405 E MARKET ST
SMITHFIELD, NC 27577                                433     7/29/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
OMNISOURCE CORPORATION
ATTN MARLENE SLOAT
7575 W JEFFERSON BLVD
FORT WAYNE, IN 46804-4131                           434      8/2/2013    Exide Technologies, LLC            $26,155.51                                                                                      $26,155.51
TIMEPAYMENT CORPORATION
16 NE EXECUTIVE PARK #200
BURLINGTON, MA 01803                                435      8/2/2013    Exide Technologies, LLC             $1,117.60                                                                                       $1,117.60
TIMEPAYMENT CORPORATION
16 NE EXECUTIVE PARK #200
BURLINGTON, MA 01803                                436      8/2/2013    Exide Technologies, LLC              $316.64                                                                                          $316.64
I & M MACHINE AND FABRICATION
401 S 3RD ST
ST JOSEPH, MO 64501                                 437      8/2/2013    Exide Technologies, LLC            $23,178.20                                                                                      $23,178.20
COLLIN COUNTY TAX ASSESSOR/COLLECTOR
C/O GAY MCCALL ISAACKS ET AL
777 E 15TH ST
PLANO, TX 75074                                     438      8/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00

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                                                                                                                Amount                                                       Amount
AVI FOODSYSTEMS INC
2590 ELM RD NE
WARREN, OH 44483                                            439      8/2/2013    Exide Technologies, LLC             $2,614.28                                                                                      $2,614.28
DELTA T CORPORATION DBA BIG ASS FAN COMPANY
ATTN JEAN ARMS
PO BOX 11307
LEXINGTON, KY 40575                                         440      8/2/2013    Exide Technologies, LLC             $7,662.70                                                       $0.00                          $7,662.70
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR JUST PALLETS & CRATES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            441      8/2/2013    Exide Technologies, LLC                                                                           $593.25                            $593.25
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR JACK'S SALVAGE AUTO PARTS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            442      8/2/2013    Exide Technologies, LLC                                                                         $1,735.30                          $1,735.30
JACK'S SALVAGE & AUTO PARTS
625 METACOM AVE
BRISTOL, RI 02809                                           443      8/2/2013    Exide Technologies, LLC             $1,848.00                                                                                      $1,848.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR SUPERIOR ELECTRIC MOTOR SERVICE - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            444      8/2/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SUPERIOR ELECTRIC MOTOR SERVICE
4623 HAMPTON ST
VERNON, CA 90058                                            445      8/2/2013    Exide Technologies, LLC             $3,471.57                                                                                      $3,471.57
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF TRADE CENTER
AUTO
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                        446      8/2/2013    Exide Technologies, LLC             $3,702.78                                                                                      $3,702.78
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR TRADE CENTER AUTO - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            447      8/2/2013    Exide Technologies, LLC                                                                         $1,924.30                          $1,924.30
VORTEX DOORS
ATTN MICHELLE CRECELIUS
3198-M AIRPORT LOOP DR
COSTA MESA, CA 92626-3407                                   448      8/2/2013    Exide Technologies, LLC            $13,826.32                                                       $0.00                         $13,826.32
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF MOTOR
TECHNOLOGY INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                               449      8/3/2013    Exide Technologies, LLC             $6,550.28                                                   $4,890.00                         $11,440.28
61 SWAN ST OF BATAVIA
ATTN RONALD VIELE
61 SWAN ST
BATAVIA, NY 14020                                           450      8/5/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
RAILROAD MANAGEMENT COMPANY III LLC
5910 N CENTRAL EXPRESSWAY STE 1590
DALLAS, TX 75206                                            451      8/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
FEDEX CUSTOM CRITICAL
C/O RMS
PO BOX 5126
TIMONIUM, MD 21094                               452      8/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                     453      8/5/2013    Exide Technologies, LLC             $7,815.90                                                                                       $7,815.90
VERIFICATIONS INC
1 CONCOURSE PKWY STE 200
ATLANTA, GA 30328-5346                           454      8/6/2013    Exide Technologies, LLC               $36.10                                                                                           $36.10
DELAWARE COUNTY MEMORIAL HOSPITAL
DBA REGIONAL MEDICAL CENTER
PO BOX 359
MANCHESTER, IA 52057                             455      8/6/2013    Exide Technologies, LLC             $8,429.00                                                                                       $8,429.00
APPALACHIAN LANDSCAPE
ATTN DAVID MATTHEWS
PO BOX 53052
KNOXVILLE, TN 37950                              456      8/6/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALABAMA POWER COMPANY
C/O BALCH & BINGHAM LLP
ATTN ERIC T RAY
PO BOX 306
BIRMINGHAM, AL 35201                             457      8/7/2013    Exide Technologies, LLC              $595.20                                                                                          $595.20
SALSON LOGISTICS INC
888 DOREMUS AVE
NEWARK, NJ 07114                                 458      8/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
UPCHURCH ELECTRICAL SUPPLY COMPANY
2800 S ZERO ST
FORT SMITH, AR 72901                             459      8/8/2013    Exide Technologies, LLC                                                          $0.00               $0.00                              $0.00
CENTRAL POWER SYSTEMS & SERVICES INC
9200 LIBERTY DR
LIBERTY, MO 64068                                460      8/8/2013    Exide Technologies, LLC            $24,447.74                                                                                      $24,447.74
J W MOBILE SHREDDING
C/O J W OUTFITTERS INC
3102 OAKCLIFF INDUSTRIAL ST
ATLANTA, GA 30340                                461      8/8/2013    Exide Technologies, LLC              $945.00                  $0.00                                  $0.00                            $945.00
LONG ISLAND LIGHTING COMPANY DBA LIPA
C/O SUZANNE BRIENZA, ESQ
15 PARK DR
MELVILLE, NY 11747                               462      8/1/2013    Exide Technologies, LLC             $1,440.73                                                                                       $1,440.73
KEYSPAN GAS EAST CORP DBA NATIONAL GRID
C/O SUZANNE BRIENZA, ESQ
15 PARK DR
MELVILLE, NY 11747                               463      8/1/2013    Exide Technologies, LLC              $259.30                                                                                          $259.30
DC GOV'T OFFICE OF TAX AND REVENUE
PO BOX 37559
WASHINGTON, DC 20013                             464      8/6/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00



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                                                                                                        Amount                                                        Amount
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                              465      8/5/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
PQ SYSTEMS
210-B E SPRING VALLEY PIKE
DAYTON, OH 45458                                    466      8/9/2013    Exide Technologies, LLC             $2,695.00                                                                                       $2,695.00
THE M & M ASSOCIATES
5115 KESTER AVE #306
SHERMAN OAKS, CA 91403                              467      8/9/2013    Exide Technologies, LLC              $289.79                                                         $0.00                            $289.79
PRO CLEAN JANITORIAL SERVICE INC
PO BOX 1501
FORT SMITH, AR 72902                                468      8/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
STRATUS BUILDING SOLUTIONS
10530 VICTORY BLVD
NORTH HOLLYWOOD, CA 91606                           469     8/10/2013    Exide Technologies, LLC             $5,200.00                 $0.00              $0.00               $0.00                          $5,200.00
CITY OF OREGON
PO BOX 225
106 S MAIN ST
OREGON, MO 64473                                    470     8/10/2013    Exide Technologies, LLC            $16,001.04                                                                                      $16,001.04
M-D METALS SCRAP & SALVAGE
8179 DECATUR CONEHATTA RD
DECATUR, MS 39327                                   471     8/10/2013    Exide Technologies, LLC             $8,608.60                                                        $0.00                          $8,608.60
ACCESS TCA INC
ATTN W RAHN, CONTROLLER
ONE MAIN ST
WHITINSVILLE, MA 01588                              472     8/12/2013    Exide Technologies, LLC            $32,025.20                                                        $0.00                         $32,025.20
MONTGOMERY COMMUNICATIONS
222 W 6TH ST
JUNCTION CITY, KS 66441                             473     8/12/2013    Exide Technologies, LLC              $717.89                                                         $0.00                            $717.89
P & K MIDWEST INC
102 S VAN BUREN
ENID, OK 73703                                      474     8/12/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
P & K EQUIPMENT INC
102 S VAN BUREN
ENID, OK 73703                                      475     8/12/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
KCPI SECURITY INC
1228 E WALNUT ST
RAYMORE, MO 64083                                   476     8/13/2013    Exide Technologies, LLC             $5,760.00                                                                                       $5,760.00
KERR PUMP AND SUPPLY INC
12880 CLOVERDALE
OAK PARK, MI 48237                                  477     8/13/2013    Exide Technologies, LLC            $12,388.45                                                                                      $12,388.45
ALLIED WASTE SERVICES
ATTN BERNARD MARTIN, COMMERCIAL COLLECTIONS
42600 BOYCE RD
FREMONT, CA 94538                                   478     8/13/2013    Exide Technologies, LLC              $256.92                                                                                          $256.92
SECURITAS SECURITY SERVICES USA INC
ATTN TOM ROSZHART, CREDIT DEPT
4330 PARK TERRACE DR
WESTLAKE VILLAGE, CA 91361                          479     8/13/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                        Amount                                                       Amount
R & W DEV & LOG INC
410 STATE RTE 136 E
CALHOUN, KY 42327-9620                              480     8/13/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MEMPHIS LIGHT GAS & WATER DIVISION
ATTN CREDIT OPERATIONS
PO BOX 430
MEMPHIS, TN 38101-0430                              481      8/9/2013    Exide Technologies, LLC              $1,492.11                                                                                     $1,492.11
GULF POWER COMPANY
ATTN D GAINES
ONE ENERGY PL
BIN 712
PENSACOLA, FL 32520-0712                            482      8/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
OKLAHOMA TAX COMMISSION
GENERAL COUNSEL'S OFFICE
120 N ROBINSON STE 2000 W
OKLAHOMA CITY, OK 73102-7471                        483      8/8/2013    Exide Technologies, LLC               $202.04             $1,542.92                                                                $1,744.96
JEFFERSON COUNTY ALABAMA REVENUE DEPARTMENT
C/O A ALLEN RAMSEY PC
201 20TH ST S
BIRMINGHAM, AL 35210-1635                           484     8/12/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
CONSUMERS ENERGY COMPANY
ATTN MICHAEL G WILSON
ONE ENERGY PLAZA
JACKSON, MI 49201                                   485     8/12/2013    Exide Technologies, LLC               $538.12                                                                                        $538.12
CHEMTRADE REFINERY SERVICES INC
C/O BURNHAM LAW ASSOCIATES LLC
ATTN NOEL C BURNHAM
10 BERGER CT
MIDDLETOWN, DE 19709                                486     8/12/2013    Exide Technologies, LLC                                                                        $20,349.33                         $20,349.33
CHEMTRADE LOGISTICS (US) INC
C/O BURNHAM LAW ASSOCIATES LLC
ATTN NOEL C BURNHAM
10 BERGER CT
MIDDLETOWN, DE 19709                                487     8/12/2013    Exide Technologies, LLC                                                                        $42,392.07                         $42,392.07
MILE HIGH RIGGING INC
6400 E STAPLETON DR S UNIT C
DENVER, CO 80216                                    488     8/14/2013    Exide Technologies, LLC             $18,676.60                                                  $4,488.40                         $23,165.00
EAST PENN MANUFACTURING COMPANY INC
1 DEKA RD - PO BOX 147
LYON STATION, PA 19536-0147                         489     8/15/2013    Exide Technologies, LLC            $167,144.67                                                 $83,856.75                        $251,001.42
MILLENNIUM TECHNOLOGIES INC
ATTN HARRY WONDERS
5566 OLD WILLIAM PENN HWY
EXPORT, PA 15632                                    490     8/15/2013    Exide Technologies, LLC             $12,997.82                                                                                    $12,997.82
ACCURATE SUPERIOR SCALE OF KC INC
C/O ACCURATE SUPERIOR SCALE COMPANY
1830 LINN ST
NORTH KANSAS CITY, MO 64116                         491     8/15/2013    Exide Technologies, LLC              $6,366.67                                                                                     $6,366.67



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                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                             Amount                                                       Amount
SIERRA LIQUIDITY FUND, LLC AS TRANSFEREE OF BOSCHERT
EQUIPMENT CO
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                    492     8/15/2013    Exide Technologies, LLC              $9,715.21                                                  $4,047.00                         $13,762.21
TESTAMERICA LABORATORIES INC
4101 SHUFFEL ST NW
NORTH CANTON, OH 44720                                   493     8/15/2013    Exide Technologies, LLC              $6,599.95                                                      $0.00                          $6,599.95
AUTO-OWNERS INSURANCE COMPANY
C/O GIBSON & SHARPS PSC
ATTN PAUL G JOHNSON, ESQ
250 N SUNNY SLOPE RD STE 122
BROOKFIELD, WI 53005-4814                                494     8/15/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
WATSON MECHANICAL SERVICES INC
1743 DALLAS DR
BATON ROUGE, LA 70806                                    495     8/15/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
NORFALCO INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            496     8/16/2013    Exide Technologies, LLC              $5,109.17                                                 $96,829.79                        $101,938.96
NORFALCO INC
ATTN DOUGLAS CODISPOTI
6000 LOMBARDO CTR STE 650
SEVEN HILLS, OH 44133                                    496     8/16/2013    Exide Technologies, LLC             $16,481.41                                                                                    $16,481.41
NCM DEMOLITION AND REMEDIATION LP
C/O SHUTTS & BOWEN LLP
ATTN JAMES A TIMKO, ESQ
300 S ORANGE AVE STE 1000
ORLANDO, FL 32801                                        497     8/16/2013    Exide Technologies, LLC            $150,791.07                                                                                   $150,791.07
BULL'S EYE INDOOR RANGE LLC
C/O BRIAN BORGELT
414 PUYALLUP AVE STE B
TACOMA, WA 98421                                         498     8/16/2013    Exide Technologies, LLC              $1,753.68                                                                                     $1,753.68
HOYT TRANSPORTATION INC
ATTN MICHAEL R HOYT
28245 EL TORO CUT OFF RD
LAKE ELSINORE, CA 92532                                  499     8/16/2013    Exide Technologies, LLC            $106,804.29                                                                                   $106,804.29
WESTECH RECYCLERS
1008 W MADISON
PHOENIX, AZ 85007                                        500     8/17/2013    Exide Technologies, LLC               $674.40                                                                                        $674.40
THE UNIVERSITY OF IOWA
DBA U OF I ENV HEALTH & SAFETY
120 JESSUP HALL
IOWA CITY, IA 52242-1316                                 501     8/17/2013    Exide Technologies, LLC               $918.00                                                                                        $918.00
COLLABORCHAIN LLC
3101 HOWELL MILL RD NW
UNIT 128
ATLANTA, GA 30327                                        502     8/17/2013    Exide Technologies, LLC              $5,361.69                $0.00                                                                $5,361.69



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                                                                                                       Amount                                                      Amount
RICKIE P TRACY
5097 WELLINGTON PARK CIR D64
ORLANDO, FL 32839                                  503     8/17/2013    Exide Technologies, LLC                                     $0.00                                                                     $0.00
FIRING CIRCUITS INC
50 WATERVIEW DR
SHELTON, CT 06484                                  504     8/17/2013    Exide Technologies, LLC             $20,285.77                                                                                   $20,285.77
SPRINT NEXTEL
ATTN BANKRUPTCY DEPT
PO BOX 7949
OVERLAND PARK, KS 66207-0949                       505     8/16/2013    Exide Technologies, LLC               $699.29                                                                                       $699.29
AMERICAN INFOSOURCE LP
AS AGENT FOR T MOBILE / T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                       506     8/16/2013    Exide Technologies, LLC               $530.19                                                                                       $530.19
RELIANT ENERGY NORTHEAST LLC
DBA NRG BUSINESS SOLUTIONS
PO BOX 1046
HOUSTON, TX 77251-1046                             507     8/19/2013    Exide Technologies, LLC            $281,882.97                                                                                  $281,882.97
TRUCK ENTERPRISES MANASSAS INC
ATTN MICHAEL L PETERS, OFFICE MANAGER
9599 HAWKINS DR
MANASSAS, VA 20109                                 508     8/19/2013    Exide Technologies, LLC              $1,282.50                                                                                    $1,282.50
PRO CLEAN JANITORIAL SERVICE INC
PO BOX 1501
FORT SMITH, AR 72902                               509     8/19/2013    Exide Technologies, LLC             $17,842.60                                                                                   $17,842.60
TXU ENERGY RETAIL COMPANY LLC
C/O BANKRUPTCY DEPARTMENT
PO BOX 650393
DALLAS, TX 75265-0393                              510     8/19/2013    Exide Technologies, LLC              $5,718.01                                                                                    $5,718.01
FRANKIE'S GOLF CARTS
2011 N TAYLOR AVE
GARDEN CITY, KS 67846                              511     8/19/2013    Exide Technologies, LLC              $1,968.40                                                     $0.00                          $1,968.40
GRUNKE, ANN
23 HIGHLAND AVE
MONTVILLE, NJ 07045-9526                           512     8/19/2013    Exide Technologies, LLC                                                        $0.00                                                  $0.00
STATE OF NEW JERSEY - DIVISION OF TAXATION
BANKRUPTCY SECTION
PO BOX 245
TRENTON, NJ 08695-0245                             513     8/19/2013    Exide Technologies, LLC                                     $0.00                                                                     $0.00
W W GRAINGER INC
ATTN MES17859401507
7300 N MELVINA
NILES, IL 60714                                    514     8/19/2013    Exide Technologies, LLC             $99,536.54                                 $0.00          $29,997.52                        $129,534.06
XACT DATA DISCOVERY
5800 FOXRIDGE DR STE 406
MISSION, KS 66202                                  515     8/19/2013    Exide Technologies, LLC             $43,680.83                                                                                   $43,680.83
AMERICAN SECURITY OF GREENVILLE LLC
PO BOX 486
GREENVILLE, SC 29602                               516     8/20/2013    Exide Technologies, LLC              $7,681.25                                                                                    $7,681.25


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                                                                                                        Amount                                                       Amount
PERFECTION GROUP INC
ATTN MARY ANN STRALEY
2649 COMMERCE BLVD
CINCINNATI, OH 45241                                517     8/20/2013    Exide Technologies, LLC             $33,618.93                                                      $0.00                         $33,618.93
PACIFIC STEEL & RECYCLING
PO BOX 1549
GREAT FALLS, MT 59403                               518     8/20/2013    Exide Technologies, LLC             $26,035.24                                                                                    $26,035.24
BENNETT JONES LLP
ATTN MARK SMYTH
3400 ONE FIRST CANADIAN PL
PO BOX 130
TORONTO ON M5X 1A4

CANADA                                              519     8/20/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CELLUSUEDE PRODUCTS INC
C/O MONZACK MERSKY MCLAUGHLIN & BROWDER P A
ATTN BRIAN J MCLAUGHLIN, ESQ
1201 N ORANGE ST STE 400
WILMINGTON, DE 19801-1155                           520     8/19/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
FERRO MAGNETICS CORPORATION
C/O POLSINELLI PC
ATTN JARRETT VINE
222 DELAWARE AVE STE 1101
WILMINGTON, DE 19801                                521     8/20/2013    Exide Technologies, LLC                                                                       $186,168.58                        $186,168.58
JIMMY E DUST
329 JENKINS HOLLOW RD
BLUFF CITY, TN 37618-4119                           522     8/21/2013    Exide Technologies, LLC             $15,454.61                $0.00                                                               $15,454.61
COLONIAL CHEMICAL COMPANY
C/O CAPEHART & SCATCHARD, PA
ATTN: WILLIAM G. WRIGHT, ESQ
8000 MIDLANTIC DRIVE, SUITE 300S
MOUNT LAUREL, NJ 08054                              523     8/21/2013    Exide Technologies, LLC             $18,381.44                                                                                    $18,381.44
RELIANT ENERGY RETAIL SERVICES, LLC
P.O. BOX 1046
HOUSTON, TX 77251-1046                              524     8/21/2013    Exide Technologies, LLC              $1,381.85                                                                                     $1,381.85
PRODUCERS CHEMICAL COMPANY
1960 BUCKTAIL LANE
SUGAR GROVE, IL 60554                               525     8/22/2013    Exide Technologies, LLC            $102,434.52                                                 $23,364.12                        $125,798.64
HERITAGE ENVIRONMENTAL SERVICES LLC
3719 W 96TH ST
INDIANAPOLIS, IN 46268                              526     8/22/2013    Exide Technologies, LLC            $339,007.67                                                                                   $339,007.67
FACTOR SYSTEMS INC
100 AMERICAN METRO BLVD STE 150
HAMILTON, NJ 08619                                  527     8/22/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
KANSAS GAS SERVICE
ATTN BANKRUPTCY TEAM
PO BOX 3535
TOPEKA, KS 66601-3535                               528     8/16/2013    Exide Technologies, LLC             $35,027.17                                                                                    $35,027.17




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                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                  Amount                                                       Amount
SUPERIOR GRAPHITE CO
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                                        529     8/19/2013    Exide Technologies, LLC             $12,240.00                                                                                    $12,240.00
LITTLER MENDELSON PC
650 CALIFORNIA ST 20TH FL
SAN FRANCISCO, CA 94108                                       530     8/20/2013    Exide Technologies, LLC              $5,279.00                                                                                     $5,279.00
PITNEY BOWES INCORPORATED
ATTN BANKRUPTCY DEPT
4901 BELFORT RD STE 120
JACKSONVILLE, FL 32256                                        531     8/20/2013    Exide Technologies, LLC              $1,079.70                                                                                     $1,079.70
PACIFIC GAS AND ELECTRIC COMPANY
C/O BANKRUPTCY DEPARTMENT
PO BOX 8329
STOCKTON, CA 95208                                            532     8/21/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LANDSTAR RANGER INC
ATTN DAWN BOWERS
13410 SUTTON PARK DR S
JACKSONVILLE, FL 32224                                        533     8/19/2013    Exide Technologies, LLC            $126,094.27                                                                                   $126,094.27
ARNEL COMPRESSOR INC
114 N SUNSET AVE
CITY OF INDUSTRY, CA 91744                                    534     8/23/2013    Exide Technologies, LLC              $6,771.71                                                                                     $6,771.71
QUINN COMPANY
10006 ROSE HILLS RD
CITY OF INDUSTRY, CA 90601                                    535     8/23/2013    Exide Technologies, LLC               $870.00                                                       $0.00                            $870.00
ALLIED HANDLING EQUIPMENT CO
C/O SWANSON MARTIN & BELL LLP
ATTN JOSEPH P KINCAID
330 N WABASH STE 3300
CHICAGO, IL 60612                                             536     8/23/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MAR-BAL INC
10095 QUEENS WAY
CHAGRIN FALLS, OH 44023                                       537     8/23/2013    Exide Technologies, LLC              $2,970.00                                                                                     $2,970.00
CALIFORNIA COMMUNITIES AGAINST TOXICS
PO BOX 845
ROSAMOND, CA 93560                                            538     8/24/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00

LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF RESCO PRODUCTS
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                          539     8/24/2013    Exide Technologies, LLC             $30,755.32                                                                                    $30,755.32
HAVE POTTY WILL TRAVEL II RONNIE FLINT
C/O RONNIE FLINT
213 ADA ST
FORTESCUE, MO 64437                                           540     8/24/2013    Exide Technologies, LLC               $980.89                 $0.00                                                                  $980.89
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF COPPS
INDUSTRIES INC
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                            541     8/24/2013    Exide Technologies, LLC                                                                        $23,866.74                         $23,866.74

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                                                                                                                Amount                                                    Amount
DOMINGO RIVAS
1568 CHIVALRY
LITTLE ELM, TX 75068                                        542     8/24/2013    Exide Technologies, LLC             $7,654.60              $0.00                                                                $7,654.60
BREHOB CORPORATION
ATTN LINDA COFFEY
PO BOX 2023
INDIANAPOLIS, IN 46206-2023                                 543     8/26/2013    Exide Technologies, LLC            $67,233.87                                                                                  $67,233.87
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR AVATEL TECHNOLOGIES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            544     8/26/2013    Exide Technologies, LLC             $9,867.00                                                                                   $9,867.00

SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR OLSON MANUFACTURING & DISTRIBUTION - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            545     8/26/2013    Exide Technologies, LLC                                                                        $875.00                            $875.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR DYNAFORM TECHNOLOGIES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            546     8/26/2013    Exide Technologies, LLC                                                                     $14,316.00                         $14,316.00
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF TITANIC CONTROLS
INC
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         547     8/26/2013    Exide Technologies, LLC            $36,957.17                                                                                  $36,957.17
OLSON MANUFACTURING & DISTRIBUTION INC
8310 HEDGE LANE TER
SHAWNEE, KS 66227                                           548     8/26/2013    Exide Technologies, LLC               $96.22                                                                                       $96.22
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR WIESE - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            549     8/26/2013    Exide Technologies, LLC              $204.70                                                 $2,937.77                          $3,142.47
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR BEARD IMPLEMENT - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                       550     8/26/2013    Exide Technologies, LLC                                                                          $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR TITANIC CONTROLS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            551     8/26/2013    Exide Technologies, LLC                                                                      $2,343.84                          $2,343.84
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR AMERICAN FIRST AID SERVICES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                            552     8/26/2013    Exide Technologies, LLC                                                                         $48.18                             $48.18
DYNAFORM TECHNOLOGIES INC
1862-D TOLLGATE RD
PALM, PA 18070                                              553     8/26/2013    Exide Technologies, LLC              $359.09                                                                                      $359.09
WIESE
1435 WOODSON RD
ST LOUIS, MO 63132                                          554     8/26/2013    Exide Technologies, LLC            $34,474.93                                                                                  $34,474.93

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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
DET NORSKE VERITAS CERTIFICATION INC
ATTN MARY BATY
1400 RAVELLO DR
KATY, TX 77449                                         555     8/26/2013    Exide Technologies, LLC             $36,470.53                                                                                     $36,470.53
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF IBT INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  556     8/26/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LENOX INSTRUMENT COMPANY INC
265 ANDREWS RD
TREVOSE, PA 19053                                      557     8/26/2013    Exide Technologies, LLC              $3,728.17                                                                                      $3,728.17
DODGE CITY INTERNATIONAL INC
2201 E WYATT EARP BLVD
DODGE CITY, KS 67801                                   558     8/26/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RESOURCES GLOBAL PROFESSIONALS
17101 ARMSTRONG AVE
IRVINE, CA 92614                                       559     8/26/2013    Exide Technologies, LLC             $52,642.11                                                                                     $52,642.11
SEELYE PLASTICS
C/O ACTIVAR INC DBA SEELYE PLASTICS
9700 NEWTON AVE S
BLOOMINGTON, MN 55431                                  560     8/26/2013    Exide Technologies, LLC              $7,748.89                                                                                      $7,748.89
ALL-LINES LEASING
A DIV OF FIRST WESTERN BANK & TRUST
100 PRAIRIE CENTER DR
EDEN PRAIRIE, MN 55344                                 561     8/26/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
RW CONNECTION INC
ATTN CLARENCE SMITH
936 LINKS AVE
LANDISVILLE, PA 17538                                  562     8/27/2013    Exide Technologies, LLC               $445.85                                                                                         $445.85
AIR LIQUIDE INDUSTRIAL US LP
ATTN LEGAL DEPARTMENT
2700 POST OAK BLVD STE 325
HOUSTON, TX 77056                                      563     8/27/2013    Exide Technologies, LLC            $104,551.89                                                                                    $104,551.89
KATTEN MUCHIN ROSENMAN LLP
ATTN DAVID E AVRAHAM
525 W MONROE ST STE 1900
CHICAGO, IL 60661-3693                                 564     8/27/2013    Exide Technologies, LLC            $305,349.90                                                                                    $305,349.90
SUNBELT ELECTRIC
ATTN HELEN
6265 SAN FERNANDO RD
GLENDALE, CA 91201                                     565     8/27/2013    Exide Technologies, LLC                                                     $50,188.00               $0.00                         $50,188.00
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF CONVERTED
PRODUCTS INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  566     7/29/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00



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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
CORRE OPPORTUNITIES FUND, L.P. AS TRANSFEREE OF
TRIUMVIRATE ENVIRONMENTAL INC
ATTN CLAIMS PROCESSING (BANKRUPTCY)
1370 AVENUE OF THE AMERICAS, 29TH FLOOR
NEW YORK, NY 10019                                     567      8/8/2013    Exide Technologies, LLC                                                                         $13,207.22                         $13,207.22
CORRE OPPORTUNITIES QUALIFIED MASTER FUND, LP AS
TRANSFEREE OF TRIUMVIRATE ENVIRONMENTAL INC
ATTN: CLAIMS PROCESSING (BANKRUPTCY)
1370 AVENUE OF THE AMERICAS, 29TH FLOOR
NEW YORK, NY 10019                                     567      8/8/2013    Exide Technologies, LLC                                                                         $64,939.00                         $64,939.00
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF CONVERTED
PRODUCTS INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  568     8/22/2013    Exide Technologies, LLC                                                                         $64,076.39                         $64,076.39
SEMINOLE ENERGY SERVICES LLC
C/O BURNHAM LAW ASSOCIATES LLC
ATTN NOEL C BURNHAM
10 BERGER CT
MIDDLETOWN, DE 19709                                   569     8/22/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
MOTOR APPLIANCE CORPORATION
C/O CONNOLLY GALLAGHER LLP
ATTN KELLY M CONLAN
1000 WEST ST STE 1400
WILMINGTON, DE 19899                                   570     8/27/2013    Exide Technologies, LLC                                                                        $306,565.29                        $306,565.29
AT&T MOBILITY II LLC
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY, RM 3A 231
BEDMINSTER, NJ 07921                                   571     8/28/2013    Exide Technologies, LLC             $45,486.13                                                                                     $45,486.13
ABF FREIGHT SYSTEM INC
ATTN BANKRUPTCY CLERK
PO BOX 10048
FORT SMITH, AR 72917-0048                              572     8/20/2013    Exide Technologies, LLC            $245,187.67                                                                                    $245,187.67
ASSOCIATED EQUIPMENT SALES CO LLC
ATTN SHARLA DEAN
14535 W 96 TERR
LENEXA, KS 66215                                       573     8/29/2013    Exide Technologies, LLC              $1,065.62                                                   $3,931.00                          $4,996.62
REMEDIATION SERVICES INC
C/O GRANT SHERWOOD, PRESIDENT
PO BOX 587
INDEPENDENCE, KS 67301                                 574     8/29/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
MARTIN PRODUCT SALES LLC
ATTN CREDIT DEPARTMENT
4200 STONE RD
KILGORE, TX 75662                                      575     8/29/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                 Current General                                               Current 503(b)(9)
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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
CAPP INC
ATTN DAVID I KLEIN, CPA
201 MARPLE AVE
CLIFTON HEIGHTS, PA 19018                        576     8/29/2013    Exide Technologies, LLC            $29,512.22                                                                                      $29,512.22
KELLY SERVICES INC
999 WEST BIG BEAVER
TROY, MI 48317                                   577      7/8/2013    Exide Technologies, LLC            $12,224.61                                                                                      $12,224.61
COMMONWEALTH EDISON CO
ATTN BANKRUPTCY SECTION
3 LINCOLN CENTER
OAKBROOK TERRACE, IL 60181                       578     8/26/2013    Exide Technologies, LLC             $6,098.03                                                                                       $6,098.03
CERTIFIED LABS
2727 CHEMSEARCH BLVD
IRVING, TX 75062                                 579     8/26/2013    Exide Technologies, LLC              $578.33                                                                                          $578.33
CHEM-AQUA
2727 CHEMSEARCH BLVD
IRVING, TX 75062                                 580     8/26/2013    Exide Technologies, LLC            $31,682.64                                                                                      $31,682.64
COVERALL NORTH AMERICA INIC
350 SW 12TH AVE
DEERFIELD BEACH, FL 33442                        581     8/26/2013    Exide Technologies, LLC              $780.00                                                                                          $780.00
COHN REZNICK LLP
333 THORNALL ST 6TH FL
EDISON, NJ 08837                                 582     8/27/2013    Exide Technologies, LLC            $37,666.00                                                                                      $37,666.00
A & I PALLETS
9405 S ALAMEDA ST
LOS ANGELES, CA 90002                            583     8/29/2013    Exide Technologies, LLC            $10,924.53                                                                                      $10,924.53
METAL CONVERSION TECHNOLOGIES LLC
PO BOX 1026
CARTERSVILLE, GA 30120                           584     8/30/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
SUNBEAM PROPERTIES INC
1401 79TH ST CAUSEWAY
MIAMI, FL 33141                                  585     8/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GUARDIAN DOOR & DOCK
508 W 155TH ST
GARDENA, CA 90248                                586     8/30/2013    Exide Technologies, LLC             $1,975.31                                    $0.00                                              $1,975.31
ADVANCE THERMAL CORPORATION
C/O TRANSCO INC
ATTN KRISTINE STROM
55 E JACKSON BLVD STE 2100
CHICAGO, IL 60604                                587     8/31/2013    Exide Technologies, LLC             $4,079.20                                                      $240.00                          $4,319.20
GEOTECHNOLOGY INC
11816 LACKLAND RD STE 150
ST LOUIS, MO 63146                               588      9/3/2013    Exide Technologies, LLC             $7,939.00                                                                                       $7,939.00
MAC PROCESS LLC
ATTN RICHARD SMITH
7901 NW 107TH TERR
KANSAS CITY, MO 64153                            589      9/3/2013    Exide Technologies, LLC              $190.86                                                                                          $190.86
JAHN TRANSFER
2414 HEMSTOCK DR
LA CROSSE, WI 54603                              590      9/3/2013    Exide Technologies, LLC              $659.55                                                                                          $659.55

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                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                               Amount                                                       Amount
ACTIVE TRANSIT INC
231 E ALESSANDRO BL #A-334
RIVERSIDE, CA 92508                                        591      9/3/2013    Exide Technologies, LLC             $3,502.40                                                                                      $3,502.40
A&I PALLETS
9405 S ALAMEDA ST
LOS ANGELES, CA 90002                                      592      9/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR PROHEAT INC - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           593      9/3/2013    Exide Technologies, LLC              $474.90                                                   $13,818.60                         $14,293.50
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR DE-MAR & ASSOCIATES INC - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                      594      9/3/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
US DEPARTMENT OF TRANSPORTATION - FEDERAL
MOTOR CARRIER SAFETY ADMINISTRATION
FMCSA WESTERN SERVICE CENTER
ATTN JEDD M MILOUD, TRIAL ATTORNEY
12600 W COLFAX AVE STE B-300
LAKEWOOD, CO 80215                                         595      9/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
WILLIAMS PATENT CRUSHER AND PULVERIZER CO INC
813 MONTGOMERY
ST LOUIS, MO 63102                                         596      9/4/2013    Exide Technologies, LLC            $22,044.40                                                       $0.00                         $22,044.40
MOVEMENT SEARCH LLC
ATTN DOUGLAS SCOTT
20 W WASHINGTON STE 14
CLARKSTON, MI 48346                                        597      9/4/2013    Exide Technologies, LLC            $45,682.50                                                       $0.00                         $45,682.50
NATIONAL EXECUTIVE RESOURCES INC
8361 SANGRE DE CRISTO RD STE 150
LITTLETON, CO 80127                                        598      9/4/2013    Exide Technologies, LLC            $25,000.00                                                                                     $25,000.00
METRO METALS CORPORATION
2576 DOSWELL AVE
ST PAUL, MN 55108                                          599      9/4/2013    Exide Technologies, LLC            $28,003.05                                                  $24,150.27                         $52,153.32
CBH TRUCKING CO INC
5615 US HWY 64
FARM, NM 87401                                             600      9/4/2013    Exide Technologies, LLC             $3,553.40                                                   $2,601.90                          $6,155.30
S J DALTON INC DBA DALTON & CO
1901 W KILGORE AVE
MUNCIE, IN 47304                                           601      9/4/2013    Exide Technologies, LLC            $12,696.99                                                   $2,604.90                         $15,301.89
M J REIDER ASSOCIATES INC
ATTN BARBARA COYLE
107 ANGELICA ST
READING, PA 19611                                          602      9/5/2013    Exide Technologies, LLC            $13,516.00                                                                                     $13,516.00
LAWRENCE VOLPERT
9540 PARK LANE
DES PLAINES, IL 60016                                      603      9/5/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
BEES INDUSTRIAL SERVICES LLC
ATTN BONNIE STEIN
1214 5TH ST S
HOPKINS, MN 55343-7856                                     604      9/5/2013    Exide Technologies, LLC             $7,067.32                                                                                      $7,067.32

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                Creditor Name and Address                Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                               Amount                                                       Amount
THE SHAW GROUP INC
C/O CB&I FORMALLY THE SHAW GROUP INC
ATTN BRANDON POLITZ
4171 ESSEN LANE
BATON ROUGE, LA 70809                                      605      9/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
RYDER TRUCK RENTAL INC
ATTN JENNIFER MORRIS
6000 WINDWARD PKWY
ALPHARETTA, GA 30005                                       606      9/6/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF IBT INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                      607      9/6/2013    Exide Technologies, LLC            $49,558.27                                                  $14,613.04                         $64,171.31
WEIR SLURRY GROUP INC
ATTN LINDA CARR
PO BOX 7610
MADISON, WI 53707-7610                                     608      9/4/2013    Exide Technologies, LLC            $46,346.00                                                                                     $46,346.00
OHIO BUREAU OF WORKERS' COMPENSATION
PO BOX 15567
COLUMBUS, OH 43215-0567                                    609      9/3/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
HI-LINE INC
2121 VALLEY VIEW LN
DALLAS, TX 75234                                           610      9/4/2013    Exide Technologies, LLC              $222.80                                                                                         $222.80
SUMMERS HARDWARE & SUPPLY CO
400 BUFFALO ST
PO BOX 210
JOHNSON CITY, TN 37605-0210                                611      9/9/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
HENDRICKSON TRUCKING INC
PO BOX 292219
SACRAMENTO, CA 95829                                       612      9/9/2013    Exide Technologies, LLC            $22,384.04                                                                                     $22,384.04
CROSS COUNTRY FREIGHT SOLUTIONS
1841 HANCOCK DR
PO BOX 4030
BISMARCK, ND 58502                                         613      9/9/2013    Exide Technologies, LLC             $1,655.33                                                                                      $1,655.33
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
LANCASTER MOLD INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              614      9/9/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
ROGAN INC
400 S DEVILS GLEN RD
BETTENDORF, IA 52722                                       615      9/9/2013    Exide Technologies, LLC              $384.95                                                                                         $384.95
APPLIED THERMAL SYSTEMS
6111 HERITAGE PARK DR #A700
CHATTANOOGA, TN 37416                                      616      9/9/2013    Exide Technologies, LLC             $4,962.79                                                                                      $4,962.79
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR APPLIED THERMAL SYSTEMS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           617      9/9/2013    Exide Technologies, LLC              $105.79                                                    $5,031.00                          $5,136.79

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                                                                                                                                   Current Priority   Current Secured                         Current Admin     Total Current
                 Creditor Name and Address               Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                               Amount                                                        Amount
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR ADVANCED CONTROL SOLUTIONS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           618      9/9/2013    Exide Technologies, LLC               $199.00                                                   $12,493.00                          $12,692.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR ROGAN INC - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                      619      9/9/2013    Exide Technologies, LLC                                                                              $0.00                               $0.00
ROBINSON INDUSTRIES INC DBA FRAKES INDUSTRIAL
SALES & SERVICE
C/O NICKLOY & HIGDON
5540 PEBBLE VILLAGE LN STE 300
NOBLESVILLE, IN 46062                                      620     9/10/2013    Exide Technologies, LLC                                                                         $12,500.00                          $12,500.00
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF CMI
INTERNATIONAL INC
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                        621     9/11/2013    Exide Technologies, LLC             $22,100.00                                                       $0.00                          $22,100.00
VAN DORN DEMAG CORPORATION
ATTN MR DENNIS BUSS
11792 ALAMEDA DR
STRONGSVILLE, OH 44149                                     622     9/11/2013    Exide Technologies, LLC             $15,384.24                                                                                      $15,384.24
KEPNER-TREGOE INC
C/O PAULA BRUSKIEWITZ
116 VILLAGE BLVD STE 300
PRINCETON, NJ 08540                                        623     9/11/2013    Exide Technologies, LLC              $1,079.60                                                  $14,000.00                          $15,079.60

CHARVET NIGERIA LTD
C/O THE KISS MIX DRINKS COMPANY
ATTN ROBERT MILLAR
OFFICE 3, MAPLE SUITE, GUARDIAN HOUSE, BOROUGH RD
GODALMING SURREY GU7 2AE UK

UNITED KINGDOM                                             624     9/11/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                  $0.00            $0.00
SALSON LOGISTICS INC
888 DOREMUS AVE
NEWARK, NJ 07114                                           625     9/11/2013    Exide Technologies, LLC            $172,119.67                                                                                     $172,119.67
LOFTON SECURITY SERVICE
9414 INTERLINE AVE
BATON ROUGE, LA 70809                                      626     9/12/2013    Exide Technologies, LLC             $31,571.40                $0.00                                                                 $31,571.40
ROBERT HERRERA
C/O DEWITT ALGORRI & ALGORRI
ATTN MARK S ALGORRI, ESQ
25 E UNION ST
PASADENA, CA 91103                                         627     9/13/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
MEREDITH USED CAR SALES & RECYCLING LLC
PO BOX 116
207 E 2ND ST
MONTROSE, MO 64770                                         628     9/13/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00


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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                               Amount                                                        Amount
THE HOME INSURANCE COMPANY IN LIQUIDATION
ATTN KAREN TISDELL
55 S COMMERCIAL ST
MANCHESTER, NH 03101                                       629     9/13/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TRI-STATE FIRE EXTINGUISHER CO INC
PO BOX 1191
FORT SMITH, AR 72902                                       630     9/13/2013    Exide Technologies, LLC              $397.68                                                                                          $397.68
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR TRI-STATE FIRE EXTINGUISHER - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           631     9/13/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR CARL'S AUTO ELECTRIC - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           632     9/13/2013    Exide Technologies, LLC                                                                            $397.69                            $397.69
BALOG, DENNIS W
2176 PENSTONE LOOP
ROSEVILLE, CA 95747                                        633     9/13/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
FLSMIDTH SIOUX CITY INC
PO BOX 1108
SIOUX CITY, IA 51102                                       634     9/13/2013    Exide Technologies, LLC             $8,145.50                                                                                       $8,145.50
NEW PIG CORP
ONE PORK AVE
TIPTON, PA 16684                                           635     9/13/2013    Exide Technologies, LLC             $2,018.29                                                                                       $2,018.29
STROMQUIST
PO BOX 724688
ATLANTA, GA 31139                                          636     9/13/2013    Exide Technologies, LLC             $1,705.03                                                                                       $1,705.03
NALCO COMPANY
1601 W DIEHL RD
NAPERVILLE, IL 60563                                       637      9/9/2013    Exide Technologies, LLC             $2,452.14                                                                                       $2,452.14
BNSF RAILWAY COMPANY
ATTN JASON SPENCER
3001 LOU MENK
FORT WORTH, TX 76131                                       638     9/10/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
ZEP SALE & SERVICE
C/O ENGEL HAIRSTON & JOHANSON PC
ATTN JONATHAN E RAULSTON
PO BOX 11405
BIRMINGHAM, AL 35202                                       639      9/9/2013    Exide Technologies, LLC            $14,580.30                                                                                      $14,580.30
UNIVAR USA INC
ATTN CHERI JAMES
17425 NE UNION HILL RD
REDMOND, WA 98052                                          640      9/9/2013    Exide Technologies, LLC              $151.84                                                     $8,370.22                          $8,522.06
PPL ELECTRIC UTILITIES
827 HAUSMAN RD
ALLENTOWN, PA 18104                                        641     9/10/2013    Exide Technologies, LLC            $12,753.83                                                                                      $12,753.83




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
FCS CONSTRUCTION LLC
C/O ANDERSON TOBIN PLLC
ATTN AARON Z TOBIN/J SETH MOORE
13355 NOEL RD STE 1900
DALLAS, TX 75240                                       642     9/14/2013    Exide Technologies, LLC            $32,891.00                                                                                     $32,891.00
JCI INDUSTRIES INC
ATTN JIM DRISKELL, CONTROLLER
1161 SE HAMBLEN RD
LEE'S SUMMIT, MO 64081                                 643     9/16/2013    Exide Technologies, LLC             $1,566.55                                                                                      $1,566.55
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF
SOUTHERN CONTROLS INC
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                     644     9/16/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
SACRAMENTO MUNICIPAL UTILITY DISTRICT
SMUD
PO BOX 15830 MS A253
SACRAMENTO, CA 95852-1830                              645     9/16/2013    Exide Technologies, LLC             $1,289.50                                                                                      $1,289.50
LMC AUTOMOTIVE US INC
ATTN ANNE WELCH
4TH FL, CLARENDON HOUSE
52 CORNMARKET ST
OXFORD OX1 3HJ
UNITED KINGDOM                                         646     9/16/2013    Exide Technologies, LLC            $22,166.77                                                                                     $22,166.77
ROBERT HERRERA
C/O DEWITT ALGORRI & ALGORRI
ATTN MARK S ALGORRI, ESQ
25 E UNION ST
PASADENA, CA 91103                                     647     9/16/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AIR ANALYSIS LLC T/A SGF CONSULTING SERVICES
ATTN STEPHEN SCHELL
189 HAUSMAN RD
LENHARTSVILLE, PA 19534                                648     9/17/2013    Exide Technologies, LLC             $5,800.00                                                       $0.00                          $5,800.00
SOUTHERN COUNTIES LUBRICANTS LLC
ATTN LEGAL DEPT
1800 W KATELLEA AVE STE 400
ORANGE, CA 92867                                       649     9/17/2013    Exide Technologies, LLC             $5,120.37                                                                                      $5,120.37
HULETT AND SON AUTO SALVAGE
1706 OSAGE ST
CRESTON, IA 50801                                      650     9/17/2013    Exide Technologies, LLC             $2,041.00                                                                                      $2,041.00
TENNESSEE COMMERCIAL WAREHOUSE INC
ATTN CYNTHIA MOON, GENERAL COUNSEL
22 STANLEY ST
NASHVILLE, TN 37210                                    651     9/17/2013    Exide Technologies, LLC            $17,306.42                                                                                     $17,306.42
CHEMTRADE REFINERY SERVICES INC
C/O FROST BROWN TODD LLC
ATTN SARA L ABNER, ESQ
400 W MARKET ST 32ND FL
LOUISVILLE, KY 40202-3363                              652     9/18/2013    Exide Technologies, LLC            $25,252.63                                                                                     $25,252.63


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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
CHEMTRADE LOGISTICS (US) INC
C/O FROST BROWN TODD LLC
ATTN SARA L ABNER, ESQ
400 W MARKET ST 32ND FL
LOUISVILLE, KY 40202-3363                                653     9/18/2013    Exide Technologies, LLC            $51,487.74                                                                                      $51,487.74
ENERSYS DELAWARE INC F/K/A ENERSYS INC
C/O STEVENS & LEE PC
ATTN ROBERT LAPOWSKY
1818 MARKET ST 29TH FL
PHILADELPHIA, PA 19103                                   654     9/18/2013    Exide Technologies, LLC        $6,250,000.00                                     $0.00                                           $6,250,000.00
ASSOCIATED EQUIPMENT CORP
5043 FARLIN AVE
ST LOUIS, MO 63115                                       655     9/17/2013    Exide Technologies, LLC            $41,446.11                                                   $22,092.39                         $63,538.50
HEUBEL MATERIAL HANDLING INC
ATTN NANCY STREETER
611 NE EQUITABLE RD
KANSAS CITY, MO 64120                                    656     9/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR CLARK'S TOOL - CLAYCOMO
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            657     9/18/2013    Exide Technologies, LLC                                                                          $8,448.08                          $8,448.08
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR KANKAKEE AUTO RECYCLERS INC
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            658     9/18/2013    Exide Technologies, LLC                                                                          $1,950.00                          $1,950.00
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR HOT STAMP CO, THE - JACKSONVILLE
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            659     9/18/2013    Exide Technologies, LLC              $382.31                                                     $5,034.20                          $5,416.51
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR LA-CO INDUSTRIES
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            660     9/18/2013    Exide Technologies, LLC                                                                          $4,156.50                          $4,156.50
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR NICKELSON INDUSTRIAL
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            661     9/18/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
HYPHEN TRANSPORTATION MANAGEMENT INC
107 ALFRED KUEHNE BLVD
BRAMPTON ONTARIO L6T 4K3 CANADA

CANADA                                                   662     9/18/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
SPENCER FANE BRITT & BROWNE LLP
ATTN JAMES T PRICE, ESQ
1000 WALNUT ST STE 1400
KANSAS CITY, MO 64106                                    663     9/19/2013    Exide Technologies, LLC            $29,859.82                                                                                      $29,859.82




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
IPREO HOLDINGS LLC
INCLUDES I-DEAL, LLC BIGDOUGH.COM
ATTN GENERAL COUNSEL
1359 BROADWAY 2ND FL
NEW YORK, NY 10018                                664     9/19/2013    Exide Technologies, LLC             $35,000.00                                                                                    $35,000.00
CARTWRIGHT LOGISTICS SERVICES
ATTN JEFF BAKALAR, DIRECTOR OF FINANCE
11901 CARTWRIGHT AVE
GRANDVIEW, MO 64030                               665     9/19/2013    Exide Technologies, LLC            $544,721.02                                                                                   $544,721.02
AIRGAS SAFETY
W185N11300 WHITNEY DR
GERMANTOWN, WI 53022                              666     9/13/2013    Exide Technologies, LLC              $3,388.03                                                                                     $3,388.03
AEROTEK INC
ATTN JULIE HASSENPLUG
7301 PARKWAY DR
HANOVER, MD 21076                                 667     9/16/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
JASON C BYAS
200 WHITE TOP RD
BLUFF CITY, TN 37618-1540                         668     9/17/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
JAMES H BERGMAN
PO BOX 112167
ANCHORAGE, AK 99511                               669     9/12/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
STAR TRANSPORTATION
ATTN JANETTE WHITE, CREDIT DEPT
PO BOX 22997
CHATTANOOGA, TN 37422                             670     9/20/2013    Exide Technologies, LLC            $173,759.38                                                                                   $173,759.38
PECO ENERGY COMPANY
C/O MERRICK L FRIEL
2301 MARKET ST, S23-1
PHILADELPHIA, PA 19103                            671     9/20/2013    Exide Technologies, LLC               $979.61                                                                                        $979.61
TRANSERVICE LOGISTICS INC
ATTN ERIC SKLAR, CFO
5 DAKOTA DR
LAKE SUCCESS, NY 11042                            672     9/20/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHEM-LAB INC
4302 WHEELER AVE
FORT SMITH, AR 72901                              673     9/21/2013    Exide Technologies, LLC             $17,820.00                                                                                    $17,820.00
MARGARET LUCKENBILL
727 FRANKLIN ST
HAMBURG, PA 19526                                 674     9/21/2013    Exide Technologies, LLC               $388.50                                                                                        $388.50
AEROVIRONMENT INC
ATTN CAROL DECK, LEGAL COUNSEL
181 W HUNTINGTON DR #202
MONROVIA, CA 91016                                675     9/21/2013    Exide Technologies, LLC              $5,174.04                                                      $0.00                          $5,174.04
TWO RIVERS VENDING CORPORATION INC
ATTN CHRISTINE D WEIDMAN
2137 LINDEN DR
SALINA, KS 67401                                  676     9/21/2013    Exide Technologies, LLC              $8,480.10                                                  $3,753.16                         $12,233.26



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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                     Amount
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF
SOUTHERN CONTROLS INC
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                     677     9/21/2013    Exide Technologies, LLC                                                                       $7,666.35                          $7,666.35
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF
SOUTHERN CONTROLS INC
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                     677     9/21/2013    Exide Technologies, LLC              $5,493.08                                                                                   $5,493.08

THE CITY OF LANCASTER PENNSYLVANIA
C/O ZIMMERMAN PFANNEBECKER NUFFORT & ALBERT LLP
ATTN BARRY N HANDWERGER ESQ
22 S DUKE ST
LANCASTER, PA 17602                                    678     9/23/2013    Exide Technologies, LLC                                                     $853.04                                                $853.04
STEDMAN MACHINE COMPANY
129 FRANKLIN ST
AURORA, IN 47001                                       679     9/23/2013    Exide Technologies, LLC              $9,626.45                                                                                   $9,626.45
FERGUSON PRODUCTION INC
ATTN ROBIN M ELSASSER, OFFICE MGR
2130 INDUSTRIAL DR
MCPERSON, KS 67460                                     680     9/23/2013    Exide Technologies, LLC             $12,347.00                                                $1,371.60                         $13,718.60
TEAL'S EXPRESS INC
PO BOX 6010
WATERTOWN, NY 13601                                    681     9/23/2013    Exide Technologies, LLC             $13,214.08                                                                                  $13,214.08
DOUGHERTY EQUIPMENT COMPANY
ATTN RON TURNER
PO BOX 16145
GREENSBORO, NC 27416                                   682     9/23/2013    Exide Technologies, LLC               $416.69                                                                                      $416.69
USF HOLLAND INC
C/O FRANTZ WARD LLP
ATTN JOHN F KOSTELNIK ESQ
2500 KEY CENTER
127 PUBLIC SQUARE
CLEVELAND, OH 44114-1230                               683     9/23/2013    Exide Technologies, LLC             $69,122.63                                                                                  $69,122.63
PPM CONSULTANTS INC
ATTN ROMAN DIXON
5555 BANKHEAD HWY
BIRMINGHAM, AL 35210                                   684     9/23/2013    Exide Technologies, LLC             $69,942.64                                                                                  $69,942.64
PLASTEK WERKS INC
196 INDUSTRIAL BLVD
CLEVELAND, GA 30528                                    685     9/24/2013    Exide Technologies, LLC              $3,800.00                                                                                   $3,800.00

INTERSTATE POWER & LIGHT COMPANY
A WHOLLY OWNED SUBSIDIARY OF ALLAINT ENERGY CORP
ATTN DEB HENKLE
300 E SHERIDAN AVE
CENTERVILLE, IA 52544                                  686     9/24/2013    Exide Technologies, LLC            $405,405.66                                                                                 $405,405.66


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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                    Amount
PAPE' MACHINERY INC
2430 GRAND AVE
SACRAMENTO, CA 95838                                   687     9/24/2013    Exide Technologies, LLC             $1,207.50                                                                                   $1,207.50
PAPE' KENWORTH
2430 GRAND AVE
SACRAMENTO, CA 95838                                   688     9/24/2013    Exide Technologies, LLC             $1,245.00                                                                                   $1,245.00
LEWIS ENVIRONMENTAL
C/O MCNEES WALLACE & NURICK LLC
ATTN CLAYTON W DAVIDSON
100 PINE ST, PO BOX 1166
HARRISBURG, PA 17108-1166                              689     9/23/2013    Exide Technologies, LLC            $58,939.96                                                                                  $58,939.96
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
OFFICE OF THE ATTORNEY GENERAL
BANKRUPTCY - COLLECTIONS DIVISION
PO BOX 12548
AUSTIN, TX 78711-2548                                  690     9/23/2013    Exide Technologies, LLC                                    $0.00                                                                    $0.00
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR NICKELSON INDUSTRIAL
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                          691     9/25/2013    Exide Technologies, LLC                                                                      $4,762.64                          $4,762.64
RSJ CONSULTING LLC
ATTN C RANDALL CARR
1609 SHOAL CREEK BLVD STE 301
AUSTIN, TX 78701                                       692     9/25/2013    Exide Technologies, LLC            $30,462.88                                                                                  $30,462.88
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF ASSEMBLED
PRODUCTS INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  693     9/26/2013    Exide Technologies, LLC            $65,142.55                                                                                  $65,142.55
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF ASSEMBLED
PRODUCTS INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  694     9/26/2013    Exide Technologies, LLC                                                                     $22,736.64                         $22,736.64
AIRGAS USA LLC - CENTRAL DIVISION
ATTN LISA MENTON
110 W SEVENTH ST STE 1300
TULSA, OK 74119                                        695     9/24/2013    Exide Technologies, LLC            $30,925.14                                                                                  $30,925.14
AIRGAS USA LLC - CENTRAL DIVISION
ATTN LISA MENTON
110 W SEVENTH ST STE 1300
TULSA, OK 74119                                        696     9/24/2013    Exide Technologies, LLC              $211.62                                                 $9,943.47                         $10,155.09
QUESTAR GAS COMPANY
ATTN JEANETTE
BANKRUPTCY DNR 244
1140 W 200 S
PO BOX 3194
SALT LAKE CITY, UT 84110-3194                          697     9/23/2013    Exide Technologies, LLC               $36.31                                                                                       $36.31

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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                              Amount                                                       Amount
NATIONAL GRID
300 ERIE BLVD W
SYRACUSE, NY 13202                                        698     9/19/2013    Exide Technologies, LLC             $2,849.65                                                                                      $2,849.65
GULF POWER COMPANY
ONE ENERGY PLACE
ATTN D GAINES / BIN 712
PENSACOLA, FL 32520-0712                                  699     9/19/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LIFT TRUCK LEASE & SERVICE INC DBA A D LIFT TRUCK
ATTN S M GULP
5434 NATURAL BRIDGE AVE
ST LOUIS, MO 63120                                        700     9/27/2013    Exide Technologies, LLC               $68.89                                                       $44.26                            $113.15
NEBRASKA DEPARTMENT OF REVENUE
ATTN BANKRUPTCY UNIT
PO BOX 94818
LINCOLN, NE 68509-4818                                    701     9/27/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
HERITAGE-CRYSTAL CLEAN LLC
ATTN GARY M VANEK ATTORNEY AT LAW
200 W MAIN ST
ST CHARLES, IL 60174                                      702     9/26/2013    Exide Technologies, LLC             $5,865.40                                                                                      $5,865.40
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR DANIEL'S TRUCKING USA CORP-
RONKONKOMA
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                             703     9/28/2013    Exide Technologies, LLC                                                                         $4,014.85                          $4,014.85
NORDSON CORPORATION
300 NORDSON DR
AMHERST, OH 44001-2454                                    704     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ERIC LEE
21879 RUCKER DRIVE
CUPERTINO, CA 95014                                       705     9/30/2013    Exide Technologies, LLC             $1,701.65                                                       $0.00                          $1,701.65
STAPLES PRINT SOLUTIONS
C/O ANNA STOHLMAN
4205 S 96TH ST
OMAHA, NE 68127                                           706     9/30/2013    Exide Technologies, LLC            $32,882.53                                                                                     $32,882.53
CONVEYOR HANDLING CO INC
6715 SANTA BARBARA CT
ELKRIDGE, MD 21075-5830                                   707     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CAPITAL CONTRACTORS
ATTN MIKE FRIGANO
1 CA PLZ STE 100
ISLANDIA, NY 11749-5303                                   708     9/30/2013    Exide Technologies, LLC            $18,508.22                                                                                     $18,508.22
BATAVIA CITGO
18 CLINTON STREET
PO BOX 395
BATAVIA, NY 14021                                         709     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AIRGAS USA LLC
NORTH DIVISION
ATTN GARY LIGGETT
6055 ROCKSIDE WOODS BLVD
INDEPENDENCE, OH 44131                                    710     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BUCKEYE BUSINESS PRODUCTS INC
PO BOX 92340 (44193)
3830 KELLEY AVE
CLEVELAND, OH 44114                              711     9/30/2013    Exide Technologies, LLC            $19,436.67                                                                                      $19,436.67
AAA COOPER TRANSPORTATION
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 5126
TIMONIUM, MD 21094                               712     9/30/2013    Exide Technologies, LLC            $81,215.26                                                                                      $81,215.26
FERRO MAGNETICS CORPORATION
C/O POLSINELLI PC
ATTN CHRIS SWENSON, ESQ
100 S 4TH ST STE 1000
ST LOUIS, MO 63102                               713     9/30/2013    Exide Technologies, LLC            $67,409.59                                                                                      $67,409.59
CREDIT SERVICE CO
PO BOX 3591
FORT SMITH, AR 72913-3591                        714     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GRAHAM BATTERY
544 PERSON ST
FAYETTEVILLE, NC 28301-5868                      715     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GRAHAM BATTERY
544 PERSON ST
FAYETEVILLE, NC 28301                            716     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUFFER, SHERRILL
315 LAKE ST
UPLAND, IN 46989-4100                            717     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
J.P. MASCARO & SONS
2650 AUDUBON ROAD
AUDUBON, PA 19403                                718     9/30/2013    Exide Technologies, LLC              $542.47                                                                                          $542.47
BERRY MATERIAL HANDLING
3769 W MCCORMICK ST
PO BOX 9288
WICHITA, KS 67213-2025                           719     9/30/2013    Exide Technologies, LLC             $8,127.94                                                                                       $8,127.94
INDUSTRIAL DOOR CO.,INC. - MINNEAPOLIS
360 COON RAPIDS BLVD NW
MINNEAPOLIS, MN 55433-5627                       720     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
FORKLIFT SERVICE COMPANY OF HOUSTON, INC
CHERIE HUESKE
3312 TOLIVER
HOUSTON, TX 77093                                721     9/30/2013    Exide Technologies, LLC             $2,072.44                 $0.00                                                                 $2,072.44
GOFF INDUSTRIAL ELECTRIC INC
PO BOX 158
DYER, AR 72935                                   722     9/30/2013    Exide Technologies, LLC             $1,200.00                 $0.00                                                                 $1,200.00
MUHLENBERG TOWNSHIP AUTHORITY
2840 KUTZTOWN RD
READING, PA 19605                                723     9/30/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
RELIABLE INDUSTRIES
12 PRESTIGE LN
LANCASTER, PA 17603-4076                         724     9/30/2013    Exide Technologies, LLC             $2,513.00                                                                                       $2,513.00




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                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                       Amount
SEIBEL MODERN MFG & WELDING CORP
C/O HODGSON RUSS LLP
ATTN CRAIG T LUTTERBEIN, ESQ
140 PEARL ST, STE 100
BUFFALO, NY 14202                                     725     9/30/2013    Exide Technologies, LLC            $494,206.53                                                $195,009.55                        $689,216.08
PRODRIVERS
222 W LAS COLINAS BLVD #250E
IRVING, TX 75039                                      726     10/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BATTERY COUNCIL INTERNATIONAL
330 N WABASH AVE STE 2000
CHICAGO, IL 60611                                     727     10/1/2013    Exide Technologies, LLC             $18,535.92                                                      $0.00                         $18,535.92
ADVANCED CONSTRUCTORS CORP
ATTN RANDAL H BROWN
PO BOX 1578
HUNTINGTON BEACH, CA 92647                            728     10/1/2013    Exide Technologies, LLC            $695,689.53                                                                                   $695,689.53
HOLIDAY COMMERCIAL
PO BOX 1216
MINNEAPOLIS, MN 55440-1216                            729     10/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRUCE, JAMES
2105 MAPLE HILL ST
ZANESVILLE, OH 43701-2030                             730     10/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
BERBER, FRANCISCO
8082 TARGA CIR APT 38
CITRUS HTS, CA 95610-7230                             731     10/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
WEST PENN POWER
1310 FAIRMONT AVE
FAIRMONT, WV 26554                                    732     10/1/2013    Exide Technologies, LLC              $1,164.75                                                                                     $1,164.75
SPARKS COMMERCIAL TIRE, INC.
PO BOX 177
FINDLAY, OH 45839-0177                                733     10/1/2013    Exide Technologies, LLC             $21,069.96                                                                                    $21,069.96
SHAW ENVIRONMENTAL AND INFRASTRUCTURE
4171 ESSEN LANE, ATTN: STEVE GUILLOT
BATON ROUGE, LA 70809                                 734     10/1/2013    Exide Technologies, LLC              $7,432.74                                                                                     $7,432.74
LEHIGH OUTFITTERS LLC
C/O LEHIGH SAFETY SHOES DBA LEHIGH OUTFITTERS
39 E CANAL ST
NELSONVILLE, OH 45764                                 735     10/2/2013    Exide Technologies, LLC              $2,203.87                                                                                     $2,203.87
DUMONTELLE, NORMAN
210 S MAIN ST BOX 44
HERSCHER, IL 60941                                    736     10/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
GLOBAL PERSONNEL SERVICES INC
C/O FIFE M WHITESIDE
PO BOX 5383
COLUMBUS, GA 31906                                    737     10/2/2013    Exide Technologies, LLC            $403,322.14                $0.00                                                              $403,322.14
METAL CONVERSION TECHNOLOGIES, LLC
PO BOX 1026
CARTERSVILLE, GA 30120-1026                           738     10/2/2013    Exide Technologies, LLC                                                                        $16,510.26                         $16,510.26
CALIFORNIA ELECTRICAL SERVICES
5924 SAN FERNANDO RD
GLENDALE, CA 91202-2741                               739     10/2/2013    Exide Technologies, LLC             $12,673.00                                                                                    $12,673.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
P. FERNICOLA INC.
LIZ FERNICOLA
257 ELM ST.
NEWARK, NJ 07105                                 740     10/2/2013    Exide Technologies, LLC             $5,775.00                                                        $0.00                          $5,775.00
PREMIER MAGNESIA
ATTN JOANNE AMELANG
300 BARR HARBOR DR
SUITE 250
WEST CONSHOHOCKEN, PA 19428                      741     10/2/2013    Exide Technologies, LLC            $16,500.00                                                        $0.00                         $16,500.00
SIMPLEXGRINNELL
ATTN BANKRUPTCY
50 TECHNOLOGY DRIVE
WESTMINSTER, MA 01441                            742     10/2/2013    Exide Technologies, LLC             $7,042.78                                                                                       $7,042.78
DUFFY, FRANCIS
2392 NW 58TH TER
OCALA, FL 34482-8914                             743     10/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GRAY, KAREN
1325 CIRCLE DR NW
KANKAKEE, IL 60901-2024                          744     10/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SAFETY SOLUTIONS INC
PO BOX 8100
DUBLIN, OH 43016-2100                            745     10/2/2013    Exide Technologies, LLC            $66,253.45                                                                                      $66,253.45
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR GEORGIA AUTOMATION
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                    746     10/2/2013    Exide Technologies, LLC               $22.13                                                       $920.00                            $942.13
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR CHROMA CORPORATION
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                    747     10/2/2013    Exide Technologies, LLC                                                                          $6,354.20                          $6,354.20
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR PAUL F FEDERLINE & SON
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                    748     10/2/2013    Exide Technologies, LLC                                                                          $6,690.00                          $6,690.00
NORMA THOMAS F/K/A NORMA TIRINO
C/O ROBERT WASHUTA
11 BROADWAY, SUITE 615
NEW YORK, NY 10004                               749     10/2/2013    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
PC HELPS SUPPORT, LLC
SUITE 434
1BALA PLAZA
BALA CYNWYD, PA 19004                            750     10/2/2013    Exide Technologies, LLC            $46,386.74                                                                                      $46,386.74
TREASURER OF CASS COUNTY
200 COURT PARK STE 104
LOGANSPORT, IN 46947-3147                        751     10/2/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
BIG CHIEF INC
ATTN DEBRA GILMAN
5150 BIG CHIEF DR
CINCINNATI, OH 45227                             752     10/2/2013    Exide Technologies, LLC             $3,036.36                                                        $0.00                          $3,036.36


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                                                                                                 Current General                                               Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
UNITED STATES PLASTIC CORP - LIMA
1390 NEUBRECHT RD
LIMA, OH 45801-3196                              753     10/2/2013    Exide Technologies, LLC            $1,027.88                                                                                        $1,027.88
MYERS, THOMAS
2298 TOWNSHIP ROAD 196 NE
CROOKSVILLE, OH 43731-9525                       754     10/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ORTOSKI, STANLEY
591 LAFAYETTE BLVD
SHEFFIELD LAKE, OH 44054-1420                    755     10/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
LITTLETON, JOSEPH
1321 MEADOWS DR
LANCASTER, OH 43130-8280                         756     10/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NAMECHE, LARRY
205 GOLFVIEW DR
PLAINWELL, MI 49080-9118                         757     10/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
GUTI, JERRY
451 N 12TH ST
READING, PA 19604-2820                           758     10/3/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
BICKFORD, SHERMAN
4343 HARRINGTON DR
ZANESVILLE, OH 43701-6051                        759     10/3/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
GARBER SCALE COMPANY
DOUG PEIFER
250 E OREGON RD STE 101
LITITZ, PA 17543                                 760     10/3/2013    Exide Technologies, LLC              $719.60                                                         $0.00                            $719.60
E & M BUSINESS FORMS & PRINTING-ROSWELL
PO BOX 767609
ROSWELL, GA 30076-7609                           761     10/3/2013    Exide Technologies, LLC              $779.40                                     $0.00                                                $779.40
QUALITY FORKLIFT SALES & SERVICE INC
77 BEAR MOUNTAIN RD
RINGWOOD, NJ 07456-2901                          762     10/3/2013    Exide Technologies, LLC            $1,009.69                                                                                        $1,009.69
REEVES-WIEDEMAN COMPANY
PO BOX 412235
KANSAS CITY, MO 64141                            763     10/3/2013    Exide Technologies, LLC              $656.40                                                                                          $656.40
MONTANA-DAKOTA UTILITIES CO
MDU RESOURCES GROUP
400 N 4TH ST
BISMARCK, ND 58501-4022                          764     10/3/2013    Exide Technologies, LLC            $1,228.03                                                                                        $1,228.03
MEYER LABORATORY, INC.
ATTN TERROY OLES
2401 W. JEFFERSON ST
BLUE SPRINGS, MO 64015                           765     10/3/2013    Exide Technologies, LLC            $4,940.00                  $0.00                              $2,450.00                          $7,390.00
DAVIS, MAX
457 SIMS ST
FRANKFORT, IN 46041-1774                         766     10/3/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
KNOX COUNTY TRUSTEE
ATTN BANKRUPTCY
PO BOX 70
KNOXVILLE, TN 37901                              767     10/3/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BERTELKAMP AUTOMATION
BILL BRINSON
6321 BAUM DR.
KNOXVILLE, TN 37919                              768     10/3/2013    Exide Technologies, LLC              $6,849.98                                                                                      $6,849.98
MEMA FINANCIAL SERVICES GROUP INC
ACCOUNTING DEPARTMENT
10 LABORATORY DR
RESEARCH TRIANGLE PARK, NC 27709-0161            769     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAVIS, WILLIAM
17104 HARRIS LN SE
JEFFERSON, OR 97352-9447                         770     10/3/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
JAMES GROFF & SON, INC -
17 N HESS ST
QUARRYVILLE, PA 17566-1221                       771     10/3/2013    Exide Technologies, LLC               $724.20                                                                                         $724.20
KIRCHNER BROTHERS PEST CONTROL-LANCASTER
2635 COLUMBIA AVE
LANCASTER, PA 17603-4113                         772     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
J A STREET & ASSOCIATES - BLOUNTVILLE
245 BIRCH ST
BLOUNTVILLE, TN 37617-4758                       773     10/3/2013    Exide Technologies, LLC             $22,611.10                                                                                     $22,611.10
ENVIROSMART INC.
JERRY DOLAN
PO BOX 20666
CHARLESTON, SC 29413                             774     10/3/2013    Exide Technologies, LLC            $131,287.89                                                                                    $131,287.89
FINANCIAL SERVICES, INC.
21 HARRISTOWN RD
GLEN ROCK, NJ 07452-3307                         775     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WOLF, MARY JO
6632 KNOX AVE S
RICHFIELD, MN 55423-2161                         776     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WJJL
976B UNION RD
WEST SENECA, NY 14224-3438                       777     10/3/2013    Exide Technologies, LLC               $455.00                                                                                         $455.00
HYMAN, LAWRENCE
919 MEDORA DR
GREER, SC 29650-4752                             778     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SOUTHERN STATES CLEANING INC-FLORENCE
1601 E DANVILLE DR
FLORENCE, SC 29505-6208                          779     10/3/2013    Exide Technologies, LLC               $780.00                                                                                         $780.00
SULPIZIO INC.
1211 CLEARBROOK RD
WEST CHESTER, PA 19380-3941                      780     10/3/2013    Exide Technologies, LLC               $210.00                                                                                         $210.00
CALTROL
ANITA MCDONALD
1385 PAMA LN STE 111
LAS VEGAS, NV 89119-3849                         781     10/3/2013    Exide Technologies, LLC              $1,952.00                                                                                      $1,952.00
BENSON ROAD PROPERTIES
2709 S 4TH AVE
SIOUX FALLS, SD 57105                            782     10/3/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BATTERY EQUIPMENT SUPPLY
CAROL FISHER
749 N HARVARD AVE
VILLA PARK, IL 60181                             783     10/3/2013    Exide Technologies, LLC             $1,623.71                 $0.00                                  $0.00                          $1,623.71
BRINKMANN, SUSAN
445 SUMMIT AVE
HORSHAM, PA 19044-3138                           784     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RAC TRANSPORT
PO BOX 17459
DENVER, CO 80217                                 785     10/3/2013    Exide Technologies, LLC              $143.26                                                                                          $143.26
PROLOGIKA
5325 SPALDING BRIDGE CT
NORCROSS, GA 30092-7604                          786     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SMITH, DAVID
2496 ANDERS RD
THREE LAKES, WI 54562-9374                       787     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
JERRY GUTI
451 N 12TH ST
READING, PA 19604-2820                           788     10/3/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
AIM LEASING CO DBA AIM NATIONALEASE
1500 TRUMBULL AVE
GIRARD, OH 44420                                 789     10/3/2013    Exide Technologies, LLC             $3,526.02                                                                                       $3,526.02
BOHRENS MOVING & STORAGE-ROBBINSVILLE
3 APPLEGATE DR
ROBBINSVILLE, NJ 08691-2341                      790     10/3/2013    Exide Technologies, LLC                                                       $707.78                                                 $707.78
INTRUDER ALERT SYSTEMS
VICKI SAMULIN
PO BOX 791475
SAN ANTONIO, TX 78279                            791     10/3/2013    Exide Technologies, LLC              $119.13                                                                                          $119.13
LABELING EQUIPMENT SUPPLIES SER-ALLEGAN
1244 TURKEY LN
ALLEGAN, MI 49010-9772                           792     10/3/2013    Exide Technologies, LLC              $494.00                                                                                          $494.00
TRANSPLY INC
PO BOX 7727
YORK, PA 17404-0727                              793     10/3/2013    Exide Technologies, LLC             $4,452.94                                                      $105.60                          $4,558.54
KIR G KAROUNA
2408 HANNON CT
ELLICOTT CITY, MD 21042-1763                     794     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PENN STAINLESS PRODUCTS INC
190 KELLY RD
PO BOX 9001
QUAKERTOWN, PA 18951-4208                        795     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MID-STATE DOOR INC.
HEIDI EARL
602 CAMBRIDGE AVE
SYRACUSE, NY 13208                               796     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUTLER TOOL INC
DENNIS GOGIN
4731 N 125 ST
BUTLER, WI 53007                                 797     10/3/2013    Exide Technologies, LLC            $13,667.50                 $0.00                                $914.50                         $14,582.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
YAFCHAK, ROBERT
1080 PARK BLVD UNIT 617
SAN DIEGO, CA 92101                              798     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EXPORT PACKAGING CO
PO BOX 733
MOLINE, IL 61265                                 799     10/3/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
FIVE FLAGS CO
712 JEFFERSON ST
BURLINGTON, IA 52601-1051                        800     10/3/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
SSI (US) INC DBA SPENCER STUART
C/O TERRY THORNLEY
353 N CLARK STE 2400
CHICAGO, IL 60654                                801     10/3/2013    Exide Technologies, LLC            $134,065.00                                                                                    $134,065.00
SALVATORE, ELIZABETH
35 MAINE AVE
WHITING, NJ 08759-1449                           802     10/3/2013    Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
IMRIE-GIELOW, INC. - ST LOUIS
2823 PAPIN ST
SAINT LOUIS, MO 63103-3029                       803     10/3/2013    Exide Technologies, LLC              $7,830.96                                                                                      $7,830.96
PERSONNEL PEOPLE
121 CENTRAL ST STE 201
NORWOOD, MA 02062                                804     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DALE BERNARD BONAVENTURE
271 TREAKLE DR
JACKSON, LA 70748-4341                           805     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
TANDEM LOGISTICS INC
2911 AW GRIMES BLVD STE 400
PFLUGERVILLE, TX 78660                           806     10/4/2013    Exide Technologies, LLC              $7,869.57                                                       $0.00                          $7,869.57
LIFECOM-SAFETY SERVICE & SUPPLY CO
5081 ARGOSY AVE
HUNTINGTON BEACH, CA 92649-1001                  807     10/4/2013    Exide Technologies, LLC              $1,005.27                                                                                      $1,005.27
RAYMOND LEASING CORPORATION
ATTN SCOTT BARTH
20 S CANAL ST
GREENE, NY 13778                                 808     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GALGON HVAC & MECHANICAL SERVICE, INC
1800 MACARTHUR BLVD NW
ATLANTA, GA 30318-2024                           809     10/4/2013    Exide Technologies, LLC              $7,544.76                                                     $587.59                          $8,132.35
KIMBALL, RICHARD
2000 CAMBRIDGE AVE APT 153
WYOMISSING, PA 19610-2732                        810     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
KROPF LUMBER INC - HESSTON
400 N LANCASTER AVE
HESSTON, KS 67062-8805                           811     10/4/2013    Exide Technologies, LLC              $6,132.19                                                                                      $6,132.19
CLINTON, LARRY
PO BOX 864
MANZANITA, OR 97130-0864                         812     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MAYBURY MATERIAL /EAST LONGMEADOW
90 DENSLOW ROAD
EAST LONGMEADOW, MA 01028                        813     10/4/2013    Exide Technologies, LLC                $95.72                                                                                          $95.72

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                                                                                                 Current General                                               Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
HENRY WOODWARD
INTEGRATED SUPPLY COMPANY
6639 MACON RD
COLUMBUS, GA 31907-5734                          814     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
STATE WIDE HVAC CO.
58 CLINTON ROAD
FAIRFIELD, NJ 07004                              815     10/4/2013    Exide Technologies, LLC              $457.96                                                                                          $457.96
BAILEY COMPANY (THE)
501 COWAN STREET
NASHVILLE, TN 37207                              816     10/4/2013    Exide Technologies, LLC            $78,722.35                                                                                      $78,722.35
SEGURA, RAMIRO
18 LAS PALMAS DR
ZAPATA, TX 78076-4047                            817     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HEUBEL MATERIAL HANDLING INC
ATTN NANCY STREETER
611 NE EQUITABLE RD
KANSAS CITY, MO 64120                            818     10/4/2013    Exide Technologies, LLC            $82,590.48                                                    $4,383.17                         $86,973.65
CRAIG WELDING SUPPLY CO
5670 SANTA FE AVE.
LOS ANGELES, CA 90058                            819     10/4/2013    Exide Technologies, LLC            $25,273.79                                                      $140.00                         $25,413.79
PURE MARKETING GROUP CORPORATION-CUMMING
225 CURIE DR STE 1300
ALPHARETTA, GA 30005-4004                        820     10/4/2013    Exide Technologies, LLC            $61,277.43                                                    $3,555.55                         $64,832.98
PRAXAIR, INC.
ATTN: TRACEY BOUTOT, CREDIT MANAGER
39 OLD RIDGEBURY ROAD
DANBURY, CT 06810-5113                           821     10/4/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
AUTO ROAD SERVICES, INC.
SCOTT GROVE, PRESIDENT
1919 WILLIAMS ST STE 220
SIMI VALLEY, CA 93065-7824                       822     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
FLEX EXECS MANAGEMENT SOLUTIONS-WILLOWBR
ATTN NORA AUSTIN
645 EXECUTIVE DR
WILLOWBROOK, IL 60527-5603                       823     10/4/2013    Exide Technologies, LLC            $16,267.50                 $0.00                                                                $16,267.50
KELLEY DRYE & WARREN LLP
ATTN MICHELE SCHAFFEL
101 PARK AVE
NEW YORK, NY 10178                               824     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LOPEZ, JUAN
5061 AMHURST LN
THE COLONY, TX 75056-2522                        825     10/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
THOMPSON, OLAN
108 NORWOOD LN
LANCASTER, TX 75146-2279                         826     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MARVIN HARRIS JR./TREESAVER INC.
4591 SYCAMORE RD
COLDWATER, MS 38618-5525                         827     10/4/2013    Exide Technologies, LLC             $3,122.73                 $0.00                                                                 $3,122.73



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                                                                                                      Amount                                                        Amount
HORTON IRON AND METAL COMPANY
2216 US HIGHWAY 421 N
WILMINGTON, NC 28401-2443                         828     10/4/2013    Exide Technologies, LLC             $1,772.40                                                                                       $1,772.40
SPEARS FIRE & SAFETY SERVICES, INC
287 JACKSON PLZ
ANN ARBOR, MI 48103-1920                          829     10/4/2013    Exide Technologies, LLC              $239.16                                                                                          $239.16
ELECTRONIC SCALE SYSTEM INC
948 MIAMI AVE
KANSAS CITY, KS 66105-1839                        830     10/4/2013    Exide Technologies, LLC              $247.25                                                                                          $247.25
SOUTHERN PLUMBING COMPANY
PO BOX 48180
ATLANTA, GA 30362-1180                            831     10/4/2013    Exide Technologies, LLC             $1,284.28                                                       $41.77                          $1,326.05
LAMBERTS HEATING & AIR CONDITIONING
PO BOX 53424
BATON ROUGE, LA 70892-3424                        832     10/4/2013    Exide Technologies, LLC             $3,563.74                                                                                       $3,563.74
GROENDYKE TRANSPORT-FT WORTH
1101 CANTRELL-SANSOM ROAD
FORT WORTH, TX 76161                              833     10/4/2013    Exide Technologies, LLC              $105.00                                                                                          $105.00
W D MATTHEWS MACH/AUBURN
901 CENTER ST
AUBURN, ME 04210-6456                             834     10/4/2013    Exide Technologies, LLC             $1,435.20                                                                                       $1,435.20
ALFA-AESAR
ATTN DONNA MARQUIS
26 PARKRIDGE ROAD
WARD HILL, MA 01835-8514                          835     10/4/2013    Exide Technologies, LLC              $621.98                                                                                          $621.98
PIONEER CROSSING LANDFILL
STEVE MEDAGLIA
2650 AUDUBON ROAD
AUDUBON, PA 19403                                 836     10/4/2013    Exide Technologies, LLC            $37,505.57                                                                                      $37,505.57
BUSHWICK METALS LLC
560 N WASHINGTON AVE
BRIDGEPORT, CT 06604                              837     10/4/2013    Exide Technologies, LLC             $4,008.73                                                                                       $4,008.73
IMKO & DIVERSIFIED STAFFING
PO BOX 4040
OMAHA, NE 68104                                   838     10/4/2013    Exide Technologies, LLC             $1,557.68                 $0.00                                                                 $1,557.68
HILL MANUFACTURING CO. - ATLANTA
1500 JONESBORO RD SE
ATLANTA, GA 30315-4084                            839     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KOHL MARKETING, INC.
PO BOX 20134
BALTIMORE, MD 21284-0134                          840     10/4/2013    Exide Technologies, LLC             $3,852.00                                                                                       $3,852.00
XPEDX A DIVISION OF INTERNATIONAL PAPER
5786 COLLETT RD
FARMINGTON, NY 14435-9535                         841     10/4/2013    Exide Technologies, LLC            $47,323.63                                                   $24,648.91                         $71,972.54
PRUDENTIAL OVERALL SUPPLY
PO BOX 11210
SANTA ANA, CA 92711-1210                          842     10/4/2013    Exide Technologies, LLC            $11,451.62                                                                                      $11,451.62
SPOKANE COUNTY TREASURER
PO BOX 2165
SPOKANE, WA 99210-2165                            843     10/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
WOOD OIL COMPANY OF CALIFORNIA, LLC
1532 W 132ND ST
GARDENA, CA 90249-2108                           844     10/4/2013    Exide Technologies, LLC             $10,487.91                                                                                      $10,487.91
FOSTER PEPPER, PLLC
1111 3RD AVE STE 3400
SEATTLE, WA 98101-3299                           845     10/4/2013    Exide Technologies, LLC             $26,191.25                                                                                      $26,191.25
PUR-O-ZONE
PO BOX 727
LAWRENCE, KS 66044                               846     10/4/2013    Exide Technologies, LLC               $660.49                                                                                          $660.49
ROYAL WHOLESALE ELECTRIC
PO BOX 14004
ORANGE, CA 92863-1404                            847     10/4/2013    Exide Technologies, LLC             $15,311.47                                                                                      $15,311.47
DOCUTEAM INC
DEPT 3180
PO BOX 2153
BIRMINGHAM, AL 35287-0002                        848     10/4/2013    Exide Technologies, LLC                                                                              $0.00                               $0.00
CARL ERIC JOHNSON INC- TUCKER
1725 MACLEOD DR STE Q
LAWRENCEVILLE, GA 30043-7874                     849     10/4/2013    Exide Technologies, LLC              $6,673.97                                                                                       $6,673.97
TBM CONSULTING GROUP INC.
4400 BEN FRANKLIN BLVD.
DURHAM, NC 27704                                 850     10/4/2013    Exide Technologies, LLC            $568,765.41                                                                                     $568,765.41
THOMASTON RECYCLING
PO BOX 123
THOMASTON, ME 04861                              851     10/4/2013    Exide Technologies, LLC              $1,476.30                                                                                       $1,476.30
CARL'S AUTO ELECTRIC
4564 NORTH PECK ROAD
EL MONTE, CA 91732                               852     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
HORNER, DAVID
25410 SW PETES MOUNTAIN RD
WEST LINN, OR 97068-9513                         853     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
NICHOLSON, ALBERT
1051 LOMAX LN
CRYSTAL SPRINGS, MS 39059-9122                   854     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
SEBASTIAN COUNTY TAX COLLECTOR
PO BOX 1358
FORT SMITH, AR 72902-1358                        855     10/4/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
HAIGES MACHINERY
KIM HAIGES
11314 E MAIN ST
HUNTLEY, IL 60142                                856     10/4/2013    Exide Technologies, LLC               $260.00                                                                                          $260.00
JAMES, PEGGY
1203 BONNIE LN
MINDEN, LA 71055-2007                            857     10/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                  $0.00            $0.00
INTEGRATED SUPPLY OF COLUMBUS
6639 MACON RD
COLUMBUS, GA 31907-5734                          858     10/4/2013    Exide Technologies, LLC             $62,714.36                                                                                      $62,714.36




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
THOMAS, JOHN
C/O LAW OFFICES OF ROBERT WASHUTA PC
ATTN ROBERT WASHUTA, ESQ
11 BROADWAY STE 615
NEW YORK, NY 10004                               859     10/4/2013    Exide Technologies, LLC             $1,782.58                                                                                      $1,782.58
BROWN, GARY
4423 ROMAN DR
COLUMBUS, GA 31907-6235                          860     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
CHAMBERS, DAISY
522 FARR RD
COLUMBUS, GA 31907-6253                          861     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
MURPHY, F
6230 N 33RD AVE UNIT 135
PHOENIX, AZ 85017-1452                           862     10/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BUTZ, CAROL
374 DARTMOUTH CT
BENSALEM, PA 19020-8204                          863     10/5/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
CALICO PRECISION MOLDING
PO BOX 8006
FORT WAYNE, IN 46898-8006                        864     10/5/2013    Exide Technologies, LLC            $85,558.14                                                  $19,655.94                        $105,214.08
DPC ENTERPRISES LP - HOUSTON
PO BOX 301123
DALLAS, TX 75303-1123                            865     10/5/2013    Exide Technologies, LLC              $430.87                                                                                         $430.87
PADWA, ALLEN R
87 COMMODORE RD
WORCESTER, MA 01602-2726                         866     10/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
TOOL SYSTEMS INC
2220 CENTRE PARK CT
STONE MOUNTAIN, GA 30087-3544                    867     10/5/2013    Exide Technologies, LLC            $11,367.41                                                                                     $11,367.41
LAWRENCE ROLL UP DOORS, INC - BALDWIN PA
4525 LITTLEJOHN ST
BALDWIN PARK, CA 91706-2239                      868     10/5/2013    Exide Technologies, LLC             $2,071.45                                                                                      $2,071.45
BELLENIR, LINA
16301 E JACKLIN DR
FOUNTAIN HILLS, AZ 85268-5609                    869     10/5/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
R & W DEVELOPMENT & LOGISTICS, INC.
410 STATE ROUTE 136 E
CALHOUN, KY 42327-9620                           870     10/5/2013    Exide Technologies, LLC             $1,946.60                 $0.00                                 $0.00                          $1,946.60
DALMATIAN TRANSPORTATION
ATTN LEE ZAZWORSKY
PO BOX 926
HEBRON, OH 43025                                 871     10/5/2013    Exide Technologies, LLC            $11,564.49                                                                                     $11,564.49
SEMI-TRAILER SALES
TROY NESS
3701 38TH STREET SOUTH
SUITE A
FARGO, ND 58104                                  872     10/5/2013    Exide Technologies, LLC              $787.50                  $0.00                                                                  $787.50




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                                                                                                         Amount                                                        Amount
HOHENSCHILD WELDERS SUPPLY COMPANY
EMMA KARN
1620 CAMPBELL ST
KANSAS CITY, MO 64108                                873     10/5/2013    Exide Technologies, LLC            $10,692.88                                                                                      $10,692.88
SUBURBAN LANCASTER SEWER AUTHORITY
C/O BLAKINGER BYLER & THOMAS PC
ATTN FRANK P MINCARELLI, ESQ
28 PENN SQ
LANCASTER, PA 17603                                  874     10/5/2013    Exide Technologies, LLC                                                      $1,613.11                                              $1,613.11
LUMPKIN, HOWARD
5520 HUNTER JACK CV
ARLINGTON, TN 38002-4582                             875     10/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DYNAPOWER COMPANY LLC
85 MEADOWLAND DRIVE
SO. BURLINGTON, VT 05403                             876     10/5/2013    Exide Technologies, LLC             $9,630.50                                                                                       $9,630.50
BEST ANSWERING SERVICE
1104 TUSCULUM BLVD. SUITE 405
GREENEVILLE, TN 37745                                877     10/5/2013    Exide Technologies, LLC             $1,216.80                                                                                       $1,216.80
CONTINENTAL ANALYTICAL SERVICES
525 N 8TH ST
SALINA, KS 67401-1937                                878     10/5/2013    Exide Technologies, LLC             $1,167.75                                                        $0.00                          $1,167.75
CITY OF HOUSTON TEXAS
C/O JOHN M HELMS, SR ASSISTANT CITY ATTORNEY
PO BOX 368
HOUSTON, TX 77001-0368                               879     10/5/2013    Exide Technologies, LLC              $154.03                                                                                          $154.03
FRASIER TRANSPORT INC
8171 E EXECUTIVE AVE
NAMPA, ID 83687                                      880     10/5/2013    Exide Technologies, LLC             $1,950.00                                                        $0.00                          $1,950.00
TRANSPORTATION INC
PO BOX 369
OTTAWA, KS 66067                                     881     10/5/2013    Exide Technologies, LLC            $32,651.51                                                                                      $32,651.51
MOBILE MINI
ANN CHAMBERLIN
7420 SOUTH KYRENE RD
TEMPE, AZ 85283                                      882     10/5/2013    Exide Technologies, LLC             $4,351.62                                                                                       $4,351.62
CLINICAL REFERENCE LABORATORY
PO BOX 802273
KANSAS CITY, MO 64180-2273                           883     10/5/2013    Exide Technologies, LLC              $412.00                                                                                          $412.00
METAL MASTERS, INC.-J COFFEY METAL MASTE
PO BOX 33001
INDIANAPOLIS, IN 46203-0001                          884     10/5/2013    Exide Technologies, LLC             $4,700.00                                                        $0.00                          $4,700.00
ADVANTAGE TRANS SVC
W134 N4989 CAMPBELL
MENOMONEE FALLS, WI 53051                            885     10/5/2013    Exide Technologies, LLC            $46,075.30                                                                                      $46,075.30
NOVATEC INC
ATTN SUSAN BESSEMER, VP ADMINISTRATION
222 E THOMAS AVE
BALTIMORE, MD 21225                                  886     10/5/2013    Exide Technologies, LLC             $2,238.96                                                                                       $2,238.96




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                                                                                                      Amount                                                       Amount
GILES CHEMICAL INDUSTRIES (SALTEX)
PO BOX 370
WAYNESVILLE, NC 28786                             887     10/5/2013    Exide Technologies, LLC              $675.00                                                                                         $675.00
GILES CHEMICAL INDUSTRIES (SALTEX)
PO BOX 370
WAYNESVILLE, NC 28786                             888     10/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AVERY PARTNERS, INC.
1455 OLD ALABAMA ROAD, SUITE 160
ROSWELL, GA 30076                                 889     10/5/2013    Exide Technologies, LLC            $41,647.00                 $0.00                                                               $41,647.00
QUINN COMPANY
JASON POSIN
10006 ROSE HILLS RD.
CITY OF INDUSTRY, CA 90601                        890     10/5/2013    Exide Technologies, LLC            $24,369.75                                                                                     $24,369.75
ROTEX TRUCK CENTER INC
11802 SARA RD
LAREDO, TX 78045                                  891     10/5/2013    Exide Technologies, LLC             $2,227.50                                                                                      $2,227.50
EDWARDS, BEVERLEE
1277 VILDMARK DR
SAINT PAUL, MN 55123-1833                         892     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
ECOLOGY AUTO PARTS - CERRITOS
14150 VINE PL
CERRITOS, CA 90703-2416                           893     10/7/2013    Exide Technologies, LLC            $41,060.85                                                                                     $41,060.85
COLUMBUS WATER WORKS
LINDA SANDERS
PO BOX 1600
1421 VETERANS PARKWAY
COLUMBUS, GA 31902                                894     10/7/2013    Exide Technologies, LLC             $6,763.40                                                                                      $6,763.40
SMITH, WOODROW
177 HIGHWAY 478
NEWHEBRON, MS 39140-3786                          895     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
SALTEX, LLC
JOE KANE
7755 BELLAIRE SOUTH
FT WORTH, TX 76132                                896     10/7/2013    Exide Technologies, LLC            $11,129.39                                                                                     $11,129.39
RAY S WALKER
8409 SAINT GEORGE LN
LOUISVILLE, KY 40220-3840                         897     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
AIR DIMENSIONS INC
1371 W NEWPORT CENTER DR STE 101
DEERFIELD BEACH, FL 33442-7700                    898     10/7/2013    Exide Technologies, LLC             $1,446.73                                                                                      $1,446.73
HILL, PAUL
PO BOX 2142
GREER, SC 29652-2142                              899     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
CHIAPPELLI, BRYAN
161 CARPIN LN
WEEDVILLE, PA 15868                               900     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHIAPPELLI, LUANN
161 CARPIN LN
WEEDVILLE, PA 15868                               901     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                         Amount                                                        Amount
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF ORTEC
INTERNATIONAL USA, INC.
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                  902     10/7/2013    Exide Technologies, LLC            $62,309.98                                                                                      $62,309.98
VECTREN ENERGY DELIVERY
ATTN SHARON ARMSTRONG
PO BOX 209
EVANSVILLE, IN 47702                                 903     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
VECTREN ENERGY DELIVERY
ATTN SHARON ARMSTRONG
PO BOX 209
EVANSVILLE, IN 47702                                 904     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
VECTREN ENERGY DELIVERY
ATTN SHARON ARMSTRONG
PO BOX 209
EVANSVILLE, IN 47702                                 905     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LANCASTER LABORATORIES INC
PO BOX 12425
2425 NEW HOLLAND PIKE
LANCASTER, PA 17605-2425                             906     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLMARK DOOR
PATRICIA MACMONALD
5 CROZERVILLE RD.
ASTON, VA 19014                                      907     10/7/2013    Exide Technologies, LLC            $10,002.25                                                                                      $10,002.25
MAC ENGINEERING & EQUIPMENT COMPANY INC
2775 MEADOWBROOK RD
BENTON HARBOR, MI 49022                              908     10/7/2013    Exide Technologies, LLC            $18,614.62                                                                                      $18,614.62
PASTOR, BEHLING & WHEELER, LLC
2201 DOUBLE CREEK DR STE 4004
ROUND ROCK, TX 78664-3843                            909     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
AIRGAS USA LLC
C/O AIRGAS INC
ATTN DAVE BOYLE
259 N RADNOR CHESTER RD
RADNOR, PA 19087                                     910     10/7/2013    Exide Technologies, LLC            $12,166.74                                                    $1,546.05                         $13,712.79
WILLIE JONES JR
9278 STRATMORE
SHREVEPORT, LA 71129                                 911     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
BONNER JR, T
PO BOX 51
MC LEOD, TX 75565-0051                               912     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CHEMETALL
CHEMETALL
675 CENTRAL AVE
NEW PROVIDENCE, NJ 07974                             913     10/7/2013    Exide Technologies, LLC             $9,039.68                                                                                       $9,039.68
CONTINENTAL BAG CO.INC. - MEMPHIS
PO BOX 1000 DEPT 286
MEMPHIS, TN 38148                                    914     10/7/2013    Exide Technologies, LLC             $7,003.55                                                                                       $7,003.55


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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
MANFRED STAEBLER
127 TRENT SHORES DR.
NEW BERN, NC 28562                              915     10/7/2013    Exide Technologies, LLC              $497.18                                                                                          $497.18
PAUL BRIDGEWATER WAS/WAREHOUSE INDUST
3740 W WETHERSFIELD RD
PHOENIX, AZ 85029-2031                          916     10/7/2013    Exide Technologies, LLC              $188.74                                                                                          $188.74
SETCO - SOUTHEST TIRE INC- IDABEL
PO BOX 809
IDABEL, OK 74745-0809                           917     10/7/2013    Exide Technologies, LLC              $390.00                                     $0.00                                                $390.00
SETCO INC.
SHARON BIRDSONG
PO BOX 809
IDABEL, OK 74745                                918     10/7/2013    Exide Technologies, LLC            $16,075.44                                    $0.00                                             $16,075.44
DONOVAN, BILL
PO BOX 310
INDEPENDENCE, OR 97351-0310                     919     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EMBROIDERY PLACE, THE - MANCHESTER
100 E MAIN ST
MANCHESTER, IA 52057-1735                       920     10/7/2013    Exide Technologies, LLC               $51.36                                                        $26.75                             $78.11
THOMAS, WINFRED
4683 BELL WOOD DR
OLIVE BRANCH, MS 38654-6220                     921     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
CIMCO RESOURCES, INC
PO BOX 15427
LOVES PARK, IL 61132-5427                       922     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WESTERN AUTO OF MORTON
4239 HIGHWAY 80
MORTON, MS 39117                                923     10/7/2013    Exide Technologies, LLC              $211.28                                     $0.00                                                $211.28
READING RENTALS INC
1340 CENTRE AVE
READING, PA 19601                               924     10/7/2013    Exide Technologies, LLC              $888.38                                                                                          $888.38
CALUMET AUTO PARTS
8501 W CALUMET RD
MILWAUKEE, WI 53224-3414                        925     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KANSAS ELECTRIC
1420 NW 36TH ST
NEWTON, KS 67114                                926     10/7/2013    Exide Technologies, LLC            $19,645.00                                                                                      $19,645.00
BROWN INDUSTRIES
JON HAWKINS
PO BOX 2143
DALTON, GA 30722                                927     10/7/2013    Exide Technologies, LLC            $96,790.67                                                   $19,462.05                        $116,252.72
EHLERT, DAVID
FMT CO CUST IRA ROLLOVER
FBO DAVID GEORGE EHLERT
50 PARK AVE
ASHEVILLE, NC 28803-2056                        928     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KENDALL ELECTRIC INC - DETROIT MI
ATTN JUDITH M. GATES
5101 S. SPRINKLE RD
PORTAGE, MI 49002                               929     10/7/2013    Exide Technologies, LLC             $7,482.23                                                                                       $7,482.23

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                                                                                                     Amount                                                        Amount
DODGE CITY INTERNATIONAL INC
2201 E WYATT EARP BLVD
DODGE CITY, KS 67801                             930     10/7/2013    Exide Technologies, LLC                                                                              $0.00                               $0.00
DCI OF GARDEN CITY
3011 W MARY ST
GARDEN CITY, KS 67846-9737                       931     10/7/2013    Exide Technologies, LLC                                                                              $0.00                               $0.00
LAREAU, TERRY
5927 EAST 3500 S ROAD
ST ANNE, IL 60964                                932     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
CALUMET AUTO SALVAGE
8501 W CALUMET RD
MILWAUKEE, WI 53224                              933     10/7/2013    Exide Technologies, LLC            $1,666.00                                                                                         $1,666.00
KURT FAULK BOILERS
3500 WANDA LYNN DR
METAIRIE, LA 70002-4630                          934     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
BENTON COUNTY TAX COLLECTOR
215 E CENTRAL AVE STE 110
BENTONVILLE, AR 72712                            935     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
JOHN BOY'S /JOHN BROOK
26415 HOLT 180
MOUND CITY, MO 64470-8230                        936     10/7/2013    Exide Technologies, LLC            $1,410.10                                                                                         $1,410.10
LANDERMAN, THOMAS
7600 OLD TOWN RD
MOUNT PERRY, OH 43760-9661                       937     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
PHILLIPS, JAMES
1317 CUMMINGS ST
PALESTINE, TX 75801-4131                         938     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                  $0.00            $0.00
CORRO-SHIELD INTERNATIONAL INC.-ROSEMONT
7059 BARRY ST
ROSEMONT, IL 60018-3401                          939     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
BRIDGET C WITHERS TRAD IRA
C/O BRIDGET C WITHERS
3982 E BROOKHAVEN DR NE
ATLANTA, GA 30319-2861                           940     10/7/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00
PANHANDLE ALARM
10 INDUSTRIAL BLVD
PENSACOLA, FL 32503-7647                         941     10/7/2013    Exide Technologies, LLC               $86.00                                                                                            $86.00
CUMMINGS, ROY
2345 GREENTREE DR NE
SALEM, OR 97305-2624                             942     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
IOWA DIVISION OF LABOR SERVICES
BOILER SAFETY SECTION
1000 E GRAND AVE
DES MOINES, IA 50319-0209                        943     10/7/2013    Exide Technologies, LLC               $50.00                  $0.00                                                                     $50.00
FRANKIE'S GOLF CARTS
2011 N TAYLOR AVE
GARDEN CITY, KS 67846                            944     10/7/2013    Exide Technologies, LLC                                                                              $0.00                               $0.00
VANTER, GORDON
1160 S 12TH ST APT 2
MARION, IA 52302-5289                            945     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
FLOIED FIRE EXTINGUISHERS CO.
KIM SIMMONS
3050 LAMAR AVENUE
MEMPHIS, TN 38114                                946     10/7/2013    Exide Technologies, LLC              $421.70                                                         $0.00                            $421.70
MONTANEZ, RUDY
9077 ROAD 238B
TERRA BELLA, CA 93270                            947     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
FOX METRO W.R.D.
682 SR 31
OSWEGO, IL 60543                                 948     10/7/2013    Exide Technologies, LLC              $100.06                                                                                          $100.06
MISSOURI GAS ENERGY
3420 BROADWAY AVE
KANSAS CITY, MO 64111                            949     10/7/2013    Exide Technologies, LLC              $214.81                                                                                          $214.81
CHRISTENSEN, ARDEN
3180 TRUMAN DR
SANTA CLARA, UT 84765-5351                       950     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
EXPERT PLUMBING - NAPERVILLE
424 FORT HILL DR STE 122
NAPERVILLE, IL 60540-3940                        951     10/7/2013    Exide Technologies, LLC              $275.00                                                                                          $275.00
RAUCH, LEO
2982 MAGNOLIA CIR
MACUNGIE, PA 18062-9313                          952     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MARCHWINSKI, LAURA
254 BELLEVUE AVE
DEPEW, NY 14043-3102                             953     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DELAWARE COUNTY TREASURER
PO BOX 27
301 E MAIN ST
MANCHESTER, IA 52057-0027                        954     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
THE EMPIRE DISTRICT ELECTRIC COMPANY
PO BOX 127
JOPLIN, MO 64802                                 955     10/7/2013    Exide Technologies, LLC            $19,638.44                                                                                      $19,638.44
GILBERT D CHEATHAM IRA SEPT
TD AMERITRADE
3200 CHERRY TREE LN
PROSPECT, KY 40059                               956     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
GILBERT D CHEATHAM IRA ROLLOVER
CHARLES SCHWAB & CO CUST
3200 CHERRY TREE LN
PROSPECT, KY 40059                               957     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
FISHER SCIENTIFIC CO LLC
ATTN GARY BARNES
300 INDUSTRY DR
PITTSBURGH, PA 15275                             958     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAMS, LOUISE
PO BOX 604
MULDROW, OK 74948-0604                           959     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
STORAGE BATTERY SYSTEMS INC.
N56 W16665 RIDGEWOOD DRIVE
MENOMONEE FALLS, WI 53052                        960     10/7/2013    Exide Technologies, LLC              $565.00                                                                                          $565.00

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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                Amount                                                        Amount
COLT INDUSTRIAL SALES & MARKETING
KENNETH SCHAEFER
15202 STONEY CREEK WAY
NOBLESVILLE, IN 46060                                       961     10/7/2013    Exide Technologies, LLC             $1,131.31                                                                                       $1,131.31
LUBBOCK CENTRAL APPRAISAL DISTRICT
C/O PERDUE BRANDON FIELDER COLLINS & MOTT LLP
ATTN LAURA J MONROE
PO BOX 817
LUBBOCK, TX 79408                                           962     10/7/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BRASK ENTERPRISES INCORPORATED II
PO BOX 94258
LAS VEGAS, NV 89193-4258                                    963     10/7/2013    Exide Technologies, LLC             $2,200.00                                                                                       $2,200.00
MARION COUNTY TREASURER
ATTN B DARLAND
200 E WASHINGTON ST STE 1041
INDIANAPOLIS, IN 46204                                      964     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
OKLAHOMA NATURAL GAS CO
A DIVISION OF ONEOK INC
PO BOX 21019
TULSA, OK 74121-1019                                        965     10/7/2013    Exide Technologies, LLC              $772.32                                                                                          $772.32
OXYLANCE CORPORATION
PO BOX 310280
BIRMINGHAM, AL 35231-0280                                   966     10/7/2013    Exide Technologies, LLC                                                                          $2,116.00                          $2,116.00
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF POWER MOTION
SALES INC
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                        967     10/7/2013    Exide Technologies, LLC             $3,905.53                                                                                       $3,905.53
NORTHWEST HANDLING
PO BOX 749861
LOS ANGELES, CA 90074-9861                                  968     10/7/2013    Exide Technologies, LLC              $861.23                                                                                          $861.23
WEST SIDE TRACTOR SALES CO.
3110 PRAIRIE RD
ROCKFORD, IL 61102-3948                                     969     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TAYLOR PORTER BROOKS & PHILLIPS LLP
ATTN MICHAEL A CRAWFORD
PO BOX 2471
BATON ROUGE, LA 70821-2471                                  970     10/7/2013    Exide Technologies, LLC            $13,960.53                                                                                      $13,960.53
MONTGOMERY COMMUNICATIONS
222 W 6TH ST
JUNCTION CITY, KS 66441                                     971     10/7/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
WIMBERLY, DENNIS
340 NE CREST ST UNIT 76
SUBLIMITY, OR 97385-9541                                    972     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MURDOCH'S RANCH & HOME SUPPLY
2275 N 7TH AVENUE
BOZEMAN, MT 59715                                           973     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CAPLUGS
2150 ELMWOOD AVE
BUFFALO, NY 14207-1910                                      974     10/7/2013    Exide Technologies, LLC             $3,738.18                                                                                       $3,738.18

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                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
LAKE DESIGN & DECOR, LLC-MANCHESTER
107 N FRANKLIN ST
MANCHESTER, IA 52057-1540                        975     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NAC DYNAMICS, LLC
16110 FLIGHT PLATH DRIVE
BROOKSVILLE, FL 34604                            976     10/7/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
HAMER, MARY
84 N UNION ST
LAMBERTVILLE, NJ 08530-2002                      977     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBERT SACCAVINO
3199 SUNDOWN DR
LAS VEGAS, NV 89169-2544                         978     10/7/2013    Exide Technologies, LLC                    $0.00              $0.00              $0.00               $0.00                              $0.00
COMMERCIAL TIRE,IND TIRE DEALE
3366 LEONIS BLVD
VERNON, CA 90058                                 979     10/7/2013    Exide Technologies, LLC            $1,383.48                  $0.00                                                                 $1,383.48
BOLLINGER, DANIEL C
10987 FAWN MEADOW LN
STRONGSVILLE, OH 44149                           980     10/7/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
WARREN, CHARLES
192 ECHO DR
ELIZABETHTON, TN 37643-6165                      981     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
PARKE, LINDA
738 FAIRVIEW RD
MOUNT JOY, PA 17552-8558                         982     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
US HEALTHWORKS MEDICAL GROUP OF PENN.
PO BOX 404507
ATLANTA, GA 30384-4507                           983     10/7/2013    Exide Technologies, LLC            $8,095.00                                                                                        $8,095.00
THE LEADERSHIP INSTU
STATE UNIVERSITY
3100 GENTIAN BLVD.
COLUMBUS, GA 31907                               984     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SCHMIDT, BERNARD
14423 E SUZANNE DE FORTUNA DR
YUMA, AZ 85367-7556                              985     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
NELSON LEASING INC.
ATTN DAN GROTHE
4235 W. MAIN AVE
FARGO, ND 58103                                  986     10/7/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
MARTIN MARIETTA MAGNESIA SPECIALTIES
BARB LABRIERE
8140 CORPORATE DR.
STE. 220
BALTIMORE, MD 21236                              987     10/7/2013    Exide Technologies, LLC            $7,173.70                                                                                        $7,173.70
REMY BATTERY CO., INC.
4301 W LINCOLN AVE
MILWAUKEE, WI 53219-1644                         988     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NORTHLAND INDUSTRIAL TRUCK INC
PO BOX 845534
BOSTON, MA 02284-5534                            989     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
OG&E ELECTRIC SERVICES
BANKRUPTCY CLERK
PO BOX 321 M223
OKLAHOMA CITY, OK 73101                          990     10/7/2013    Exide Technologies, LLC            $134,755.10                                                                                   $134,755.10
SMALLWOOD LOCKSMITHS
1008 N 18TH ST
KANSAS CITY, KS 66102-4230                       991     10/7/2013    Exide Technologies, LLC              $1,379.52                                                                                     $1,379.52
KRAIGER, JOHN
1111 WINDHORST RIDGE DR
BRANDON, FL 33510-3119                           992     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
ENGINEERED PLASTIC PRODUCTS
PO BOX 196
269 MERCER STREET
STIRLING, NJ 07980-0196                          993     10/7/2013    Exide Technologies, LLC             $49,767.72                                                  $4,730.80                         $54,498.52
CHATMAN, GEORGE
143 PRESTON MANGUM RD
MAGEE, MS 39111-3296                             994     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
JONES, CLIFFORD
2308 10TH AVE
LEAVENWORTH, KS 66048-4213                       995     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
ANDERSEN & ASSOCIATES, INC
PO BOX 1015
WIXOM, MI 48393-0789                             996     10/7/2013    Exide Technologies, LLC              $2,087.35                                                                                     $2,087.35
R.M. BOGGS CO,INC.
PO BOX 1487
IOWA CITY, IA 52244-1487                         997     10/7/2013    Exide Technologies, LLC              $3,466.57                                                    $239.84                          $3,706.41
RAYMOND STORAGE CONCEPTS, INC.
4350 INDECO COURT
CINCINNATI, OH 45241                             998     10/7/2013    Exide Technologies, LLC                    $0.00              $0.00                                 $0.00                              $0.00
MAX ENVIRONMENTAL TECHNOLOGIES
ELLEN YOCHUS
1815 WASHINGTON ROAD
PITTSBURGH, PA 15241                             999     10/7/2013    Exide Technologies, LLC             $36,947.46                                                      $0.00                         $36,947.46
REAGENT CHEMICAL & RESEARCH, INC.
115 HIGHWAY 202
RANGOES, NJ 08551                                1000    10/7/2013    Exide Technologies, LLC            $212,966.52                                                                                   $212,966.52
LEED ENVIRONMENTAL INC
2209 QUARRY DRIVE, SUITE C-35
READING, PA 19609                                1001    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
TRI DIM FILTER CORPORATION
93 INDUSTRIAL DR
LOUISA, VA 23093                                 1002    10/7/2013    Exide Technologies, LLC               $548.26                                                                                        $548.26
GALA INDUSTRIES
181 PAULEY ST
EAGLE ROCK, VA 24085-3602                        1003    10/7/2013    Exide Technologies, LLC             $61,961.10                                                                                    $61,961.10
SECURITY GUARDS INC
PO BOX 6283
WYOMISSING, PA 19610-0283                        1004    10/7/2013    Exide Technologies, LLC                                       $0.00                                 $0.00                              $0.00




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
STRICKLAND, VELMA
984 TRUCE RD
HOLTWOOD, PA 17532-9669                         1005    10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAM CLEMENTS, ATTORNEY AT LAW
1718 M STREET NW
#288
WASHINGTON, DC 20036                            1006    10/7/2013    Exide Technologies, LLC              $2,325.00                                                                                      $2,325.00
RALPH GEIGER
803 LAS VEGAS DR
TEMPLE, PA 19560-1125                           1007    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ZIMMERMAN, CLARKSON
147 KOHLER HILL RD
HAMBURG, PA 19526-8415                          1008    10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SAINT GOBAIN ABRASIVES
1 NEW BOND STREET
BOX # 15008
WORCESTER, MA 01615                             1009    10/7/2013    Exide Technologies, LLC              $7,190.68                                                                                      $7,190.68
IMR INC.
808 QUAIL RIDGE DR
WESTMONT, IL 60559-6149                         1010    10/7/2013    Exide Technologies, LLC             $18,750.00                                                       $0.00                         $18,750.00
S & S METAL RECYCLERS II - AURORA
336 E SULLIVAN RD
AURORA, IL 60505-9740                           1011    10/7/2013    Exide Technologies, LLC              $8,057.31                                                                                      $8,057.31
COLUMBUS LIFT SERVICE INC
2815 HARLEY CT
COLUMBUS, GA 31909-2771                         1012    10/7/2013    Exide Technologies, LLC             $30,069.83                                                                                     $30,069.83
ATMS, INC.
1523 CENTRAL PARK DR
HURST, TX 76053-7401                            1013    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SANCHEM INCORPORATED
1600 S CANAL ST
CHICAGO, IL 60616-1106                          1014    10/7/2013    Exide Technologies, LLC             $14,771.29                                                       $0.00                         $14,771.29
WESTERN PETERBILT-WEST YAKIMA
2028 RUDKIN RD
UNION GAP, WA 98903-4020                        1015    10/7/2013    Exide Technologies, LLC             $19,082.95                                   $0.00           $8,078.82                         $27,161.77
TORDOFF, WENDY
425 2ND ST
OLYPHANT, PA 18447-1217                         1016    10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
EPSTEIN, SHERRY STEIN
31549 S WOODLAND RD
PEPPER PIKE, OH 44124                           1017    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EPSTEIN, ERICA L
31549 S WOODLAND RD
PEPPER PIKE, OH 44124                           1018    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HARBISON-WALKER REFRACTORIES COMPANY
1305 CHERRINGTON PKWY STE 100
CORAOPOLIS, PA 15108-4355                       1019    10/7/2013    Exide Technologies, LLC            $154,834.38                                                                                    $154,834.38
RICHLAND PRIMARY CARE CTR
PO BOX 180367
RICHLAND, MS 39218-0367                         1020    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                             Amount                                                       Amount
BOYD, WILLIE
451 EAGLE CT
JACKSON, MS 39272-5798                                   1021    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
COMMUNICATION POWER SOLUTIONS/TEMPE
5869 S KYRENE RD STE 12
TEMPE, AZ 85283-5731                                     1022    10/7/2013    Exide Technologies, LLC               $255.41                                                     $453.00                            $708.41
FAIR HARBOR CAPITAL, LLC AS TRANSFEREE OF PENN-AIR &
HYDRAULICS CORPORATION
ANSONIA FINANCE STATION
PO BOX 237037
NEW YORK, NY 10023                                       1023    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BUCKS COUNTY CLEANING
PO BOX 123
LANGHORNE, PA 19047-0123                                 1024    10/7/2013    Exide Technologies, LLC              $1,819.42                                                                                     $1,819.42
STATE OF HAWAII DEPARTMENT OF TAXATION
C/O STATE TAX COLLECTOR
ATTN BANKRUPTCY UNIT
PO BOX 259
HONOLULU, HI 96809                                       1025    10/8/2013    Exide Technologies, LLC               $645.22               $121.41                                                                  $766.63
COLEMAN, JERRY
8028 HIGHWAY 42
PRENTISS, MS 39474-4941                                  1026    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
ASSOCIATION OF BATTERY RECYCLERS INC
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                                     1027    10/8/2013    Exide Technologies, LLC             $54,377.82                                                                                    $54,377.82
INTERNATIONAL LEAD ASSOCIATION
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                                     1028    10/8/2013    Exide Technologies, LLC            $117,150.66                                                                                   $117,150.66
GONZALEZ, JOSE REVUELTA
190 E 7 ST APT 710
NEW YORK, NY 10009                                       1029    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRIGGS EQUIPMENT
10540 N STEMMONS FRWY
DALLAS, TX 75220                                         1030    10/8/2013    Exide Technologies, LLC             $16,309.58                                                                                    $16,309.58
MCNEES WALLACE & NURICK
PO BOX 1166
HARRISBURG, PA 17108-1166                                1031    10/8/2013    Exide Technologies, LLC              $2,161.21                                                                                     $2,161.21
CONVOY SYSTEMS, LLC
BRENDA MILLER
333 N. JAMES ST
KANSAS CITY, KS 66118                                    1032    10/8/2013    Exide Technologies, LLC            $138,339.62                                                      $0.00                        $138,339.62
LUNNING, GAYLE
324 SE BINGHAM DR
LEES SUMMIT, MO 64063-3405                               1033    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00




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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
KERSCHNER, J
1048 HADLEY AVE N APT 112
SAINT PAUL, MN 55128-5919                        1034    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
PIERCE PUMP
PO BOX 560727
DALLAS, TX 75356-0727                            1035    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CABLE, JOHN V
985 BRIDGE MILL
CANTON, GA 30114                                 1036    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BHAT FAMILY TRUST
UAD 3/6/03
C/O NARAYANA B BHAT
7332 RIVER BEND RD
NASHVILLE, TN 37221                              1037    10/8/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
FLETCHER, DALE W
S2950 LORENE DR
MARSHFIELD, WI 54449                             1038    10/8/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
VINE, SHIRLEY
2231 PENN PL APT 321
NORTH SAINT PAUL, MN 55109-2963                  1039    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WERNER, LUTHER
348 SCULPS HILL RD
AUBURN, PA 17922-8722                            1040    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WICKERT, THEODORE
3 ESTATES DR
READING, PA 19606-9593                           1041    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
OSWALD, ARDENE
734 W MONTE AZUL
SALT LAKE CITY, UT 84123-3504                    1042    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DURKIN EQUIPMENT CO., INC
PO BOX 46927
SAINT LOUIS, MO 63146                            1043    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RANKIN COUNTY TAX COLLECTOR
211 E GOVERNMENT ST STE B
BRANDON, MS 39042-3269                           1044    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMSON, EDGAR
4429 WINTERBERRY RIDGE CT
WINSTON SALEM, NC 27103-9742                     1045    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRODIN, PETER
5425 SHORE TRL NE
PRIOR LAKE, MN 55372-1260                        1046    10/8/2013    Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
BRIDGES, LEROY
1211 ALDENWOOD DR
DALLAS, TX 75232-4201                            1047    10/8/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
SMITH, UTLEY W
729 FOX HILLS DR
SUN CITY CENTER, FL 33573                        1048    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
NATIONAL FUEL GAS DISTRIBUTION CORPORATION
ATTN CORRESPONDENCE
6363 MAIN ST
WILLIAMSVILLE, NY 14221                            1049    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MXI ENVIRONMENTAL SERVICES LLC
26319 OLD TRAIL RD
ABINGDON, VA 24210-7635                            1050    10/8/2013    Exide Technologies, LLC             $9,495.00                                                                                       $9,495.00
LANZAFAME, STEVEN
414 HICKORY CT
BLUFF CITY, TN 37618-3908                          1051    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CONNER, WILLARD
6080 NW 55TH AVE
OCALA, FL 34482-2786                               1052    10/8/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
NU-TECH INDUSTRIAL SALES, INC.
PO BOX 1177
BREA, CA 92822-1177                                1053    10/8/2013    Exide Technologies, LLC            $24,843.47                                                                                      $24,843.47
LA COUNTY FIRE DEPARTMENT
PO BOX 60440
LOS ANGELES, CA 90060-0440                         1054    10/8/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
INTERSTATE INDUSTRIAL INSTRUMENTATION INC
ATTN TAMRA MALOUSEK
10424 J ST
PO BOX 27310
OMAHA, NE 68127                                    1055    10/7/2013    Exide Technologies, LLC             $1,310.90                                    $0.00                                              $1,310.90
PITMAN, RONALD
3308 MELBOURNE ROAD SOUTH DR
INDIANAPOLIS, IN 46228-2789                        1056    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BOHRMAN, CLYDE
228 FRIEDEN MNR
SCHUYLKILL HAVEN, PA 17972-9555                    1057    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MAYEWSKI, BRUNO
8 OHARA DR
PLANTATION LANDINGS
HAINES CITY, FL 33844-9278                         1058    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DE LAGE LANDEN FINANCIAL SERVICES
1111 OLD EAGLE SCHOOL RD
WAYNE, PA 19087                                    1059    10/9/2013    Exide Technologies, LLC             $7,280.02                                                                                       $7,280.02
GREEN, SPENCER W
144 MOONSHINE LN
HARPERS FERRY, WV 25425                            1060    10/9/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
CONESTOGA FUELS, INC.
PO BOX 4665
1142 ELIZABETH AVE
LANCASTER, PA 17604-4665                           1061    10/9/2013    Exide Technologies, LLC             $2,741.65                                                      $954.45                          $3,696.10
GOODSON, THOMAS
4758 WESTWOOD PARK DRIVE 3L
SHREVEPORT, LA 71109                               1062    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
PROLIFT INDUSTRIAL EQUIPMENT
12001 PLANTSIDE DR
LOUISVILLE, KY 40299                               1063    10/9/2013    Exide Technologies, LLC            $50,204.50                                                                                      $50,204.50

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                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                 Amount                                                        Amount
TELESIS TECHNOLOGIES INC
28181 RIVER DRIVE
CIRCLEVILLE, OH 43113                                        1064    10/9/2013    Exide Technologies, LLC             $15,304.84                                                     $726.34                         $16,031.18
CONTRARIAN FUNDS LLC AS ASSIGNEE OF GIS
ATTN ALISA MUMOLA
411 W PUTNAM AVE STE 425
GREENWICH, CT 06830                                          1065    10/9/2013    Exide Technologies, LLC             $31,435.60                                                                                     $31,435.60
PEXCO LLC
ATTN DAVID TOLTZIS
2500 NORTHWINDS PARKWAY
SUITE 472
ALPHARETTA, GA 30009                                         1066    10/9/2013    Exide Technologies, LLC              $5,650.00                                                                                      $5,650.00
RALPH T ANGSTADT
1793 TANGLEWOOD RD
ORWIGSBURG, PA 17961-9527                                    1067    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
COSTANZA, MARY
519 S CHICAGO AVE
KANKAKEE, IL 60901-5228                                      1068    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, STEVEN A
4725 HAVANA AVE SW
WYOMING, MI 49509                                            1069    10/9/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
ZIMMERMAN, THOMAS
905 W BARNER ST
FRANKFORT, IN 46041-1376                                     1070    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
FARMERS EQUIPMENT
6008 ELIDA RD
ELIDA, OH 45807-9453                                         1071    10/9/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
TOBY, LOIS
9601 TOM EVANS RD
GREENVILLE, IN 47124-9412                                    1072    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WEBB, C
3114 LINCOLN BLVD
CLEVELAND HEIGHTS, OH 44118-2036                             1073    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COVEY, TONY
2635 COBHILL RD
IRVINE, KY 40336-8659                                        1074    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SANDEE'S - WATERLOO
A DIVISION OF LSS MANAGEMENT INC
1111 SOUTH STREET
WATERLOO, IA 50702                                           1075    10/9/2013    Exide Technologies, LLC                $72.73                                                                                          $72.73
SIERRA LIQUIDITY FUND, LLC AS TRANSFEREE OF TOTAL HEALTH
AND SAFETY
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                        1076    10/9/2013    Exide Technologies, LLC              $1,861.87                                                     $164.32                          $2,026.19
GEORGIA AUTOMATION
440 GEES MILLS COURT
CONYERS, GA 30208                                            1077    10/9/2013    Exide Technologies, LLC              $5,122.90                                                       $0.00                          $5,122.90
AMERICAN ELECTRIC POWER
1 AEP WAY
HURRICANE, WV 25526                                          1078    10/9/2013    Exide Technologies, LLC            $131,043.09                                                                                    $131,043.09

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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                        Amount                                                       Amount
A & R TELECOM - BELLFLOWER
9066 ROSECRANS AVE
BELLFLOWER, CA 90706-2038                           1079    10/9/2013    Exide Technologies, LLC            $20,431.72                                                     $130.00                         $20,561.72
EQUIPMENT & PROCESS MANAGEMENT CONSULT
CONSULTANTS,INC.DBA EPMC, INC.
7007 E. 650 N.
NEEDHAM, IN 46162                                   1080    10/9/2013    Exide Technologies, LLC             $9,600.00                 $0.00                                                                $9,600.00
FRED & MARGARET C ROBERTS JT TEN
1272 ROBERTSVILLE RD
PUNXSUTAWNEY, PA 15767                              1081    10/9/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
LAMAR JOHNSON
HARVEY COVENSKY, C/O HARVEYCOVENSKY, P.C.
4000 TOWN CENTER, SUITE 1470
SOUTHFIELD, MI 48075                                1082    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ANDERSON, DAVID
5372B SOUTH ROUTE 52 & 45
CHEBANSE, IL 60922                                  1083    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SZWAST, JOHN
10 EVERGREEN LN
HAMILTON SQUARE, NJ 08690-3114                      1084    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SEAMAN, DONA J.
2414 MODENA CT
PEARLAND, TX 77581-1100                             1085    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
WALKER SERVICES INC. - BATON ROUGE
PO BOX 53008
BATON ROUGE, LA 70892-3008                          1086    10/9/2013    Exide Technologies, LLC            $30,910.00                                                                                     $30,910.00
MIDWESCO FILTER RESOURCES INC
PO BOX 480747
NILES, IL 60714-0747                                1087    10/9/2013    Exide Technologies, LLC             $9,417.87                                                                                      $9,417.87
ENVIRON INTERNATIONAL CORPORATION
ATTN KRISTEN MCCORMICK
214 CARNEGIE CENTER
PRINCETON, NJ 08540                                 1088    10/9/2013    Exide Technologies, LLC            $71,192.69                                                                                     $71,192.69
MEYERS TRACTOR SALVAGE LLC
39012 128TH ST
ABERDEEN, SD 57401-8110                             1089    10/9/2013    Exide Technologies, LLC                                                                         $7,016.00                          $7,016.00
SI SOLUTIONS INC
ATTN ROD MORROW
PO BOX 6437
FLORENCE, SC 29502                                  1090    10/9/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
METROPOLITAN ST LOUIS SEWER DISTRICT
2350 MARKET ST
ST LOUIS, MO 63103-2555                             1091    9/30/2013    Exide Technologies, LLC                                                       $365.84                                                $365.84
IMPERIAL ZINC CORP
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              1092    9/25/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
HIGGINS, JAMES
415 SHERIDAN ST
ZANESVILLE, OH 43701-2530                           1093    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
HARRISON NICHOLS CO
5265 NORTH 4TH ST
IRWINDALE, CA 91706                              1094    10/10/2013   Exide Technologies, LLC            $11,871.00                                                                                      $11,871.00
J & R ENTERPRISES- SALINA
7106 S HOLMES RD
ASSARIA, KS 67416-8733                           1095    10/10/2013   Exide Technologies, LLC            $88,651.42                                                                                      $88,651.42
JONES, LLOYD
7119 WAYCREST DR
DALLAS, TX 75232-3927                            1096    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KELVIN WILLIAMS
5911 HIGHWAY 13
PRENTISS, MS 39474-5131                          1097    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
IRA FBO JAMES D CHAMBERLAIN
1236 STALEY RD
GRAND ISLAND, NY 14072                           1098    10/10/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
PERSONNEL PEOPLE
LINDA ST. ANDRE
121 CENTRAL ST
SUITE 201
NORWOOD, MA 02062                                1099    10/10/2013   Exide Technologies, LLC            $23,822.30                                                                                      $23,822.30
MCMILLIAN, FRED
4811 DUNCANVILLE RD APT 101
DALLAS, TX 75236-1864                            1100    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
TIBBS, GENE
302 MOUNTAINVIEW DR
MADISON HEIGHTS, VA 24572-2916                   1101    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KAISER, TIM
510 MAPLE ST
TIPTON, IN 46072-1521                            1102    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KYLE BEALL - ATTORNEY AT LAW
628 NORTH BLVD
BATON ROUGE, LA 70802-5721                       1103    10/10/2013   Exide Technologies, LLC             $2,784.00                                                                                       $2,784.00
ELK TRANSPORTATION INC
DBA ELK ENVIRONMENTAL SERVICES
C/O WHITE AND WILLIAMS LLP
ATTN AMY E VULPIO, ESQ
1650 MARKET ST 18TH FL
PHILADELPHIA, PA 19103                           1104    10/10/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
ENGLAND, MICHAEL
2485 AZBILL RD
MC KEE, KY 40447-8007                            1105    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
AMMERAAL BELTECH,INC.
PO BOX 90351
CHICAGO, IL 60696-0351                           1106    10/10/2013   Exide Technologies, LLC             $7,584.50                                                                                       $7,584.50
KEILERS, CHARLES H
2518 LINDENWOOD DR
SAN ANGELO, TX 76904                             1107    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TOYOTA LIFT OF MINNESOTA INC-BROOKLYN PA
8601 XYLON CT
BROOKLYN PARK, MN 55445-1840                     1108    10/10/2013   Exide Technologies, LLC            $14,728.14                                                                                      $14,728.14

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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
ELBE SUPPLY
P.O. BOX 802
ELBE, WA 98330                                    1109    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CARLILE PATCHEN & MURPHY LLP
366 E BROAD ST
COLUMBUS, OH 43215-3819                           1110    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BRUMMETT'S PLUMBING - MUNCIE
PO BOX 3302
MUNCIE, IN 47307                                  1111    10/10/2013   Exide Technologies, LLC              $420.00                                                                                          $420.00
THE RUTH H YORK BYPASS TRUST
C/O RALPH D YORK, TTEE
1711 KINGSBURY DR
NASHVILLE, TN 37215                               1112    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PS ENVIRONMENTAL SERVICES
PO BOX 7000-897
REDONDO BEACH, CA 90277                           1113    10/10/2013   Exide Technologies, LLC            $5,511.88                                                                                        $5,511.88
DAIGNEAULT, ROBERT E
17700 S WESTERN AVE SPC #16
GARDENA, CA 90248                                 1114    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TJOSVOLD EQUIPMENT
5352 285TH AVE
GRANITE FALLS, MN 56241-1600                      1115    10/3/2013    Exide Technologies, LLC                    $0.00              $0.00                                  $0.00                              $0.00
GARDA, JOHN A
3941 STAATZ DR
YOUNGSTOWN, OH 44511                              1116    10/10/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
CHEEK, GARY
2354 BRANDON CIR
CHINO HILLS, CA 91709                             1117    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUGLE FORKLIFT SALES AND RENTALS, LTD
JOLENE KANE
#105 - 4919 72ND AVE SE
CALGARY, AB T2C 3H3
                                                  1118    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TREADWAY, JOHN C
3258 TRINITY MILL CIR
DACULA, GA 30019                                  1119    10/10/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
TELLES, RUDOLF
1089 S ROMNEY DR
WALNUT, CA 91789-3839                             1120    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KIBBLE EQUIPMENT
36648 US HIGHWAY 71
REDWOOD FALLS, MN 56283-2747                      1121    10/10/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
JOSEPH DAMPIER
238 BILL WOMACK RD
MENDENHALL, MS 39114-5575                         1122    10/10/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
JERRY BROWN LTD
26 LOWER WARREN ST
QUEENSBURY, NY 12804-3815                         1123    10/10/2013   Exide Technologies, LLC            $4,396.70                                                                                        $4,396.70




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                                                                                                       Amount                                                        Amount
VEOLIA ES TECH SOLUTIONS - ALLIED OIL
VEOLIA ES TECHNICAL SOLUTIONS
3100 HEDLEY ST
PHILADELPHIA, PA 19137                             1124    10/10/2013   Exide Technologies, LLC              $716.10                                                       $698.70                           $1,414.80
SINGLETON, WILLIAM
611 VZ COUNTY ROAD 3828
WILLS POINT, TX 75169-6639                         1125    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
AMERICAN METAL RECYCLING INC.
21516 MAIN STREET
GRAND TERRACE, CA 92313                            1126    10/10/2013   Exide Technologies, LLC              $768.84                                                                                           $768.84
PRECISION TOOL AND MOLD
SHERRY MOWERY
12050 44TH ST. N
CLEARWATER, FL 33762                               1127    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ENCORE ENERGY SERVICES INC
11807 Q ST STE 1
OMAHA, NE 68137                                    1128    10/10/2013   Exide Technologies, LLC            $25,982.50                                                   $18,124.99                          $44,107.49
RIVER CITY WOOD PRODUCTS
ATTN: KEVIN OCHS
19885 DETROIT RD. #200
ROCKY RIVER, OH 44116                              1129    10/10/2013   Exide Technologies, LLC            $50,894.40                                                   $20,512.32                          $71,406.72
HAMBY, HERBERT
43 W 5TH ST
DRESDEN, OH 43821-9640                             1130    10/10/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
GOLDAPP JR, WILLIAM ALLEN
4418 COLUMBINE DR
VAIL, CO 81657-4712                                1131    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
SALINA SUPPLY CO
302 N SANTA FE AVE
P O BOX 5100
SALINA, KS 67401-2329                              1132    10/10/2013   Exide Technologies, LLC             $1,064.60                                                       $28.91                           $1,093.51
LORETT OIL CO
1311 BEVERLY DR
SALINA, KS 67401-4320                              1133    10/10/2013   Exide Technologies, LLC             $3,567.33                                                    $4,204.86                           $7,772.19
DRESSEL WELDING SUPPLY INC
PO BOX 225
BRATTLEBORO, VT 05302-0225                         1134    10/10/2013   Exide Technologies, LLC             $1,309.53                                                                                        $1,309.53
STEFFEN, DANIEL G
5229 CHASE OAKS DR
SARASOTA, FL 34241                                 1135    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
NOVOTNY, ROBERT
1853 OXFORD ST N
SAINT PAUL, MN 55113-6513                          1136    10/10/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
DONAHUE, KENNETH
PO BOX 26
ALBANY, OR 97321-7574                              1137    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CRUZ, FLORA
6123 PACIFIC BLVD SW
ALBANY, OR 97321-3751                              1138    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00


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                                                                                                      Amount                                                        Amount
VOLZ, DONALD H & KAY A
338 E SIDLEE ST
THOUSAND OAKS, CA 91360                           1139    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ZIERHOFFER, CAROL
901 MALLARD CIR
ARNOLD, MD 21012                                  1140    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
BRONSON, DANIEL
1055 PRESIDENTS DR
LITITZ, PA 17543-7337                             1141    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
STAMMER, DANIEL
7838 LA MIRADA DR
BOCA RATON, FL 33433                              1142    10/10/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
STADALMAN, RICHARD
705 SAVANNAH ST
MOUND CITY, MO 64470-1134                         1143    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GRAMS, PAULINE
347 ZIDA ST
FORT ATKINSON, WI 53538-2357                      1144    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MCCLUNG, JOHN
683 ARCADIA DR
SAINT PAUL, MN 55118-1801                         1145    10/10/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
STAND ENERGY CORPORATION
1077 CELESTIAL ST., SUITE 110
CINCINNATI, OH 42502-1629                         1146    10/10/2013   Exide Technologies, LLC             $7,119.86                                                                                        $7,119.86
GRIMES, LARRY
9536 PINE COVE DR
SHREVEPORT, LA 71118-4121                         1147    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ROMAN, EMMA
2129 S CLINTON AVE
TRENTON, NJ 08610-5924                            1148    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CANON FINANCIAL SERVICES INC
PO BOX 5008
MOUNT LAUREL, NJ 08054-5008                       1149    10/8/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
RICOH USA
3920 ARKWRIGHT RD STE 400
MACON, GA 31210                                   1150    10/3/2013    Exide Technologies, LLC            $85,344.92                                                                                       $85,344.92
SODEXO C/O P&G
ROUTE 87
MEHOOPANY, PA 18629-0032                          1151    10/5/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
ELSIE BAKER
C/O NIKOLAUS & HOHENADEL LLP
ATTN BARRY SOLODKY, ESQ
212 N QUEEN ST
LANCASTER, PA 17603                               1152    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
DOROTHY MCCOMSEY
C/O NIKOLAUS & HOHENADEL LLP
ATTN BARRY SOLODKY, ESQ
212 N QUEEN ST
LANCASTER, PA 17603                               1153    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00


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                                                                                                            Amount                                                       Amount
EDWARDS CHEMICAL INC.
PO BOX 488
1504 ROSEPORT RD
ELWOOD, KS 66024-0488                                   1154    10/11/2013   Exide Technologies, LLC             $27,737.13                                                    $126.02                          $27,863.15
WILLIAM ALLEN GOLDAPP JR IRA ROLLOVER
C/O WILLIAM A GOLDAPP JR
4418 COLUMBINE DR
VAIL, CO 81657-4712                                     1155    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AMRS-INC
GLENN BROCK
39935 CORTE VELADO
INDIO, CA 92203                                         1156    10/11/2013   Exide Technologies, LLC             $14,215.00                $0.00                                                                $14,215.00
DENBESTE, JAMES
3850 TIMBET DR SE
SALEM, OR 97317-9582                                    1157    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AUGST, STEPHEN
5680 OTTER VIEW TRL
WHITE BEAR LAKE, MN 55110-2295                          1158    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
US XPRESS LOGISTICS
PO BOX 116447
ATLANTA, GA 30368                                       1159    10/11/2013   Exide Technologies, LLC            $349,579.64                                                                                    $349,579.64
GRAY JR, DONALD
715 OLD MEADOW GLN
ALPHARETTA, GA 30022-5545                               1160    10/11/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
HARDWICK, ROBERT
1500 W JEFFERY ST
KANKAKEE, IL 60901-8219                                 1161    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CITY OF SEATTLE
CITY OF SEATTLE/FAS
REVENUE & CONSUMER AFFAIRS
PO BOX 34214, 700 5TH AVE STE 4250
SEATTLE, WA 98124-4214                                  1162    10/11/2013   Exide Technologies, LLC                                     $474.55                                                                   $474.55
COTTRELL, ROY
3009 TERRY GATESVILLE RD
CRYSTAL SPRINGS, MS 39059-9738                          1163    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SEAGATE PLASTICS COMPANY
1110 DISHER DR
WATERVILLE, OH 43566                                    1164    10/11/2013   Exide Technologies, LLC             $95,035.62                                                                                     $95,035.62
SULLIVAN, VENITA
111 UNCLE LEO DR UNIT D
BRADLEY, IL 60915-1562                                  1165    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
STONCOR GROUP INC BY & THROUGH ITS STONHARD DIV
C/O CAPEHART & SCATCHARD PA (SIS)
8000 MIDLANTIC DR STE 300-S
MT LAUREL, NJ 08054                                     1166    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HYDRITE CHEMICAL CO INC
BOX 689227
CHICAGO, IL 60695-9227                                  1167    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                        Amount                                                        Amount
HICKS, STEVEN P
25748 N SHORE DR
ELKHART, IN 46514                                   1168    10/11/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
CAR CO RENTALS INC. / CAR CO NATIONAL LEASE
BOBBIE SUE BEASLEY
2905 N. 32ND ST.
FORT SMITH, AR 72904                                1169    10/11/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
DORMINY, EDWARD
1326 MYRTLE ST SE #208
GAINESVILLE, GA 30501-4909                          1170    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
PACWEST SECURITY SERVICES
3303 HARBOR BLVD STE A103
COSTA MESA, CA 92626-1536                           1171    10/11/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                               $0.00
ZINK SAFETY EQUIPMENT COMPANY
PO BOX 14398
LENEXA, KS 66285-4398                               1172    10/11/2013   Exide Technologies, LLC            $17,687.30                                                    $1,091.00                          $18,778.30
NEW PENN MOTOR EXPRESS INC
24801 NETWORK PL
CHICAGO, IL 60673-1248                              1173    10/11/2013   Exide Technologies, LLC              $654.03                                                                                           $654.03
BUNT, JOHN
10361 S 4218 RD
CHELSEA, OK 74016-3459                              1174    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
WEIS FIRE & SAFETY EQUIP. CO. INC.
PO BOX 3467
SALINA, KS 67402-3467                               1175    10/11/2013   Exide Technologies, LLC             $1,933.63                                                        $0.00                           $1,933.63
LINDEMAN, DAWN
6420 AUMSVILLE HWY SE
SALEM, OR 97317-9115                                1176    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SAWNEE ELECTRIC MEMBERSHIP CORP.
PO BOX 2252
ID 1204
BIRMINGHAM, AL 35246-1204                           1177    10/11/2013   Exide Technologies, LLC            $44,715.72                                                                                       $44,715.72
PREVOT, HENRY
3002 CINNAMON BAY CIR
NAPLES, FL 34119-8684                               1178    10/11/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
CONNELL, THOMAS & PATRICIA
1980 AMBER DR
NEWTOWN, PA 18940                                   1179    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ELARDO, ROSALIE G
4580 KENNISON PKWY
HAMBURG, NY 14075                                   1180    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
THERMAL CORPORATION
1264 SLAUGHTER RD
MADISON, AL 35758-8605                              1181    10/11/2013   Exide Technologies, LLC              $617.42                                                                                           $617.42
HAMILL, CHARLES
4021 LEFFLER RD
ROSEVILLE, OH 43777-9586                            1182    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
PALMER, JAMES
691 ARDMORE LN
NAPLES, FL 34108-8563                               1183    10/11/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
POOLE, MARTHA
7180 BLACK OAK DR
WALLS, MS 38680-9385                             1184    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
REYNOLDS, ROBERT M
1800 BRIGADOONE LN
FLORENCE, SC 29505                               1185    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
WELCH, THOMAS
2840 WELMAN CIR
SUMTER, SC 29153-7638                            1186    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
TERRYBERRY
PO BOX 502
GRAND RAPIDS, MI 49501                           1187    10/11/2013   Exide Technologies, LLC            $1,333.44                                                                                         $1,333.44
RISING SUN ELECTRIC
1408 NOTRE DAME AVENUE
WINNIPEG MB R3E 3G5
, MB
CANADA                                           1188    10/11/2013   Exide Technologies, LLC              $713.16                                                                                           $713.16
PAUL K RADER JT TEN
38 W ROSEVILLE RD
LANCASTER, PA 17601                              1189    10/11/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
KREBS, RONALD
2982 FRATTALONE LN
LITTLE CANADA, MN 55117-4637                     1190    10/11/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
BAKER, JAMES
PO BOX 37
BRACEVILLE, IL 60407-0037                        1191    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JANI KING
JOYCE ROSENTHAL
2469 SUNSET POINT RD
CLEARWATER, FL 33765                             1192    10/11/2013   Exide Technologies, LLC              $568.75                                                                                           $568.75
MEDICAL ASSOCIATES CLINIC - DUBUQUE
1500 ASSOCIATES DR
DUBUQUE, IA 52002-2260                           1193    10/11/2013   Exide Technologies, LLC              $477.00                                                                                           $477.00
JONES, TOMMY
4730 DUBARRY LN
JACKSON, MS 39209-4929                           1194    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
MCCREADIE, BEN
5367 NEWCOMB ROAD
HUNTINGTON, WV 25704                             1195    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
BIRGE, DARRELL
1460 W MORRISON ST
FRANKFORT, IN 46041-1556                         1196    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
SHEROGAN, JACK
130 SUNNYSIDE CT
MILFORD, CT 06460                                1197    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MS JOYCE E HENNEN
4003 SUNRISE WAY DR
SAINT LOUIS, MO 63125-3444                       1198    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
HORNE, WILLIAM R & SANDRA W
875 HORNE HILL RD
PULASKI, TN 38478                               1199    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CLAYTON P WEST TRUST UAD 7-19-01
C/O CLAYTON P WEST
1660 HICKS RD
MOUNTAIN HOME, AR 72653                         1200    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LOPCHINSKY, RICHARD A
302 E ROVEY AVE
PHOENIX, AZ 85012                               1201    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
EAGLE CAPITAL CORPORATION
JOSH HEWITT
PO BOX 4215
TUPELO, MS 38803                                1202    10/11/2013   Exide Technologies, LLC            $15,225.15                                                                                     $15,225.15
ANNIE HUNTER
120 E WHEELER CIR
SALUDA, SC 29138-1220                           1203    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
UNIQUE SANITATION
45 DALE ST
WEST BABYLON, NY 11704-1119                     1204    10/11/2013   Exide Technologies, LLC                                                                             $0.00                              $0.00
OLD DOMINION FREIGHT LINE INC
500 OLD DOMINION WAY
THOMASVILLE, NC 27360                           1205    10/11/2013   Exide Technologies, LLC              $315.36                                                                                         $315.36
AMERICAN CRANE & EQUIPMENT CORP.
531 OLD SWEDE RD
DOUGLASSVILLE, PA 19518-1205                    1206    10/11/2013   Exide Technologies, LLC            $20,579.60                                                       $0.00                         $20,579.60
LOFQUIST, WILLIAM
2540 W CROWN KING DR
TUCSON, AZ 85741-2566                           1207    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
CHRISTY, THOMAS
1609 33RD ST
FORT MADISON, IA 52627-3510                     1208    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
PACWEST SECURITY SERVICES
ISSAN BASHAWATY
3303 HARBOR BLVD
SUITE A103
COSTA MESA, CA 92626                            1209    10/11/2013   Exide Technologies, LLC                                       $0.00                                 $0.00                              $0.00
PACWEST SECURITY SERVICE
ISSAM BASHAWATY
3303 HARBOR BLVD
SUITE A103
COSTA MESA, CA 92626                            1210    10/11/2013   Exide Technologies, LLC            $64,236.48                 $0.00                                 $0.00                         $64,236.48
R&L TRUCKLOAD SERV
7290 COLLEGE
PWKY 200
FORT MYERS, FL 33907                            1211    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R&L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164-2000                     1212    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                           Amount                                                       Amount
R & L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164                                 1213    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
R&L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164-2000                            1214    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
R&L CARRIERS / GLOBAL
PO BOX 10020
PORT WILLIAM, OH 45164-2000                            1215    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BRUNOS SEMI TRAILERS
ATTN ROBERT J BRUNO, PRESIDENT
600 SUNSHINE RD
KANSAS CITY, KS 66115                                  1216    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STATE OF RHODE ISLAND & PROVIDENCE PLANTATIONS
DEPARTMENT OF REVENUE
DIVISION OF TAXATION
ONE CAPITOL HILL
PROVIDENCE, RI 02908-5800                              1217    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STAAT, JUNE
4150 PORTILLO RD APT 10
SPRING HILL, FL 34608-7225                             1218    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
OLIVIA ESPINOZA
464 S FETTERLY AVE
LOS ANGELES, CA 90022-1925                             1219    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
OLIVIA ESPINOZA
464 1/2 S FETTERLY AVE
LOS ANGELES, CA 90022-1983                             1220    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GROEBNER, BARBARA
6196 27TH ST N
OAKDALE, MN 55128-3510                                 1221    10/12/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
PIEDMONT NATURAL GAS COMPANY
4339 S TRYON ST
CHARLOTTE, NC 28217-1733                               1222    10/12/2013   Exide Technologies, LLC              $174.51                                                                                          $174.51
BERLIER, CARL
321 KEENELAND LN
GREENWOOD, IN 46142-7555                               1223    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DOUCET, ROY
1103 A MCVEIGH RD
ARNAUDVILLE, LA 70512                                  1224    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JAMISON, LARRY
7745 SHADOW CREEK DR UNIT 527
HAMILTON, OH 45011-5365                                1225    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ZONA DINKINS
2606 LAKE WADE CT
ORLANDO, FL 32806-4600                                 1226    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
69 RECYCLING
706 N WEST ST
ARMA, KS 66712-9531                                    1227    10/12/2013   Exide Technologies, LLC                                                                         $1,601.16                           $1,601.16




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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                       Amount                                                        Amount
NARDELLI, GERALDINE
114 SWARTZ ST
DUNMORE, PA 18512-1951                             1228    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
TURNAGE, YVONNE
1234 GRADY AVE
YAZOO CITY, MS 39194-3034                          1229    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
STAR TRUCK RENTALS, INC.
3940 EASTERN AVE SE
GRAND RAPIDS, MI 49508-2417                        1230    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
POSEY, ROBERT W
3389 BATTLEFIELD MEMORIAL HWY
BEREA, KY 40403                                    1231    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
IAN GILLOTT
SUITE 400, L4, 1600 SEAPORT BLVD.
REDWOOD CITY, CA 94063                             1232    10/12/2013   Exide Technologies, LLC            $1,764.80                                                         $0.00                           $1,764.80
SCHMITT, ROBERT
1644 CHARTWELL DR
DAYTON, OH 45459-1462                              1233    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SCHUPBACH, DAVID W
1732 LEIGHTON DR
REYNOLDSBURG, OH 43068                             1234    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CLEMENT, DELORES
739 22ND AVE N
SOUTH ST PAUL, MN 55075-1318                       1235    10/12/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
4-VEGA LP (A FAMILY PARTNERSHIP)
809 S LEON AVE
MONAHANS, TX 79756                                 1236    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
SUPERIOR SERVICE CO., INC.
840 E MURDOCK ST
WICHITA, KS 67214-3836                             1237    10/12/2013   Exide Technologies, LLC              $527.50                                                         $0.00                             $527.50
ANDERSON, ODIE
PO BOX 834
TERRY, MS 39170-0834                               1238    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
COLEMAN, JOHNNY
398 WILSHIRE AVE
JACKSON, MS 39206-5241                             1239    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ECKERT, W KELSEA
170 N RIDGE DR
FLEMING ISLAND, FL 32003                           1240    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
ECKERT, LARRY L
PO BOX 9454
FLEMING ISLAND, FL 32006                           1241    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
HOAGLAND, RONALD DEAN
3822 W 11TH ST #14
GREELEY, CO 80634                                  1242    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
JULIUS, DOUGLAS P
1014 MT TABOR RD
NEW ALBANY, IN 47150                               1243    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
LENOIR CITY UTILITY BOARD
200 DEPOT STREET, PO BOX 449
LENOIR CITY, TN 37771                            1244    10/12/2013   Exide Technologies, LLC             $1,093.20                                                                                        $1,093.20
MILLER, SHERRY
PO BOX 343
BIRCHWOOD, WI 54817-0343                         1245    10/12/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
SYKES, ROGER
3847 E STATE ROUTE 17
KANKAKEE, IL 60901-8128                          1246    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SWEET, RICHARD
2031 SE 74TH AVE
HILLSBORO, OR 97123-6504                         1247    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
ECKERT, LARRY L
PO BOX 9454
FLEMING ISLAND, FL 32003                         1248    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
C F HECKMAN & SON INC - LEESPORT
2668 LEISCZS BRIDGE RD
LEESPORT, PA 19533-9334                          1249    10/12/2013   Exide Technologies, LLC              $424.00                                                                                           $424.00
STANTON, ROSEMARIE
764 MOUNT ROYAL AVE
LANGHORNE, PA 19047-3616                         1250    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
SHAW FISHMAN GLANTZ & TOWBIN LLC
321 N CLARK ST STE 800
CHICAGO, IL 60654                                1251    10/12/2013   Exide Technologies, LLC             $1,211.50                                                                                        $1,211.50
CLEVELAND ELECTRIC ILLUMINATING COMPANY
1310 FAIRMONT AVE
FAIRMONT, WV 26554                               1252    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MIMS, PIERCE
305 BAGGETT CIR
LAWRENCEVILLE, GA 30044-4233                     1253    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
NORTHWEST FORKLIFT
838 SENECA AVE SW
RENTON, WA 98057-2903                            1254    10/12/2013   Exide Technologies, LLC              $435.33                                                                                           $435.33
DONALD PENDERGRAPH
2708 HWY 64 W
APEX, NC 27502                                   1255    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CHEM STATION SOUTHEAST - COLUMBUS
3151 WILLIAMS ROAD
COLUMBUS, GA 31909                               1256    10/12/2013   Exide Technologies, LLC            $15,480.00                                                    $4,800.00                          $20,280.00
MK SPECIALTIES - NICK KUCENIC
PO BOX 12349
KANSAS CITY, KS 66112-0349                       1257    10/12/2013   Exide Technologies, LLC            $23,798.20                                                    $4,347.29                          $28,145.49
BATTERY HOUSE, INC - PITTSBURGH
PO BOX 18004
PITTSBURGH, PA 15236-0004                        1258    10/12/2013   Exide Technologies, LLC              $837.90                                                                                           $837.90
ROSENDALE, CAROLYN
PO BOX 84003
BATON ROUGE, LA 70884                            1259    10/12/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00               $0.00                               $0.00




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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
DAVIS, ROBERT
77 S RABBIT RD
NEWHEBRON, MS 39140-5628                            1260    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HARRISON, GLENDA
5004 MCCRACKEN RD
HERNANDO, MS 38632-8886                             1261    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RHODES MACHINE SHOP
PO BOX 180178
FORT SMITH, AR 72918                                1262    10/12/2013   Exide Technologies, LLC            $35,636.33                                                                                      $35,636.33
RHODES MACHINE
MARY REAL
P. O. BOX 180178
FORT SMITH, AR 72918                                1263    10/12/2013   Exide Technologies, LLC             $9,003.35                                                                                       $9,003.35
DISCOVER STAFFING - ALPHARTTA
12850 HIGHWAY 9 N STE 1700
ALPHARETTA, GA 30004-4252                           1264    10/12/2013   Exide Technologies, LLC            $89,835.01                 $0.00                                  $0.00                         $89,835.01
SHAUP, DAVID
C/O WILLIAMSON FRIEDBERG & JONES LLC
ATTN JOSEPH H JONES JR, ESQ
10 WESTWOOD RD PO BOX 1190
POTTSVILLE, PA 17901-2006                           1265    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GREW, CLINTON
984 ESPANA AVE N
KEIZER, OR 97303-6330                               1266    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STANION WHOLESALE ELECTRIC CO INC
C/O MORRIS LAING EVANS BROCK & KENNEDY CHTD
ATTN KARL R SWARTZ
300 N MEAD STE 200
WICHITA, KS 67202                                   1267    10/12/2013   Exide Technologies, LLC            $58,473.80                                                    $4,379.00                         $62,852.80
SELLERS EQUIPMENT INC
PO BOX 1940
SALINA, KS 67402-1940                               1268    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SELLERS EQUIPMENT INC
PO BOX 1940
SALINA, KS 67402-1940                               1269    10/12/2013   Exide Technologies, LLC            $31,819.43                                                    $2,462.14                         $34,281.57
HUANG, MING-AN
NO 3 ALY 42 LN 122 RUIGUANG RD
NEIHU DIST
TAIPEI CITY 114
TAIWAN                                              1270    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
STATE OF LOUISIANA
LOUISIANA DEPARTMENT OF REVENUE
PO BOX 66658
BATON ROUGE, LA 70896                               1271    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ARAUJO E POLICASTRO - SAO PAULO
RUA LEOPOLDO COUTO DE MAGALHAES JR
758 4TH FL
SAO PAULO CEP 04542-000 BRAZIL

BRAZIL                                              1272    10/14/2013   Exide Technologies, LLC            $17,337.14                                                                                      $17,337.14

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                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                               Amount                                                    Amount
STATE BOARD OF EQUALIZATION
SPECIAL OPERATIONS BRANCH MIC:55
PO BOX 942879
SACRAMENTO, CA 94279-0055                                  1273    10/14/2013   Exide Technologies, LLC                                    $0.00                                                                    $0.00
REGAL BELOIT AMERICA, INC.
(MORRILL PLASTICS)
229 S. MAIN AVE.
ERWIN, TN 37650                                            1274    10/14/2013   Exide Technologies, LLC            $33,838.53                                                                                  $33,838.53
PAPE' MATERIAL HANDLING INC
2430 GRAND AVE
SACRAMENTO, CA 95838                                       1275    10/14/2013   Exide Technologies, LLC             $2,138.78                                                                                   $2,138.78
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR AMERICAN NATIONAL RECYCLING - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           1276    10/14/2013   Exide Technologies, LLC                                                                        $784.00                            $784.00
AMERICAN NATIONAL RECYCLING
15157 MANOR RD
MONKTON, MD 21111                                          1277    10/14/2013   Exide Technologies, LLC             $1,355.87                                                                                   $1,355.87
FIVE STAR FOOD SERVICE
1001 LONGLEY PL
LAGRANGE, GA 30240                                         1278    10/14/2013   Exide Technologies, LLC             $4,344.80                                                                                   $4,344.80
CARL'S AUTO ELECTRIC
4564 N PECK RD #8
EL MONTE, CA 91732                                         1279    10/14/2013   Exide Technologies, LLC              $579.34                                                                                      $579.34
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR DE-MAR & ASSOCIATES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           1280    10/14/2013   Exide Technologies, LLC               $83.02                                                   $797.50                            $880.52
DE-MAR & ASSOCIATES
4490 INDIAN CREEK PKWY
OVERLAND PARK, KS 66207                                    1281    10/14/2013   Exide Technologies, LLC             $2,566.20                                                                                   $2,566.20
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR FPT CANTON - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           1282    10/14/2013   Exide Technologies, LLC                                                                      $4,153.11                          $4,153.11
JAMES H LAAS CO INC
6185 VALLEY DR
BETTENDORF, IA 52722                                       1283    10/14/2013   Exide Technologies, LLC             $3,563.02                                                                                   $3,563.02
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR CIMCO RESOURCES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           1284    10/14/2013   Exide Technologies, LLC                                                                     $18,587.01                         $18,587.01
TED JOHNSON PROPANE
5140 ELTON ST
BALDWIN PARK, CA 91706                                     1285    10/14/2013   Exide Technologies, LLC             $2,894.15                                                                                   $2,894.15
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR TED JOHNSON PROPANE - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                           1286    10/14/2013   Exide Technologies, LLC                                                                          $0.00                              $0.00


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                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                               Amount                                                       Amount
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR MARK GRAY ENTERPRISES DBA J TOPYS - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                      1287    10/14/2013   Exide Technologies, LLC                                                                         $1,086.00                          $1,086.00
FPT CANTON
1514 MAPLE AVE NE
CANTON, OH 44705                                           1288    10/14/2013   Exide Technologies, LLC             $4,576.50                                                                                      $4,576.50
PROHEAT INC
117 E ADAMS
LA GRANGE, KY 40031                                        1289    10/14/2013   Exide Technologies, LLC            $34,342.95                                                                                     $34,342.95
CHAPMAN, JOYCE
222 COTTAGE GROVE AVE
W BURLINGTON, IA 52655-1404                                1291    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MIDWEST CONSTRUCTION DBA TRILLIUM DRIVER
BARBARA COUNTRYMAN-SITAR
5555 GULL RD
SUITE 300
KALAMAZOO, MI 49048                                        1292    10/15/2013   Exide Technologies, LLC             $2,847.93                                                                                      $2,847.93
SOUTHWEST PAPER
3930 N BRIDGEPORT CIR
WICHITA, KS 67219-3322                                     1293    10/15/2013   Exide Technologies, LLC              $195.86                                                                                         $195.86
SMITH, CHARLES
100 VICKSBURG CT
OCEAN SPRINGS, MS 39564-5934                               1294    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
WILSON III, DR THOMAS W
5103 SE VERBENA PL
HILLSBORO, OR 97123-8824                                   1295    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CAMERON, RONALD
PO BOX 97
OQUAWKA, IL 61469-0097                                     1296    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HAER, JAMES
205 E NODAWAY ST APT 1A
OREGON, MO 64473-9698                                      1297    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SHORT'S LAWN & LANDSCAPE
6717 W CR 500 N
MUNCIE, IN 47304                                           1298    10/15/2013   Exide Technologies, LLC            $10,325.00                                                       $0.00                         $10,325.00
SMITH, DAVID E
25438 OAK ALLEY
LEESBURG, FL 34748                                         1299    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SONITROL SECURITY SYSTEMS OF MUNCIE,LLC
208 NW THIRD STREET
EVANSVILLE, IN 47708-1234                                  1300    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
WASTE CONNECTIONS OF THE CAROLINAS
DISTRICT 6120
PO BOX 660177
DALLAS, TX 75266-0177                                      1301    10/15/2013   Exide Technologies, LLC               $78.26                                                                                          $78.26




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
BIDDY, CLIFFORD
ATTN: RANDY L. GORI
C/O GORI, JULIAN & ASSOCIATES, PC
156 N. MAIN ST.
EDWARDSVILLE, IL 62025                           1302    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAVID LINN WAGGY & SUE ANN WAGGY JT WROS
492 W VICTORIA ST
BUCKHANNON, WV 26201-3812                        1303    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
R C ROSE
145 TRAYLOR RD
IRVINE, KY 40336-7380                            1304    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CRP HOLDINGS A-1 LLC
C/O NEIL S SADER, ESQ
2345 GRAND BLVD STE 1925
KANSAS CITY, MO 64108-2663                       1305    10/15/2013   Exide Technologies, LLC                                                                                                $0.00            $0.00
JAMES B DAVIS TRUST
6675 CHAMPION RD
SHELBY, OH 44875                                 1306    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TELECOM BUSINESS SOLUTIONS, INC.
268 W BEAVER ST STE 112
HALLAM, PA 17406-1307                            1307    10/15/2013   Exide Technologies, LLC              $553.53                                                                                          $553.53
PIERCE, JOHN
3314 ARMSTEAD DR
SHREVEPORT, LA 71118-2802                        1308    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CHAPMAN, MARVIN
15851 CRIPPLE CREEK DR
TYLER, TX 75703-6952                             1309    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SWINEHART SR., ROBERT
245 BUTTERCUP DR
NEW PROVIDENCE, PA 17560-9612                    1310    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MARSHALL, MARJORIE
2830 WINEGARD DRIVE #79
BURLINGTON, IA 52601                             1311    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAND, PERCY
319 N PATSY 1
MEDIAPOLIS, IA 52637                             1312    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
R & L CARRIERS INC
600 GILLIAM RD
WILMINGTON, OH 45177                             1313    10/15/2013   Exide Technologies, LLC             $2,658.95                                                                                       $2,658.95
FASTENAL
2001 THEURER BLVD
ATTN: JOHN MILEK, GENERAL COUNSEL
WINONA, MN 55987-1500                            1314    10/15/2013   Exide Technologies, LLC            $60,272.71                                                   $5,593.92                          $65,866.63
KANSAS CITY VALVE & FITTING CO
PO BOX 329
SHAWNEE MISSION, KS 66201-0329                   1315    10/15/2013   Exide Technologies, LLC              $182.25                                                                                          $182.25
WESTERN EXTRALITE COMPANY
1470 LIBERTY
KANSAS CITY, MO 64102                            1316    10/15/2013   Exide Technologies, LLC            $39,871.13                                                                                      $39,871.13


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                                                                                                      Amount                                                        Amount
HARPER, SHIRLEY
115 BICKMAN LANE
FLORENCE, MS 39073                                1317    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
INTERSTATE BATTERIES RECYCLING LLC
FKA INTERSTATE BATTERIES RECYCLING INC
12770 MERIT DRIVE SUITE 400
DALLAS, TX 75251                                  1318    10/15/2013   Exide Technologies, LLC             $55,637.40                                                                                      $55,637.40
EAGLE OXIDE SERVICES
KATHRYN JACOBS
5605 W. 74TH ST.
INDIANAPOLIS, IN 46278                            1319    10/15/2013   Exide Technologies, LLC             $35,030.37                                                   $5,952.00                          $40,982.37
WEON, JOHN J
2107 EDENVALE CIR
KATY, TX 77450-6041                               1320    10/15/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
JACOBSON TRANSPORTATION COMPANY, INC.
MARTY R. HOWARD
3811 DIXON STREET
DES MOINES, IA 50313                              1321    10/15/2013   Exide Technologies, LLC            $131,173.76                                                       $0.00                         $131,173.76
FRITSCH, JAMES
120 MARGARET LN
DALTON, PA 18414-8072                             1322    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
LEE, HOWARD
628 SCRANTON POCONO HWY
COVINGTON TWP, PA 18444-7905                      1323    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SHOUN TRUCKING/CRESTMARK
PO BOX 682348
FRANKLIN, TN 37068                                1324    10/15/2013   Exide Technologies, LLC            $121,658.18                                                                                     $121,658.18
ALICIA GAROFALO
1816 SCHOOL RD
CARROLLTON, TX 75006-7542                         1325    10/14/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
INBATEC GMBH
KONRAD ADENAUER RING 40
58135 HAGEN GERMANY

GERMANY                                           1326    10/15/2013   Exide Technologies, LLC              $1,133.61                $0.00              $0.00               $0.00              $0.00        $1,133.61
MIDTOWN PLUMBING INC
ATTN LAURA L VERDI
8234 S GARFIELD AVE
BELL GARDENS, CA 90201                            1327    10/15/2013   Exide Technologies, LLC             $16,053.60                                                      $71.45                          $16,125.05
YOUNCE, SONJA
5235 PROCTOR RD
CASTRO VALLEY, CA 94546-1531                      1328    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JONES, LONZIA
PO BOX 8582
JACKSON, MS 39284-8582                            1329    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CONDE, SHIRLEY
PO BOX 1796
GLENROCK, WY 82637-1796                           1330    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00




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                                                                                                     Amount                                                        Amount
HERBERT H PICHON
209 N NORTH ST
DANVILLE, IL 61832                               1331    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
HERBERT H PICHON & CAROL A PICHON
209 N NORTH ST
DANVILLE, IL 61832                               1332    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WALTON, COLLEEN
7773 N STATE ROAD 38
SHERIDAN, IN 46069-8904                          1333    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BROWN, JAMES
4715 ELON RD
MONROE, VA 24574-2962                            1334    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ENTEK INTERNATIONAL LLC
PO BOX 4500 UNIT 78
PORTLAND, OR 97208                               1335    10/15/2013   Exide Technologies, LLC            $64,836.55                                                   $65,928.85                        $130,765.40
KW PLASTICS
PO DRAWER 707
TROY, AL 36081                                   1336    10/15/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
MOLLEN IMMUNIZATION CLINICS LLC
15029 N THOMPSON PEAK PKWY STE B111
SCOTTSDALE, AZ 85260-2223                        1337    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WISE EL SANTO COMPANY INCORPORATED
PO BOX 8360
SAINT LOUIS, MO 63132-0360                       1338    10/15/2013   Exide Technologies, LLC            $35,097.34                                                    $4,980.84                         $40,078.18
MCFARLAND, MAE
674 SPRINGWATER RANCH RD
BRANDON, MS 39042-8324                           1339    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ADVANCED RECYCLING
2965 BEACH DR E
PORT ORCHARD, WA 98366-8136                      1340    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CUNNINGHAM, DOROTHY A
4939 ANZA ST #2
SAN FRANCISCO, CA 94121                          1341    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GOUDY, MICHAEL
PO BOX 3611
SALINA, KS 67402-3611                            1342    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOUSTON, MONROE
PO BOX 1017
BIG STONE GAP, VA 24219-0927                     1343    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE MCKENZIE FAMILY TRUST
4550 E WILD COYOTE TRL
TUCSON, AZ 85739                                 1344    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAMER, JOYCELENE
410 W 1ST ST
MILTONVALE, KS 67466-5020                        1345    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PARCELL, STEPHEN
14605 PARKER ROAD
BILOXI, MS 39532                                 1346    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                     Amount                                                       Amount
OSBORNE, DRUCILLA
3124 LOWER LAUREL FRK
FRAKES, KY 40940-9414                            1347    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LEHTO, FREDERICK
4920 BELLMANN DR
WEST BEND, WI 53095-9243                         1348    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SHERTEK INC.
3000 SHAWNEE IND. WAY, SUITE 110
SUWANEE, GA 30024                                1349    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ARROW MAGNOLIA INTERNATIONAL, INC.
ANGEL DODD
PO BOS 59089
DALLAS, TX 75229                                 1350    10/15/2013   Exide Technologies, LLC              $203.04                                                                                         $203.04
STOUT, JAMES
3201 S CHEROKEE RD
MUNCIE, IN 47302-5566                            1351    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KLINE, CARL
9418 BARKER RD
WHITE PIGEON, MI 49099                           1352    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
EZRA MCNAIR
C/O CARRIE MCNAIR
PO BOX 94
GEORGETOWN, MS 39078                             1353    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
WEATHERSBY, SUSIE
3305 ALBERMARLE RD
JACKSON, MS 39213-6505                           1354    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
YARIAN, CARASEL
16506 E COSTILLA AVE
FOXFIELD, CO 80016                               1355    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DELOACH, LEWIS
5050 N LEWIS AVE
TULSA, OK 74130-1914                             1356    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
CATE, GEORGIA
2342 QUEEN AVE SW
ALBANY, OR 97321-7526                            1357    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BARBARA R CARTER IRA
435 HOLLY HILL DR
COLUMBUS, NC 28722                               1358    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
IRWIN, ROBERT THOMAS
10326 DOLAN AVE
DOWNEY, CA 90241                                 1359    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
IRMA BARAJAS
6513 E OLYMPIC BLVD
LOS ANGELES, CA 90022-5450                       1360    10/15/2013   Exide Technologies, LLC            $15,000.00                                                                                     $15,000.00
RTS ENGINEERING
2105 KINGS RD
EAGAN, MN 55122-2321                             1361    10/15/2013   Exide Technologies, LLC            $23,033.85                                                                                     $23,033.85




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                                                                                                      Amount                                                        Amount
REICHERT, DALE C & MARIE B
ATTN DALE C REICHERT
911 SANDSTONE DR
NO PLATTE, NE 69101                               1362    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
OBERST, KERRY
1112 CUSTER CT
NORTH PLATTE, NE 69101                            1363    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SPEICHER, NEVIN
601 JAMES ROSS DR
EXTON, PA 19341-2353                              1364    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THOMAS, RAY
PO BOX 639
CRYSTAL SPRINGS, MS 39059-0639                    1365    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DTC COMPUTER SUPPLIES
9033 9TH STREET
RANCHO CUCAMONGA, CA 91730                        1366    10/15/2013   Exide Technologies, LLC            $22,084.80                                                                                      $22,084.80
SOLBERG MFG. INC.
1151 ARDMORE AVE
ITASCA, IL 60143-1387                             1367    10/15/2013   Exide Technologies, LLC             $1,493.68                                                                                       $1,493.68
DECO, INC.
278 DERRY RD
LITCHFIELD, NH 03052-2633                         1368    10/15/2013   Exide Technologies, LLC             $1,320.90                                                                                       $1,320.90
PITTMAN, BESSIE
401 S GLASSY MOUNTAIN RD
GREER, SC 29651-4715                              1369    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DEEPAK MEHRA
25 CHELSEA PARK
PITTSFORD, NY 14534                               1370    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MIDWEST SINGLE SOURCE
PO BOX 49380
WICHITA, KS 67201-9380                            1371    10/15/2013   Exide Technologies, LLC                                                                            $528.29                            $528.29
BRACKBILL, RUTH
1048 RAWLINSVILLE RD
WILLOW STREET, PA 17584-9739                      1372    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WOLFE, GRACE
271 SHELBOURNE RD
READING, PA 19606-9048                            1373    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PRASAD MAHENDRA
2119 OAK STREET
NORTH BEND, OR 97459                              1374    10/15/2013   Exide Technologies, LLC              $497.18                                                                                          $497.18
KURT A LEWIS
322 CONCRETE ST
ANCHORAGE, AK 99501                               1375    10/15/2013   Exide Technologies, LLC              $978.50                                                                                          $978.50
HANCORN, PETER
23 ALDERLEY CLOSE
WOODLEY, READING
BERKSHIRE RG5 4TG
UNITED KINGDOM                                    1376    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
HUTCHINSON, ROBERT
3021 CHIMNEYWOOD DR
FLOYDS KNOBS, IN 47119-9476                         1377    10/15/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
YARIAN, HAROLD D
16506 E COSTILLA AVE
FOXFIELD, CO 80016                                  1378    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAM DEARMENT FAMILY LIMITED PARTNERSHIP
C/O CHANNELLOCK INC
1306 S MAIN ST
MEADVILLE, PA 16335                                 1379    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
DEARMENT, WILLIAM S
C/O CHANNELLOCK INC
1306 S MAIN ST
MEADVILLE, PA 16335                                 1380    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SOWERS, RICHARD
PO BOX 212
FRANKFORT, IN 46041-0212                            1381    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BOSSIER, COYLE
PO BOX 160
CONVERSE, LA 71419-0160                             1382    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HEXACOMB CORPORATION
ATTN STEVE GRANT
1111 W JEFFERSON ST
BOISE, ID 83702                                     1383    10/15/2013   Exide Technologies, LLC            $192,213.04                                                  $29,623.96                        $221,837.00
DAMON, JAMES J
23 REVERE PL
RIDGEFIELD, CT 06877-4714                           1384    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LANDIS MECHANICAL GROUP, INC-LEESPORT
2668 LEISCZS BRIDGE RD
LEESPORT, PA 19533-9334                             1385    10/15/2013   Exide Technologies, LLC             $35,588.33                                                                                     $35,588.33
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF SET
ENVIRONMENTAL, INC.
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                 1386    10/15/2013   Exide Technologies, LLC             $26,534.73                                                                                     $26,534.73
THOMAS, WILLIAM H
2114 TOWNLINE RD
WAUSAU, WI 54403                                    1387    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
OLIVER, DEBORAH
830 PARKER BLVD
WEAVER, AL 36277-4028                               1388    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RODDEN, LUCILLE
2305 BAYOU VIEW CIR
GAUTIER, MS 39553-2203                              1389    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DEAN, JERRY
505 N CLAY ST
FRANKFORT, IN 46041-1711                            1390    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ENVIRONMENTAL TESTING & CONSULTING INC
2790 WHITTEN RD
MEMPHIS, TN 38133-4753                              1391    10/15/2013   Exide Technologies, LLC              $2,331.25                                                                                      $2,331.25

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                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
                Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
SHERTEK INC
3000 SHAWNEE IND WAY STE 110
SUWANEE, GA 30024                                 1392    10/15/2013   Exide Technologies, LLC             $4,725.89                                                                                       $4,725.89
JEROME WICKMAN
4516 N BROAD ST
PHILADELPHIA, PA 19140                            1393    10/15/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
M3 RESOURCES USA LLC
4908 CAHABA RIVER RD STE 100
VESTAVIA, AL 35243-3278                           1394    10/15/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
MILPORT ENTERPRISES, INC
2829 S 5TH CT
MILWAUKEE, WI 53207-1458                          1395    10/15/2013   Exide Technologies, LLC              $177.00                                                                                          $177.00
HUANG, MING-AN
NO 3 ALY 42 LN 122 RUIGUANG RD
NEIHU DIST
TAIPEI CITY 114 TAIWAN (ROC)

TAIWAN, PROVINCE OF CHINA                         1396    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
PIEDMONT NATIONAL CORPORATION
ATTN PATRICIA GOGGINS
1561 SOUTHLAND CIR NW
ATLANTA, GA 30318                                 1397    10/15/2013   Exide Technologies, LLC            $85,253.32                                                   $57,818.00                        $143,071.32
AIR CAPITAL EQUIPMENT
806 E BOSTON ST
WICHITA, KS 67211-3313                            1398    10/15/2013   Exide Technologies, LLC             $7,924.36                                                      $192.00                          $8,116.36
GRAY, EDWINA
1505 S 10TH ST W APT 1
MISSOULA, MT 59801-3466                           1399    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ELISABETH STRAILMAN
61 PARK ST
CARBONDALE, PA 18407-2430                         1400    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DON F SMITH JR
7006 S T ST
FORT SMITH, AR 72903-4116                         1401    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CRAIG, LINDER
261 E PETROS RD
PEARL, MS 39208-8737                              1402    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
UNWIN, ARDITH
1926 CEDARWOOD PL
ERIE, CO 80516-4044                               1403    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
VAN WERT, ALLEN
811 CENTER ST
SCRANTON, PA 18512-1124                           1404    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
EQC GLOBAL OPPORTUNITIES FUND
C/O EQUILIBRIA CAPITAL MANAGEMENT
O'HARA HOUSE
ONE BERMUDIANA RD
HAMILTON HM08 BERMUDA

BERMUDA                                           1405    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
EATON, ROLLA L
8465 GRAND AVE
OMAHA, NE 68134                                 1406    10/16/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WISCONSIN ELECTRIC POWER COMPANY
C/O WE ENERGIES
ATTN BANKRUPTCY DEPT
333 W EVERETT ST RM A130
MILWAUKEE, WI 53203                             1407    10/16/2013   Exide Technologies, LLC              $1,448.77                                                                                      $1,448.77
MOUNTAIN AIR COMPRESSOR INC
1508 W STATE ST
P O BOX 1888
BRISTOL, TN 37620-2040                          1408    10/16/2013   Exide Technologies, LLC              $1,214.00                                                                                      $1,214.00
DIANA CHRISTINE DEL RIO
PO BOX 584
BLODGETT, OR 97326-0584                         1409    10/16/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SPF AMERICA
TONY TOTH
5512 SOUTH 66TH STREET
FORTSMITH, AR 72903                             1410    10/16/2013   Exide Technologies, LLC            $114,933.28                                                 $236,024.10                        $350,957.38
RENSENHOUSE ELECTRIC/ST. JOE
PO BOX 2259
SHAWNEE MISSION, KS 66201-1259                  1411    10/16/2013   Exide Technologies, LLC              $5,808.08                                                                                      $5,808.08
KEATHLEY-PATTERSON ELECTRIC
PO BOX 2259
SHAWNEE MISSION, KS 66201-1259                  1412    10/16/2013   Exide Technologies, LLC              $9,262.71                                                                                      $9,262.71
NATIONWIDE PLASTICS - DALLAS
2001 TIMBERLAKE DR
ARLINGTON, TX 76010-5321                        1413    10/16/2013   Exide Technologies, LLC             $11,170.37                                                                                     $11,170.37
CONSOLIDATED ELECTRICAL DIST
PO BOX BOX 2259
MISSION, KS 66201                               1414    10/16/2013   Exide Technologies, LLC             $76,950.70                                                                                     $76,950.70
RENSENHOUSE ELECTRIC SUPPLY
PO BOX 2259
SHAWNEE MISSION, KS 66201-1259                  1415    10/16/2013   Exide Technologies, LLC             $25,881.26                                                                                     $25,881.26
CZARNIECKI, JOSEPH L
532 SWAN CREEK RD
FORT WASHINGTON, MD 20744                       1416    10/16/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
PORTLAND GENERAL ELECTRIC PGE
7895 SW MOHAWK ST
TUALATIN, OR 97062-9192                         1417    10/15/2013   Exide Technologies, LLC               $600.64                                                                                         $600.64
MEADWESTVACO CORP.
ATTN RICK CAPUTO
501 SOUTH 5TH ST
RICHMOND, VA 23219                              1418    10/16/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ATMOS ENERGY MARKETING, LLC
BILL SHEEHAN
381 RIVERSIDE DRIVE
SUITE 120
FRANKLIN, TN 37064                              1419    10/16/2013   Exide Technologies, LLC             $36,480.76                                                                                     $36,480.76


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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
MEREDITH USED CAR SALES RECY. -MONTROSE
207 E SECOND / PO BOX 116
MONTROSE, MO 64770                               1420    10/16/2013   Exide Technologies, LLC            $16,009.00                                                                                      $16,009.00
YRC FREIGHT
C/O FRANTZ WARD LLP
ATTN JOHN F KOSTELNIK, ESQ
2500 KEY CENTER, 127 PUBLIC SQUARE
CLEVELAND, OH 44114-1230                         1421    10/17/2013   Exide Technologies, LLC            $18,855.27                                                                                      $18,855.27
VITAL MATERIALS CO LIMITED
C/O BERNSTEIN-BURKLEY PC
707 GRANT ST STE 2200
PITTSBURGH, PA 15219                             1422    10/17/2013   Exide Technologies, LLC                                                                        $63,717.60                          $63,717.60
THE DOE RUN COMPANY
ATTN MARK YOUNG
1801 PARK 270 DR STE 300
ST LOUIS, MO 63146                               1423    10/17/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                               $0.00
O M IMPIANTI USA LLC
C/O GRAYDON HEAD & RITCHEY LLP
ATTN CARA R HURAK, ESQ
1900 FIFTH THIRD CENTER
511 WALNUT ST
CINCINNATI, OH 45202                             1424    10/17/2013   Exide Technologies, LLC                                                                                          $215,524.80      $215,524.80
HOOPER, AUSTIN
PO BOX 32
DUNCAN FALLS, OH 43734-0032                      1425    10/17/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
SHAMBAUGH AND SON LP
P. O. BOX 1287
FORT WAYNE, IN 46801                             1426    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAYTON, JAMES
3509 N STATE ROAD 39
FRANKFORT, IN 46041-7459                         1427    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CHRISTENSEN, CHARLES
BOX 258 470 THIRD AVENUE
SOUTH WILMINGTON, IL 60474                       1428    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PLATT, BRIAN
1101 MYRTLE AVE
FRANKFORT, IN 46041-1051                         1429    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DODD, RANDY
1228 OAKRIDGE RD
AZLE, TX 76020-1842                              1430    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
COLEMAN, RONALD A
20 PEYTON PL
PALM COAST, FL 32164                             1431    10/17/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                               $0.00
GAYTON, FRANCES
2833 MILLER AVE
SOUTH CHICAGO HEIGHTS, IL 60411-4763             1432    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KANITKAR, RAJAN
13228 STABLE BROOK WAY
HERNDON, VA 20171                                1433    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
ALLEGRA PRINT & IMAGING
859 OAKTON ST
ELK GROVE VILLAGE, IL 60007-1904                 1434    10/17/2013   Exide Technologies, LLC            $31,412.05                                                                                       $31,412.05
BOWYER, SANDRA
8604 E CANAL LN
PERU, IN 46970-9450                              1435    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CLINKSCALE, EARNEST
6015 GRAND AVE
OMAHA, NE 68104-2146                             1436    10/17/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
RIGBY, ELWOOD B / RIGBY, RONALD E
ATTN RONALD E RIGBY
9510 DELPHINIUM ST
PROSPECT, KY 40059                               1437    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
SHAFER, MATTIE
27644 PARKWAY RD
EASTON, MD 21601-7200                            1438    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
AMER SIL - GRAND DUCHY OF LUXEMBOURG
ZONE INDUSTRIELLE
GRAND DUCHY OF LUXEMBOURG
L-8287 KEHLEN LUXEMBOURG

LUXEMBOURG                                       1439    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
WOLTMAN, RONALD
3608 LOCKFORD CT
THOUSAND OAKS, CA 91360                          1440    10/17/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
BALAOING, EUSEBIO
5848 W PEREZ AVE
VISALIA, CA 93291-8505                           1441    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
JIRGES, VELDA
2232 42ND AVE SE UNIT 595
SALEM, OR 97317-6126                             1442    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
READING ELECTRIC
ATTN CHRISTOPHER K BASHORE
80 WITMAN RD
READING, PA 19605                                1443    10/17/2013   Exide Technologies, LLC             $1,162.14                                                                                        $1,162.14
HAMILTON, LINDA
4201 MCCAIN AVE
JACKSON, MS 39209-5012                           1444    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PRIEBE, DONALD
6501 WOODLAKE DR APT 705
MINNEAPOLIS, MN 55423-1395                       1445    10/17/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
ALETHIA SMITH
2516 W STANLEY ST
ALLENTOWN, PA 18104                              1446    10/17/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JOSE ROSALES
1260 VAN PELT AVE
LOS ANGELES, CA 90063-1226                       1447    10/17/2013   Exide Technologies, LLC            $15,000.00                                                                                       $15,000.00
TOMASULO, MICHAEL
336 SHARPS LN
TRENTON, NJ 08610-1337                           1448    10/17/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00

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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
DR DOUGLAS S HOLSCLAW JR
42 LLANBERRIS RD
BALA CYNWYD, PA 19004                            1449    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THOMAS HUNTER
12 ST ROY AVE
VENTNOR, NJ 08406                                1450    10/17/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
GOLDER ASSOCIATES INC
ATTN SUSAN DAVIS
3730 CHAMBLEE TUCKER RD
ATLANTA, GA 30341-4414                           1451    10/17/2013   Exide Technologies, LLC            $229,713.54                                                                                    $229,713.54
WARREN, DAVID E
601 CANTEBURY FALLS CT
CANTON, GA 30114                                 1452    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SMITH, ROSANA
1113 25TH ST
FORT MADISON, IA 52627-3922                      1453    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KORMET METALS LLC
1031 E 103RD ST
CHICAGO, IL 60628                                1454    10/17/2013   Exide Technologies, LLC             $54,588.05                                                                                     $54,588.05
MAYSTEEL LLC
C/O EVERETT SMITH GROUP LTD
ATTN KATHERINE M BEHM, ESQ
330 E KILBOURN AVE STE 1400
MILWAUKEE, WI 53202-3145                         1455    10/17/2013   Exide Technologies, LLC             $69,327.91                                                                                     $69,327.91
FITZGERALD, CURTIS
33222 AIRLINE RD
PAULS VALLEY, OK 73075-9068                      1456    10/17/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ROLTA INTERNATIONAL INC.
ATTN MELLONEY DOUCE
5865 NORTH POINT PKWY
ALPHARETTA, GA 30022                             1457    10/17/2013   Exide Technologies, LLC             $30,495.22                                                                                     $30,495.22
CHEMSOLV INC,-ROANOKE
PO BOX 13847
ROANOKE, VA 24037-3847                           1458    10/17/2013   Exide Technologies, LLC              $4,582.00                                                     $915.00                          $5,497.00
BROADWAY PROPERTIES LIMITED
C/O NETWORK PROPERTIES LTD
2 BLUEWATER
BEDFORD NS B4B 1G7

CANADA                                           1459    10/17/2013   Exide Technologies, LLC               $117.59                                                                                         $117.59
CANADA BEDFORD / BROADWAY PROPERTIES-MTM
C/O NETWORK PROPERTIES LTD
2 BLUEWATER RD
BEDFORD NS B4B 1G7 CANADA

CANADA                                           1460    10/17/2013   Exide Technologies, LLC               $115.66                                                                                         $115.66




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                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                 Amount                                                        Amount
GEORGIA POWER COMPANY
C/O MCGUIREWOODS LLP
ATTN JORDAN MYERS
1230 PEACHTREE ST NE STE 2100
ATLANTA, GA 30309                                            1461    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JENKINS, JOHN
1114 WILLIAM ST
HAMILTON, NJ 08610-5439                                      1462    10/17/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SUPERIOR SIGNALS INC
BOX 843214
KANSAS CITY, MO 64184                                        1463    10/17/2013   Exide Technologies, LLC            $98,497.00                                                   $33,608.05                        $132,105.05
XRS CORPORATION
SCOTT WOITAS
12900 WHITEWATER DR STE 300
HOPKINS, MN 55343-9407                                       1464    10/17/2013   Exide Technologies, LLC            $40,725.10                                                                                      $40,725.10
ANCHOR PEST CONTROL INC.
PO BOX 2746
PENSACOLA, FL 32513-2746                                     1465    10/18/2013   Exide Technologies, LLC               $86.00                                                                                           $86.00
WENDELL T EMBRY IRA ROLLOVER
19 NORTH DR
SHALIMAR, FL 32579-1017                                      1466    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF MEIER SALVAGE
INC.
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                         1467    10/18/2013   Exide Technologies, LLC             $1,061.48                 $0.00                                                                 $1,061.48
THAMES, ROBERT
129 THAMES CIR
FLORENCE, MS 39073-8495                                      1468    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GLORIA ALAREON
PO BOX 63367
LOS ANGELES, CA 90063-0367                                   1469    10/18/2013   Exide Technologies, LLC            $15,000.00                                                                                      $15,000.00
WIN, TIN
18255 WOOD EDGE LN
RIVERSIDE, CA 92504                                          1470    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DOCULOGIC, INC.
C/O ALEX MERGADO, PRESIDENT
PO BOX 23498
LOS ANGELES, CA 90023-0409                                   1471    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DOCULOGIC, INC.
C/O ALEX MERCADO, PRESIDENT
1127 CALADA ST
LOS ANGELES, CA 90023-3114                                   1472    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CROCKETT, WILDA
8414 EVERETT WAY UNIT A
ARVADA, CO 80005-2378                                        1473    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MONTALVAN, PEDRO
7918 EL CAJON BLVD., N190
LA MESA, CA 91941-3710                                       1474    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
STEPHENSON, RUBY
172 N JACKSON AVE
BRADLEY, IL 60915-1826                           1475    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CARL JARL-PIONEER LOCK CO.INC.-OMAHA
11055 I ST
OMAHA, NE 68137-1207                             1476    10/18/2013   Exide Technologies, LLC              $117.90                                                                                          $117.90
G & M CO INC.
1250 ROOSEVELT AVE
PO BOX 4009
READING, PA 19606-1352                           1477    10/18/2013   Exide Technologies, LLC              $308.00                                                                                          $308.00
ARE BPD MUHLENBERG PARTNERS
PO BOX 4009
READING, PA 19606-0409                           1478    10/18/2013   Exide Technologies, LLC            $16,657.81                                                                                      $16,657.81
CEMTEK ENVIRONMENTAL, INC-SANTA ANA
3041 ORANGE AVE
SANTA ANA, CA 92707-4247                         1479    10/18/2013   Exide Technologies, LLC             $4,380.20                                                                                       $4,380.20
DOAN, ALENE
P. O. BOX 603, #10 WOOD STREET
MT. VERNON, KY 40456                             1480    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GONSALVES, ARTHUR
86 BELMONT AVE
LOWELL, MA 01852                                 1481    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
IGNACIO DURAN
2819 ARGONN
SALINA, KS 67401                                 1482    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DEWALT, RONALD D
PO BOX 1637-C
ALVIN, TX 77512                                  1483    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ARTURO ARIAS
429 MOON DR
SALINA, KS 67401                                 1484    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
COLVIN, NORMA
2316 4TH AVE
LEAVENWORTH, KS 66048-4428                       1485    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RICHARDS, DONALD
23559 HOLLY CIR
LEWES, DE 19958-3323                             1486    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
TYSON, JESSIE
641 HIGHWAY 583
RAYVILLE, LA 71269-6118                          1487    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FOUNTAIN, JEAN
8680 JEFFERSON HWY APT 111
BATON ROUGE, LA 70809-2262                       1488    10/18/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
RANKIN, BRENDA
604 MOODY WALLACE RD
MENDENHALL, MS 39114-4559                        1489    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INCOE CORPORATION
1740 E MAPLE RD
TROY, MI 48083-4209                              1490    10/18/2013   Exide Technologies, LLC             $5,444.06                                                                                       $5,444.06


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                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
              Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
GROFF, DONALD
3660 BIRCHPOND PL
EAGAN, MN 55122-1203                            1491    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LINDSEY, MADELINE
873 HOLLY BUSH RD
BRANDON, MS 39047-8246                          1492    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KIRKLAND, HATTIE
430 ROLAND ST
JACKSON, MS 39209-5131                          1493    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HARRIS, SADIE
252 DELAWARE AVE
JACKSON, MS 39209-5421                          1494    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
THURMAN, DELVERETTE
1342 AINSWORTH RD
FLORENCE, MS 39073-8417                         1495    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HARPER, EMMITT
458 OLD ENOCHS RD
FLORENCE, MS 39073-9167                         1496    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
COX, BOBBY
375 MOUNTAIN CREEK FARM RD
FLORENCE, MS 39073-8563                         1497    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BRYANT, DALE
5119 S TIERNEY DR
INDEPENDENCE, MO 64055                          1498    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TIBEL, STEPHEN
170 MASON ST
EXETER, PA 18643-1928                           1499    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
THOMAS MILLER
PO BOX 524
FAIRFOREST, SC 29336                            1500    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
THOMAS, JOHNNY
418 LOVE ST
SUMTER, SC 29150-6226                           1501    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KAESER COMPRESSORS INC.
P.O. BOX 946
FREDRICKSBURG, VA 22404                         1502    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
REBAS-TOYOTA OF LA
12907 IMPERIAL HIGHWAY
SANTA FE SPRINGS, CA 90670                      1503    10/18/2013   Exide Technologies, LLC              $895.91                                                      $369.20                          $1,265.11
TULCO OILS INC
ATTN MILES KEY
5240 E PINE ST
TULSA, OK 74115                                 1504    10/18/2013   Exide Technologies, LLC              $286.40                                                                                         $286.40
PORTER, ARTHUR
3391 EBENEZER RD
SUMTER, SC 29153-8270                           1505    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
PEACE, THOMAS
1213 1/2 N 7TH ST APT B
LANSING, KS 66043-1183                          1506    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
BORN, M.
509 JUNIPER LN
BRADLEY, IL 60915-1125                           1507    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
TODD, JAMES
1031 TERRACE DR NW
SALEM, OR 97304-3727                             1508    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
WALTER, LARRY
2425 SE CRYSTAL LAKE DR
CORVALLIS, OR 97333-2014                         1509    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GRIGSBY, THOMAS
7775 NE LOGSDON RD
CORVALLIS, OR 97330-9611                         1510    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SEALING DEVICES INC - LANCASTER
4400 WALDEN AVE
LANCASTER, NY 14086-9716                         1512    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
RYDER TRUCK RENTAL INC
ATTN JENNIFER MORRIS
6000 WINDWARD PKWY
ALPHARETTA, GA 30005                             1513    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GREYSTONE RISK MANAGEMENT
JIM TESTO
4 FRANKLIN SQUARE
SARATOGA SPRING, NY 12866                        1514    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
SUNTECK TRANSPORT CO INC
ATTN LEGAL DEPT
13107 ATLANTIC BLVD STE 201
JACKSONVILLE, FL 32225                           1515    10/18/2013   Exide Technologies, LLC             $6,660.15                                                                                        $6,660.15
PEARL MEYER & PARTNERS
ONE ALLIANCE CENTER, 3500
LENOX ROAD, SUITE 1708
ATLANTA, GA 30326                                1516    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CRANE VEYOR CORP
ERIKA MUNOZ
1524 N POTRERO AVE
SOUTH EL MONTE, CA 91733                         1517    10/18/2013   Exide Technologies, LLC            $19,711.86                                                    $4,473.55                          $24,185.41
KOCH NATIONALEASE - MINNEAPOLIS
SDS-12-2754 PO BOX 86
MINNEAPOLIS, MN 55486-2754                       1518    10/18/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
NEW JERSEY DEPT OF LABOR & WORKFORCE DEV
DIVISION OF EMPLOYER ACCOUNTS
PO BOX 379
TRENTON, NJ 08625-0379                           1519    10/16/2013   Exide Technologies, LLC              $301.92                 $31.50                                                                    $333.42
KRUKEMYER, TERRY R
16107 ST RT 199
PEMBERVILLE, OH 43450                            1520    10/18/2013   Exide Technologies, LLC                                       $0.00              $0.00               $0.00                               $0.00
RAO, VARANASI
513 AVENIDA DEL VERDOR
SAN CLEMENTE, CA 92672-2451                      1521    10/18/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00



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                                                                                                              Amount                                                        Amount
HERBENER, DONALD
17295 RED WOLF LN
MORRISON, CO 80465                                        1522    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
DONALD R KELLEY CONV ROTH IRA
E*TRADE CUSTODIAN
C/O DONALD R KELLEY, TTEE
100 RIVERWOOD ESTATES BLVD
FLORISSANT, MO 63031-8614                                 1523    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MURREYS DISPOSAL
PO BOX 399
PUYALLUP, WA 98371                                        1524    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DM DISPOSAL
PO BOX 399
PUYALLUP, WA 98371                                        1525    10/18/2013   Exide Technologies, LLC              $214.64                                                                                          $214.64
COULTER, JOSEPH
1180 CASLEE ST
SUMTER, SC 29153-7848                                     1526    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RODRIGUEZ, REYNALDO
1009 LARCHWOOD AVE
HACIENDA HTS, CA 91745-1530                               1527    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CONSTRUCTION RENTAL, INC
PO BOX 168
SCANDIA, KS 66966-0168                                    1528    10/18/2013   Exide Technologies, LLC             $9,853.52                                                                                       $9,853.52
WOLFGANG M SIGMUND & DAVID L MCKINNEY JT TEN
C/O DAVID L MCKINNEY
6030 NW 24 LN
GAINESVILLE, FL 32606                                     1529    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MORTER, ROBERT
55755 BUCKEYE RD
MISHAWAKA, IN 46545-7920                                  1530    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RYDER TRUCK RENTAL INC
ATTN JENNIFER MORRIS
6000 WINDWARD PKWY
ALPHARETTA, GA 30005                                      1531    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
OXIDOR CORPORATION
1825 E PLANO PKWY STE 160
PLANO, TX 75074-8570                                      1532    10/18/2013   Exide Technologies, LLC            $14,424.50                                                        $0.00                         $14,424.50
CORRE OPPORTUNITIES QUALIFIED M F LP AS TRANSFEREE OF
TULIP CORPORATION
ATTN CLAIMS PROCESSING (BANKRUPTCY)
1370 AVENUE OF THE AMERICAS, 29TH FLOOR
NEW YORK, NY 10019                                        1533    10/18/2013   Exide Technologies, LLC                    $0.00                                               $206,032.56                        $206,032.56
CAL-CRAFT DESIGN INT
1615 RIVERVIEW DR., STE A
SAN BERNARDINO, CA 92408                                  1534    10/18/2013   Exide Technologies, LLC            $77,767.66                                                    $5,948.55                         $83,716.21
CONTRARIAN FUNDS LLC AS ASSIGNEE OF TRANS WORLD
FREIGHT SYSTEMS INC
ATTN ALISA MUMOLA
411 W PUTNAM AVE STE 425
GREENWICH, CT 06830                                       1535    10/18/2013   Exide Technologies, LLC            $34,221.58                                                                                      $34,221.58

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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
CYPRESS GAS PIPELINE LLC
C/O ANDREWS KURTH LLP
ATTN JOSEPH ROVIRA
600 TRAVIS STE 4200
HOUSTON, TX 77009                                 1536    10/18/2013   Exide Technologies, LLC              $3,095.05                                                                                      $3,095.05
QUICK CABLE CANADA LTD.
6395 KESTREL ROAD
MISSISSAUGA, ON, L5T 1Z5 CANADA

CANADA                                            1537    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LEE, PEARL
464 OLD ENOCHS RD
FLORENCE, MS 39073-9167                           1538    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
COLLIER, LINDA
112 JESSIE JOHNSON LN
PEARL, MS 39208-5518                              1539    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HALE JR, SIMMIE
3105 HOLTVILLE RD
WETUMPKA, AL 36092-8203                           1540    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WESTCO CHEMICALS INC
12551 61 SATICOY ST S
NORTH HOLLYWOOD, CA 91605-4312                    1541    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SOLIMINE, STEPHEN
28289 JENEVA WAY
BONITA SPRINGS, FL 34135                          1542    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
CHARLES RUNCO
1255 COTTAGE POINTE CT.
COLUMBUS, GA 31904                                1543    10/18/2013   Exide Technologies, LLC            $105,208.82                $0.00              $0.00                                            $105,208.82
WALLDROFF FARM EQUIPMENT INC.
22537 MURROCK CIR
WATERTOWN, NY 13601-5030                          1544    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CONVERTED PRODUCTS INC
C/O DEWITT ROSS & STEVENS SC
ATTN DENIS P BARTELL
TWO EAST MIFFLIN ST STE 600
MADISON, WI 53703-2865                            1545    10/18/2013   Exide Technologies, LLC            $115,603.07                                                                                    $115,603.07
BLUE TARP FINANCIAL
PO BOX 105525
ATLANTA, GA 30348-5525                            1546    10/18/2013   Exide Technologies, LLC               $710.26                                                                                         $710.26
WILLARD CONNER
6080 NW 55TH AVE
OCALA, FL 34482-2786                              1547    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHOETERIA D/B/A L&M FOOTWEAR INC.
2345 S ATLANTIC BLVD
COMMERCE, CA 90040-1257                           1548    10/18/2013   Exide Technologies, LLC              $6,106.10                                                     $132.42                          $6,238.52
NARCIS TUSSEY
3937 KY HWY 2002
MCKEE, KY 40447                                   1549    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
HUME, WILLIAM
1900 E GIRARD PL #501
ENGLEWOOD, CO 80113                              1550    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AMIGOS GROUP INVESTMENT INC
PO BOX 1038
SOUTH GATE, CO 90280                             1551    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOAN RODGERS
1782 NORTH PARKWAY
MEMPHIS, TN 38112                                1552    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KEY CITY RECYCLING - DUBUQUE
3270 DODGE ST
DUBUQUE, IA 52003-5246                           1553    10/19/2013   Exide Technologies, LLC            $4,778.67                                                     $5,080.14                          $9,858.81
WHITE, MARY
4766 OLD POPLAR RD
JACKSON, MS 39212-5854                           1554    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WENTZELL, VERA
21A QUARLES RD
PITTSVIEW, AL 36871-2831                         1555    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
NORMA A ROLDAN
600 S CURSON AVE #403
LOS ANGELES, CA 90036                            1556    10/19/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
HANCOCK, GEORGE
PO BOX 801
MOUNT HOLLY, NJ 08060-0801                       1557    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WARD, FRANKIE
328 MOUNT ZION RD
PRENTISS, MS 39474-4276                          1558    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SIEDE, ADOLPH
1194 SHERREN ST W
ROSEVILLE, MN 55113-4331                         1559    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FICKUS, SUSAN
1118 N IRVING AVE
DUNMORE, PA 18510-1348                           1560    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SPIEGELBERG, BERNARD
N 112 W 20905 MEQUON
GERMANTOWN, WI 53022                             1561    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PRECISION OPTICLE PC
WENDY MANNERS
4521 17TH AVE
COLUMBUS, GA 31904                               1562    10/19/2013   Exide Technologies, LLC            $1,457.95                                     $0.00                                              $1,457.95
AMERIPRIDE UNIFORM SERVICES
PO BOX 2020
BEMIDJI, MN 56619-2020                           1563    10/19/2013   Exide Technologies, LLC              $812.91                                                                                          $812.91
AMERIPRIDE SERVICES - FARGO
PO BOX 3160
BEMIDJI, MN 56619-3160                           1564    10/19/2013   Exide Technologies, LLC            $1,075.52                                                                                        $1,075.52
COOPER, PHILIP
29095 DETROIT RD
WESTLAKE, OH 44145-2012                          1565    10/19/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00


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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                              Amount                                                       Amount
O'CONNELL, JOHN J & TERESA G
C/O MORGAN STANLEY
ATTN THE HOLLYWOOD GROUP
1200 MT KEMBLE AVE 2ND FL
MORRISTOWN, NJ 07960                                      1566    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MCCORMICK, JACKIE B
621 VALLEY GREEN TRACE
MARIETTA, GA 30068-2567                                   1567    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MCCORMICK, HENRY THOMAS
621 VALLEY GREEN TRACE
MARIETTA, GA 30068-2567                                   1568    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ALLIED TOYOTA LIFT
1640 ISLAND HOME AVE
KNOXVILLE, TN 37920-1814                                  1569    10/19/2013   Exide Technologies, LLC              $450.00                                                        $0.00                            $450.00
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF NEFF
PACKAGING SYSTEMS-KANSAS
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                             1570    10/19/2013   Exide Technologies, LLC                                                                         $5,274.30                          $5,274.30
NEFF PACKAGING SYSTEMS-KANSAS
PO BOX 15056
KANSAS CITY, KS 66115-0056                                1570    10/19/2013   Exide Technologies, LLC            $18,262.92                                                                                     $18,262.92
BUSHMAN, LINDA
3240 HANOVER DR
LAFAYETTE, IN 47909-3852                                  1571    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
EAST TENNESSEE SCALE WORKS INC
PO BOX 809
LENOIR CITY, TN 37771-0809                                1572    10/19/2013   Exide Technologies, LLC             $2,915.00                                                       $0.00                          $2,915.00
TAYLOR, BETTY
319 W JASPER ST
BRANDON, MS 39042-3034                                    1573    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ACKELSON, SHARON
1545 DAUPHIN AVE
READING, PA 19610-2117                                    1574    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TALLER, ILDA MONETTE
1175 YORK AVE APT 2N
NEW YORK, NY 10065                                        1575    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LARRY D HENDERSON
PO BOX 55
FLORA, MS 39071-0055                                      1576    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BYRD, GEORGE
9 DOGWOOD TRL
TEMPLE, GA 30179-5312                                     1577    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TILLMAN, J
112 J T TILLMAN DR
MENDENHALL, MS 39114-9025                                 1578    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PHIL H WEST
PO BOX 332
LITTLE ELM, TX 75068                                      1579    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
DAVID E MINTER
819 NEWTON
DENTON, TX 76205                                 1580    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BOHANNAN, LARRY C
488 LANDERS LOOP RD
DOVER, AR 72837                                  1581    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MAYS, WILLIE
8802 NW CACHE RD APT 810
LAWTON, OK 73505-9657                            1582    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RONALD W KERNS
210 VILLAGE DR
BLANDON, PA 19510-9498                           1583    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TRUNDLE, SUSAN C
2529 EDEN RIDGE LANE
ACWORTH, GA 30101                                1584    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOHNSON, FREDDIE
1412 WOODSHIRE DR
JACKSON, MS 39211-2135                           1585    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
AMERICAN FIRE & SAFETY
PO BOX 272
SAINT JOSEPH, MO 64502-0272                      1586    10/19/2013   Exide Technologies, LLC               $728.18                                                                                         $728.18
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                            1587    10/19/2013   Exide Technologies, LLC            $326,601.54                                                                                    $326,601.54
THE TRUSLER TRUST DTD 08-10-92
C/O ROBERT A TRUSLER, TRUSTEE
1992 ST JAMES PL
PRESCOTT, AZ 86301                               1588    10/19/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
VOLLEMAERE, ERIK
3638 E GARDEN DR
PHOENIX, AZ 85028                                1589    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBERTSON, DONALD
5123 N COUNTY ROAD 1000 W
MULBERRY, IN 46058-9565                          1590    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILSON, DANIEL
5616 COOPER CIR
MERIDIAN, MS 39307-6651                          1591    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TAYLOR, ALMA
1618 MARTIN LUTHER KING JR DR
MERIDIAN, MS 39301-2911                          1592    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WIEGMANN, GENEVIEVE G
3014 PEACEFUL DR
RIVERSIDE, IA 52327-9237                         1593    10/19/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
LAMPTON WELDING SUPPLY CO INC
ATTN SUZAN SCHMITZ
PO BOX 765
WICHITA, KS 67201                                1594    10/19/2013   Exide Technologies, LLC              $3,756.46                                                     $523.86                          $4,280.32




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
COLLIN COUNTY TAX ASSESSOR/COLLECTOR
C/O GAY MCCALL ISAACKS ET AL
777 E 15TH ST
PLANO, TX 75074                                  1595    10/19/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
DARIN COLLINS
2709 CRATER LAKE LN
DENTON, TX 76210                                 1596    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
APPALACHIAN LANDSCAPE
PO BOX 53052
KNOXVILLE, TN 37950                              1597    10/19/2013   Exide Technologies, LLC              $1,050.00                                                                                      $1,050.00
BROCKMAN, CAROLYN
502 ELLIS CT APT 406
RICHMOND, KY 40475-1371                          1598    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MOUND CITY KIWANIS CLUB
ATTN DAVID E FREDE
614 STATE ST
MOUND CITY, MO 64470-1147                        1599    10/19/2013   Exide Technologies, LLC               $360.00                                                                                         $360.00
OREGON FARMERS MUTUAL TELEPHONE CO
PO BOX 227
OREGON, MO 64473-0227                            1600    10/19/2013   Exide Technologies, LLC               $245.71                                                        $0.00                            $245.71
MARIE'S LOCK & SAFE, INC.
9608 ROGERS AVE
FORT SMITH, AR 72903-5769                        1601    10/19/2013   Exide Technologies, LLC               $157.87                                                                                         $157.87
BILLIE HYATT
216 CHOCTAW
ARKOMA, OK 74901                                 1602    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOHN P REILLY
940 CAPE MARCO UNIT 2201
MARCO ISLAND, FL 34145                           1603    10/19/2013   Exide Technologies, LLC              $9,000.00                                                                                      $9,000.00
EDMONDSON, ROBERT
740 EMBERWOOD DR
DALLAS, TX 75232-3941                            1604    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PATRICK G BRYAN
PO BOX 731
KEAAU, HI 96749                                  1605    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FLETCHER, BETTIE
5398 DAVIDSON ST SE
ALBANY, OR 97322-8302                            1606    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
R & L CARRIERS/GLOBAL
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1607    10/19/2013   Exide Technologies, LLC             $19,392.35                                                                                     $19,392.35
R & L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1608    10/19/2013   Exide Technologies, LLC             $61,614.80                                                                                     $61,614.80
R & L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164                           1609    10/19/2013   Exide Technologies, LLC        $1,175,458.69                                                                                     $1,175,458.69
R & L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1610    10/19/2013   Exide Technologies, LLC            $416,814.86                                                                                    $416,814.86

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
R & L TRUCKLOAD SERV
7290 COLLEGE PKWY 200
FORT MYERS, FL 33907                             1611    10/19/2013   Exide Technologies, LLC            $461,016.05                                                                                    $461,016.05
CAMPBELL, PAUL
PO BOX 386
BLOUNTVILLE, TN 37617-0386                       1612    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MILLER, GIRARD C
1603 ARCH BAY DR
NEWPORT BEACH, CA 92660                          1613    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MORRISON, KATHRYN
1034 LIBERTY PARK DR
BRASELTON, GA 30517-1884                         1614    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JW INVEST PARTNERSHIP
PO BOX 8157
FAYETTEVILLE, AR 72703-0003                      1615    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JEANNE M SCHLOTZ IRA
23 MIGUEL ST
SAN FRANCISCO, CA 94131                          1616    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WEINTHAL, NATALIE
360 E 72ND ST
NEW YORK, NY 10021                               1617    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HOWARD, CLAUDE
RR 2 BOX 61
ELIZABETHTOWN, IL 62931-9615                     1618    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FITZPATRICK, EDWARD
864 96TH LN NE
BLAINE, MN 55434-2501                            1619    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JLW HOLDINGS, INC. DBA THE GUN ROOM
9221 SURVEY RD
ELK GROVE, CA 95624-9756                         1620    10/21/2013   Exide Technologies, LLC              $2,649.01                                                                                      $2,649.01
TIPTON, DICK
222 S 3RD ST
RICHMOND, KY 40475-2104                          1621    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
THOMPSON, HAROLD
676 S MAY AVE
KANKAKEE, IL 60901-3333                          1622    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BROCKWELL, JIMMIE
1303 FAIRHAVEN ST
LONGVIEW, TX 75605-1517                          1623    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RIVER BEND INDUSTRIES
RON EMBREE
3730 WHEELER AVE
FORT SMITH, AR 72901                             1624    10/21/2013   Exide Technologies, LLC             $23,605.33                                                   $1,763.22                         $25,368.55
MICHAEL P RESSNER
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                 1625    10/21/2013   Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00




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                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
B C MACDONALD & CO
1265 RESEARCH BLVD
SAINT LOUIS, MO 63132-1713                            1626    10/21/2013   Exide Technologies, LLC              $4,160.87                                                                                      $4,160.87
GROVES, B
3000 LAURA DR
FLOYDS KNOBS, IN 47119-9471                           1627    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CITY OF MIRAMAR FINANCE DEPT
6700 MIRAMAR PKWY
MIRAMAR, FL 33023-4897                                1628    10/21/2013   Exide Technologies, LLC               $701.90                                                                                         $701.90
ANDRIA BERKLEY
3201 LAUREL RUN AVENUE
READING, PA 19605                                     1629    10/21/2013   Exide Technologies, LLC              $2,500.00                                                                                      $2,500.00
MACK, HENRIETTA
2300 FOREST GLEN DR
JACKSON, MS 39213-3902                                1630    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALIXPARTNERS LLP
C/O LAURA J EISELE, ASSOCIATE GENERAL COUNSEL
2000 TOWN CENTER STE 2400
SOUTHFIELD, MI 48075                                  1631    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TENNANT SALES AND SERVICE COMPANY
PO BOX 1452
MINNEAPOLIS, MN 55440                                 1632    10/21/2013   Exide Technologies, LLC             $33,328.25                                                                                     $33,328.25
POWELL FLUID CONNECTORS, INC.
PO BOX 22367
KNOXVILLE, TN 37933-0367                              1633    10/21/2013   Exide Technologies, LLC               $510.87                                                                                         $510.87
MESSER, BRENDA M
WALTER WENDT TR FBO HI JOLLY GIFT SHOP
PENSION PLAN PSP FBO BRENDA M MESSER
856 N BARKLEY
MESA, AZ 85203-5717                                   1634    10/21/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
WENDT, WALTER
WALTER WENDT TR FBO HI JOLLY GIFT SHOP
PENSION PLAN PSP FBO WALTER WENDT
856 N BARKLEY
MESA, AZ 85203-5717                                   1635    10/21/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
EARNEST MILLER
CHARLTON R. DEVAULT, JR.
102 BROAD STREET
KINGSPORT, TN 37660                                   1636    10/21/2013   Exide Technologies, LLC            $150,000.00                                                                                    $150,000.00

ROBERT A ZIMMERMAN, BETSY A ZIMMERMAN &
ROBIN L MAURO UA 11-21-08, ROBERT A ZIMMERMANN &
MIRIAM O ZIMMERMAN TRUST
C/O BETSY A ZIMMERMAN, TRUSTEE
605 SHADY OAK CT
MARS, PA 16046                                        1637    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ROBERT L KELLY R/O IRA
PO BOX 27179
SAN DIEGO, CA 92198                                   1638    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00


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                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
ROBERT & ADELE KELLY TRUST UAD 9/11/2002
C/O OF ROBERT & ADELE KELLY
PO BOX 27179
SAN DIEGO, CA 92198                                   1639    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ADELE M KELLEY R/O IRA
PO BOX 27179
SAN DIEGO, CA 92198                                   1640    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
LAB. D'ETUDE ET DE REALISATION - FRANCE
Z.I PRE-FUSE
RUE JEAN MOULIN
PONTAULT-COMBAULT 77340 FRANCE

FRANCE                                                1641    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DOALL COMPANY ABA DGI SUPPLY
1110 N GRAND AVE
CHARLES CITY, IA 50616                                1642    10/21/2013   Exide Technologies, LLC             $6,389.83                                                                                       $6,389.83
GILKEY, JIMMIE
1763 BROOKHOLLOW CIR
JACKSON, MS 39212-2058                                1643    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ANGRUM, LEE
PO BOX 508
TERRY, MS 39170-0508                                  1644    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOHNSON EQUIPMENT COMPANY
PO BOX 802009
DALLAS, TX 75380-2009                                 1645    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SPIVEY, NORMA
408 MORRISON AVE
HOT SPRINGS, AR 71901-6829                            1646    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KEITH STARRETT SELF EMPLOYED PENSION PLAN & TRUST
C/O KEITH STARRETT TRUSTEE
701 N MAIN ST STE 228
HATTIESBURG, MS 39401                                 1647    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MACKLIN, HATTIE
1721 BROOKHOLLOW CIR
JACKSON, MS 39212-2008                                1648    10/21/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
ARNOLD, MATHEW
931 LEWIS ST
BRISTOL, VA 24201-2424                                1649    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KING, BARBARA
2025 WORCESTER LN
GARLAND, TX 75040-3337                                1650    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PRO DRIVERS
222 W LAS COLINAS BLVD #250
IRVING, TX 75039                                      1651    10/21/2013   Exide Technologies, LLC            $39,086.86                                                                                      $39,086.86
KEEGO HARBER EXPRESS EMPLOYMENT PROFESSIONALS
FRAN KRAUSE
3080 ORCHARD LAKE ROAD SUITE A
KEEGO HARBOR, MI 48320                                1652    10/21/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00




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               Creditor Name and Address        Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
JAMES TULLY
14844 RIDGEWOOD DR
OAK FOREST, IL 60452                              1653    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNIVERSAL MACHINE & TOOL - KINGSPORT
1913 BROOKSIDE LN
KINGSPORT, TN 37660-6634                          1654    10/21/2013   Exide Technologies, LLC             $6,413.68                                                        $0.00                          $6,413.68
MILLS JR, JOSEPH L
3826 CHALLEDON RD
JARRETTSVILLE, MD 21084                           1655    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
CODDINGTON, ROGER
1520 38TH AVE SE
ALBANY, OR 97322-6136                             1656    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JOHNNY WARNOCK
1406 S FARGO ST
MULDROW, OK 74948                                 1657    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
COLUMBUS MCKINNON LIMITED
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                                 1658    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HERBERT F ASPBURY
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                  1659    10/21/2013   Exide Technologies, LLC            $11,000.00                                                                                      $11,000.00
ROSENDAHL MASCHINEN GMBH
ATTN: RICHARD JONACH OR LEGAL DEPARTMENT
SCHACHEN 57
A-8212
PISCHELSDORF, AUSTRIA

AUSTRIA                                           1660    10/21/2013   Exide Technologies, LLC            $46,859.73                                                                                      $46,859.73
LIFE INSURANCE COMPANY OF NORTH AMERICA
ATTN MARYLOU KILIAN RICE COMPLIANCE SPEC
900 COTTAGE GROVE RD B6LPA
HARTFORD, CT 06152                                1661    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
COLUMBUS MCKINNON CORPORATION
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS & CRAIG A LESLIE
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                                 1662    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
YALE INUSTRIAL PRODUCTS, INC.
MICHAEL B. POWERS & CRAIG A. LESLIE
C/O PHILLIPS LYTLE, LLP (GENERAL COUNSEL)
ONE HSBC CENTER, SUITE 3400
BUFFALO, NY 14203                                 1663    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAURA RENDON
10216 BOWMAN AVE
SOUTH GATE, CA 90280-6740                         1664    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
FRASER, MYRON
1331 N TERRACE AVE
KANKAKEE, IL 60901-7455                          1665    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
JOHN B HOOK TRUST U/A 01-01-02
JOHN B HOOK TRUSTEE FBO JOHN B HOOK
73223 RIBBONWOOD CT
PALM DESERT, CA 92260                            1666    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOOK ASSOCIATES
73223 RIBBONWOOD CT
PALM DESERT, CA 92260                            1667    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RICKMAN, LANE
9812 LA RITA PL
RIVERVIEW, FL 33569-5567                         1668    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GARRISON, PEGGY
151 MEMORY LN
WALHALLA, SC 29691-3528                          1669    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAYWARD AUTO SALVAGE INC.
W 281 - E. RIVER RD.
HAYWARD, WI 54843                                1670    10/21/2013   Exide Technologies, LLC            $7,131.92                                                     $1,560.24                          $8,692.16
BOLDEN, MARGARET
4195 MICKEY DR
MEMPHIS, TN 38116-6774                           1671    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BOLDEN, WILLIAM
4195 MICKEY DR
MEMPHIS, TN 38116-6774                           1672    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ORLANDO UTILITIES COMMISSION
100 WEST ANDERSON STREET
ORLANDO, FL 32801                                1673    10/21/2013   Exide Technologies, LLC            $2,445.94                                                                                        $2,445.94
HARPER, EDWARD
242 KITCHENS RD
FLORENCE, MS 39073-7910                          1674    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SCHEIDT, VIRGINIA
288 KULP RD
POTTSTOWN, PA 19465-8008                         1675    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DOALL COMPANY ABA DGI SUPPLY
1110 N GRAND AVE
CHARLES CITY, IA 50616                           1676    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DON GROFF
3660 BIRCHPOND PLACE
EAGAN, MN 55122                                  1677    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DANIEL VARGAS
8329 EASTERN AVE APT B
BELL GARDENS, CA 90201-6159                      1678    10/21/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
WEATHERSBY, KEITH
PO BOX 373
FLORENCE, MS 39073-0373                          1679    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SMITH, BOBBIE
463 OLD ENOCHS RD
FLORENCE, MS 39073-9034                          1680    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00


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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
REINHART BOERNER VAN DEUREN SC
C/O L KATIE MASON, ESQ
1000 N WATER ST STE 1700
MILWAUKEE, WI 53202                               1681    10/21/2013   Exide Technologies, LLC              $124.14                                                                                         $124.14
JAMES SIDNEY CRAIG LIVING TRUST
17400 CACHAGUA RD
CARMEL VALLEY, CA 93924                           1682    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CRUMP, LILLIE
6217 W LLOYD ST
WAUWATOSA, WI 53213-2005                          1683    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HURT, JAMES
146 AVIATION DR
ELIZABETHTON, TN 37643-6037                       1684    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MOSLEY, SHANNON
9723 SYCAMORE DR
LITTLE ELM, TX 75068-3806                         1685    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DAVID S FERGUSON
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                  1686    10/21/2013   Exide Technologies, LLC             $8,000.00                                                                                      $8,000.00
HARRIS, JO
204 PARROTT ST
MOUNT VERNON, OH 43050-4524                       1687    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
EXPRESS EMPLOYMENT PROFESSIONALS
ATTN ALAN KROUSE
3080 ORCHARD LAKE RD
SUITE A
KEEGO HARBOR, MI 48335                            1688    10/21/2013   Exide Technologies, LLC             $5,623.62                 $0.00                                 $0.00                          $5,623.62
KIR G KAROUNA
2408 HANNON CT
ELLICOTT CITY, MD 21042-1763                      1689    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
THORNTON MUSSO & BELLEMIN INC
ATTN LARRY M ROEDEL
8440 JEFFERSON HWY STE 301
BATON ROUGE, LA 70809                             1690    10/22/2013   Exide Technologies, LLC            $48,068.35                                                                                     $48,068.35
WENDY P CLARK CREDIT SHELTER TRUST
C/O MILTON O CLARK & CHERY F CLARK TTEES
116 FAIRVIEW AVE N APT 430
SEATTLE, WA 98109                                 1691    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LEWIS, JOHNETTA
198 SPRING HILL DR
FLORENCE, MS 39073-8697                           1692    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BUDD, KRISTEN
1814 JUNIPER DR
MERRITT BC V1K 1J6 CANADA

CANADA                                            1693    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
COBRA WIRE & CABLE
PO BOX 790
2930 TURNPIKE DRIVE
HATBORO, PA 19040-0790                           1694    10/22/2013   Exide Technologies, LLC             $1,526.91                                                    $2,369.50                          $3,896.41
LEWIS, BETTIE
452 WHITE RD
FLORENCE, MS 39073-8388                          1695    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DEATON'S LAWN SERVICE CHARLES BO DEATON
8414 SOPHIE LN
GREENWOOD, LA 71033-3402                         1696    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
YARD TRUCK SPECIALISTS INC
PO BOX 421
BENSALEM, PA 19020-0421                          1697    10/22/2013   Exide Technologies, LLC            $22,795.00                                    $0.00                                             $22,795.00
KAPLAN, ALVIN
10341 CROSSWIND RD
BOCA RATON, FL 33498                             1698    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JOHNSON, KENNETH
2311 SILVERTHORNE DR
DALLAS, TX 75287-5863                            1699    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PATE, BERNARD
3109 DOUGHERTY DR
BATON ROUGE, LA 70805-7128                       1700    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MARY JANE LEHMANN
5807 N 6TH ST
PHILADELPHIA, PA 19120-1302                      1701    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BOODMAN, JEFFREY
2175 DALKE RIDGE DR NW
SALEM, OR 97304-4830                             1702    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
AZAN SOLUTIONS LLC
FBO SYED M ADIL
38 RIEDER RD
EDISON, NJ 08817                                 1703    10/22/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
WILLIAMS, HERMAN
3833 S SMITHFIELD RD
KNIGHTDALE, NC 27545-9345                        1704    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAM L CLEMENTS, ATTORNEY AT LAW
1718 M STREET NW
#288
WASHINGTON, DC 20036                             1705    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
EQC GLOBAL OPPORTUNITIES FUND
C/O EQUILIBRIA CAPITAL MANAGEMENT
O'HARA HOUSE
ONE BERMUDIANA RD
HAMILTON HM08
BERMUDA                                          1706    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MICHAEL R D'APPOLONIA
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                 1707    10/22/2013   Exide Technologies, LLC            $11,000.00                                                                                      $11,000.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
CALLABRESI HEATING COOLING
AIR SYSTEM CLEANING
1311 ARMORY RD
SALINA, KS 67401-4067                            1708    10/22/2013   Exide Technologies, LLC             $6,134.21                                                                                       $6,134.21
SERGE SAUVE ENRG.
31 PLACE RAVEL
DOLLARD DES ORMEAUX QC H9G 2L9

CANADA                                           1709    10/22/2013   Exide Technologies, LLC              $254.42                                                                                          $254.42
SERGE SAUVE ENRG.
31 PLACE RAVEL
DOLLARD DES ORMEAUX QC H9G 2L9 CANADA

CANADA                                           1710    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUBLITZ MATERIAL HANDLING
703 E 14TH AVE
KANSAS CITY, MO 64116-3720                       1711    10/22/2013   Exide Technologies, LLC             $5,950.22                                                    $1,226.95                          $7,177.17
JACKSON, ALVIS
107 FLOWERS ST
WAXAHACHIE, TX 75165-4411                        1712    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LANKFORD, STEPHEN L
1822 PITTS RD
RICHMOND, TX 77406                               1713    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALL-LINES LEASING
A DIV OF FIRST WESTERN BANK & TRUST
100 PRAIRIE CENTER DR
EDEN PRAIRIE, MN 55344                           1714    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
JOHN EDWARD O'HIGGINS
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                 1715    10/22/2013   Exide Technologies, LLC            $11,000.00                                                                                      $11,000.00
SMITH, MALCOLM
1011 W MCDONALD LN
LORMAN, MS 39096-9306                            1716    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MILLER, ANNETTE
9840 HIGHWAY 15 S
RIPLEY, MS 38663-2929                            1717    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
CRAWFORD, CHARLES
1991 FOREST DR
SUMTER, SC 29150                                 1718    10/22/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
STONE, ALEXANDER
8968 LANGHORNE RD
ESMONT, VA 22937                                 1719    10/22/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
ARBUTHNOTT, KATHRYN A
8968 LANGHORNE RD
ESMONT, VA 22937                                 1720    10/22/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
RAMIREZ, MARIO
15703 RAGLEY ST
HACIENDA HEIGHTS, CA 91745-2749                  1721    10/22/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                    Amount                                                        Amount
BUMPOUS, WILLIAM
PO BOX 11
UNION HILL, IL 60969-0011                       1722    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PATRICK, DAVID
PO BOX 65
GLADYS, VA 24554-0065                           1723    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MINNER, THOMAS
3485 NEWPORT BAY DR
ALPHARETTA, GA 30005-7820                       1724    10/22/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
PALMER, CHARLES
1415 COURTLAND DR
COLUMBIA, TN 38401-5281                         1725    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MILLER, HELEN
141 BARBARA AVE
PAHRUMP, NV 89060-1788                          1726    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SMITH, SAMMIE
PO BOX 3168
SUMTER, SC 29151-3168                           1727    10/22/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                               $0.00
BARR ENGINEERING CO.
ATTN AMY R BAUDLER
4300 MARKETPOINTE DR STE 200
MINNEAPOLIS, MN 55435                           1728    10/22/2013   Exide Technologies, LLC            $173,286.32                               $9,875.00                                             $183,161.32
GRANT MANUFACTURING & ALLOYING CO
PO BOX 69
BIRDSBORO, PA 19508-0069                        1729    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GRANT MANUFACTURING ALLOYING INC.
JOE GUARINI
PO BOX 69
BIRDSBORO, PA 19508                             1730    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GRANT MANUFACTURING & ALLOYING INC.
200 C FURNACE STREET
P O BOX 69
BIRDSBORO, PA 19508                             1731    10/22/2013   Exide Technologies, LLC             $15,536.00                                                                                      $15,536.00
BATTERY WATERING TECHNOLOGIES
ATTN MR SCOTT ELLIOTT
6645 HOLDER RD
CLEMMONS, NC 27012                              1732    10/22/2013   Exide Technologies, LLC            $106,930.61                                                                                     $106,930.61
BHA GROUP, INC.
C/O GLENN M REISMAN, ESQ
TWO CORPORATE DR STE 234
SHELTON, CT 06484                               1733    10/22/2013   Exide Technologies, LLC             $35,989.07                                                                                      $35,989.07
MOTIVE ENERGY INC - ANAHEIM
125 E COMMERCIAL ST STE B
ANAHEIM, CA 92801-1217                          1734    10/22/2013   Exide Technologies, LLC              $1,011.97                                                   $1,255.70                           $2,267.67
DUNN FAMILY TRUST
C/O TIMOTHY J DUNN
3 MIRA FLORES LANE
TIBURON, CA 94920                               1735    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00



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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
WAYNE, RICKY
712 GROVE RD
ZANESVILLE, OH 43701-1333                        1736    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
CAPISTRANT, STANLEY
5590 NORWICH PKWY APT 117
OAK PARK HEIGHTS, MN 55082-6495                  1737    10/22/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
VANFAB INC
C/O NEAL GERBER & EISENBERG LLP
ATTN NICHOLAS M MILLER
2 N LASALLE ST STE 1700
CHICAGO, IL 60602                                1738    10/22/2013   Exide Technologies, LLC                    $0.00                                                                        $0.00            $0.00
COOK, MARVIN
2130 GOERTE DR
GRAND PRAIRIE, TX 75051-4031                     1739    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
HOE, PHAM
73 HARRELL RD
SUMTER, SC 29150-4724                            1740    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
FLEMING, MICHAEL N
701 HARLECH DR
NEWARK, OH 43055                                 1741    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
SHUEY, DAVID
1118 MAIDENCREEK RD
FLEETWOOD, PA 19522-8699                         1742    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MYERS, JAMES W (J WILLIAM MYERS)
1883 STACY WAY
UPLAND, CA 91784                                 1743    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
HORN, FRANCIS
402 WHITT RD
RICHMOND, KY 40475-7507                          1744    10/23/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
THOMAS, RICHARD
PO BOX 124
RAMSEUR, NC 27316-0124                           1745    10/23/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
INDUSTRIAL REPAIR SERVICES, INC-CUMMING
2650 BUSINESS DR
CUMMING, GA 30028-4878                           1746    10/23/2013   Exide Technologies, LLC                                                                              $0.00                               $0.00
LKQ SELF SERVICE - RALEIGH
IN/CO LKQ CORP
655 GRASSMERE PARK DRIVE
NASHVILLE, TN 37211                              1747    10/23/2013   Exide Technologies, LLC            $2,176.20                                                                                         $2,176.20
LKQ OF NEVADA #1725
IN C/O LKQ CORPORATION
655 GRASSMERE PARK DRIVE
NASHVILLE, TN 37211                              1748    10/23/2013   Exide Technologies, LLC            $3,600.00                                                     $1,685.24                           $5,285.24
LKQ NORTH TEXAS #1702
904 I-45 SOUTH
HUTCHINS, TX 75141                               1749    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
BT AMERICAS INC
ATTN NEIL HOBBS, ESQ
620 EIGHTH AVE
NEW YORK, NY 10018                               1750    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00

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                                                                                                            Amount                                                       Amount
ALTIS HR - OTTAWA
102 BANK STREET - SUITE 300
OTTAWA ON K1P KN4

CANADA                                                  1751    10/23/2013   Exide Technologies, LLC              $8,024.15                                                                                     $8,024.15
BEYOND DIGITAL IMAGING
36 APPLE CREEK BLVD
MARKHAM ON L3R 4Y4 CANADA

CANADA                                                  1752    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
OLIN CORPORATION, WINCHESTER DIVISION
C/O JENNER & BLOCK
ATTN MELISSA M HINDS
353 N CLARK ST
CHICAGO, IL 60654-3456                                  1753    10/23/2013   Exide Technologies, LLC            $108,507.23                                                 $36,782.30                        $145,289.53
STONE EQUIPMENT COMP
341 S. MAPLE STREET
CORONA, CA 92880                                        1754    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
STONE EQUIPMENT CO-CORONA
341 S MAPLE ST
CORONA, CA 92880-6907                                   1755    10/23/2013   Exide Technologies, LLC              $2,204.67                                                                                     $2,204.67
SCOTT EQUIPMENT COMPANY LLC
ATTN STEPHEN HARRISON, COO
1002 MARTIN LUTHER KING JR DR
PO BOX 5010
MONROE, LA 71203-5543                                   1756    10/23/2013   Exide Technologies, LLC              $4,687.00                                                                                     $4,687.00
TRC MASTER FUND LLC AS TRANSFEREE OF CELLUSUEDE
PRODUCTS INC
ATTN TERREL ROSS
PO BOX 633
WOODMERE, NY 11598                                      1757    10/23/2013   Exide Technologies, LLC                                                                        $30,774.00                         $30,774.00
CELLUSUEDE PRODUCTS INC
C/O HINSHAW & CULBERTSON LLP
ATTN DEVIN NOBLE
100 PARK AVE
ROCKFORD, IL 61101                                      1757    10/23/2013   Exide Technologies, LLC            $107,632.00                                                      $0.00                        $107,632.00
BELCAN CORPORATION
C/O KEATING MUETHING & KLEKAMP PLL
ATTN ROBERT G SANKER
ONE E 4TH ST STE 1400
CINCINNATI, OH 45202                                    1758    10/23/2013   Exide Technologies, LLC             $32,194.66                                                                                    $32,194.66
OLIN CORPORATION, WINCHESTER DIVISION
C/O JENNER & BLOCK
ATTN MELISSA M HINDS
353 N CLARK ST
CHICAGO, IL 60654-3456                                  1759    10/23/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
RUSH TRUCK CENTERS OF CALIFORNIA INC
DBA RUSH TRUCK CENTER SYLMAR
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1760    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF TEXAS LP
DBA RUSH PETERBILT TRUCK CENTER ODESSA
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1761    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF TEXAS LP
DBA RUSH TRUCK CENTER HOUSTON
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1762    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF OHIO INC
DBA RUSH TRUCK CENTER DAYTON
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130-2552                           1763    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF GEORGIA INC
D/B/A RUSH TRUCK CENTER ATLANTA
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1764    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF NORTH CAROLINA INC
DBA RUSH INTERNATIONAL TRUCK CENTER, CHARLOTTE
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1765    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF OHIO INC
DBA RUSH TRUCK CENTER, CINCINNATI
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1766    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF OHIO INC
DBA RUSH TRUCK CENTER, COLUMBUS EAST
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1767    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DARR FMH
PO BOX 975053
DALLAS, TX 75397-5053                                  1768    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BECKETT, ANNE
2861 BALLYNTYNE RD S
SALEM, OR 97302-9615                                   1769    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
ARAMARK UNIFORM & CAREER APPAREL LLC
FKA ARAMARK UNIFORM & CAREEER APPAREL INC
DBA ARAMARK UNIFORM SERVICES
C/O HAWLEY TROXELL ENNIS & HAWLEY LLP
PO BOX 1617
BOISE, ID 83701                                   1770    10/23/2013   Exide Technologies, LLC            $545,707.94                                                  $3,030.31                        $548,738.25
LARRY SPROLES
RANDALL ESTES, ESTES LAW FIRM
10566 AIRLINE HWY
BATON ROUGE, LA 70816                             1771    10/23/2013   Exide Technologies, LLC             $20,000.00                                                                                    $20,000.00
DENNIS ECKSTINE
10817 PARTRIDGE DR
WAYNESBORO, PA 17268-9372                         1772    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JOHNSON JR, JAMES
25719 FIDRA AVE
SORRENTO, FL 32776-8912                           1773    10/23/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
RACHEL CLAY
2095 LAKE SHORE LNDG
ALPHARETTA, GA 30005-6985                         1774    10/23/2013   Exide Technologies, LLC             $51,411.77                                                                                    $51,411.77
P1 GROUP - LENEXA
C/O P1 GROUP INC
ATTN GLORIA KEATING CFO
2151 HASKELL AVE BLDG 1
LAWRENCE, KS 66046                                1775    10/23/2013   Exide Technologies, LLC            $132,647.32                                                                                   $132,647.32
CRESCENT ELECTRIC SUPPLY COMPANY
PO BOX 500
EAST DUBUQUE, IL 61025-4418                       1776    10/23/2013   Exide Technologies, LLC             $13,661.90                                                                                    $13,661.90
KIRK NATIONALEASE CO
C/O FAULKNER GARMHAUSEN KEISTER & SHENK
ATTN MICHAEL A STAUDT
100 S MAIN AVE STE 300
SIDNEY, OH 45365                                  1777    10/23/2013   Exide Technologies, LLC             $33,463.88                                                                                    $33,463.88
SHERRILL, RELDA
15445 W SHANGRI LA RD
SUPRISE, AZ 85379-5388                            1778    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KLINE, JOETTA
1009 WHITNER RD
READING, PA 19605-1052                            1779    10/23/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BUTLER SNOW ATTORNEYS
1020 HIGHLAND COLONY PARKWAY
SUITE 1400
POST OFFICE BOX 6010
RIDGELAND, MS 39158-6010                          1780    10/24/2013   Exide Technologies, LLC             $40,125.18                                                                                    $40,125.18
FRANK TRANES
51 BROOKWOOD DR
WESTFORT, MA 02790                                1781    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MEYER, LYLE
3172 N 1100W RD
BONFIELD, IL 60913                                1782    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
APEX MOTOR EXPRESS L
PO BOX 1107
WINNIPEG, MB R3C 2Y4
CANADA                                                 1783    10/24/2013   Exide Technologies, LLC            $5,549.16                                                                                        $5,549.16
WESTERN CANADA EXP
PO/CP BOX 1197
WINNIPEG MB R3C2Y4 CANADA

CANADA                                                 1784    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STANLEY PESKIN & RUTH PESKIN
2894 W 8TH ST APT 4C
BROOKLYN, NY 11224                                     1785    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RUTH PESKIN
2894 W 8TH ST 4C
BROOKLYN, NY 11224                                     1786    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LP PALLET
1455 E 3RD ST
POMONA, CA 91766-2202                                  1787    10/24/2013   Exide Technologies, LLC            $4,844.75                                                       $787.50                          $5,632.25
ARNOLD BENSON TTEE
RADIO CITY STATION
BOX 1644
NEW YORK, NY 10101                                     1788    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PRICE'S GROCERY - OREGON
109 W NODAWAY
OREGON, MO 64473                                       1789    10/24/2013   Exide Technologies, LLC            $1,942.63                                                       $160.39                          $2,103.02
REBECCA PETERSEN & BRAD J PETERSEN TRUSTEES
OF THE REBECCA PETERSEN REVOCABLE LIVING TRUST
C/O BRAD PETERSEN
2661 E RIDGEWOOD DR
SPRINGFIELD, MO 65804                                  1790    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CM SERVICES LLC
PO BOX 116
PEWAUKEE, WI 53072-0116                                1791    10/24/2013   Exide Technologies, LLC               $14.65                                                       $692.00                            $706.65
HANSEN, DONALD
542 STAGECOACH RD
WARRENTON, NC 27589-8706                               1792    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JOHNSTON, CORY
540 OAK STREET
AUMSVILLE, OR 87325                                    1793    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GEORGE RAUPP & GLADYS RAUPP
4400 W 115TH ST APT 235
LEAWOOD, KS 66211                                      1794    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FRANCISCO ZUNIGA
PO BOX 93
BELL GARDENS, CA 90201-0093                            1795    10/24/2013   Exide Technologies, LLC                                                      $1,500.00                                              $1,500.00
GILDOW, WALTER
217 E 4TH ST
WEST LAFAYETTE, OH 43845-1303                          1796    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                 Current General                                               Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
ALAN E BISCHOF
BEVERLY BISCHOF
1614 BERNARD WAY
HOUSTON, TX 77058                                1797    10/24/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
NUNEZ, RAMON
3301 GREEN ST
STEGER, IL 60475-1028                            1798    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
EAGIELLO, EDWARD
408 MONTDALE RD
SCOTT TOWNSHIP, PA 18447-7823                    1799    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEWANDOWSKI JR, FRANK L
20700 NORTHOME ST
SOUTHFIELD, MI 48076-5258                        1800    10/24/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
STATE OF OKLAHOMA
OFFICE OF THE ATTORNEY GENERAL
ATTN: SCOTT PRUITT
313 NE 21ST STREET
OKLAHOMA CITY, OK 73105                          1801    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAILY PRINTING, INC.
2333 NIAGARA LN N
PLYMOUTH, MN 55447-4712                          1802    10/24/2013   Exide Technologies, LLC            $72,245.02                                                   $11,030.38                         $83,275.40
VANORT, MARGARET
5590 NORWICH PKWY APT 324
STILLWATER, MN 55082-4576                        1803    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
INTERCON SOLUTIONS INC
1001-59 WASHINGTON AVE
CHICAGO HEIGHTS, IL 60411                        1804    10/24/2013   Exide Technologies, LLC             $2,688.88                                                                                       $2,688.88
MIELKE MOTOR COMPANY INC
3364 SUNSET BEACH LN
SUAMICO, WI 54173-8257                           1805    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KYLE, SYLVIA
9146 HILLMAN WAY DR
BARTLETT, TN 38133-4179                          1806    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JACKSON, MIKE
1504 BALFOUR RD
WEST MEMPHIS, AR 72301-1814                      1807    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SPARKS, OTIS
7067 HIGHWAY 3
BENTON, LA 71006-3905                            1808    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MALOUFF SALVAGE
PO BOX 42
KIRTLAND, NM 87417-0042                          1809    10/24/2013   Exide Technologies, LLC            $17,738.70                                                                                      $17,738.70
BOLINE, CHERYL
1336 ROSEVILLE DR
COLORADO SPGS, CO 80911-3860                     1810    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BROOKS, SHIRLEY
692 W PARK DR
KANKAKEE, IL 60901-2923                          1811    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
SPRINGFIELD, CHESTER
333 N INDUSTRIAL AVE
KANKAKEE, IL 60901-2650                          1812    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
BRISLIN, GEORGE
103 HAVERHILL RD
AMESBURY, MA 01913-2107                          1813    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GIBSON, WILLIE
PO BOX 715
TERRY, MS 39170-0715                             1814    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
MYHRER, PHYLLIS
5324 152ND LN NW
RAMSEY, MN 55303-6401                            1815    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
LETTS, HARRY
923 US HIGHWAY 206
BORDENTOWN, NJ 08505-1528                        1816    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
THE LUBRIZOL CORP.
29400 LAKELAND BOULEVARD
WICKLIFFE, OH 44092                              1817    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CAYABO, RIZALINO
41721 ROAD 136
OROSI, CA 93647-9648                             1818    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
K Z R INC - SMOLAN
6353 S MUIR RD
SMOLAN, KS 67456-8063                            1819    10/24/2013   Exide Technologies, LLC            $4,279.25                                                                                         $4,279.25
FLAHERTY, RICHARD W
1511 WHITE TAIL CT
KEWAUNEE, WI 54216                               1820    10/24/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
YODER, FRED T
PO BOX 17269
FOUNTAIN HILLS, AZ 85269                         1821    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
HOOD, DIANA
126 STATE ST LOT 27
SPEARFISH, SD 57783-2773                         1822    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
LAWHORNE, PAULINE
4355 E 150 N
KNOX, IN 46534-8192                              1823    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
ROSS, JAMES
2720 MAYFAIR CT
WHITE BEAR LAKE, MN 55110-4945                   1824    10/24/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
HUFF, CARL
178 SPRING VALLEY CT
SPRINGTOWN, TX 76082-7322                        1825    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
LOUIS A & RUTH L TRIMARCO JT WROS
10161 TURNBERRY PL
OAKTON, VA 22124                                 1826    10/24/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
PATNAUDE, MARVIN
1917 W STATE ROUTE 113
KANKAKEE, IL 60901-7410                          1827    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00




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               Creditor Name and Address                 Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                               Amount                                                        Amount
BRADLEY, RENDA
PO BOX 1944
KANKAKEE, IL 60901-1944                                    1828    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
ECLIPSE ENERGY LLC
PO BOX 1907
NOBLESVILLE, IN 46061-1907                                 1829    10/24/2013   Exide Technologies, LLC             $36,150.00                                                                                      $36,150.00
A-RENTAL SERVICE CORPORATION - POB 2375
PO BOX 2375
MUNCIE, IN 47307-0375                                      1830    10/24/2013   Exide Technologies, LLC             $21,014.27                                                       $0.00                          $21,014.27
WELLS FARGO BANK NATIONAL ASSOCIATION
AS INDENTURE TRUSTEE
ATTN JAMES R LEWIS
150 E 42ND ST 40TH FL
NEW YORK, NY 10017                                         1831    10/24/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF FLOW-
RITE CONTROLS - GRAND RAPIDS
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              1832    10/24/2013   Exide Technologies, LLC                                                                         $24,949.21                          $24,949.21
FLOW-RITE CONTROLS - GRAND RAPIDS
960 74TH ST SW
BYRON CENTER, MI 49315-7914                                1832    10/24/2013   Exide Technologies, LLC            $189,581.77                                                                                     $189,581.77
GREENLEES, RAYMOND
1150 LEE ROAD 250
SALEM, AL 36874-1373                                       1833    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
VAC-U-MAX
ANNE WASKIW
69 WILLIAM ST
BELLEVILLE, NJ 07109                                       1834    10/24/2013   Exide Technologies, LLC             $10,527.37                                                                                      $10,527.37
ENOS, MR.
1505 4TH ST
MONONGAHELA, PA 15063-1204                                 1835    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
HAYWARD C FOWLER II
410 GUNSTON HALL DR
ALPHARETTA, GA 30004-7504                                  1836    10/24/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF M D F
INDUSTRIES INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              1837    10/24/2013   Exide Technologies, LLC                                                                         $33,850.00                          $33,850.00
M D F INDUSTRIES INC
1012 N MARYMOUNT ROAD
PO BOX 2302
SALINA, KS 67401                                           1837    10/24/2013   Exide Technologies, LLC             $62,425.00                                                                                      $62,425.00
NAMIRANIAN, TAHMURAS
5969 EDINBURGH DR
PLANO, TX 75093-4798                                       1838    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00




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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
MERITEX PROPERTIES LLC
ATTN SANDY TOBIAS
24 UNIVERSITY AVE NE
SUITE 200
MINNEAPOLIS, MN 55413                             1839    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOHNSON, WALTER
3018 AVENUE I
FORT MADISON, IA 52627-3613                       1840    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KNIGHT TRANSPORTATION SERVICES, INC.,
CONTRACT ADMINISTRATION
20002 N 19TH AVE
PHOENIX, AZ 85027-4250                            1841    10/24/2013   Exide Technologies, LLC            $12,856.32                                                                                      $12,856.32
HOOVER, JAMES
1520 CHEVINGTON CIR
ZANESVILLE, OH 43701-6979                         1842    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SEPRO AMERICA, LLC
765 COMMONWEALTH DR
WARRENDALE, PA 15086-7520                         1843    10/24/2013   Exide Technologies, LLC             $7,441.66                                                                                       $7,441.66
FRANKLIN N MEYER ESQ PC
PROFIT SHARING PLAN
7 CAPE CT
MILLBURN, NJ 07041                                1844    10/24/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
BREWER, DANNY
1302 AP CARTER HWY
HILTONS, VA 24258-6099                            1845    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FITZ, GLADYS
3006 MOJAVE DR
DALLAS, TX 75241-6507                             1846    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PERCY L MCDONALD
614 PINE LN
JACKSON, MS 39212                                 1847    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MAYS, PATRICIA
227 E EGAN ST
SHREVEPORT, LA 71101-5106                         1848    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DALTON, SANDRA K
6805 WINCHESTER AVE
VENTNOR, NJ 08406                                 1849    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DALTON, SANDRA K
6805 WINCHESTER AVE
VENTNOR, NJ 08406                                 1850    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JANI ABEL
105 LEXINGTON AVE #4B
NEW YORK, NY 10016                                1851    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DALTON, SANDRA K
6805 WINCHESTER AVE
VENTNOR, NJ 08406                                 1852    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                         Amount                                                        Amount

THE HUDMAN A HOO & QUIRINA H HOO REVOCABLE TRUST
C/O HUDMAN & QUIRINA HOO CO TTEES
2030 TERRAZZO LN
NAPLES, FL 34104-0826                                1853    10/24/2013   Exide Technologies, LLC                    $0.00              $0.00                                  $0.00                              $0.00
AMARNANI, CYNTHIA
18391 VERONA LAGO DR
MIROMAR LAKES, FL 33913                              1854    10/24/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00               $0.00                              $0.00
THE RICHARD T GORDON TRUST
C/O RICHARD T GORDON
554 BRICKSTONE DR
DELAWARE, OH 43015                                   1855    10/24/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00               $0.00                              $0.00
JAMES L PALM REVOCABLE LIVING TRUST
C/O JAMES L PALM
10421 FIVE POINTS RD
ORRVILLE, OH 44667                                   1856    10/24/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
GALLASHAW, VICTORIA
2715 GALLISHAW DR
DALZELL, SC 29040-8892                               1857    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

BEST LUCKY INTERNATIONAL ENTERPRISE CORP
C/O BARACK FERRAZZANO KIRSCHBAUM & NAGELBERG LLP
ATTN KIMBERLY J ROBINSON
200 W MADISON ST STE 3900
CHICAGO, IL 60606                                    1858    10/24/2013   Exide Technologies, LLC                                                                         $60,687.36                         $60,687.36
PETROWSKY, OLGA
1213 S 10TH ST
ALLENTOWN, PA 18103-3905                             1859    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAVIS, DAVID
2051 EVERGREEN DR
SHREVEPORT, LA 71118-4709                            1860    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
NAUTADUTILH - NEW YORK
ONE ROCKEFELLER PLAZA
NEW YORK, NY 10020                                   1861    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                               1862    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                               1863    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMHIS, TN 38101-2751                                1864    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                               1865    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                               1866    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00


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                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                  Amount
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1867    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1868    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1869    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1870    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1871    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1872    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1873    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1874    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1875    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1876    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1877    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1878    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1879    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1880    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                            1881    10/22/2013   Exide Technologies, LLC                                                    $0.00                                                  $0.00
DAVIS, ETHEL
4371 DEEN ST
SHREVEPORT, LA 71109-6816                         1882    10/25/2013   Exide Technologies, LLC                                 $0.00                                                                     $0.00




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                           Amount                                                       Amount
MARSHALL, INEZ
7204 CLASSIC CIR
SHREVEPORT, LA 71108-4712                              1883    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RESOURCES ALLOYS & METALS INC.
PO BOX 31765
PALM BEACH GARDENS, FL 33420-1765                      1884    10/25/2013   Exide Technologies, LLC                                                                       $382,523.30                         $382,523.30

NATIONAL ASSOCIATION FOR STOCK CAR AUTO RACING INC
C/O STINSON MORRISON HECKER LLP
ATTN LAWRENCE W BIGUS
1201 WALNUT STE 2900
KANSAS CITY, MO 64106                                  1885    10/25/2013   Exide Technologies, LLC                                                                                                $0.00            $0.00

NATIONAL ASSOCIATION FOR STOCK CAR AUTO RACING INC
C/O STINSON MORRISON HECKER LLP
ATTN LAWRENCE W BIGUS
1201 WALNUT STE 2900
KANSAS CITY, MO 64106                                  1886    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HARNESS ROOFING INC.
ATTN: MIKE JONES
5324 SOUTH 31ST STREET
FORT SMITH, AR 72901                                   1887    10/25/2013   Exide Technologies, LLC              $2,640.17                                                                                      $2,640.17
3308 OAK LAKE LLC
C/O HAMILTON STEPHENS STEELE & MARTIN PLLC
ATTN GLENN C THOMPSON
201 S COLLEGE ST STE 2020
CHARLOTTE, NC 28244                                    1888    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CHARLOTTE E. EOFF
C/O GLASSMAN, EDWARDS, WADE & WYATT, P.C
ATTN TIM EDWARDS
26 N. SECOND ST
MEMPHIS, TN 38103                                      1889    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INDIANA OXYGEN CO.
PO BOX 78588
INDIANAPOLIS, IN 46278-0588                            1890    10/25/2013   Exide Technologies, LLC             $16,723.69                                                  $4,598.85                          $21,322.54
W&M ENVIRONMENTAL-WAS-WHITEHEAD & MUELLE
906 EAST 18TH STREET
PLANO, TX 75074                                        1891    10/25/2013   Exide Technologies, LLC             $43,614.93                                                                                     $43,614.93
BAKER BOTTS LLP
ATTN AILEEN HOOKS
98 SAN JACINTO BLVD STE 1500
AUSTIN, TX 78701                                       1892    10/25/2013   Exide Technologies, LLC            $460,800.58                                                                                    $460,800.58
STRIVE LOGISTICS LLC
PO BOX 88266
CHICAGO, IL 60680                                      1893    10/25/2013   Exide Technologies, LLC            $104,876.53                                                      $0.00                         $104,876.53
TENNESSEE FILTER SALES CO. INC.
PO BOX 100337
NASHVILLE, TN 37224-0337                               1894    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                 Current General                                               Current 503(b)(9)
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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
STANTON, JANET
559 ANN ST
FRANKFORT, IN 46041-3418                         1895    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CALDERON, LEOPOLDO
3620 LEXINGTON AVE
KANSAS CITY, MO 64124-2007                       1896    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FRANCO, ROBERT & MARGARET
1 COMBS HOLLOW RD
MENDHAM, NJ 07945                                1897    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
LUIS J HERNANDEZ
3157 GRAND AVE
HUNTINGTON PARK, CA 90255-6230                   1898    10/25/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
OLAN THOMPSON
108 NORWOOD LN
LANCASTER, TX 75146-2279                         1899    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SBMC ATLANTA LLC
7206 COLLINGWOOD LN
ALPHARETTA, GA 30022                             1900    10/25/2013   Exide Technologies, LLC            $4,780.00                  $0.00                                                                 $4,780.00
BONNIE L CONRAD IRA
2824 WOODBURY CIR
ST GEORGE, UT 84790                              1901    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MARVIN THACKER
C/O CRAY GODDARD MILLER & TAYLOR LLP
ATTN MITCHELL L TAYLOR
205 WASHINGTON STE 300
BURLINGTON, IA 52601                             1902    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SCOTT L HAVEN
PO BOX 818
JEFFERSON, OR 97352-0818                         1903    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUCHANAN, RANDY
1635 ANDERSON RIDGE RD
SIMPSONVILLE, SC 29681-4309                      1904    10/25/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
BUNNELL, ANN
2210 KIRST CT
SCRANTON, PA 18505-1644                          1905    10/25/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
KEITH JOHNS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                        1906    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAVID PEARSON
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                        1907    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SAMUEL W WILLOUGHBY
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                        1908    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                    Amount                                                     Amount
KASSIA PARKS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1909    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
PHILLIP SMITH
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1910    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
LONNIE RUSSELL
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1911    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
DARRELL ISAACS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1912    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
FARON CARL
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1913    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
ROBERT RAWLINS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1914    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
WINFRED SHORT
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1915    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
BOBBY SAMPLES
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1916    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
ROGER RHODUS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1917    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
DONALD BURNS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1918    10/25/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
SANDMOLD SYSTEMS INC
DEPARTMENT 180501
PO BOX 67000
DETROIT, MI 48267-1805                          1919    10/25/2013   Exide Technologies, LLC            $11,291.94                                                                                   $11,291.94
BARBARA JAYNES IRA
380 PECAN DR
SYLVA, NC 28779-6933                            1920    10/25/2013   Exide Technologies, LLC                                                       $0.00                                                  $0.00
JERRY JAYNES IRA
380 PECAN DR
SYLVA, NC 28779-6933                            1921    10/25/2013   Exide Technologies, LLC                                                       $0.00                                                  $0.00

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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                      Amount                                                       Amount
JANI KING OF SOUTHERN, BC
STN. R BOX 2177
KELOWNA BC V1X 4K6 CANADA

CANADA                                            1922    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HERLINDA HERNANDEZ
9609 BOWMAN AVE
SOUTH GATE, CA 90280-5027                         1923    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SECURITAS SECURITY SERVICES USA INC
ATTN TOM ROSZHART, CREDIT DEPT
4330 PARK TERRACE DR
WESTLAKE VILLAGE, CA 91361                        1924    10/25/2013   Exide Technologies, LLC                                                                                                $0.00            $0.00
NISSAN NORTH AMERICA INC
C/O WALLER LANSDEN DORTCH & DAVIS LLP
ATTN MICHAEL R PASLAY, ESQ
511 UNION ST STE 2700
NASHVILLE, TN 37219                               1925    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BESTWAY SYSTEMS INC
ATTN ACCTS RECEIVABLE
5755 GRANGER RD STE 400
INDEPENDENCE, OH 44131                            1926    10/25/2013   Exide Technologies, LLC            $28,600.67                                                                                      $28,600.67
DENNIS NUSSER
MICHAEL J. MERRICK
150 N. MICHIGAN AVENUE, SUITE 800
CHICAGO, IL 60601                                 1927    10/25/2013   Exide Technologies, LLC            $37,500.00                                                                                      $37,500.00
STATE OF MICHIGAN, DEPARTMENT OF TREASURY
CADILLAC PL STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                 1928    10/24/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
STATE OF MICHIGAN, DEPARTMENT OF TREASURY
ATTN HEATHER L DONALD ASSISTANT AG
CADILLAC PL STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                 1929    10/24/2013   Exide Technologies, LLC                                                                                                $0.00            $0.00
EAST COAST INTERNATIONAL TRUCKS INC
ATTN DARLENE STEELE, CREDIT MANAGER
100 URQUHART AVE
MONCTON NB E1H 2R5 CANADA

CANADA                                            1930    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ELECTRICAL SAFETY AUTHORITY-PETERBOROUGH
400 SHELDON DRIVE, UNIT 1
CAMBRIDGE ON N1T 2H9

CANADA                                            1931    10/25/2013   Exide Technologies, LLC             $2,076.70                                                                                       $2,076.70
BCD M&I LLC
C/O KILPATRICK TOWNSEND & STOCKTON LLP
ATTN SHANE G RAMSEY, ESQ
1100 PEACHTREE ST NE STE 2800
ATLANTA, GA 30309                                 1932    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                        Amount                                                       Amount
BCD M&I LLC
C/O KILPATRICK TOWNSEND & STOCKTON LLP
ATTN SHANE G RAMSEY, ESQ
1100 PEACHTREE ST NE STE 2800
ATLANTA, GA 30309                                   1933    10/25/2013   Exide Technologies, LLC            $443,874.34                                                                                   $443,874.34
BCD TRAVEL USA LLC
C/O KILPATRICK TOWNSEND & STOCKTON LLP
ATTN SHANE G RAMSEY, ESQ
1100 PEACHTREE ST NE STE 2800
ATLANTA, GA 30309                                   1934    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
WORMUTH, ANNETTE
1630 FARR ST
SCRANTON, PA 18504-1128                             1935    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R & L TRUCKLOAD
C/O R & L CARRIERS INC
600 GILLIAM RD
WILMINGTON, OH 45177                                1936    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HARRY M CHILCOAT & SHIRLEY S CHILCOAT TRUST
U/A DTD 10/10/2003
C/O S CHILCOAT & H CHILCOAT TRUSTEE
17792 LUTZ RD
STEWARTSTOWN, PA 17363                              1937    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORTHWEST IMPLEMENT
CHEYENNE FRANCIS
2918 MILLER ST.
BETHANY, MO 64424                                   1938    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HAYNSWORTH SINKLER BOYD PA
ATTN TARA E NAUFUL
PO BOX 11889
COLUMBIA, SC 29201                                  1939    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JONES, JERRY
3940 TIOGA ST
DALLAS, TX 75241-6101                               1940    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MCTELCO
VICKIE MCGREGOR
11841 SOUTHWEST KERNS ROAD
STEWARTSVILLE, MO 64490                             1941    10/25/2013   Exide Technologies, LLC                                                                            $22.20                             $22.20
MCTEL CO INC
11841 SW KERNS RD
STEWARTSVILLE, MO 64490-6193                        1942    10/25/2013   Exide Technologies, LLC                                                                             $0.00                              $0.00
BLACK HILLS CORPORATION
1102 E FIRST ST
PAPILLION, NE 68046                                 1943    10/25/2013   Exide Technologies, LLC              $9,130.80                                                                                     $9,130.80
BLACK HILLS CORPORATION
1102 E FIRST ST
PAPILLION, NE 68046                                 1944    10/25/2013   Exide Technologies, LLC              $1,008.73                                                                                     $1,008.73
SALINE COUNTY TAX COLLECTOR
215 N MAIN ST STE 3
BENTON, AR 72015-3763                               1946    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                     Amount                                                        Amount
INVENTORY SALES COMPANY
9777 REAVIS RD
SAINT LOUIS, MO 63123-5329                       1948    10/25/2013   Exide Technologies, LLC             $6,236.78                                                      $787.63                          $7,024.41
SHARON VANWINKLE
672 NELLIE BAKER RD
MC KEE, KY 40447-8788                            1949    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LATVIAN RELIEF FUND OF AMERICA INC
ATTN JOHN G BERZINS
8119 CADWALADER AVE
ELKINS PARK, PA 19027                            1950    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MOSES, EDITH
PO BOX 3451
BARTLESVILLE, OK 74006-3451                      1951    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BARBIE L DONEFER
8710 CARMEL MOUNTAIN WAY
BOYNTON BEACH, FL 33473                          1952    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SWEENEY, JAMES T
441 DEGLER AVENUE
LEESPORT, PA 19533                               1953    10/25/2013   Exide Technologies, LLC            $42,632.69                 $0.00              $0.00                                             $42,632.69
BREHEIM, ERNEST
1841 N MORELAND AVE
INDIANAPOLIS, IN 46222-4827                      1954    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BUILDING SPRINKLER INC
47187 WILD CLOVER CIR
SIOUX FALLS, SD 57107                            1955    10/25/2013   Exide Technologies, LLC              $195.65                                                                                          $195.65
CLIFFORD, WILLIAM
28301 187TH ST
LEAVENWORTH, KS 66048-7633                       1956    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PARDEW, ELAINE
PO BOX 22
DALLAS, OR 97338-0022                            1957    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GIBSON, EVELYN
33677 MARYS RIVER ESTATES RD
PHILOMATH, OR 97370-9021                         1958    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MCGAUGHEY, S
8502 REBECCA SCOTT WAY
LOUISVILLE, KY 40228-3300                        1959    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAAG, PETER G
446 W ALDINE #3W
CHICAGO, IL 60657                                1960    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SANDLER BROS
4131 WHITESIDE ST
LOS ANGELES, CA 90063-1618                       1961    10/25/2013   Exide Technologies, LLC              $661.60                                                         $0.00                            $661.60
ROBERTSON, JAMES L
15510 SIERRA SKIES DR
HOUSTON, TX 77083                                1962    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PLUMBING AND ROOTER COMPANY, LLC, THE
3155 WILLIAMS ROAD, SUITE C-1
COLUMBUS, GA 31909                               1963    10/25/2013   Exide Technologies, LLC             $1,750.00                                                                                       $1,750.00


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                                                                                                                Amount                                                        Amount
KERSH, WILLIE
304 BOMAR ST
BRANDON, MS 39042                                           1964    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MURRY, CARL
1081 WILSON DR
TERRY, MS 39170-9332                                        1965    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CARTER, PRESSIE
PO BOX 641
TERRY, MS 39170-0641                                        1966    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE BERNARD ETRA FAMILY TRUST
C/O MR BERNARD ETRA
8120 MUIRHEAD CIR
BOYNTON BEACH, FL 33472-5061                                1967    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
JOSEPH F. ODDO
1081 NARANCA AVE #B
EL CAJON, CA 92021-5653                                     1968    10/25/2013   Exide Technologies, LLC                                   $1,208.06      Unliquidated                                               $1,208.06
SONAR CREDIT PARTNERS II, LLC AS TRANSFEREE OF NORMAN P
MOELLER UNIVERSAL INSTRUMENT CO
ATTN MICHAEL GOLDBERG
80 BUSINESS PARK DR, STE 208
ARMONK, NY 10504                                            1969    10/25/2013   Exide Technologies, LLC              $245.88                                                     $2,400.00                          $2,645.88
TYLER COSTELLO - OREGON
34422 HOLT 285
OREGON, MO 64473-8295                                       1970    10/25/2013   Exide Technologies, LLC            $1,575.00                                                                                        $1,575.00
WHITE, ROBERT
1124 PERENNIAL LN
GOODE, VA 24556-2920                                        1971    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAVID MICHAELS C/F JENNIFER MICHAELS
C/O DAVID MICHAELS
22 GREENWAY TERR N
MAHOPAC, NY 10541-1230                                      1972    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MICHAELS, DAVID & LYNN
ATTN DAVID MICHAELS
22 GREENWAY TERR N
MAHOPAC, NY 10541-1230                                      1973    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
AAA PALLET RECYCLING - LONDON
BOX 32005, RPO NORTHLAND
LONDON ON N5V 5K4 CANADA

CANADA                                                      1974    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NIKAS, YVONNE
36 S THROOP PKWY
CHICAGO, IL 60607                                           1975    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THIER MACHINE SHOP, LLC
28669 DYERSVILLE EAST ROAD
FARLEY, IA 52046                                            1976    10/25/2013   Exide Technologies, LLC            $2,172.10                                                                                        $2,172.10
TREXLER, VIRGINIA & KENNETH
C/O VIRGINIA TREXLER
6804 TREVOR DR
BROWNS SUMMIT, NC 27214-9831                                1977    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00

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                                                                                                     Amount                                                        Amount
VENTO, FRANK P
655 2ND AVE NE
CARMEL, IN 46032-1335                            1978    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GERALDINE BECKER IRREVOCABLE TRUST
C/O RICHARD RESLER TTEE
2873 ENDICOTT CT
CLEARWATER, FL 33761-1410                        1979    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ALLIED PLASTICS, INC.
150 HOLY HILL RD
TWIN LAKES, WI 53181-9670                        1980    10/25/2013   Exide Technologies, LLC            $46,324.60                                                                                      $46,324.60
PRAIRIE PALLET
30 MOBERLY AVENUE
WINNIPEG MB R2C 4C1 CANADA

CANADA                                           1981    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LEAH MITTELBERG IRREVOCABLE TRUST
C/O KENNETH MITTELBERG TTEE
903 GERRY AVE
LIDO BEACH, NY 11561-5216                        1982    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
DRAEGER, LOIS
727 LARPENTEUR AVE E APT C
MAPLEWOOD, MN 55117-2552                         1983    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CLINTON COUNTY
220 COURTHOUSE SQ
FRANKFORT, IN 46041-1957                         1984    10/25/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
PRAXAIR DISTRIBUTION INC
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 5126
TIMONIUM, MD 21094                               1985    10/25/2013   Exide Technologies, LLC            $12,658.49                 $0.00                                                                $12,658.49
RILEY SURVIVORS TRUST
C/O RICHARD W RILEY
19 SATTERLEE
STATEN ISLAND, NY 10307-1501                     1986    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
RILEY DECEDANTS TRUST
C/O RICHARD W RILEY
19 SATTERLEE
STATEN ISLAND, NY 10307-1501                     1987    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
REMINGER & CO LPA
101 W PROSPECT AVE STE 1400
CLEVELAND, OH 44115                              1988    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FLYNN, ANN
4868 DERBY LN
MACUNGIE, PA 18062-8318                          1989    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
REFF, CAROL
64 HERITAGE PT BLVD
BARNEGAT, NJ 08005-3380                          1990    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
UNIVERSITY OF KANSAS HOSPITAL AUTHORITY
DBA CORPORATE HEALTH - STATE AVENUE
4810 STATE AVE
KANSAS CITY, KS 66102                            1991    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                        Amount                                                        Amount
PROCHEM INC.
5100 ENTERPRISE DRIVE
ELLISTON, VA 24087                                  1992    10/26/2013   Exide Technologies, LLC              $8,908.50                                                       $0.00                          $8,908.50
CANNON JR, JAMES
215 O C KITCHENS DR
FLORENCE, MS 39073-7996                             1993    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
EASTERN LIFT TRUCK
PO BOX 307
MAPLE SHADE, NJ 08052-0307                          1994    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KROEKER, CHERYL
4856 STATE HIGHWAY 84 UNIT 31
LONGVILLE, MN 56655-3366                            1995    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ABEL SOLUTIONS, INC.
3820 MANSELL RD STE 260
ALPHARETTA, GA 30022-1539                           1996    10/26/2013   Exide Technologies, LLC              $3,145.00                                                                                      $3,145.00
ANDERSON, ERNESTINE
7850 JEFFERSON PAIGE RD
SHREVEPORT, LA 71119-8865                           1997    10/26/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
LARUE, ROBERT
6585 BERNADEAN BLVD
PUNTA GORDA, FL 33982-1602                          1998    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BYLES, JUDY
1015 HILL ST
BRISTOL, TN 37620-2143                              1999    10/26/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
MOODYS CLEAN SWEEP - LAKEVILLE
9 MILLVIEW DRIVE
LAKEVILLE NB E1H 1A5 CANADA

CANADA                                              2000    10/26/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
CITY OF VERNON
ATTN LIGHT & POWER DEPT
4305 S SANTA FE AVE
VERNON, CA 90058-1714                               2001    10/26/2013   Exide Technologies, LLC            $241,244.75                                                                                    $241,244.75
GRAVES, LYNN
147 E FAIRFIELD DR
CLAREMONT, CA 91711-1839                            2002    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HALLFORD JR, KENNETH W
7868 HORNED LARK CIR
PORT ST LUCIE, FL 34952                             2003    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HALLFORD JR, KENNETH W
7868 HORNED LARK CIR
PORT ST LUCIE, FL 34952                             2004    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NAMISLO, ROBERT A
2775 NW 49TH AVE #106
OCALA, FL 34482-6212                                2005    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SULLIVAN MARGARET M IRREV TR DTD 06/06/1996
C/O JOHN J KATSOCK TTEE
2215 YARDLEY RD
YARDLEY, PA 19067                                   2006    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00


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                Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
JOHN J KATSOCK & VIVIAN M KATSOCK JT / WROS
2215 YARDLEY RD
YARDLEY, PA 19067                                   2007    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
H K MCILHENNY IRREV TR DTD 12/20/2009
C/O JOHN J KATSOCK TTEE
2215 YARDLEY RD
YARDLEY, PA 19067                                   2008    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SMITH, KARL
621 W 59TH PL
LOS ANGELES, CA 90044-6309                          2009    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRENNTAG SOUTHWEST INC
C/O BRENNTAG NORTH AMERICA INC
ATTN ROBERT M BURBANK, CORP CREDIT MGR
5083 POTTSVILLE PIKE
READING, PA 19605                                   2010    10/26/2013   Exide Technologies, LLC             $8,396.22                                                                                       $8,396.22
RAUEN PRECISION MACHINE
951 9TH AVE NW
FARLEY, IA 52046-9408                               2011    10/26/2013   Exide Technologies, LLC            $19,436.58                                                                                      $19,436.58
STANEFSKI, EUGENE
6240 BOXMAN AVE
INVER GROVE HEIGHTS, MN 55076-5502                  2012    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JASON BYAS
200 WHITE TOP RD
BLUFF CITY, TN 37618-1540                           2013    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JASON C BYAS
200 WHITE TOP RD
BLUFF CITY, TN 37618-1540                           2014    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JASON C BYAS
200 WHITE TOP RD
BLUFF CITY, TN 37618-1540                           2015    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
AINSWORTH, LORRAINE
724 FOSTER RD
FLORENCE, MS 39073-9020                             2016    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEONOR GARCIA
1170 SPENCE ST
LOS ANGELES, CA 90023-3046                          2017    10/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
BIALY, PAUL M
5523 COUNTRY LAKES TRL
SARASOTA, FL 34243-3812                             2018    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
PATTON, LLOYD
19 PATTON RD
HOLLANDALE, MS 38748-9757                           2019    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JAMES C SMITH
631 SPRYFIELD RD
JACKSON, MS 39212                                   2020    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
EMBRY, DONALD
305 5TH ST
RICHMOND, KY 40475-1339                             2021    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
EMBRY, SIDONIA
305 5TH ST
RICHMOND, KY 40475-1339                          2022    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FERGUSON, LOIS
641 TIMBERLAKE DR
LYNCHBURG, VA 24502-6925                         2023    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NORWOOD, FRED
269 SEVENTH DAY RD
FLORENCE, MS 39073-6103                          2024    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRIDGES, JAMES
81 NORTH PLEASANT HILL
NEWHEBRON, MS 39140                              2025    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PRICE, DOUGLAS
33311 199TH ST
LEAVENWORTH, KS 66048-7468                       2026    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
EMIL & JENNIFER DARLING
C/O FRANKENMUTH INSURANCE
ATTN DOMINIC SILVESTRI AND RYAN STEARN
31780 TELEGRAPH ROAD, STE. 120
BINGHAM FARMS, MI 48025                          2027    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROCCO FODERARO
461 BRYN MAWR DR
BRICK, NJ 08723-5067                             2028    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FLOOD, GEORGE
589 HILLDALE RD
HOLTWOOD, PA 17532-9633                          2029    10/26/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
ADAM, TERRY
17 E NOBLE AVE
SHOEMAKERSVILLE, PA 19555-1531                   2030    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PORTER, JEAN
1823 FIREFLY RD
MANCHESTER, IA 52057-8806                        2031    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ESTATE OF ATHENA GEORGAKAKOS
GEORGE ONORATO EXEC
69-04 DITMARS BLVD
JACKSON HEIGHTS, NY 11370-1031                   2032    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ANNIE GREEN
80 MICKENS ST
SUMTER, SC 29150                                 2033    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAWSON, EVELYN
2515 HIGHWAY 261 N
DALZELL, SC 29040-9099                           2034    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WEATHERLY, JUANITA
866 WHATLEY ST
SUMTER, SC 29154-6042                            2035    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WEATHERLY, CHARLES
866 WHATLEY ST
SUMTER, SC 29154-6042                            2036    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
HAMPTON, EARNEST
7770 SHINE LN
PINEWOOD, SC 29125-9585                          2037    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GIBSON, SARAH
PO BOX 236
MAYSVILLE, SC 29104-0236                         2038    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRUNSON, VERNICE
130 MAIL BOX LN
LYNCHBURG, SC 29080-8419                         2039    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GILLIARD, JOHN
4325 PATRIOT PKWY
SUMTER, SC 29154-9772                            2040    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TOMLIN, JAMES
5130 JOE BILLY RD
GABLE, SC 29051-9649                             2041    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GAINES, JOSEPH
717 N MAIN ST
SUMTER, SC 29150-3521                            2042    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AZALEE W KNOX
C/O WEISSENSTEIN LAW FIRM LLC
ATTN A PAUL WEISSENSTEIN JR
PO BOX 2446
SUMTER, SC 29151                                 2043    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DAWSON, ISRA
2515 HIGHWAY 261 N
DALZELL, SC 29040-9099                           2044    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RONALD TILLIE
1191 BILLUPS RD
PINEWOOD, SC 29125                               2045    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PEET, DELMAR
1318 POCALLA DR
MANNING, SC 29102-4673                           2046    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BREWER, THOMAS
2255 STONE RD
MANNING, SC 29102-4559                           2047    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HAMPTON, CHARLIE
7765 SHINE LN
PINEWOOD, SC 29125-9586                          2048    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NATHAN CARTER
126 THELMA DR
SUMTER, SC 29150                                 2049    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LARRY BROWN
688 MARLBOROUGH DR
SUMTER, SC 29154                                 2050    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KELLEY, CHARLOTTE
2121 GREENVILLE CIR
SUMTER, SC 29154-6176                            2051    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HAMPTON, JAMES
2910 ERVIN LN
SUMTER, SC 29154-8600                            2052    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                               Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                          Amount                                                       Amount
WESTON, CONSTANCE
1022 DECATUR ST
SUMTER, SC 29150-7418                                 2053    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PLENGE, BETTY
111 CEDAR RIDGE LN
CONWAY, SC 29526-8916                                 2054    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LOWERY, EDWARD
2905 HOMESTEAD RD
SUMTER, SC 29153-7632                                 2055    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAMPTON, ALBERTUS
7730 SHINE LN
PINEWOOD, SC 29125-9585                               2056    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CLAYBOURNE A WHITE
6405 PANOLA RD
PINEWOOD, SC 29125                                    2057    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE HOT STAMP COMPANY
ATTN JAMES E WHITE
11111-70 SAN JOSE BLVD.
SUITE 299
JACKSONVILLE, FL 32223                                2058    10/28/2013   Exide Technologies, LLC             $19,311.19                                                                                     $19,311.19
RMG KEY ASSOCIATES, LLC
6203 LEA RAY DR
GREENSBORO, NC 27410-4984                             2059    10/28/2013   Exide Technologies, LLC              $5,560.00                                                                                      $5,560.00
UNITED STEELWORKERS
ATTN DAVID R JURY
FIVE GATEWAY CENTER RM 807
PITTSBURGH, PA 15222                                  2060    10/28/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
BATTERY EXPERTS INC.
GREG RAPP
20601 CANADA RD.
UNIT B
LAKE FOREST, CA 93620                                 2061    10/28/2013   Exide Technologies, LLC                                                                         $5,890.00                           $5,890.00
LONE STAR INDUSTRIES INC DBA BUZZI UNICEM USA
ATTN DAVID F HOWELL
10401 N MERIDIAN ST STE 400
INDIANAPOLIS, IN 46290                                2062    10/28/2013   Exide Technologies, LLC             $12,385.90                                                  $6,190.50                          $18,576.40
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR HYDRITE CHEMICAL CO
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                         2063    10/28/2013   Exide Technologies, LLC                                                                        $20,522.62                          $20,522.62
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR KAPSTONE PAPER & PACKAGING
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                         2064    10/28/2013   Exide Technologies, LLC                                                                        $30,191.52                          $30,191.52
J.I.T. WAREHOUSE INC
PO BOX 1486
VAN BUREN, AR 72957                                   2065    10/28/2013   Exide Technologies, LLC            $126,429.29                                                                                    $126,429.29
CHEONG KAM WONG
7100 E GAGE AVE APT 312
COMMERCE, CA 90040-3858                               2066    10/28/2013   Exide Technologies, LLC               $100.00                                                                                         $100.00

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                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                    Amount
EPPERSON, CHARLES
4730 AUBURN RD NE UNIT 131
SALEM, OR 97301-4958                             2067    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
GELDERMAN, BARBARA
7661 W COPPER CREST PL
TUCSON, AZ 85743                                 2068    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
KAPLAN, ALVIN
10341 CROSSWIND RD
BOCA RATON, FL 33498                             2069    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
RICE'S SAWMILL
GARY RICE
331 MORREIL CREEK RD
BLUFF CITY, TN 37618                             2070    10/28/2013   Exide Technologies, LLC            $3,626.00                                                                                    $3,626.00
THOMPSON, FRED
5417 BLUE RIDGE BLVD
RAYTOWN, MO 64133-2968                           2071    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
TYREE GREEN
1439 E 57TH ST
LOS ANGELES, CA 90011-4925                       2072    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                        $0.00
EVANS, VIRGIE
112 JONES AVE
PEARL, MS 39208-9157                             2073    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
LANE, WILLIE
4833 WOODSTOCK RD
WOODVILLE, MS 39669-4568                         2074    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
JONES, JERRY
104 E SPROLES ST
CLINTON, MS 39056-3746                           2075    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
BROWN, SANDY
PO BOX 93
MORTON, MS 39117-0093                            2076    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
WRIGHT, EDWARD
PO BOX 554
RIDGELAND, MS 39158-0554                         2077    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
SUMMERLIN-SCALE COMPANY INC
998 HIGHWAY 469 N
PEARL, MS 39208-8023                             2078    10/28/2013   Exide Technologies, LLC              $420.86                                                                                      $420.86
ALTA EQUIPMENT COMPANY
28775 BECK RD
WIXOM, MI 48393-3637                             2079    10/28/2013   Exide Technologies, LLC            $1,600.00                                                                                    $1,600.00
A TO Z EQUIP. RENTALS & SALES
1313 E. BASELINE RD.
GILBERT, AZ 85233                                2080    10/28/2013   Exide Technologies, LLC               $90.00                                                                                       $90.00
BINGHAM, MICHAEL
6 INNI WAY
GREENWOOD, IN 46142-9109                         2081    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
HERMES, DAVID J
310 CLYDESDALE CT
SPOTSYLVANIA, VA 22551-2414                      2082    10/28/2013   Exide Technologies, LLC                                                      $0.00                                                  $0.00


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                Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
PIERCE II., DELMER
4100 RIDGECREST TRL
CARROLLTON, TX 75007-1626                                2083    10/28/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
MITCHELL, SAMMIE
803 GRANADA DR
DUNCANVILLE, TX 75116-3913                               2084    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SNAPP, SUSAN
770 KAHL ST NE
PALMYRA, IN 47164-8890                                   2085    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HENDRICKS, WILLIAM
3530 NW EAGLE VIEW DR
ALBANY, OR 97321-9336                                    2086    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HEDGLIN, FRANK
304 BALLARD RD
BEREA, KY 40403-8721                                     2087    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HAYS, DENNIS
5474 US 421 SOUTH
MCKEE, KY 40447                                          2088    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
COFFEY, MARY
726 MORAN MILL RD
RICHMOND, KY 40475-9715                                  2089    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HALEY, MICHAEL
CHARLES SCHWAB & CO INC CUST IRA ROLLOVER
15 CLOUDLEAP PL
SPRING, TX 77381                                         2090    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GADOLA, ANTHONY T
651 PARDEESVILLE RD
HAZLE TOWNSHIP, PA 18202-2701                            2091    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF RADIO
WHOLESALE
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                     2092    10/28/2013   Exide Technologies, LLC            $7,417.74                                                                                        $7,417.74
MARZOLINO, JAMES
1128 N LINDA VISTA ST
ORANGE, CA 92869-1315                                    2093    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SAI GLOBAL-WAS INTEGRITY INTERACTIVE
210 E STATE RT 4 STE 103
PARAMUS, NJ 07652-5103                                   2094    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAWRENCE, BILLY
3426 WAX MYRTLE CIR
ZELLWOOD, FL 32798-9708                                  2095    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PHILLIPS, ROGER
15126 SPRINGWOOD DR
FRISCO, TX 75035-6876                                    2096    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRANAGIN, DENNIS
966 W COUNTY ROAD 650 S
FRANKFORT, IN 46041-7538                                 2097    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
MUNCIE SANITARY DISTRICT
ATTN MICHAEL P QUIRK
311 S WALNUT ST
MUNCIE, IN 47305                                 2098    10/28/2013   Exide Technologies, LLC              $424.43                                                                                         $424.43
MUNCIE SANITARY DISTRICT
ATTN MICHAEL P QUIRK
311 S WALNUT ST
MUNCIE, IN 47305                                 2099    10/28/2013   Exide Technologies, LLC            $17,121.04                                                                                     $17,121.04
BACKOFF, DON
1842 BRYAN PL
SHREVEPORT, LA 71105-3536                        2100    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DONOHO, MARSHA
503 HAWTHORNE AVE
FRANKFORT, IN 46041-1538                         2101    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ERICKSON, CONNIE
15702 JANINE DR
WHITTIER, CA 90603-1519                          2102    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BACKOFF JR, DON
1842 BRYAN PL
SHREVEPORT, LA 71105-3536                        2103    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
WATSON, EARNEST
523 LINCOLN DR
TAYLORS, SC 29687-5732                           2104    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ROSS, OCTAVIAN
2809 MOJAVE DR
DALLAS, TX 75241-6418                            2105    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
RING POWER CORPORATION
10421 FERN HILL DR
RIVERVIEW, FL 33578                              2106    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ROBERT HUTCHINSON
C/O CRAY GODDARD MILLER & TAYLOR LLP
ATTN MITCHELL L TAYLOR
205 WASHINGTON STE 300
BURLINGTON, IA 52601                             2107    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MEIER, RANDY
949 S SANTA FE AVE
SALINA, KS 67401-5041                            2108    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LAIL, MARCUS
323 MILLCREEK DR
BRANDON, MS 39047-9001                           2109    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ANDERSON, LUCILLE
15 LAURA CT
QUARRYVILLE, PA 17566-9666                       2110    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSON, FLOSSIE
924 SALTWOOD RD
SUMTER, SC 29154-7275                            2111    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KINTETSU WORLD EXP
DEPT CH 17097
PALATINE, IL 60055                               2112    10/28/2013   Exide Technologies, LLC            $25,165.18                                                                                     $25,165.18


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
UMILE, THOMAS
129 NORTHPOINT DR
OLYPHANT, PA 18447-1762                          2113    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DUNIHUE, GARY
1119 KEATS AVE
ORLANDO, FL 32809-6360                           2114    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JESSE MANGUM
1003 METAIRIE RD
JACKSON, MS 39209-6912                           2115    10/28/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
R. L. JIMERSON
OMIE DR.
LONGVIEW, TX 75601                               2116    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ESCOBEDO, JUAN
8640 6TH ST
FRISCO, TX 75034-5021                            2117    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WESTAR ENERGY
C/O BANKRUPTCY TEAM
PO BOX 208
WICHITA, KS 67201-0208                           2118    10/28/2013   Exide Technologies, LLC                                $527,990.70                             $336,470.80                        $864,461.50
VALENTIN MENDOZA HDEZ
377 S LA VERNE AVE
LOS ANGELES, CA 90022-2042                       2119    10/28/2013   Exide Technologies, LLC                                   $1,665.53                                                                 $1,665.53
VALENTIN MENDOZA HDEZ
377 S LAVERNE AVE
LOS ANGELES, CA 90022-1947                       2120    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRITTAIN, FRANK
2430 8TH AVE SE
ALBANY, OR 97322-5019                            2121    10/28/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
ACME IRON & METAL-TX ALLOY - SAN ANGELO
PO BOX 1304
SAN ANGELO, TX 76902-1304                        2122    10/28/2013   Exide Technologies, LLC            $2,782.71                                                                                        $2,782.71
SILVA, JOSE
23070 PRIMAVERA DR
HARLINGEN, TX 78552-2402                         2123    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CANNON, ETHEL
211 O C KITCHENS DR
FLORENCE, MS 39073-7996                          2124    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MUNCIE SANITARY DISTRICT
ATTN MICHAEL P QUIRK
311 S WALNUT ST
MUNCIE, IN 47305                                 2125    10/28/2013   Exide Technologies, LLC            $2,382.13                                                                                        $2,382.13
MUNCIE SANITARY DISTRICT
ATTN MICHAEL P QUIRK
311 S WALNUT ST
MUNCIE, IN 47305                                 2126    10/28/2013   Exide Technologies, LLC            $5,445.75                                                                                        $5,445.75
BUNKER, DAVID
2985 HOMESTEAD RD
SUMTER, SC 29153-7632                            2127    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
FONER, HARRIET & STANLEY
500 C GRAND ST APT 5G
NEW YORK, NY 10002                               2128    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JORDAN, DENNIS
13075 BETHANY STATE LINE RD
BETHANY, LA 71007-9768                           2129    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
TUTOR JR, ROY
4960 QUINCE RD
MEMPHIS, TN 38117-6626                           2130    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MILTON H LARSEN REV LVG TR
C/O MILTON H LARSEN, TRUSTEE
1315 N WEST ST APT 13
WICHITA, KS 67203-1307                           2131    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BRASK, KAY
3415 200TH ST W
FARMINGTON, MN 55024-9708                        2132    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOSE SOTO
3809 OLIVE ST APT A
HUNTINGTON PARK, CA 90255-6508                   2133    10/28/2013   Exide Technologies, LLC            $100,000.00                                                                                    $100,000.00
FORREST C CARR & EDITH M CARR JT TEN
C/O FORREST C CARR
1729 INDIAN HILLS RD
LEBANON, TN 37087                                2134    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CARR, FORREST C & EDITH M
1729 INDIAN HILLS RD
LEBANON, TN 37087                                2135    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CK-KLEIN-MACFARLANE LTD
C/O VANDEVENTER BLACK LLP
ATTN J BRANDON SIEG, ESQ
EIGHTH & MAIN BLDG
707 E MAIN ST STE 1700, PO BOX 1558
RICHMOND, VA 23218-1558                          2136    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ADT CORPORATION
ATTN: DON MAILLOUX,DIRECTOR COST/REVENUE
1501 YAMATO RD.
BOCA RATON, FL 33431                             2137    10/28/2013   Exide Technologies, LLC              $2,326.46                                                   $7,751.25                         $10,077.71
FPWEB.NET LLC
1714 GILSINN LN
FENTON, MO 63026-2004                            2138    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NPC SERVICES INC
ATTN WILLIAM C DAWSON
2401 BROOKLAWN DR
BATON ROUGE, LA 70807                            2139    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MCGUIRE, DENIS
C/O SCOTIAMCLEOD
650 W GEORGIA ST STE 1100
VANCOUVER, BC V6B 4N9
CANADA                                           2140    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
CELTIC CROSS CHARITABLE FOUNDATION
C/O SCOTIA MCLEOD
650 W GEORGIA ST STE 1100
VANCOUVER, BC V6B 4N9
CANADA                                           2141    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
GRAND RAPIDS LABEL COMPANY
2351 OAK INDUSTRIAL DRIVE
GRAND RAPIDS, MI 49505                           2142    10/28/2013   Exide Technologies, LLC             $80,902.74                                                                                     $80,902.74
SANDERS LEAD COMPANY INC
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                             2143    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
KW PLASTICS
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                             2144    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ILCO SITE REMEDIATION GROUP
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                             2145    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TEXTRON INC
ATTN JAMIESON SCHIFF
40 WESTMINSTER ST
PROVIDENCE, RI 02903                             2146    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
SYNTERRA
148 RIVER ST STE 220
GREENVILLE, SC 29601-2567                        2147    10/28/2013   Exide Technologies, LLC             $59,603.52                                                                                     $59,603.52
JORGE LUJAN
1626 DOVER CIRCLE
SALINA, KS 67401                                 2148    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SCHRADE, WALLACE
9246 DUNBAR KNOLL CIR N
MINNEAPOLIS, MN 55443-1750                       2149    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MIDTRONICS, INC.
PRESIDENT
7000 MONROE STREET
WILLOWBROOK, IL 60521                            2150    10/28/2013   Exide Technologies, LLC            $134,144.75                                                  $30,605.69                        $164,750.44
LANCASTER MOLD INC
C/O JOE GORLASKI
2501 HORSESHOE RD
LANCASTER, PA 17601                              2151    10/28/2013   Exide Technologies, LLC             $99,044.79                                                                                     $99,044.79
MARTHA RAMOS MARQUEZ
507 AMALIA AVE
LOS ANGELES, CA 90022                            2152    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
HENRY DAWKINS
815 E 77TH ST
LOS ANGELES, CA 90001-2816                       2153    10/28/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00

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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
CESAR RAMOS
507 AMALIA AVE
LOS ANGELES, CA 90022                             2154    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
DAVID SANCHEZ
3052 WYNWOOD LANE #4
LOS ANGELES, CA 90023                             2155    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ACUNA, LEOPOLDO
104 CATHY ANN DR
READING, PA 19606-2409                            2156    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SHIELDS ELECTRONICS SUPPLY INC
PO BOX 1388
BRISTOL, VA 24203-1388                            2157    10/28/2013   Exide Technologies, LLC               $88.90                                                         $0.00                             $88.90
IMS COMPANY
10373 STAFFORD
CHAGRIN FALLS, OH 44023                           2158    10/28/2013   Exide Technologies, LLC            $1,076.65                                                                                        $1,076.65
USELTON, BETTY
700 HARVARD AVENUE
FT. SMITH, AR 72940                               2159    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
RUNKLE, MARY
620 WISTERIA AVE
READING, PA 19606-3481                            2160    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RUNKLE, CARL
620 WISTERIA AVE
READING, PA 19606-3481                            2161    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WASHINGTON, PENNY
171 SWEET HOME CHURCH RD
PEARL, MS 39208-9141                              2162    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ELLIS, MICHAEL
515 ROBERT TAYLOR RD
LAGRANGE, GA 30240-9030                           2163    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BOYKIN, RODNEY
2819 W MOUNTAIN CREEK RD
FLORENCE, MS 39073-8543                           2164    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CARTER, LEWIS
208 BROWN HILL RD
FLORENCE, MS 39073-8595                           2165    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MAYBERRY, FRAZE
213 TRAYLOR RD
FLORENCE, MS 39073-8455                           2166    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ZOLA DAVIS
204 TULSA ST
PEARL, MS 39208-9652                              2167    10/28/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
WASHINGTON, JEANETTE
167 SWEET HOME CHURCH RD
PEARL, MS 39208-9141                              2168    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PEOPLECLICK, INC. (PEOPLEFLUENT)
434 FAYETTEVILLE STREET, 9TH FLOOR
RALEIGH, NC 27601                                 2169    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
SCHROEDER, JOHN
200 OCEAN AVE
MASSAPEQUA, NY 11758-6511                         2170    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
STAMATIS, CATHY
8833 KERR-ROSEMARK RD
ROSEMARK, TN 38053                                2171    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
PALLADINO, ROBERT & ANTONELLA
ATTN ROBERT PALLADINO
2225 ESPLANADE AVE
BRONX, NY 10469-5405                              2172    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
PALLADINO, ANTONELLA
C/O ROBERT PALLADINO
2225 ESPLANADE AVE
BRONX, NY 10469-5405                              2173    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
PULASKI COUNTY TREASURER
PO BOX 430
LITTLE ROCK, AR 72203-8101                        2174    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SHESTAKOFSKY, W D DOUGLAS & ALISON
4 JENNIFER CT
NEW PALTZ, NY 12561-4310                          2175    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
BRENTWOOD INDUSTRIES INC
ATTN JASON BAUDER
PO BOX 605
READING, PA 19603-0605                            2176    10/28/2013   Exide Technologies, LLC            $15,458.32                                                                                      $15,458.32
UNITED PROCESS CONTROL
324 COURTYARD DR
HILLSBOROUGH, NJ 08844-4253                       2177    10/28/2013   Exide Technologies, LLC             $6,560.00                                                        $0.00                          $6,560.00
GRAY, LONIA
ROUTE 2, BOX 285 BC
PRENTISS, MS 39474                                2178    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, MORESS
129 MANDY DR
BRANDON, MS 39042-8975                            2179    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PONTRELLA, FRANCES
643 HILLCREST AVE
MORRISVILLE, PA 19067-2212                        2180    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BR WELDING SUPPLY LLC DBA TNT BATON ROUGE
4709 BLUEBONNET BLVD STE A
BATON ROUGE, LA 70809                             2181    10/28/2013   Exide Technologies, LLC              $774.42                                                                                          $774.42
PEARSON, MELVIN
116 RICE ST
GREENVILLE, SC 29605-2029                         2182    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ZEBROWSKI, JOSEPH A
4185 WATERFORD DR
CENTER VALLEY, PA 18034                           2183    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ZEBROWSKI, JOSEPH A
4185 WATERFORD DR
CENTER VALLEY, PA 18034                           2184    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
FISHER, EUGENE
3303 S EWING AVE
DALLAS, TX 75216-5220                            2185    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
D'S WEED & PEST CONTROL - SALINA
616 W CRAWFORD ST
SALINA, KS 67401-4702                            2186    10/28/2013   Exide Technologies, LLC            $4,645.34                                                                                         $4,645.34
WELLS, WALTER
6101 N 59TH PL
PARADISE VALLEY, AZ 85253-8010                   2187    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GRAPHIC ART (CAMBRID)
21-25 UNION LANE
CAMBRIDGE CB4 1PR, UNITED KINGDOM

UNITED KINGDOM                                   2188    10/28/2013   Exide Technologies, LLC            $1,917.41                                                                            $0.00        $1,917.41
WILLIAM R WATSON & SHARON L WATSON
9 MAY APPLE WAY
LANDRUM, SC 29356                                2189    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
HARVAN, CYRIL
79 LEGACY BLVD APT 100
SINKING SPG, PA 19608-2160                       2190    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
RIEKES EQUIPMENT COMPANY
ATTN CREDIT
6703 L STREET
OMAHA, NE 68117                                  2191    10/28/2013   Exide Technologies, LLC            $1,242.55                                                                                         $1,242.55
LAURY, YVONIA
5150 GINGER ST
JACKSON, MS 39209-3129                           2192    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
DRUMMOND, ISRAEL
141 DRUMMOND RD
MENDENHALL, MS 39114-4348                        2193    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
FRANCES VALDEZ
4927 KINSIE ST
COMMERCE, CA 90040                               2194    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
PRESCOTECH INCORPORATED
3233 SOUTH ZERO
FORT SMITH, AR 72901                             2195    10/28/2013   Exide Technologies, LLC            $7,551.48                                                                                         $7,551.48
KOPPEL, JACK S
9601 SUNRISE LAKES BLVD
SUNRISE, FL 33322                                2196    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
DANIELL BATTERY MANUFACTURING CO., INC.
PO BOX 15349
BATON ROUGE, LA 70895                            2197    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
TRG
9440 E SOUTH KIPP RD
GYPSUM, KS 67448-9709                            2198    10/28/2013   Exide Technologies, LLC              $910.00                                                                                           $910.00
REED, BILLY
614 HILLTOP CIRCLE
CHANDLER, TX 75758                               2199    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
PRICE, BARBARA
1725 CHEROKEE ST
LEAVENWORTH, KS 66048-2232                       2200    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HEMI - SENECA
898 SWY 36
SENECA, KS 66538                                 2201    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MONROE, JOSEPH
1609 63RD ST SE # A
EVERETT, WA 98203-4612                           2202    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAMS, JOHN
4626 WYNNDALE RD
TERRY, MS 39170-7772                             2203    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAVIEN COLE
C/O THE SANTILLI LAW GROUP, LTD
111 W WASHINGTON ST, STE 1240
CHICAGO, IL 60602                                2204    10/28/2013   Exide Technologies, LLC            $20,000.00                                                                                      $20,000.00
JONATHON WHITE
C/O THE SANTILLI LAW GROUP, LTD
111 W WASHINGTON ST, STE 1240
CHICAGO, IL 60602                                2205    10/28/2013   Exide Technologies, LLC            $20,000.00                                                                                      $20,000.00
BOBBY BOYD
C/O THE SANTILLI LAW GROUP, LTD
111 W WASHINGTON ST, STE 1240
CHICAGO, IL 60602                                2206    10/28/2013   Exide Technologies, LLC            $20,000.00                                                                                      $20,000.00
ALBERT ATKINS
C/O THE SANTILLI LAW GROUP, LTD
111 W WASHINGTON ST, STE 1240
CHICAGO, IL 60602                                2207    10/28/2013   Exide Technologies, LLC            $20,000.00                                                                                      $20,000.00
BOLIN AUTO & TRUCK PARTS INC
PO BOX 3275
1211 SOUTH 10TH
SAINT JOSEPH, MO 64503-0275                      2208    10/28/2013   Exide Technologies, LLC             $1,188.83                                                    $1,558.47                          $2,747.30
ELMORE BUILDING SERVICES - RAYMORE
213 S JEFFERSON ST
RAYMORE, MO 64083-9704                           2209    10/28/2013   Exide Technologies, LLC             $6,177.80                                                                                       $6,177.80
GRAFIKA COMMERCIAL PRINTING, INC.
GRAFIKA PLACE
710 JOHNSTON STREET
SINKING SPRING, PA 19608                         2210    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SINNK, CHESTER
62 HOOVER CT
BOYERTOWN, PA 19512-1707                         2211    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MCCABE III, JOSEPH M
C/O OREDIA W WESTBURY, POA
103 PECAN GROVE LN
FT MOTTE, SC 29135-8871                          2212    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
JOSEPH M MCCABE III IRA
C/O OREDIA W WESTBURY, POA
103 PECAN GROVE LN
FT MOTTE, SC 29135-8871                          2213    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00

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                                                                                                         Current General                                               Current 503(b)(9)
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               Creditor Name and Address               Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
KRIZ DAVIS CO
PO BOX 767
232 N THIRD ST
SALINA, KS 67402-0767                                    2214    10/28/2013   Exide Technologies, LLC               $779.97                                                      $582.65                          $1,362.62
KRIZ-DAVIS COMPANY
PO BOX 125
SAINT JOSEPH, MO 64502                                   2215    10/28/2013   Exide Technologies, LLC              $5,244.81                                                   $5,892.95                         $11,137.76
CUNNINGHAM, TIMOTHY J
2924 PROMONTORY LOOP
BROOKFIELD, CO 80023                                     2216    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
AGEE, KENNETH
20 FRIARTUCK RD
GREENVILLE, SC 29607-2808                                2217    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RAFAEL GALINDO III
4927 KINSIE ST
COMMERCE, CA 90040                                       2218    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CARLOS VALDEZ III
4927 KINSIE ST
COMMERCE, CA 90040                                       2219    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
PATEL, GAUTAM R
4801 - 24TH ST
DICKINSON, TX 77539                                      2220    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
YALE EQUIPMENT & SER
W136 N4901 CAMPBELL DRIVE
MENOMONEE FALLS, WI 53051                                2221    10/28/2013   Exide Technologies, LLC               $852.26                                                                                         $852.26
SHARP BUSINESS SYSTEMS WAS/DOCUTEAM
DEPT 1212
PO BOX 121212
DALLAS, TX 75312-1212                                    2222    10/28/2013   Exide Technologies, LLC               $178.86                                                        $0.00                            $178.86
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF BDC
INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                            2223    10/28/2013   Exide Technologies, LLC             $27,377.83                                                   $1,755.01                         $29,132.84
MERRILL, LINDA
4221 FAIRVIEW ROAD
ELLENSBURG, WA 98926                                     2224    10/28/2013   Exide Technologies, LLC               $497.18                                                                                         $497.18
SPURGEON, MARK
1533 NE SOUTH NEBERGALL LOOP
ALBANY, OR 97321-1572                                    2225    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALICIA GAROFALO
1816 SCHOOL RD
CARROLLTON, TX 75006-7542                                2226    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
EQ-ENVIRONMENTAL QUALITY COMPANY
17440 COLLEGE PKWY #300
LIVONIA, MI 48152-2363                                   2227    10/29/2013   Exide Technologies, LLC            $142,196.78                                                                                    $142,196.78




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
ACCUMA CORPORATION
C/O MOORE & VAN ALLEN PLLC
ATTN LUIS M LLUBERAS
100 N TRYON ST STE 4700
CHARLOTTE, NC 28202                              2228    10/29/2013   Exide Technologies, LLC            $521,822.67                $0.00                            $264,913.13                        $786,735.80
BIBEAU, RICHARD
945 ELLEN CT
NEWPORT, MN 55055-1530                           2229    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAKOTA STAFFING SOLUTIONS, INC-BISMARCK
1310 E BOULEVARD AVE STE 6
BISMARCK, ND 58501-4204                          2230    10/29/2013   Exide Technologies, LLC             $11,506.44                                                                                     $11,506.44
ELSIE CARNEAL
113 EDELEN ST
VINE GROVE, KY 40175-1511                        2231    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CARROLL R WETZEL JR
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                 2232    10/29/2013   Exide Technologies, LLC             $11,000.00                                                                                     $11,000.00
HARVIN, THOMAS
1095 THOMAS HARVIN CIR
MANNING, SC 29102-4758                           2233    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PEARSON JR., RICHARD
9756 SILVER RD
MANNING, SC 29102-8252                           2234    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PEARSON, MARY
9756 SILVER RD
MANNING, SC 29102-8252                           2235    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ARGONAUT INSURANCE COMPANY
C/O WOLFF & SAMSON PC
ATTN JONATHAN BONDY, ESQ
1 BOLAND DR
WEST ORANGE, NJ 07052                            2236    10/29/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
LESHER LEASING INC - LEBANON
2700 CUMBERLAND STREET
LEBANON, PA 17042                                2237    10/29/2013   Exide Technologies, LLC              $1,478.33                                                       $0.00                          $1,478.33
DAMASKA, PHILLIP
13240 OWENS WAY
ALPHARETTA, GA 30004-7358                        2238    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MARTIN, LUKE
5 BON AIRE TER
PITTSTON, PA 18640-3202                          2239    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AVNET INC.
5400 PRAIRIE STONE PKWY
HOFFMAN ESTATES, IL 60192                        2240    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HART, LINDA
614 WHITE ROCK RD
GREENWOOD, AR 72936-8250                         2241    10/29/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
VELOCITY TECHNOLOGY SOLUTIONS WAS/WTS
ATTN BRYAN CONLEY, CFO
1100 OLIVE WAY STE 1100
SEATTLE, WA 98101-1870                           2242    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FREE FLOW-ROCKFORD LLC
MICHAEL SLATTERY
9918 NORTH ALPINE ROAD
MACHESNEY PARK, IL 61115                         2243    10/29/2013   Exide Technologies, LLC             $60,075.00                                                                                     $60,075.00
BUCKLEY, WANDA
444 BUCKLEY RD
HARRISVILLE, MS 39082-4156                       2244    10/29/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
CALDWELL, DAVID NEVIN
2613 BRANSTON WAY
APEX, NC 27539-6211                              2245    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CALDWELL, DAVID
2613 BRANSTON WAY
APEX, NC 27539-6211                              2246    10/29/2013   Exide Technologies, LLC            $100,000.00                                                                                    $100,000.00
C & W LEASING CORP - ABILENE
PO BOX 929
ABILENE, TX 79604-0929                           2247    10/29/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
ALL4 INC.
2393 KIMBERTON ROAD
KIMBERTON, PA 19442                              2248    10/29/2013   Exide Technologies, LLC              $9,444.35                                                       $0.00                          $9,444.35
ROSS, JOHN
6406 RHAPSODY LN
DALLAS, TX 75241-2626                            2249    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RIDDLEBARGER, BARBARA
32 POPLAR DR
ZANESVILLE, OH 43701-6322                        2250    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
COKINOS ENERGY CORP - HOUSTON
5718 WESTHEIMER RD STE 900
HOUSTON, TX 77057-5757                           2251    10/29/2013   Exide Technologies, LLC             $66,992.47                                                  $65,356.88                        $132,349.35
LOS ANGELES CENTER FOR LAW AND JUSTICE
ATTN HELLEN HONG, ESQ
1241 S SOTO ST STE 102
LOS ANGELES, CA 90023                            2252    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CHUNMAN YU
8920 MERION DR
DULUTH, GA 30097                                 2253    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FLOW SYSTEMS LLC
ATTN DREW BARRETT
2658 BROOKFORD DR
TOLEDO, OH 43614                                 2254    10/29/2013   Exide Technologies, LLC             $62,487.17                                                                                     $62,487.17
WATSON, DAVID
PO BOX 10281
JACKSON, MS 39289-0281                           2255    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MULLARKY, EDWARD
1127 EDGCUMBE RD
SAINT PAUL, MN 55105-2831                        2256    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00


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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                        Amount                                                       Amount
MAINTENANCE 51 - ARNPRIOR
35 MAPLE DRIVE
ARNPRIOR ON K7S 3R8

CANADA                                              2257    10/29/2013   Exide Technologies, LLC              $4,988.53                                                    $176.88                           $5,165.41
CULLUM & BROWN OF WICHITA INC
3717 N RIDGEWOOD ST
WICHITA, KS 67220-4418                              2258    10/29/2013   Exide Technologies, LLC             $27,535.00                                                                                     $27,535.00
ALLAN DUBOSE
345 CRAIG CIR
HIGHLAND VILLAGE, TX 75077                          2259    10/29/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
K A STEEL CHEMICALS - CHICAGO
C/O JENNER & BLOCK
ATTN MELISSA M HINDS
353 N CLARK ST
CHICAGO, IL 60654-3456                              2260    10/29/2013   Exide Technologies, LLC             $37,488.67                                                 $23,218.71                          $60,707.38
K A STEEL CHEMICALS - CHICAGO
C/O JENNER & BLOCK
ATTN MELISSA M HINDS
353 N CLARK ST
CHICAGO, IL 60654-3456                              2261    10/29/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                               $0.00
ACCUMA S P A
C/O MOORE & VAN ALLEN PLLC
ATTN LUIS M LLUBERAS
100 N TRYON ST STE 4700
CHARLOTTE, NC 28202                                 2262    10/29/2013   Exide Technologies, LLC             $21,075.71                                                  $9,770.90                          $30,846.61
RUFFNER, LORI L
217 MANOR VIEW DR
MANOR, PA 15665                                     2263    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ATTLIN CONSTRUCTION INC
PO BOX 2566
MUNCIE, IN 47307                                    2264    10/29/2013   Exide Technologies, LLC            $157,563.46                                                    $520.66                         $158,084.12
APPLIED INDUSTRIAL TECHNOLOGIES - DIXIE INC
ATTN DIANNE MISENKO, LEGAL DEPARTMENT
APPLIED INDUSTRIAL TECHNOLOGIES
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056                            2265    10/29/2013   Exide Technologies, LLC             $61,459.29                                                 $10,441.84                          $71,901.13
APPLIED INDUSTRIAL TECHNOLOGIES INC
ATTN DIANNE MISENKO
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056                            2266    10/29/2013   Exide Technologies, LLC            $500,772.55                                                $166,188.95                         $666,961.50
APPLIED INDUSTRIAL TECHNOLOGIES - PA LLC
ATTN DIANNE MISENKO
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056                            2267    10/29/2013   Exide Technologies, LLC             $17,051.93                                                  $4,646.37                          $21,698.30
APPLIED INDUSTRIAL TECHNOLOGIES CA LLC
ATTN DIANNE MISENKO
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056                            2268    10/29/2013   Exide Technologies, LLC             $72,206.50                                                 $32,812.86                         $105,019.36


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                                                                                                         Amount                                                       Amount
RICHARDSON MOLDING INCORPORATED
ROGER WINSLOW
PO BOX 288
607 W JEFFERSON
CORYDON, IA 50060                                    2269    10/29/2013   Exide Technologies, LLC        $2,116,988.39                                                  $650,039.12                       $2,767,027.51
SEMINOLE ENERGY SERVICES LLC
C/O BURNHAM LAW ASSOCIATES LLC
ATTN NOEL C BURNHAM
10 BERGER CT
MIDDLETOWN, DE 19709                                 2270    8/22/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
SEMINOLE ENERGY SERVICES LLC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                        2270    10/29/2013   Exide Technologies, LLC                                                                        $83,857.89                         $83,857.89
TRIUMVIRATE ENVIRONMENTAL INC
POSTERNAK BLANKSTEIN & LUND LLP
ATTN DAVID J. REIR
800 BOYLSTON STREET
BOSTON, MA 02199-8004                                2271    10/29/2013   Exide Technologies, LLC             $23,807.19                                                      $0.00                         $23,807.19
QUALTUM
PATRICIA ALVARADO
HIMALAYA 7301078216
SAN LUIS POSI, MEXICO

MEXICO                                               2272    10/29/2013   Exide Technologies, LLC              $6,768.33                $0.00                                                                $6,768.33
ERIE COKE CORPORATION
C/O PEPPER HAMILTON LLP
ATTN HENRY JAFFE, ESQ
1313 N MARKET ST, PO BOX 1709
WILMINGTON, DE 19899-1709                            2273    10/29/2013   Exide Technologies, LLC                                                                       $102,047.25                        $102,047.25
NL INDUSTRIES INC
C/O LAW OFFICES OF JOEL L HERZ
3573 E SUNRISE DR STE 215
TUCSON, AZ 85718                                     2274    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BARBARA A HATCHER
3180 MATHIESON DR NE UNIT 512
ATLANTA, GA 30305-1865                               2275    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HATCHER, BARBARA
3180 MATHIESON DR NE UNIT 512
ATLANTA, GA 30305-1865                               2276    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BARBARA A HATCHER
3180 MATHIESON DRIVE NE
UNIT 512
ATLANTA, GA 30305                                    2277    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KALTER, BRAD
100 CLUB FALLS DR
ALPHARETTA, GA 30022-3247                            2278    10/29/2013   Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00




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                                                                                                     Amount                                                        Amount
KALTER, BRAD
100 CLUB FALLS DRIVE
ALPHARETTA, GA 30022                             2279    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
REARDON PALLET COMPANY INC.-KANSAS CITY
1600 W 8TH STREET
PO BOX 025610
KANSAS CITY, MO 64102                            2280    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AITCHISON RICHMOND SUPPLY CO
502 SYLVANIE ST
SAINT JOSEPH, MO 64501-2124                      2281    10/29/2013   Exide Technologies, LLC            $14,492.59                                                    $2,288.96                         $16,781.55
FORD & HARRISON LLP - ATLANTA
271 17TH ST NW STE 1900
ATLANTA, GA 30363-6202                           2282    10/29/2013   Exide Technologies, LLC            $33,857.44                                                                                      $33,857.44
GEORGE AND MARGARITA ALVARADO
PO BOX 143
BELL, CA 90201                                   2283    10/29/2013   Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
RODNEY R FLYNT
C/O RICHARD L HANNA
500 S TAYLOR LB 222
AMARILLO, TX 79101                               2284    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STABIO - FERRIERE DI STABIO
C/O GIBBONS P.C.
ATTN: DAVID N. CRAPO
ONE GATEWAY CENTER
NEWARK, NJ 07102-5310                            2285    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GEORGIA INSTITUTE OF TECHNOLOGY
ATTN JOY-LUPO, LEGAL AFFAIRS
760 SPRING ST NW STE 324
ATLANTA, GA 30332-0495                           2286    10/29/2013   Exide Technologies, LLC            $18,400.00                                                                                      $18,400.00
FMC CORPORATION
C/O CURTIN & HEEFNER LLP
ATTN ROBERT SZWAJKOS, ESQ
250 PENNSYLVANIA AVE
MORRISVILLE, PA 18940                            2287    10/29/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
MICHAEL L WOLLOVER
1 HILLCREST AVE APT 309
MORRISVILLE, PA 19067                            2288    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BROWDER, LEAMON
3806 CLEVELAND ST
SHREVEPORT, LA 71109-7322                        2289    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RYAN, GEORGE
918 GRAND AVE
LEAVENWORTH, KS 66048-3002                       2290    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHORES, WALTER
337 BOOKER LN
MADISON HEIGHTS, VA 24572-4019                   2291    10/29/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
SHAY, ROBERT J
2 WINGED FOOT
MARTINEZ, GA 30907                               2292    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
HENDRICKS, PATSY
22550 WELLS CREEK RD
PHILOMATH, OR 97370-9109                        2293    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DAVID CORTES
3227 E EAGLE ST
LOS ANGELES, CA 90063-3120                      2294    10/29/2013   Exide Technologies, LLC                                                                             $0.00                              $0.00
WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050-2822                     2295    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NEILL, TIMOTHY
C/O WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050                          2296    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050-2822                     2297    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MORTON, LANCE
C/O WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050                          2298    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
WHIPPLE LAW FIRM, PC
201 N SPRING ST
INDEPENDENCE, MO 64050-2822                     2299    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PAUL E SCHAWANG
C/O WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050-2822                     2300    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORTHEAST IOWA COMMUNITY COLLEGE
PO BOX 400
CALMAR, IA 52132-0400                           2301    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LEE, JOSEPH
27228 BELLFOUNTAIN RD
MONROE, OR 97456-9766                           2302    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LEE, D
27228 BELLFOUNTAIN RD
MONROE, OR 97456-9766                           2303    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MCLENDON, CLARA
210 KITETOWN RD
SEALE, AL 36875-5719                            2304    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ROY TUTOR JR
4960 QUINCE RD
MEMPHIS, TN 38117-6626                          2305    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
UGI UTILITIES
225 MORGANTOWN RD
READING, PA 19612                               2306    10/29/2013   Exide Technologies, LLC            $7,661.46                                                                                       $7,661.46
WILLIAMS, ROGERT
1184 BARNETT BEND DR
BRANDON, MS 39047-8726                          2307    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
SZEMBORSKI, RUTH
500 SYCAMORE LN
APT 107
WOODSTOCK, GA 30188-7320                        2308    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GUSTAVO ROBLES
2512 CUDAHY ST
HUNTINGTON PARK, CA 90255-6644                  2309    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MARIA ROBLES
1319 E 78TH ST
LOS ANGELES, CA 90001-3015                      2310    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
SIBOLD, LINDA
2000 NW 62ND ST
KANSAS CITY, MO 64151-2375                      2311    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
IRENE VALDEZ
4927 KINSIE ST
COMMERCE, CA 90040                              2312    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CARLOS VALDEZ JR
4927 KINSIE ST
COMMERCE, CA 90040-1107                         2313    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
DAMIEN L VALDEZ
4927 KINSIE ST
COMMERCE, CA 90040-1107                         2314    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
HAMILTON NORMAN, W
12480 ANDERSON RD
INDEPENDENCE, OR 97351-9701                     2315    10/29/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WESCOE, EVAN
3907 W WALNUT ST
ALLENTOWN, PA 18104-5813                        2316    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RAWLS, JOHN
6466 BAIN BLVD
KEITHVILLE, LA 71047-7913                       2317    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RESOURCE FLOORCARE INC - CUMMING
PO BOX 763
CUMMING, GA 30028-0763                          2318    10/29/2013   Exide Technologies, LLC            $6,060.00                                                                                        $6,060.00
KEITH, GREGORY
3206 ELM AVE
BRIGHTON, IA 52540-9657                         2319    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BASHAW, TIMOTHY
230 W DAVENPORT DR
MERIDIAN, ID 83642-6575                         2320    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BENUSA, JOYCE
6833 WENTWORTH AVE
RICHFIELD, MN 55423-2362                        2321    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PIERCE, LINDA
4100 RIDGECREST TRL
CARROLLTON, TX 75007-1626                       2322    10/29/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
KONECRANES INC
ATTN KAREN MOORE
4401 GATEWAY BLVD
SPRINGFIELD, OH 45502                           2323    10/29/2013   Exide Technologies, LLC            $2,964.00                                                                                        $2,964.00

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
NELSON, DALE
27628 QUE AVE
LINDSTROM, MN 55045-9085                         2324    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
AT&T CORP
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY, RM 3A104
BEDMINSTER, NJ 07921                             2325    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AINSWORTH, HENRY
451 FOSTER RD
FLORENCE, MS 39073-9018                          2326    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HEARD, SADIE
430 LIVINGSTON VERNON RD
FLORA, MS 39071-9401                             2327    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BALL, PATRICIA
117 PINE PARK DR
FLORENCE, MS 39073-9498                          2328    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CURTIS PERRY & GUADALUPE PERRY
2551 IOWA AVE
SOUTH GATE, CA 90280-3911                        2329    10/29/2013   Exide Technologies, LLC                                $100,000.00                                                               $100,000.00
FRONK, CHARLES
60 CEMETERY RD
MOSCOW, PA 18444-6050                            2330    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
GLASER WILLIAMS
1125 JOHN L WILLIAMS
EUDORA, KS 66025                                 2331    10/29/2013   Exide Technologies, LLC            $122,624.43                                                                                   $122,624.43
CASTILLO, AURELIO
2539 E PRAIRIE WOOD CT
FRANKFORT, IN 46041-6971                         2332    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
POSTON, CHARLES
8911 STATE HIGHWAY 243
WILLS POINT, TX 75169-8405                       2333    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
CASTILLO, VICTOR
700 E KELLEY RD
FRANKFORT, IN 46041-8876                         2334    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GONZALES, JOE
1307 W JEFFERSON ST
FRANKFORT, IN 46041-1545                         2335    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MCLEARY, THOMAS
1808 OSBORNE STREET
HUMBOLDT, TN 38343                               2336    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SMITH, RODNEY
404 FORD DR
PETAL, MS 39465-2726                             2337    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SEBER, KENNETH
1105 S BROADWAY ST
LEAVENWORTH, KS 66048-3115                       2338    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOGAN, KENNETH
206 O C KITCHENS DR
FLORENCE, MS 39073-7906                          2339    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00

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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
CANNON SR, J.C.
215 OC KITCHENS ROAD
FLORENCE, MS 39073                                       2340    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MID KANSAS COOPERATIVE ASSOCIATION
BRENT HEIZELMAN
P.O BOX D
MOUNDRIDGE, KS 67107                                     2341    10/29/2013   Exide Technologies, LLC            $67,451.13                                                   $18,751.44                         $86,202.57
MAYES, IRMA
163 SPRING HILL DR
FLORENCE, MS 39073-8698                                  2342    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RYMOND, RICHARD
6136 RUNNYMEADE DR
CANTON, MI 48187-2842                                    2343    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LIFT, INC.
ATTN NANCY LEWIS, CREDIT MANAGER
3745 HEMPLAND RD
MOUNTVILLE, PA 17554                                     2344    10/29/2013   Exide Technologies, LLC            $43,070.10                                                                                      $43,070.10
BEARDSLEY, EARL
1119 METROPOLITAN AVE
LEAVENWORTH, KS 66048-1250                               2345    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
EARL BEARDSLEY
1119 METROPOLITAN AVE
LEAVENWORTH, KS 66048-1250                               2346    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLINE D THOMAS
708 E 73RD ST
LOS ANGELES, CA 90001-2304                               2347    10/29/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
COLEMAN, BETTY
PO BOX 846
POCOLA, OK 74902-0846                                    2348    10/29/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
O'MALLEY, BERNARD
681 S TANNER AVE
KANKAKEE, IL 60901-3143                                  2349    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SMITH JR, HAROLD H
2023 E 230 S
SPANISH FORK, UT 84660                                   2350    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HONEYWELL INTERNATIONAL INC
ATTN THOMAS BYRNE
CHIEF ENVIRONMENTAL COUNSEL
101 COLUMBIA RD
MORRISTOWN, NJ 07962                                     2351    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JAIME CORTEZ
LARRY BENDESKY, BRIAN E. FRITZ, WILLIAM A. WEISS
C/O SALTZ, MONGELUZZI, BARRETT & BENDESKY, P.C.
ONE LIBERTY PLACE, 52ND FLOOR, 1650 MARKET ST.
PHILADELPHIA, PA 19103                                   2352    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
US BANK N A AS TTEE FOR THE FLOATING RATE
CONVERTIBLE SENIOR SUBORDINATED NOTES DUE 2013
C/O ARENT FOX LLP
ATTN LEAH M EISENBERG, ESQ
1675 BROADWAY
NEW YORK, NY 10019                                     2353    10/30/2013   Exide Technologies, LLC       $51,900,000.00                                                                                   $51,900,000.00
ORACLE AMERICA INC SUCCESSOR IN INTEREST TO
ORACLE USA INC ("ORACLE")
C/O BUCHALTER NEMER PC
ATTN SHAWN M CHRISTIANSON, ESQ
55 SECOND ST 17TH FL
SAN FRANCISCO, CA 94105                                2354    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ORACLE CREDIT CORPORATION
C/O BUCHALTER NEMER PC
ATTN SHAWN M CHRISTIANSON, ESQ
55 SECOND ST 17TH FL
SAN FRANCISCO, CA 94105                                2355    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00

SALEM LEASING CORPORATION DBA SALEM NATIONALEASE
C/O SCHREEDER WHEELER & FLINT LLP
ATTN J CAROLE THOMPSON HORD
1100 PEACHTREE ST NE STE 800
ATLANTA, GA 30309-4516                                 2356    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CENTERLINE DRIVERS, LLC
C/O TRUEBLUE INC
PO BOX 2910
TACOMA, WA 98401-2910                                  2357    10/30/2013   Exide Technologies, LLC            $15,332.16                                                                                     $15,332.16
LABOR READY TRUE BLUE
ALAN YOST
4315 W. CLARA LN.
MUNCIE, IN 47304                                       2358    10/30/2013   Exide Technologies, LLC            $21,642.99                                                                                     $21,642.99
PINNACLE LOGISTICS
ATTN: DEEDEE HOLDERBY
PO BOX 180714
FORT SMITH, AR 72918                                   2359    10/30/2013   Exide Technologies, LLC            $91,954.17                                                       $0.00                         $91,954.17
H CLYDE SAYLOR AKA CLYDE SAYLOR
C/O APPEL & YOST LLP
ATTN ERIK D SPURLIN
33 N DUKE ST
LANCASTER, PA 17602                                    2360    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MOBILITY MATTERS LLC
24 WOODSTOCK RD STE 200
ROSWELL, GA 30075-3594                                 2361    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RICHARD KANOSKI
C/O BAILEY PEAVY BAILEY PLLC
440 LOUISIANA ST STE 2100
HOUSTON, TX 77002                                      2362    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                            Amount                                                        Amount
DAPHNE NESS
C/O BAILEY PEAVY BAILEY PLLC
440 LOUISIANA ST STE 2100
HOUSTON, TX 77002                                       2363    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
SEBER, ROBERT
19921 SPRINGDALE RD
LEAVENWORTH, KS 66048-7624                              2364    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
LEGAL AID FOUNDATION OF LOS ANGELES
ATTN SILVIA ARGUETA
1102 CRENSHAW BLVD
LOS ANGELES, CA 90019                                   2365    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
MOBILE DREDGING & PUMP
3100 BETHEL RD
CHESTER, PA 19013-1488                                  2366    10/30/2013   Exide Technologies, LLC             $34,466.50                                                                                      $34,466.50
ALMEGA ENVIRONMENTAL & TECHNICAL SERVICE
10602 WALKER STREET
CYPRESS, CA 90630                                       2367    10/30/2013   Exide Technologies, LLC              $5,471.25                                                                                       $5,471.25
POLYTRON INC.
3300 BRENKENRIDGE BLVD. SUITE 100
DULUTH, GA 30096                                        2368    10/30/2013   Exide Technologies, LLC                                                    $103,400.00                                             $103,400.00
AMES PROPERTIES, LLC
JEFF SOWADA
PO BOX 398
HUGO, MN 55038                                          2369    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PAPP, JOHN
6403 AYLESWORTH DR
CLEVELAND, OH 44130-3104                                2370    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF NATIONAL
RUBBER TECHNOLOGIES
ONE UNIVERSITY PLAZA
SUITE 312
HACKENSACK, NJ 07601                                    2371    10/30/2013   Exide Technologies, LLC             $45,326.49                                                                                      $45,326.49
TEXTRON INC (DBA "E-Z-GO")
E-Z-GO A DIVISION OF TEXTRON INC
C/O FLETCHER C THOMSON
40 WESTMINSTER ST
PROVIDENCE, RI 02903                                    2372    10/30/2013   Exide Technologies, LLC             $94,337.70                $0.00              $0.00           $6,240.00              $0.00      $100,577.70
ANIXTER INC
C/O THOMPSON HINE LLP
ATTN JEREMY M CAMPANA, ESQ
3900 KEY CENTER
127 PUBLIC SQUARE
CLEVELAND, OH 44111                                     2373    10/30/2013   Exide Technologies, LLC            $148,337.75                                                  $51,262.55                         $199,600.30
AIRGAS
PO BOX 532609
ATLANTA, GA 30353-2609                                  2374    10/30/2013   Exide Technologies, LLC             $70,755.42                                                   $7,628.76                          $78,384.18




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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                              Amount                                                       Amount
AIRGAS
ATTN CHANOA MERRICK
2015 VAUGHN RD
BUILDING 400
KENNASAW, GA 30144                                        2375    10/30/2013   Exide Technologies, LLC             $3,068.39                                                                                       $3,068.39
AIRGAS MID AMERICA, INC.
PO BOX 532609
ATLANTA, GA 30353                                         2376    10/30/2013   Exide Technologies, LLC             $9,111.68                                                                                       $9,111.68
PENSION BENEFIT GUARANTY CORPORATION
ATTN COURTNEY L HANSEN, ESQ
OFFICE OF THE CHIEF COUNSEL
1200 K ST NW STE 340
WASHINGTON, DC 20005-4026                                 2377    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                    $0.00            $0.00
PENSION BENEFIT GUARANTY CORPORATION
ATTN COURTNEY L HANSEN, ESQ
OFFICE OF THE CHIEF COUNSEL
1200 K ST NW STE 340
WASHINGTON, DC 20005-4026                                 2378    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                    $0.00            $0.00
PENSION BENEFIT GUARANTY CORPORATION
ATTN COURTNEY L HANSEN, ESQ
OFFICE OF THE CHIEF COUNSEL
1200 K ST NW STE 340
WASHINGTON, DC 20005-4026                                 2379    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                    $0.00            $0.00

TRC MASTER FUND LLC AS TRANSFEREE OF HINDLE POWER INC
ATTN TERREL ROSS
PO BOX 633
WOODMERE, NY 11598                                        2380    10/30/2013   Exide Technologies, LLC               $53.97                                                   $61,791.00                          $61,844.97
HINDLE POWER INC
1075 ST JOHN STREET
EASTON, PA 18042-6661                                     2380    10/30/2013   Exide Technologies, LLC            $61,957.36                                                                                      $61,957.36
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
PENN-AIR & HYDRAULICS CORPORATION
PO BOX 237037
NEW YORK, NY 10023                                        2381    10/30/2013   Exide Technologies, LLC             $4,109.44                                                   $1,345.19                           $5,454.63
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
GODFREY'S INDOOR
PO BOX 237037
NEW YORK, NY 10023                                        2382    10/30/2013   Exide Technologies, LLC                                                                           $710.16                             $710.16
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
PRECISION AUTO PARTS
PO BOX 237037
NEW YORK, NY 10023                                        2383    10/30/2013   Exide Technologies, LLC                                                                           $880.23                             $880.23
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
TOWN OF SANDWICH
PO BOX 237037
NEW YORK, NY 10023                                        2384    10/30/2013   Exide Technologies, LLC                                                                           $777.00                             $777.00
AIR PRODUCTS & CHEMICALS
7201 HAMILTON BLVD A6315
ALLENTOWN, PA 18195                                       2385    10/30/2013   Exide Technologies, LLC            $10,256.50                                                   $1,531.57                          $11,788.07

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
NATIONAL AUTOMOTIVE PARTS ASSOCIATION &
GENUINE PARTS COMPANY
C/O BARACK FERRAZZANO KIRSCHBAUM ET AL
ATTN KIMBERLY J ROBINSON
200 W MADISON ST STE 3900
CHICAGO, IL 60606                                2386    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JONES DAY - ATLANTA
ATTN BRETT J BERLIN
1420 PEACHTREE ST NE STE 800
ATLANTA, GA 30309                                2387    10/30/2013   Exide Technologies, LLC        $1,459,970.43                                                                                    $1,459,970.43
MORRISON TRUCKING
PO BOX 171
ALBURNETT, IA 52202                              2388    10/30/2013   Exide Technologies, LLC            $26,926.45                                                                                     $26,926.45
HOWELL, J
1130 SE RIVERGREEN AVE
CORVALLIS, OR 97333-9289                         2389    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HALLADAY, PAMELA
4565 VANADIUM BND
CUMMING, GA 30040-8895                           2390    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
EUGENE R. SHIPPEN, M.D.
1124 OLD MILL RD
WYOMISSING, PA 19610-2526                        2391    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ARNOLD FAMILY CORONA LLC
24332 SANTA CLARA AVE
DANA POINT, CA 92629-3016                        2392    10/30/2013   Exide Technologies, LLC             $5,655.60                                                                                      $5,655.60
ARNOLD FAMILY CORONA LLC
24332 SANTA CLARA AVE
DANA POINT, CA 92629-3016                        2393    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PRUDE, MICHAEL
317 N GREENWOOD AVE
KANKAKEE, IL 60901-4037                          2394    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ANDERSON, CHARLES
484 N HAMMES AVE
KANKAKEE, IL 60901-2716                          2395    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HUTSON, EARL
1359B N7000W RD
BONFIELD, IL 60913                               2396    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
WALLY'S U PULL IT, INC.
2225 W NORDALE DR
APPLETON, WI 54914-1886                          2397    10/30/2013   Exide Technologies, LLC             $9,158.00                                                                                      $9,158.00
SAP AMERICA INC
C/O BROWN & CONNERY LLP
ATTN DONALD K LUDMAN, ESQ
6 N BROAD ST STE 100
WOODBURY, NJ 08096                               2398    10/30/2013   Exide Technologies, LLC            $29,212.09                                                                                     $29,212.09
KIRK M LITTRUP
PO BOX 3437
HUNTSVILLE, AL 35807                             2399    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
FOLEY & LARDNER LLP
ATTN FRANK W DICASTRI
777 E WISCONSIN AVE
MILWAUKEE, WI 53202                              2400    10/30/2013   Exide Technologies, LLC              $7,846.48                                                                                      $7,846.48
RICHARDS, BRIAN
725 CARMALT ST
SCRANTON, PA 18519-1404                          2401    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BISIGNANI, ETHEL
828 CEDAR AVE
SCRANTON, PA 18505                               2402    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MARY ROSE SAYLOR
C/O APPEL & YOST LLP
ATTN ERIK D SPURLIN
33 N DUKE ST
LANCASTER, PA 17602                              2403    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INDEPENDANT CHARGER SERVICES
366 LINDEN VALLEY ROAD
RR # 1
WOODVILLE ON K0M 2T0

CANADA                                           2404    10/30/2013   Exide Technologies, LLC             $10,515.17                                   $0.00                                             $10,515.17
SEAGATE PLASTICS COMPANY
C/O KILPATRICK & ASSOCIATES P C
903 N OPDYKE RD STE C
AUBURN HILLS, MI 48326                           2405    10/30/2013   Exide Technologies, LLC               $226.13                                                   $66,104.55                         $66,330.68
SCHIFANO, SALVATORE
PO BOX 3618
TRENTON, NJ 08629-0618                           2406    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
EAST COAST INTERNATIONAL TRUCKS
ATTN EDITH BOUCHER
100 URQUHART AVE
MONCTON NB E1H 2R5 CANADA

CANADA                                           2407    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NANNETTE EQUIHUA
1500 S DUNCAN AVE
COMMERCE, CA 90040                               2408    10/30/2013   Exide Technologies, LLC            $390,000.00                                                                                    $390,000.00
ANDRES E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                               2409    10/30/2013   Exide Technologies, LLC            $150,000.00                                                                                    $150,000.00
ROBERT E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                               2410    10/30/2013   Exide Technologies, LLC            $150,000.00                                                                                    $150,000.00
VANESSA E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                               2411    10/30/2013   Exide Technologies, LLC            $495,000.00                                                                                    $495,000.00
ALEXISS E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                               2412    10/30/2013   Exide Technologies, LLC            $150,000.00                                                                                    $150,000.00


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               Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
LINDA E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                                 2413    10/30/2013   Exide Technologies, LLC            $150,000.00                                                                                    $150,000.00
ROBERT C FIERRO
2573 BORIS AVE
COMMERCE, CA 90040-2304                            2414    10/30/2013   Exide Technologies, LLC            $345,000.00                                                                                    $345,000.00
STEVE EQUIHUA SR
1500 S DUNCAN AVE
COMMERCE, CA 90040                                 2415    10/30/2013   Exide Technologies, LLC            $225,000.00                                                                                    $225,000.00
MARTHA FIERRO
7119 E GAGE AVE APT 6
COMMERCE, CA 90040-3842                            2416    10/30/2013   Exide Technologies, LLC            $300,000.00                                                                                    $300,000.00
SIMONS TRUCKING INC
ATTN JUSTIN PHILIPP
920 SIMON DR
FARLEY, IA 52046                                   2417    10/30/2013   Exide Technologies, LLC            $288,633.92                                                                                    $288,633.92
RALPH SATHRA
52 RED RIDGE RD
LEVITTOWN, PA 19056                                2418    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ENVIRONMENTAL RECOVERY SERVICES INC
C/O ABRAMSON & BROWN
ATTN JOE R ABRAMSON, ESQ
21700 OXNARD ST STE 1770
WOODLAND HILLS, CA 91367-7594                      2419    10/30/2013   Exide Technologies, LLC            $131,482.13                                                                                    $131,482.13
RIGGINS, WELTON
3823 MUNGER AVE
DALLAS, TX 75204-4248                              2420    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INTERSTATE DIST CO
11707 21ST AVE
TACOMA, WA 98444                                   2421    10/30/2013   Exide Technologies, LLC              $1,030.05                                                                                      $1,030.05
WESTCHESTER FIRE INSURANCE COMPANY
C/O COZEN O'CONNOR
ATTN ROBERT MCL BOOTE, ESQ
200 FOUR FALLS CORPORATE CTR STE 400
WEST CONSHOHOCKEN, PA 19428                        2422    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
NORFOLK SOUTHERN RAILWAY COMPANY
ATTN WILLIAM H JOHNSON, ESQ
THREE COMMERCIAL PL
NORFOLK, VA 23510-9241                             2423    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INTERIM PEDRICKTOWN SITE REMEDIATION GROUP
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                               2424    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE MARINE SALVAGE CONSORTIUM, INC.
6211 NORTH ENSIGN
PORTLAND, OR 97217                                 2425    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
THOMPSON SHOES
109 E MAIN ST
MANCHESTER, IA 52057-1736                          2426    10/30/2013   Exide Technologies, LLC              $8,923.80                                                     $315.65                          $9,239.45

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
GARY HAYNES
1040 E BURLINGHALL DR
LONG BEACH, CA 90807-2410                        2427    10/30/2013   Exide Technologies, LLC             $8,250.00                                                                                      $8,250.00
MFA OIL COMPANY
C/O NEWMAN COMLEY & RUTH PC
ATTN ALICIA EMBLEY TURNER
PO BOX 537
JEFFERSON CITY, MO 65102-0537                    2428    10/30/2013   Exide Technologies, LLC            $10,607.25                                                  $10,640.77                         $21,248.02
ORPNECK, MICHAEL
1961 SKIPPACK PIKE
BLUE BELL, PA 19422-1310                         2429    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HARPER, WILLIE
108 WEATHERSBY RD
BRAXTON, MS 39044-2905                           2430    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SAMUEL, MAE
335 RAINBOW DR
SUMTER, SC 29154-5374                            2431    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MALISSA STRONG
400 S ST LOUIS ST
LOS ANGELES, CA 90033                            2432    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JOANNA AMADOR
927 N HAZARD AVE
LOS ANGELES, CA 90063-1253                       2433    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JUAN MANUEL AMADOR JR
927 N HAZARD AVE
LOS ANGELES, CA 90063                            2434    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JUAN AMADOR TORRES
927 N HAZARD AVE
LOS ANGELES, CA 90063                            2435    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ENEDINA AMADOR
927 N HAZARD AVE
LOS ANGELES, CA 90063                            2436    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING
NORTH AMERICA INC ET AL
C/O FROST BROWN TODD LLC
ATTN CHRISTY HURSKA, ESQ
150 3RD AVE S STE 1900
NASHVILLE, TN 37201                              2437    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING
NORTH AMERICA INC ET AL
C/O FROST BROWN TODD LLC
ATTN CHRISTY HURSKA, ESQ
150 3RD AVE S STE 1900
NASHVILLE, TN 37201                              2438    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PLASTIC PROCESS EQUIPMENT INC.
SANDY BAILEY
8303 CORPORATE PARK DR.
MACEDONIA, OH 44056                              2439    10/30/2013   Exide Technologies, LLC             $5,949.32                                                                                      $5,949.32




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
LEWIS, CECIL
210 FOSTER RD
FLORENCE, MS 39073-9014                          2440    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HAYWARD, JERRY
18959 FM 1373
BREMOND, TX 76629-4563                           2441    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUFFMAN, MARGIE
541 LUCY RD
KINGSPORT, TN 37660-6530                         2442    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
THOMAS J RUH
PO BOX 911434
LOS ANGELES, CA 90091-1238                       2443    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MIGUEL A JUAREZ
4901 JILLSON ST APT C
COMMERCE, CA 90040-1158                          2444    10/30/2013   Exide Technologies, LLC            $2,350.00                                                                                        $2,350.00
CINDY CONNER
5606 RIDGEWAY DR
ORLANDO, FL 32819                                2445    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GLORIA E RUH
5514 PUEBLO CT
COMMERCE, CA 90040-1530                          2446    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NIEKRASH, RITA E
19 JUNIPER LANE
W HARTFORD, CT 06117                             2447    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROSILES, LUIS
21194 LAGUNA RD APT 4
APPLE VALLEY, CA 92308-4012                      2448    10/30/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
HALL, CHARLES
2109 DAKOTA ST
LEAVENWORTH, KS 66048-1119                       2449    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INDIANA AMERICAN WATER
PO BOX 578
ALTON, IL 62002                                  2450    10/30/2013   Exide Technologies, LLC               $57.51                                                                                           $57.51
INDIANA AMERICAN WATER
PO BOX 578
ALTON, IL 62002                                  2451    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INDIANA AMERICAN WATER
PO BOX 578
ALTON, IL 62002                                  2452    10/30/2013   Exide Technologies, LLC              $747.53                                                                                          $747.53
INDIANA AMERICAN WATER
PO BOX 578
ALTON, IL 62002                                  2453    10/30/2013   Exide Technologies, LLC            $1,886.56                                                                                        $1,886.56
KELLY BOX & PACKAGING CORPORATION
PO BOX 66852
INDIANAPOLIS, IN 46266-6852                      2454    10/30/2013   Exide Technologies, LLC            $3,788.67                                                         $0.00                          $3,788.67
CHARLES CHARITIES TRUST
C/O SUSAN SINCLAIR, TTEE
PO BOX 836
MILLER PLACE, NY 11764-0836                      2455    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
RICHARD KRYSZTOFORSKI IRA
51 ALVERSON LOOP
STATEN ISLAND, NY 10309-1740                     2456    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
STACY, DAVID
185 KY HIGHWAY 1209
MC KEE, KY 40447-9112                            2457    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CAROLINA POWER AND LIGHT CO.
C/O DUKE ENERGY PROGRESS
P.O. BOX 1551
RALEIGH, NC 27602                                2458    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STARKEY, JOHN
5480 4TH ST
ROSEVILLE, OH 43777-9501                         2459    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
INDUSTRIAL RECYCLERS INC
C/O WHYTE HIRSCHBOECK DUDEK SC
ATTN TIMOTHY H POSNANSKI
555 E WELLS ST STE 1900
MILWAUKEE, WI 53202                              2460    10/30/2013   Exide Technologies, LLC            $34,424.23                                                                                      $34,424.23
PAPE MATERIAL HANDLING INC
2430 GRAND AVE
SACRAMENTO, CA 95838                             2461    10/30/2013   Exide Technologies, LLC              $285.00                                                                                          $285.00
MICHAEL R FORD DBA DOLPHIN TACKLE CO
883 S ROSE PL
ANAHEIM, CA 92805                                2462    10/30/2013   Exide Technologies, LLC             $9,627.75                                                                                       $9,627.75
HOLLOWELL, HAROLD
PO BOX 1286
BATESVILLE, MS 38606-1286                        2463    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MILLER, SIDNEY
2914 SUNNYBROOK ST
SHREVEPORT, LA 71108-3746                        2464    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
ARMER, BILLIE
478576 STATE HIGHWAY 101
MULDROW, OK 74948-6549                           2465    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WATERMAN, VERDEEN
C/O LORETTA WATERMAN, EXECUTOR
31863 ECLIPSE RD
ELKADER, IA 52043-8259                           2466    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HARBAUGH, ROBERT
20365 390TH STREET BOX 122
EDGEWOOD, IA 52042                               2467    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SEEDORFF, RONALD
3205 40TH ST
ARLINGTON, IA 50606-8139                         2468    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MCDOWELL FARM IMPLEMENT CO
1433 SANDY LAKE RD
GROVE CITY, PA 16127                             2469    10/30/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
RONATEC C2C, INC
PO BOX 1976
FALLBROOK, CA 92028                              2470    10/30/2013   Exide Technologies, LLC             $3,945.00                                                                                       $3,945.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
MCBEE, WILLIE
304 WEST RD
TRAVELERS REST, SC 29690-1729                    2471    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HUGHES, CHRIS
PO BOX 764
HAMPTON, TN 37658-0764                           2472    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ADDLEY, JEFFREY
21 HILL ST
JESSUP, PA 18434-1129                            2473    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HERNDON, JEANNINE
6416 ORANGE COVE DR
ORLANDO, FL 32819-4104                           2474    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CONNEY SAFETY PRODUCTS
PO BOX 44575
MADISON, WI 53744-4575                           2475    10/30/2013   Exide Technologies, LLC              $432.36                                                                                          $432.36
PALLET DISTRIBUTORS INC DBA E-PALLET
CHRISTI CALAMANTE
14701 DETROIT AVE STE 610
LAKEWOOD, OH 44107-4180                          2476    10/30/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
EAST ALLEN AG & TURF
4724 STATE RD 101
PO BOX 487
WOODBURN, IN 46797                               2477    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PREDICTIVE SERVICES
25200 CHAGRIN BLVD
SUITE 300
CLEVELAND, OH 44122                              2478    10/30/2013   Exide Technologies, LLC            $4,485.00                                                                                        $4,485.00
ARNE, JOHN
126 SPRINGWOOD LN
MOORESVILLE, NC 28117-9301                       2479    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUMANICK, MICHAEL
1016 POPLAR ST
COPLAY, PA 18037-1705                            2480    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ROBERT HUTCHINSON
C/O CRAY GODDARD MILLER & TAYLOR LLP
ATTN MITCHELL L TAYLOR
205 WASHINGTON STE 300
BURLINGTON, IA 52601                             2481    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CARLENE MILLER
C/O GREGORY E HOOVER LLC
3637 MEDINA RD STE 345
MEDINA, OH 44256                                 2482    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
NORRELL, DORIS
1117 LOVING TRL
GRAND PRAIRIE, TX 75052-2119                     2483    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RUTH SCHENCK
1854 WASHINGTON DR
FRANKFORT, IN 46041-2720                         2484    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                    Amount
CHARLES COTTRELL
1108 MCKINLEY AVE
FRANKFORT, IN 46041-1834                         2485    10/30/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
MELVIN LAUER
1800 E CLINTON ST
FRANKFORT, IN 46041-2709                         2486    10/30/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
SUSAN EDWARDS
601 ROSSVILLE AVE
FRANKFORT, IN 46041-1626                         2487    10/30/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
HELON BUSHMAN
1806 E WALNUT ST
FRANKFORT, IN 46041-2720                         2488    10/30/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
KAREN REIDENBACH
169 EAST COUNTY 180 NORTH
FRANKFORT, IN 46041                              2489    10/30/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
AMERIKEN
618 N EDGEWOOD AVE
WOOD DALE, IL 60191-2604                         2490    10/30/2013   Exide Technologies, LLC            $1,300.35                                                                                    $1,300.35
HAGEN BATTERIE AG
IM THIERGARTEN 1
D-63654 BÜDINGEN GERMANY

GERMANY                                          2491    10/30/2013   Exide Technologies, LLC                                                                          $0.00                              $0.00
STEFAN STUBING
C/O DEUTSCHE EXIDE GMBH
INDUSTRIESTRASSE
GERMANY 63652

GERMANY                                          2492    10/30/2013   Exide Technologies, LLC                                                                          $0.00                              $0.00
EXIDE TECHNOLOGIES GMBH
IM THIERGARTEN 1
D-63654 BÜDINGEN GERMANY

GERMANY                                          2493    10/30/2013   Exide Technologies, LLC                                                                          $0.00                              $0.00
EXIDE TECHNOLOGIES GMBH
IM THIERGARTEN
D-63654 BUDINGEN GERMANY

GERMANY                                          2494    10/30/2013   Exide Technologies, LLC                                                                          $0.00                              $0.00
ENTERPRISE FLEET SERVICES
ATTN SCOTT CLINE
5909 PEACHTREE DUNWOODY RD STE 500
ATLANTA, GA 30328-8103                           2495    10/30/2013   Exide Technologies, LLC                                                      $0.00                                                  $0.00
AIROLDI BROTHERS INC
ATTN CHERYL AIROLDI
6930 S 6TH ST
OAK CREEK, WI 53154                              2496    10/30/2013   Exide Technologies, LLC                                                      $0.00               $0.00                              $0.00




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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
PORTLAND GENERAL ELECTRIC COMPANY
C/O RIDDELL WILLIAMS PS
ATTN LOREN R DUNN
1001 FOURTH AVE STE 4500
SEATTLE, WA 98154                                 2497    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
BRISTOL TENNESSEE ESSENTIAL SERVICES
ATTN HEATHER N JENKINS CPA
GENERAL ACCOUNTANT
PO BOX 549
BRISTOL, TN 37621                                 2498    10/30/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
BURTNETT, LAWRENCE
9215 HOOP POLE RD
ROSEVILLE, OH 43777-9555                          2499    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DIANA L DUNCAN
1760 MICHIGAN DR
EVANSDALE, IA 50707-2040                          2500    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE WATTLES COMPANY
ATTN CRAIG WATTLES
35800 249TH AVE SE
ENUMCLAW, WA 98022                                2501    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DEPARTMENT OF THE TREASURY - IRS
INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101-7346                       2502    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TOYOTA LIFT NORTHWEST
12001 SE JENNIFER ST
CLACKAMAS, OR 97015                               2503    10/30/2013   Exide Technologies, LLC              $550.50                                                                                          $550.50
TOYOTA LIFT NORTHWEST
12001 SE JENNIFER ST
CLACKAMAS, OR 97015-9014                          2504    10/30/2013   Exide Technologies, LLC              $597.40                                                                                          $597.40
TOYOTA LIFT NORTHWEST - PTS
12001 SE JENNIFER ST.
CLACKAMAS, OR 97015                               2505    10/30/2013   Exide Technologies, LLC            $1,881.80                                                                                        $1,881.80
TOYOTA LIFT NORTHWEST
12001 SE JENNIFER ST
CLACKAMAS, OR 97015                               2506    10/30/2013   Exide Technologies, LLC            $1,738.13                                                                                        $1,738.13
CUMMINGS, MARY
PO BOX 2231
SUMTER, SC 29151-2231                             2507    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JONES, GLADYS
2780 BONNELL DR
SUMTER, SC 29154-4605                             2508    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LANCASTER, CARRIE
344 WILDWOOD AVE
SUMTER, SC 29154-5400                             2509    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CREASY, BERTHA
PO BOX 145
NEW PROVIDENCE, PA 17560-0145                     2510    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
CREASY, ROBERT
PO BOX 145
NEW PROVIDENCE, PA 17560-0145                    2511    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GAMMAFLUX
DOREEN DODSON
113 EXECUTIVE DRIVE
STERLING, VA 20166                               2512    10/30/2013   Exide Technologies, LLC              $9,780.87                                                                                      $9,780.87
MICHAEL OSTERMANN
13000 DEERFIELD PARKWAY, BLDG. 200
MILTON, GA 30004                                 2513    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BRUCE COLE
C/O GNB INDUSTRIAL POWER
13000 DEERFIELD PKWY #200
MILTON, GA 30004                                 2514    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LOU MARTINEZ
12035 N HICKORY TRACE
ALPHARETTA, GA 30004                             2515    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JASON PICKETT
370 SUMMER SHADE LN
ROSWELL, GA 30075                                2516    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NORTHSTAR BATTERY COMPANY
4000 E CONTINENTAL WAY
SPRINGFIELD, MO 65803                            2517    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ELECTRIC CONVERSIONS
515 N 10TH ST
SACRAMENTO, CA 95811                             2518    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MATTHEW KLEIMAN, PC - CHICAGO
2506 N CLARK ST, STE 307
CHICAGO, IL 60614                                2519    10/30/2013   Exide Technologies, LLC            $152,630.55                                                                                    $152,630.55
STORY, LINDA
1002 BELT ST
JONESBORO, AR 72401-2123                         2520    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOHN, KEITH
PO BOX 78
OQUAWKA, IL 61469-0078                           2521    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ANN YURCHAK
511 DELAWARE AVE
OLYPHANT, PA 18447-1620                          2522    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SCHNADER HARRISON SEGAL & LEWIS LLP
ATTN NICHOLAS J LEPORE III
1600 MARKET ST
PHILADELPHIA, PA 19103-7240                      2523    10/30/2013   Exide Technologies, LLC            $195,978.84                                                                                    $195,978.84
BROWN TRUCK LEASING CORPORATION
DBA BROWN NATIONALEASE
ATTN CHARLOTTE SHELLEY
11229 AURORA AVE
URBANDALE, IA 50322-7906                         2524    10/30/2013   Exide Technologies, LLC                    $0.00                                 $0.00               $0.00                              $0.00




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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                              Amount                                                        Amount
W L GORE & ASSOCIATES INC
ATTN LEGAL DEPT
551 PAPER MILL RD
NEWARK, DE 19711                                          2525    10/30/2013   Exide Technologies, LLC            $158,777.40                                                       $0.00                        $158,777.40
CHARLES TRAMEL
199 FOX MEADOWS RD
BATESVILLE, MS 38606-7409                                 2526    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SHELL OIL COMPANY
ATTN TRAVIS TORRENCE
910 LOUISIANA ST RM 1162
HOUSTON, TX 77002                                         2527    10/30/2013   Exide Technologies, LLC                    $1.00                                                                                        $1.00
SHELL CHEMICAL LP
ATTN: TRAVIS TORRENCE
910 LOUISIANA ST RM 1162
HOUSTON, TX 77002                                         2528    10/30/2013   Exide Technologies, LLC                    $1.00                                                                                        $1.00
EQUILON ENTERPRISES LLC DBA SHELL OIL PRODUCTS US
ATTN TRAVIS TORRENCE
910 LOUISIANA ST RM 1162
HOUSTON, TX 77002                                         2529    10/30/2013   Exide Technologies, LLC                    $1.00                                                                                        $1.00
ZURICH AMERICAN INSURANCE COMPANY
C/O FOX SWIBEL LEVIN & CARROLL LLP
ATTN MARGARET M ANDERSON
200 W MADISON STE 3000
CHICAGO, IL 60606                                         2530    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MICHAEL J N ARELLANO
1170 SPENCE ST
LOS ANGELES, CA 90023                                     2531    10/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
NELSON, KENNETH
1539 LANGENBERG AVE
IOWA CITY, IA 52240-9107                                  2532    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MARSHALL POWER LIMITED
C/O SANTIAGO & SANTIAGO LAW OFFICES
GROUND FLOOR ORTIGAS BLDG, ORTIGAS AVE
1605 PASIG CITY
METRO MANILA, PHILLIPINES

PHILIPPINES                                               2533    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MARSHALL POWER AUSTRALIA PTY LTD
C/O SANTIAGO & SANTIAGO LAW OFFICES
GROUND FLOOR ORTIGAS BLDG, ORTIGAS AVE
1605 PASIG CITY
METRO MANILA, PHILLIPINES

PHILIPPINES                                               2534    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
GREENWICH INSURANCE COMPANY
C/O TROUTMAN SANDERS LLP
ATTN TERRENCE R. MCINNIS & MELISSA PEREZ
5 PARK PLAZA STE 1400
IRVINE, CA 92614                                          2535    10/31/2013   Exide Technologies, LLC                               Unliquidated                                              Unliquidated            $0.00


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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
JONATHAN ROMO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2536    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ASCENSION OCHOA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2537    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
SYDNEY VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2538    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ROSA GONZALEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2539    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
SARAH VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2540    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
DANIEL CASQUINO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2541    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
RUTH CASQUINO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2542    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
RICARDO MAGANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2543    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
RIGOBERTO P VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2544    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
SOCORRO VALENCIA GUERRERO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2545    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
NILZA VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2546    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
HERIBERTO BLANCAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2547    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MIGUEL ANGEL CONTRERAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2548    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GILDA CHAPA SANCHEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2549    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
BARBARA CASQUINO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2550    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALBA ROMO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2551    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ODILON MUNOZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2552    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANICETO MUNOZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2553    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JUAN PLASCENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2554    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
HECTOR J ROMO
C/O THE MENDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2555    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
NESTOR ENRIQUE VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2556    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ZOILA NOEMI MAGANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2557    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOSE LUIS MAGANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2558    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JESUS PLASCENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2559    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOSE MAGANO (SON)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2560    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARCO ANTONIO MARTIN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2561    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANA PLASCENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2562    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANTONIO DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2563    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANTONIO DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2564    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
RAMONA DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2565    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
THOMAS CABRERA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2566    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EDITH GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2567    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOSE LUIS CARLOS MACIAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2568    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ROSARIO CONTRERAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2569    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MIGUEL ANGEL CONTRERAS (SON)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2570    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
VICENTE CABRERA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2571    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANGEL CABRERA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2572    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EMANUEL CABRERA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2573    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
POLY H RICO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2574    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALMA E RICO HERNANDEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2575    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
ANGEL SANCHEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2576    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EMILY GABION
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2577    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
LINDA L GONZALEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2578    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
SAMANTHA CRYSTAL RAMIREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2579    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOE GONZALEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2580    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALICIA TREJO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2581    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ERNESTO RAMIREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2582    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
THERESA JOSIE CANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2583    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EDWARD JOSEPH CANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2584    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
INDIKIA MCKENLEY
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2585    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                      Amount                                                   Amount
SOFIA GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2586    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
NESTOR U RICO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2587    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
DANIEL AARON PEREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2588    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
GLORIA VILLANUEVA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2589    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
LYANNA MARTIN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2590    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
JOSE LUIS GUTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2591    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
POLY RICO (50)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2592    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
JOSE D GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2593    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
LEVELLS, WILLIAM
PO BOX 381321
DUNCANVILLE, TX 75138-1321                        2594    10/31/2013   Exide Technologies, LLC                                   $0.00                                                                     $0.00
INTERNATIONAL UNION UAW
ATTN NIRAJ R GANATRA
8000 E JEFFERSON AVE
DETROIT, MI 48214                                 2595    10/31/2013   Exide Technologies, LLC                                   $0.00                                                    $0.00            $0.00




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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                           Amount                                                        Amount

MIREF FREMONT DISTRIBUTION CENTER LLC
C/O ALLEN MATKINS LECK GAMBLE MALLORY & NATSIS LLP
ATTN IVAN M GOLD
THREE EMBARCADERO CENTER 12TH FL
SAN FRANCISCO, CA 94111                                2596    10/31/2013   Exide Technologies, LLC                    $0.00                                                                        $0.00            $0.00
WELLS FARGO BANK NATIONAL ASSOCIATION
AS INDENTURE TRUSTEE
ATTN JAMES R LEWIS
150 E 42ND ST 40TH FL
NEW YORK, NY 10017                                     2597    10/31/2013   Exide Technologies, LLC         Unliquidated                           $696,023,437.50                                          $696,023,437.50
TOC HOLDINGS CO
C/O PEARL LEGAL GROUP PC
ATTN PATRICIA DOST
529 SW THIRD AVENUE, SUITE 600
PORTLAND, OR 97204                                     2598    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00



JOHNSON CONTROLS INC(OBO ITSELF & ITS SUBSIDIARIES
& AFFILIATES INCLUDING BUT NOT LIMITED TO JOHNSON
CONTROLS BATTERY GROUP INC)
C/O DICKINSON WRIGHT PLLC ATTN JAMES A PLEMMONS
500 WOODWARD AVE STE 4000
DETROIT, MI 48226-3425                                 2599    10/31/2013   Exide Technologies, LLC                                                          $0.00                                  $0.00            $0.00
MANAGEMENT STRATEGIES GROUP
PO BOX 9518
RAYTOWN, MO 64133                                      2600    10/31/2013   Exide Technologies, LLC            $5,706.73                                                                                          $5,706.73
QUEST DIAGNOSTICS INCORPORATED
PO BOX 828669
PHILADELPHIA, PA 19182-8669                            2601    10/31/2013   Exide Technologies, LLC            $5,734.89                                     $0.00               $0.00                            $5,734.89
KEMIRA WATER SOLUTIONS INC
ATTN THOMAS FORBES
1000 PARKWOOD CIRCLE
SUITE 500
ATLANTA, GA 30339                                      2602    10/31/2013   Exide Technologies, LLC            $8,481.60                                                     $8,589.60                          $17,071.20
YUASA BATTERY, INC.
2901 MONTROSE AVENUE
READING, PA 19605                                      2603    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PORT OF PORTLAND
ATTN DAVID ASHTON, ASSISTANT GENERAL COUNSEL
PO BOX 3529
PORTLAND, OR 97208                                     2604    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
CITY OF PORTLAND
C/O CITY ATTORNEY'S OFFICE
ATTN KAREN L MOYNAHAN
1221 SW FOURTH AVE ROOM 430
PORTLAND, OR 97204                                     2605    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
WATER TECH OF AMERICA INC
5000 S 110TH ST
GREENFIELD, WI 53228-3130                              2606    10/31/2013   Exide Technologies, LLC            $7,649.48                  $0.00                                                                   $7,649.48

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
CHESTER SINNK
62 HOOVER CT
BOYERTOWN, PA 19512-1707                         2607    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INDIANA MICHIGAN POWER COMPANY
DBA AMERICAN ELECTRIC POWER
C/O LAW FIRM OF RUSSELL R JOHNSON III PLC
ATTN RUSSELL R JOHNSON III ESQ
2258 WHEATLANDS DR
MANAKIN-SABOT, VA 23103                          2608    10/31/2013   Exide Technologies, LLC                                                                         $70,754.18                         $70,754.18
SANOFI US LLC, SANOFI US SERVICES INC,
SANOFI-AVENTIS US LLC
C/O FROST BROWN TODD LLC
ATTN CHRISTOPHER S HABEL
301 E FOURTH ST STE 3300
CINCINNATI, OH 45202                             2609    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INDIANA MICHIGAN POWER COMPANY
DBA AMERICAN ELECTRIC POWER
C/O LAW FIRM OF RUSSELL R JOHNSON III PLC
ATTN RUSSELL R JOHNSON III ESQ
2258 WHEATLANDS DR
MANAKIN-SABOT, VA 23103                          2610    10/31/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
BKK JOINT DEFENSE GROUP
C/O BINGHAM MCCUTCHEN LLP
ATTN JAMES J DRAGNA ESQ
355 S GRAND AVE STE 4400
LOS ANGELES, CA 90071                            2611    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
RAQUEL BUSANI
7009 SAN LUIS AVE
BELL GARDENS, CA 90201-3411                      2612    10/31/2013   Exide Technologies, LLC        $1,326,716.00                                                                                     $1,326,716.00
ANDY BUSANI
7009 SAN LUIS AVE
BELL GARDENS, CA 90201-3411                      2613    10/31/2013   Exide Technologies, LLC        $1,027,500.00                                                                                     $1,027,500.00
IZAIAH ANDRES BUSANI A MINOR
C/O HIS FATHER ANDY BUSANI
7009 SAN LUIS AVE
BELL GARDENS, CA 90201-3411                      2614    10/31/2013   Exide Technologies, LLC        $1,039,500.00                                                                                     $1,039,500.00
HILARIO BUSANI
7009 SAN LUIS AVE
BELL GARDENS, CA 90201-3411                      2615    10/31/2013   Exide Technologies, LLC        $1,326,216.00                                                                                     $1,326,216.00
MDC RIDER TRAIL LLC
C/O SIMERI LAW LLC
ATTN JAMES J SIMERI
222 S CENTRAL AVE STE 110
CLAYTON, MO 63105                                2616    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
IRON MOUNTAIN MANAGEMENT LLC
C/O IRON MOUNTAIN INFORMATION MANAGEMENT LLC
ATTN JOSEPH CORRIGAN, ESQ
1 FEDERAL ST FL 7
BOSTON, MA 02110-2003                            2617    10/31/2013   Exide Technologies, LLC            $110,236.65                              $25,732.00                                            $135,968.65


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                                                                                                        Amount                                                        Amount
RSR CORPORATION
GEORGE CHEEVER
K & L GATES
210 SIXTH AVENUE
PITTSBURG, PA 15222                                 2618    10/31/2013   Exide Technologies, LLC            $156,622.54                                                                                    $156,622.54
PACIFIC CHLORIDE INTERNATIONAL
C/O MCCARTER & ENGLISH LLP
ATTN KATHARINE L MAYER ESQ
405 N KING ST, 8TH FLOOR
WILMINGTON, DE 19801                                2619    10/31/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
PACIFIC CHLORIDE INTERNATIONAL
C/O MCCARTER & ENGLISH LLP
ATTN KATHARINE L MAYER ESQ
405 N KING ST
WILMINGTON, DE 19801                                2620    10/31/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
BROWN, JAMES
523 JOHNSON ST
WEST WYOMING, PA 18644-1115                         2621    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
NES RENTALS
8420 WEST BRYN MAWR AVE STE 310
CHICAGO, IL 60631                                   2622    10/31/2013   Exide Technologies, LLC              $6,350.66                                                                                      $6,350.66
DC TAYLOR COMPANY
C/O SIMMONS PERRINE MOYER BERGMAN PLC
ATTN ABBE M STENSLAND
115 THIRD ST SE #1200
CEDAR RAPIDS, IA 52401                              2623    10/31/2013   Exide Technologies, LLC             $64,047.28                                                                                     $64,047.28
INTRAPACK INDUSTRIES
TINA HARRISON
10650 MARKISON RD
DALLAS, TX 75238                                    2624    10/31/2013   Exide Technologies, LLC              $9,566.36                                                  $23,806.10                         $33,372.46
INFRARED SERVICES INC - FT WAYNE
5730 FALLS DR STE 100
FORT WAYNE, IN 46804-7147                           2625    10/31/2013   Exide Technologies, LLC              $1,675.00                                                                                      $1,675.00
STATE SAFETY & COMPLIANCE
5338 VICTORY DRIVE SUITE A
INDIANAPOLIS, IN 46203                              2626    10/31/2013   Exide Technologies, LLC            $151,843.82                                                  $16,280.27                        $168,124.09
ALPHA PACKAGING INC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              2627    7/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EULER HERMES NORTH AMERICA INSURANCE COMPANY AS
TRANSFEREE OF ALPHA PACKAGING INC
800 RED BROOK BLVD
OWINGS MILLS, MD 21117-1008                         2627    10/31/2013   Exide Technologies, LLC             $82,514.75                                                                                     $82,514.75
LAWLIS, JOAN
JOAN W LAWLIS TRUST (INTERVIVOS)
PO BOX 37
HOULTON, ME 04730-0037                              2628    10/31/2013   Exide Technologies, LLC             $50,422.57                                                                                     $50,422.57



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                                                                                                             Amount                                                       Amount
MARTINEZ, PETE
1722 MARIE LN
IRVING, TX 75060-6801                                    2629    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KRASKA, KENNETH W
1812 BROKEN BEND DR
WESTLAKE, TX 76262                                       2630    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KARLA HERNANDEZ & FAMILY
3511 TODD AVE
COMMERCE, CA 90040-3309                                  2631    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
STEPHANIE BAUTISTA
735 S FORD BLVD APT 12
LOS ANGELES, CA 90022-2448                               2632    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
STUART, DIANE
1029 24TH AVE SE
ALBANY, OR 97322-5528                                    2633    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MARIA AGUILA
941 S BERNAL AVE
LOS ANGELES, CA 90023-2228                               2634    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARTA GALLEGOS DUDOVITZ
724 S BONNIE BEACH PL
LOS ANGELES, CA 90023-1906                               2635    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CRISTINA ROBLES
1029 S BONNIE BEACH PL
LOS ANGELES, CA 90023-2534                               2636    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
HOUNG E POENG
271 MARGARET AVE
LOS ANGELES, CA 90022-2226                               2637    10/31/2013   Exide Technologies, LLC                                       $0.00                                 $0.00                              $0.00
JOSE ISABEL RAMOS
735 S FORD BLVD APT 14
LOS ANGELES, CA 90022-2448                               2638    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MONICA GALLEGOS CHAVARRIA & FAMILY
724 S BONNIE BEACH PL
LOS ANGELES, CA 90023-1906                               2639    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
NW NATURAL
C/O ATER WYNNE LLP
ATTN GREGG D JOHNSON ESQ
1331 NW LOVEJOY ST STE 900
PORTLAND, OR 97209-3280                                  2640    10/31/2013   Exide Technologies, LLC       $10,036,872.00                                                                                   $10,036,872.00
VISCO2LL DBA VISCO
3445 SEMINOLE TRAIL SUITE 135
CHARLOTTESVILLE, VA 22911                                2641    10/31/2013   Exide Technologies, LLC            $8,959.42                                                                                        $8,959.42
SIERRA LIQUIDITY FUND LLC ASSIGNEE & ATT IN FACT
FOR TEITECH COMMUNICATIONS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                         2642    10/31/2013   Exide Technologies, LLC                                                                       $131,048.58                        $131,048.58
CIMCO RESOURCES
1616 WINDSOR RD
LOVES PARK, IL 61111                                     2643    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                             Amount                                                       Amount
MARK GRAY ENTERPRISES DBA J-TOPYS
464 NORTH HIGHLAND AVE
COLUMBUS, OH 43204                                       2644    10/31/2013   Exide Technologies, LLC              $1,514.00                                                                                     $1,514.00
TELTECH COMMUNICATIONS
PO BOX 3040
EAGLE, CO 81631                                          2645    10/31/2013   Exide Technologies, LLC             $58,493.98                                                                                    $58,493.98
SIERRA LIQUIDITY FUND LLC ASSIGNEE & ATT-IN-FACT
FOR MIDWEST SCRAP MANAGEMENT-ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                         2646    10/31/2013   Exide Technologies, LLC                                                                        $25,221.50                         $25,221.50
MIDWEST SCRAP MANAGEMENT
PO BOX 787
STJOSEPH, MO 64502                                       2647    10/31/2013   Exide Technologies, LLC            $245,046.15                                                                                   $245,046.15
SIERRA LIQUIDITY FUND LLC ASSIGNEE & ATT-IN-FACT
FOR HYLAND MOTOR CO-ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612-2405                                    2648    10/31/2013   Exide Technologies, LLC                                                                           $322.50                            $322.50
AON HEWITT
C/O DUANE MORRIS LLP
ATTN SOMMER L ROSS
222 DELAWARE AVE STE 1600
WILMINGTON, DE 19801                                     2649    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BAYER CROPSCIENCE INC
2 TW ALEXANDER DR
RESEARCH TRIANGLE PARK, NC 27709                         2650    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
URREA REAL ESTATE LLC
C/O PURSLEY FRIESE TORGRIMSON LLP
ATTN STEPHANIE FRIESE ARON
1230 PEACHTREE ST STE 1200
ATLANTA, GA 30309                                        2651    10/31/2013   Exide Technologies, LLC             $32,792.85                                                                                    $32,792.85
GLOBAL SHARES IRELAND LTD
C/O LEECH TISHMAN FUSCALDO & LAMPL LLC
ATTN GREGORY W HAUSWIRTH ESQ
525 WILLIAM PENN PL 30TH FL
PITTSBURGH, PA 15219                                     2652    10/31/2013   Exide Technologies, LLC             $40,275.70                                                                                    $40,275.70
HANCOCK SR, RALPH
909 OLIVE ST
LEAVENWORTH, KS 66048-2480                               2653    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MCINTIRE BUILDING CENTER
108 W 7TH ST
MOUND CITY, MO 64470                                     2654    10/31/2013   Exide Technologies, LLC             $11,647.27                                                  $1,913.02                         $13,560.29
NOLAN, ROBERT
PO BOX 723
HIAWASSEE, GA 30546-0723                                 2655    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
THOMAS, JASON
1663 BRISTOL CAVERNS HWY
BRISTOL, TN 37620-8156                                   2656    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00




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                                                                                                      Amount                                                        Amount
COMPASS GROUP
GRANT NELSON
205 WOODS LAKE RD
GREENVILLE, SC 29607-2719                         2657    10/31/2013   Exide Technologies, LLC               $637.16                                                                                         $637.16
RONALD BLANKA BURGO TRUST
27864 INVITATION DR
MENIFEE, CA 92585                                 2658    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MARTINELLI, LOUIS
208 CHURCH ST
DUNMORE, PA 18512-1910                            2659    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KEEN, ZENA
PO BOX 115
REDWOOD, MS 39156-0115                            2660    10/31/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
MSR CUSTOMS CORPORATION
PEACE BRIDGE PLAZA
PO BOX 926
BUFFALO, NY 14213-0926                            2661    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KEYSTONE LAB INC. - NEWTON
600 EAST 17TH STREET SOUTH
NEWTON, IA 50208                                  2662    10/31/2013   Exide Technologies, LLC              $2,049.35                                                       $0.00                          $2,049.35
FORT DEARBORN ENTERPRISES
4115 SAINT CHARLES RD
BELLWOOD, IL 60104-1145                           2663    10/31/2013   Exide Technologies, LLC            $116,009.20                                                                                    $116,009.20
MOORE, DIANNAH
201 S OAKDALE AVE
KANKAKEE, IL 60901-6113                           2664    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GREEN, JUANITA
341 S HILLCREST AVE
KANKAKEE, IL 60901-4457                           2665    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LARRY HALE
1710 W HICKORY
KANKAKEE, IL 60901                                2666    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PIERCE, SHERRY
148 VALLEY VIEW TER
MISSION VIEJO, CA 92692-4086                      2667    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GRASER, WILLIAM
1372 FRIEDENSBURG RD
READING, PA 19606-1011                            2668    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JUAN MONROY
5221 WOOD AVE
SOUTH GATE, CA 90280-5340                         2669    10/31/2013   Exide Technologies, LLC             $28,825.00           $12,475.00                                                                $41,300.00
LAWRENCE, DONALD R
PO BOX 174
ORELAND, PA 19075                                 2670    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MACK, ALBERT
731 N HOBBIE AVE
KANKAKEE, IL 60901-2614                           2671    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MARIA RAMOS
735 S FORD BLVD APT 12
LOS ANGELES, CA 90022-2448                        2672    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00

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                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
LEONEL YOQUE
1427 E 60TH ST
LOS ANGELES, CA 90001-1216                              2673    10/31/2013   Exide Technologies, LLC                                     $273.50      Unliquidated                                                $273.50
GUADALUPE RAMOS
735 S FORD BLVD APT 14
LOS ANGELES, CA 90022-2448                              2674    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
V. H. HOLMES & SONS
752 BIG CREEK RD
RICHLANDS, VA 24641                                     2675    10/31/2013   Exide Technologies, LLC                                                                             $0.00                              $0.00
LEATHERS, TERRY
735 N JACKSON AVE
BRADLEY, IL 60915-1461                                  2676    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PROGRESSIVE MOUNTAIN INSURANCE COMPANY
C/O KREIS ENDERLE HUDGINS & BORSOS PC
ATTN ANDY J VAN BRONKHORST
40 PEARL ST NW 5TH FL
GRAND RAPIDS, MI 49503                                  2677    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BAKER, WILLIE
7915 HAWK CREST LN
ORLANDO, FL 32818-1230                                  2678    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HANSON, EVERETT
1513 HOLLY DR E
HUGO, MN 55038-8755                                     2679    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BURKHOLDER, BARBARA
4655 VICTORIA ST N APT 318
SHOREVIEW, MN 55126-5894                                2680    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
THE SPENCER TURBINE COMPANY
MONIQUE DONN
600 DAY HILL RD
WINDSOR, CT 06095                                       2681    10/31/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
DIERSEN DESIGNS, LLC
3875 THE ASCENT NE
ATLANTA, GA 30319-1627                                  2682    10/31/2013   Exide Technologies, LLC                                                                         $2,268.00                          $2,268.00
SAMUEL, WILLIE
1882 GREENVIEW AVE
KANKAKEE, IL 60901-5740                                 2683    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MICHELE BAUTISTA
735 S FORD BLVD APT 12
LOS ANGELES, CA 90022-2448                              2684    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
RUDY S GRIEGO
6400 RUGBY AVE
HUNTINGTON PARK, CA 90255-4004                          2685    10/31/2013   Exide Technologies, LLC            $150,000.00                                                                                   $150,000.00
KERRY KIRBY
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                   2686    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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               Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
LORI KIRBY
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                   2687    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HEIDI MAYEAUX
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                   2688    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
A C KIRBY
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                   2689    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HANNAH KIRBY
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                   2690    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KERRY KIRBY, LORI KIRBY, HEIDI MAYEAUX
AC KIRBY, HANNAH KIRBY & KERRY KIRBY, JR
ATTN SCOTT FRUGE, MICHAEL PALMINTIER
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FR
618 MAIN STREET
BATON ROUGE, LA 70801                                   2691    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ARKEMA INC
C/O JOYCE ZIKER PARKINSON PLLC
ATTN STEPHEN T PARKINSON
1601 FIFTH AVE STE 2040
SEATTLE, WA 98101                                       2692    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CALIFORNIA COMMUNITIES AGAINST TOXICS
A NON PROFIT CALIFORNIA ASSOCIATION
PO BOX 845
ROSAMOND, CA 93560                                      2693    10/31/2013   Exide Technologies, LLC        $2,250,000.00                                                                                    $2,250,000.00
NICHOLAS J IUANOW
PO BOX 690
ALPHARETTA, GA 30009                                    2694    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
IUANOW, NICHOLAS
PO BOX 690
ALPHARETTA, GA 30009-0690                               2695    10/31/2013   Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
HAFER, ALAN
107 WOLF CREEK RD
BERNVILLE, PA 19506-8691                                2696    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ANDERSON, GEORGE KENT
95-532 WIKAO ST E304
MILILANI, HI 96789                                      2697    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARGARITA GREENE
3538 ELSINORE PL
SAN DIEGO, CA 92117                                     2698    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
NEWALTA CORPORATION
C/O MOYE WHITE LLP
ATTN JAMES T BURGHARDT ESQ
1400 16TH ST 6TH FL
DENVER, CO 80202-1486                           2699    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TYCO INTEGRATED SECURITY LLC
C/O MCGUIREWOODS LLP
ATTN SALLY E EDISON
625 LIBERTY AVE 23RD FL
PITTSBURGH, PA 15222                            2700    10/31/2013   Exide Technologies, LLC             $4,251.43                                                    $1,667.23                          $5,918.66
SYKES, JOHNNIE
7167 E ILLINOIS ST
SAINT ANNE, IL 60964-5204                       2701    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MOORE, JOHN
PO BOX 106
PRINCETON, LA 71067-0106                        2702    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ROSENFELD, SOLOMON
C/O LISA ROSENFELD
168 ALLERTON RD
NEWTON, MA 02461                                2703    10/31/2013   Exide Technologies, LLC                                                          $0.00               $0.00                              $0.00
BENTLEY TRUCK SERVICES
307 HERON DR
LOGAN TWP, NJ 08085-1773                        2704    10/31/2013   Exide Technologies, LLC            $13,348.38                                                        $0.00                         $13,348.38
GALISZANSKI, ANTHONY
5341 BEAUMONT LN
MACUNGIE, PA 18062-8654                         2705    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GOETZ, DOROTHY
C/O KOPP MCKICHAN LLP
ATTN MICHAEL J OLDS, ATTY
44 E MAIN ST PO BOX 253
PLATTEVILLE, WI 53818                           2706    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BURLON, LURELEEN
123 TONEY AVE
ERWIN, TN 37650-1861                            2707    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HATFIELD, KATHLEEN
70 LEE ROAD 209
PHENIX CITY, AL 36870-8441                      2708    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MOORE, VICKIE
4039 STABLE CREEK DR
PERRYSBURG, OH 43551-6912                       2709    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
AUTODESK INC
C/O DONAHUE GALLAGHER WOODS LLP
ATTN ERIC A HANDLER, ESQ
1999 HARRISON ST FL 25
OAKLAND, CA 94612                               2710    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STARLINK LOGISTICS INC
C/O CABLE HUSTON
ATTN JAMES E BENEDICT
1001 SW 5TH AVE STE 2000
PORTLAND, OR 97204-1136                         2711    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
BAYER CROPSCIENCE INC
C/O CABLE HUSTON
ATTN JAMES E BENEDICT
1001 SW 5TH AVE STE 2000
PORTLAND, OR 97204-1136                         2712    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
NORTHEAST PLASTIC SUPPLY CO INC
3021 DARNELL RD
PHILADELPHIA, PA 19154-3201                     2713    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOLDEN, LINDA
3241 CLEF LN
LAKELAND, TN 38002-9718                         2714    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SANDRA WEITSMAN
C/O FEDERMAN & SHERWOOD
ATTN WILLIAM B FEDERMAN
10205 NORTH PENNSYLVANIA AVENUE
OKLAHOMA CITY, OK 73120                         2715    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SMITH, FREDDIE
1025 MEADOW ST
VICKSBURG, MS 39180-4165                        2716    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
REED, LOIS
3316 S 2ND ST
WHITEHALL, PA 18052-3507                        2717    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
STRAUSSER, DANIEL
31 GRANT ST
WELLSBORO, PA 16901-1932                        2718    10/31/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
A B PENA
819 RIDGECREST ST
MONTEREY PARK, CA 91754-3709                    2719    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MICHAEL GEORGE
C/O COOK LAW GROUP LLC
PO BOX 2415
GAINESVILLE, GA 30503-2415                      2720    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KATE S COOK
COOK LAW GROUP LLC
PO BOX 2415
GAINESVILLE, GA 30503-2415                      2721    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MATTHEW E COOK
COOK LAW GROUP LLC
PO BOX 2415
GAINESVILLE, GA 30503-2415                      2722    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LOGAN, CLEVELAND
4046 ELLISTON RD
MEMPHIS, TN 38111-7102                          2723    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KEPROS BATTERY CONSULTING, LTD.
MICHAEL KEPROS
703 THIRD STREET EAST
CRESCO, IA 52136-1125                           2724    10/31/2013   Exide Technologies, LLC            $13,425.00                                                                                      $13,425.00
VIRGINIA BARAJAS-MIRANDA
6419 PROSPECT AVE APT C
BELL GARDENS, CA 90201-2656                     2725    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
KRUITHOF, RONALD
7025 QUINTARA DR NE
COMSTOCK PARK, MI 49321-8383                     2726    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DAVIS-NEAL, ALICIA
880 SHERBURNE AVE
SAINT PAUL, MN 55104-2603                        2727    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LLOYD JONES
7119 WAY CREST DR
DALLAS, TX 25232                                 2728    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
FRED MCMILLIAN
4811 DUNCANVILLE RD # 101
DALLAS, TX 75236                                 2729    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SUZANNE BOLGER
C/O CHERYL BERGIAN LAW OFFICE
PO BOX 2152
FARGO, ND 58108-2152                             2730    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MITCHELL, BIRDIA
2020 ELDRIDGE PKWY APT 1003
HOUSTON, TX 77077-1898                           2731    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
GILLIS, HUGH
442 OAKMONT DR
GRANTS PASS, OR 97526-7827                       2732    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
WITT, LORETTA
176 GRAY HAWK LN
MC KEE, KY 40447-6021                            2733    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
WITT, STEVE
395 WILDS CEMETERY
MC KEE, KY 40447-8640                            2734    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
WARREN, LESSIE
PO BOX 784
FLORA, MS 39071-0784                             2735    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
FLAGGS, VIVIAN
103 GREENBRIAR DR
VICKSBURG, MS 39180-6208                         2736    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KING, ELBERT
PO BOX 1832
VICKSBURG, MS 39181-1832                         2737    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
RIZALINO CAYABO
41721 RD 136
PO BOX 481
OROSI, CA 93647                                  2738    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ADVANCED GEOSERVICES CORP
1055 ANDREW DR STE A
WEST CHESTER, PA 19380                           2739    10/31/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
PERKINS, SHIRLEY
2902 ARCADIA ST
VICKSBURG, MS 39180-4906                         2740    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOYCE THOMAS
379 FARNHAM AVE
LODI, NJ 07644-1113                              2741    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
ROSEN, JOSEPH A
315 MAJESTIC COVE
ALPHARETTA, GA 30004                                   2742    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ROSEN, JOSEPH
315 MAJESTIC COVE
ALPHARETTA, GA 30004                                   2743    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ROSEN, JOSEPH
315 MAJESTIC CV
ALPHARETTA, GA 30004-4568                              2744    10/31/2013   Exide Technologies, LLC             $75,000.00                                                                                    $75,000.00
MARY ALDRIDGE
C/O MICHAEL HARRY ATTY
1405 W CENTER
GREENWOOD, AR 72936                                    2745    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TYCO INTEGRATED SECURITY
10405 CROSSPOINT BLVD
INDIANAPOLIS, IN 46256                                 2746    10/31/2013   Exide Technologies, LLC              $7,893.81                                                                                     $7,893.81
JAVIER A HERNANDEZ
PO BOX 328
BELL GARDENS, CA 90201-0328                            2747    10/31/2013   Exide Technologies, LLC            $125,000.00                                                                                   $125,000.00
MEYER, LYNN C
15 OHIO ST
LAKE HOPATCONG, NJ 07849                               2748    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TRANS DYNAMICS INC
4275 SHACKLEFORD RD
NORCROSS, GA 30093                                     2749    10/31/2013   Exide Technologies, LLC             $12,459.74                                                                                    $12,459.74
COMMUNITIES FOR A BETTER ENVIRONMENT
ATTN A YANA GARCIA AND MAYA GOLDEN-KRASNER
6325 PACIFIC BLVD STE 300
HUNTINGTON PARK, CA 90255                              2750    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
BLANCA SANCHEZ
3020 ARDMORE AVE
SOUTH GATE, CA 90280-2733                              2751    10/31/2013   Exide Technologies, LLC                               Unliquidated       Unliquidated                                                  $0.00
PIETRAGALLO GORDON ALFANO BOSICK & RASPANTI
38TH FL
1 OXFORD CTR
PITTSBURGH, PA 15219-1407                              2752    10/31/2013   Exide Technologies, LLC              $5,934.96                                                                                     $5,934.96

CASCADE GENERAL INC & SHIPYARD COMMERCE CENTER LLC
C/O VIGOR INDUSTRIAL LLC
ATTN MICHAEL G MARSH
1801 16TH AVE SW
SEATTLE, WA 98134                                      2753    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
SEIFERT, DAVID
139 GRANDE BLVD
SINKING SPRING, PA 19608-9348                          2754    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MONTHLY MEETING OF FRIENDS OF PHILADELPHIA
ATTN ELIOT INGRAM, CLERK FINANCE COMMITTEE
320 ARCH ST
PHILADELPHIA, PA 19106                                 2755    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                         Amount                                                        Amount
CANNELLA, VITO
1122 RIVERSIDE DR
MORRISVILLE, PA 19067-1223                           2756    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TERESA P MARQUEZ
3122 E 3RD ST
LOS ANGELES, CA 90063-3065                           2757    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ROSA E PEREZ
3323 HOPE ST
HUNTINGTON PARK, CA 90255                            2758    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ROSA E PEREZ
3317 HOPE ST
HUNTINGTON PARK, CA 90255-6211                       2759    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
LBUBS 2006-C1 NORCROSS OFFICES LP
C/O LNR PARTNERS
ATTN MARK MILLER
1601 WASHINGTON AVE STE 700
MIAMI BEACH, FL 33139                                2760    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MARIA AVILA
6608 PASSAIC ST
HUNTINGTON PARK, CA 90255                            2761    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MARSH USA INC
ATTN SEAN GRAY
1166 AVE OF THE AMERICAS 23RD FL
NEW YORK, NY 10036                                   2762    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AMERICAN ELECTRIC COMPANY
PO BOX 978
COLUMBIA, MO 65205-0978                              2763    10/31/2013   Exide Technologies, LLC             $15,609.15                                                                                     $15,609.15
LIBERTY UTILITIES
C/O WERB & SULLIVAN
ATTN "J" JACKSON SHRUM
300 DELAWARE AVE STE 1300
WILMINGTON, DE 19801                                 2764    10/31/2013   Exide Technologies, LLC              $7,584.08                                                       $0.00                          $7,584.08
PRITCHARD, BEVERLY
31 IVY CHASE NE
ATLANTA, GA 30342-4500                               2765    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
TESLA MOTORS INC
ATTN LEGAL DEPT
3500 DEER CREEK RD
PALO ALTO, CA 94304                                  2766    10/31/2013   Exide Technologies, LLC            $194,120.47                             $258,219.44                                            $452,339.91

PORTLAND HARBOR SUPERFUND SITE PARTICIPATION AND
COMMON INTEREST GROUP (PCI GROUP)
C/O BARNES & THORNBURG LLP
ATTN BRUCE WHITE
ONE NORTH WACKER DR STE 4400
CHICAGO, IL 60606-2833                               2767    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00




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                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
ADP, INC
ATTN BRANDON ZIEGLER
ONE ADP BOULEVARD
MS 325
ROSELAND, NJ 07068                                      2768    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AON HEWITT
C/O DUANE MORRIS LLP
ATTN SOMMER L ROSS
222 DELAWARE AVE STE 1600
WILMINGTON, DE 19801                                    2769    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AON HEWITT
C/O DUANE MORRIS LLP
ATTN SOMMER L ROSS
222 DELAWARE AVE STE 1600
WILMINGTON, DE 19801                                    2770    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AT&T MOBILITY LLC (F/N/A CINGULAR WIRELESS LLC)
ATTN JAMES W GRUDUS ESQ, GENERAL ATTORNEY
ONE AT&T WAY ROOM 3A115
BEDMINISTER, NJ 07921                                   2771    10/31/2013   Exide Technologies, LLC         Unliquidated          Unliquidated                                                                     $0.00
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
DELRAY SCRAPE RECYCLING LLC
PO BOX 237037
NEW YORK, NY 10023                                      2772    10/31/2013   Exide Technologies, LLC                                                                         $2,005.62                          $2,005.62
HAMMEL, JO ANN
9579 N AUBURN PT
DUNNELLON, FL 34434-3731                                2773    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSON, ROBERT
3275 N RESERVE ST STE D PMB 13
MISSOULA, MT 59808-1562                                 2774    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MARY E O'GRADY
1336 HELEN DR
LOS ANGELES, CA 90063-3222                              2775    10/31/2013   Exide Technologies, LLC                                   $8,000.00                                                                $8,000.00
CO-EFFICIENT PRECISION ENGINEERING, INC.
105 SCHNEIDER ROAD, SUITE 118
OTTAWA ON K2K 1Y3 CANADA

CANADA                                                  2776    10/31/2013   Exide Technologies, LLC            $2,615.00                                                        $0.00                          $2,615.00
CHEVRON USA INC
C/O DAVIS WRIGHT TREMAINE LLP
ATTN JERRY GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                                 2777    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
UNION OIL COMPANY OF CALIFORNIA
C/O DAVIS WRIGHT TREMAINE LLP
ATTN JERRY GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                                 2778    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                              Amount                                                        Amount
TEXACO DOWNSTREAM PROPERTIES INC
C/O DAVIS WRIGHT TREMAINE LLP
ATTN JERRY GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                                   2779    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PUREWORKS, INC.
5000 MERIDIAN BLVD STE 600
FRANKLIN, TN 37067-6678                                   2780    10/31/2013   Exide Technologies, LLC            $132,000.00                                                                                    $132,000.00
BETTY STYLER
ATTN: ROBERT STYLER
2322 BELMONT AVE
ARDMORE, PA 19003-2926                                    2781    10/31/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
ROBERT BOSCH LLC
ATTN JUDITH LOWITZ ADLER
38000 HILLS TECH DR
FARMINGTON HILLS, MI 48331                                2782    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
AMERICAN HOME ASSURANCE CO, CHARTIS PROPERTY
CASUALTY CO, CHARTIS SPECIALTY INSURANCE CO ET AL
C/O AIG PROPERTY CASUALTY INC
ATTN RYAN G FOLEY, AUTHORIZED REP
175 WATER ST 15TH FL
NEW YORK, NY 10038                                        2783    10/31/2013   Exide Technologies, LLC         Unliquidated                             Unliquidated                                                   $0.00
BERNAS, RONALD
185 YOCOM RD
DOUGLASSVILLE, PA 19518-9361                              2784    10/31/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
OFELIA SWEET
14738 GARDENHILL DR
LA MIRADA, CA 90638                                       2785    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MANUEL AVILA SR
6608 PASSAIC ST
HUNTINGTON PARK, CA 90255                                 2786    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
REBECCA AVILA
6608 PASSAIC ST
HUNTINGTON PARK, CA 90255                                 2787    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MANUAL AVILA SR & REBECCA AVILA
6608 PASSAIC ST
HUNTINGTON PARK, CA 90255-5128                            2788    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
SHEPPARD MULLIN RICHTER & HAMPTON LLP
30 ROCKEFELLER PLAZA 39TH FLOOR
NEW YORK, NY 10112                                        2789    10/31/2013   Exide Technologies, LLC            $413,511.27                                                                                    $413,511.27
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                        2790    10/31/2013   Exide Technologies, LLC             $51,322.62                                                                  Unliquidated       $51,322.62
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                        2791    10/31/2013   Exide Technologies, LLC            $529,953.96                                                                  Unliquidated      $529,953.96

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2792    10/31/2013   Exide Technologies, LLC            $5,737.51                                                               Unliquidated        $5,737.51
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2793    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2794    10/31/2013   Exide Technologies, LLC            $3,357.51                                                               Unliquidated        $3,357.51
HCL AMERICA INC
C/O CARL E AILARA JR, ESQ
15 EXCHANGE PL STE 730
JERSEY CITY, NJ 07302                             2795    10/31/2013   Exide Technologies, LLC        $2,078,105.59                                                                                $2,078,105.59
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2796    10/31/2013   Exide Technologies, LLC         Unliquidated      Unliquidated                                             Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2797    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2798    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2799    10/31/2013   Exide Technologies, LLC            $7,028.44                                                                                   $7,028.44
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2800    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2801    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                       $0.00


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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2802    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2803    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2804    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2805    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2806    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2807    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2808    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2809    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2810    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2811    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00

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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2812    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2813    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2814    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2815    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2816    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2817    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2818    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2819    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                                2820    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
WELCH, RONNIE
6521 FRYE RD
REMBERT, SC 29128-8550                            2821    10/31/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
ROBERT T LURVEY TRUST
C/O ROBERT T LURVEY TTEE
7618 ALSTON CT
UNIVERSITY PARK, FL 34201                        2822    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KRYSZTOFORSKI, RICHARD
51 ALVERSON LOOP
STATEN ISLAND, NY 10309-1748                     2823    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
CLITE, WAYNE
3233 REESE LN
AZLE, TX 76020-1522                              2824    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GILLIS, EUGENE
3791 IDA DR
COLUMBUS, GA 31906-4428                          2825    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PARKER, KENNETH
294 CROOKSVILLE RD
BEREA, KY 40403-9727                             2826    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JENKINS, SUE
100 MILDRED CT
RICHMOND, KY 40475-1323                          2827    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, JOYCE
PO BOX 5016 HIGHWAY 3447
MCKEE, KY 40447                                  2828    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SLIFKA, JOHN
N34W23886 GRACE AVE
PEWAUKEE, WI 53072                               2829    10/31/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
YOUNG, STEPHEN
5202 SICKLE RD
EMMAUS, PA 18049-4634                            2830    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JACKSON, LEWIS
PO BOX 341
LANCASTER, TX 75146-0341                         2831    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAM, TUNE
11285 WETUPKA WAY
HERNANDO, MS 38632-4419                          2832    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUMANICK, ROBERT
49 N 7TH ST
COPLAY, PA 18037-1512                            2833    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SUPERIOR PLUMBING & HEAT CO INC
1645 COPPER CT
SALINA, KS 67401-4687                            2834    10/31/2013   Exide Technologies, LLC            $137,071.35                                                                                    $137,071.35
AMER-SIL S.A.
GUY DAUWE
ZONE INDUSTRIELLE
L-8287 KEHLEN, LUXEMBOURG

LUXEMBOURG                                       2835    10/31/2013   Exide Technologies, LLC             $46,817.38                                                                                     $46,817.38
JULIE M FAGAN & LLOYD H WAXMAN
C/O LLOYD WAXMAN
440 TOP ROCK TRAIL
KINTNERSVILLE, PA 18930                          2836    10/31/2013   Exide Technologies, LLC                    $0.00                                 $0.00               $0.00                              $0.00

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                                                                                                      Amount                                                        Amount
JAMES H ULLRICH REV TR
C/O JAMES H ULLRICH TTEE
23201 SCOTCH PINE LN
MACOMB, MI 48042                                  2837    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
GIESE, CORINNE
909 W EULA CT
MILWAUKEE, WI 53209-6505                          2838    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEWELLYN, STEPHEN K
122 W CAMERON ST
CULPEPER, VA 22701                                2839    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LEWELLYN, STEPHEN K
122 W CAMERON ST
CULPEPER, VA 22701                                2840    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUCKHORN INC
ATTN SCOTT JAMES
1293 S MAIN ST
AKRON, OH 44301                                   2841    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
PALLET ONE OF NORTH CAROLINA INC
ATTN ACCOUNTS RECEIVABLE
2340 IKE BROOKS RD
SILER CITY, NC 27344                              2842    10/31/2013   Exide Technologies, LLC             $37,401.18                                                   $6,132.00                         $43,533.18
SYSTEM GROUP, THE
C/O THE LAW OFFICE OF K. SMARTT
ATTN: KEITH SMARTT
P.O. BOX 869-B
MCMINNVILLE, TN 37111                             2843    10/31/2013   Exide Technologies, LLC            $113,196.76                                                  $17,500.00                        $130,696.76
MARY ALDRIDGE
C/O MICHAEL HARRY, ATTORNEY
1405 W CENTER
GREENWOOD, AR 72936                               2844    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STEPHEN GIOVANNIELLO
C/O THE GUCCIARDO LAW FIRM, PLLC
ATTN: THOMAS P. RAM, ESQ.
170 OLD COUNTRY RD STE 609
MINEOLA, NY 11501-4313                            2845    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLEN KISER
7545 MASON ST NE
KEIZER, OR 97303                                  2846    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FEDEX TECHCONNECT INC
AS ASSIGNEE OF FEDERAL EXPRESS CORP/FEDEX
GROUND PACKAGE SYSTEMS INC ET AL
ATTN REVENUE RECOVERY/BANKRUPTCY
3965 AIRWAYS BLVD MODULE G 3RD FL
MEMPHIS, TN 38116                                 2847    10/24/2013   Exide Technologies, LLC            $156,030.19                                                                                    $156,030.19
WASTE MANAGEMENT
ATTN JACQUOLYN MILLS
1001 FANNIN ST STE 4000
HOUSTON, TX 77002                                 2848    10/29/2013   Exide Technologies, LLC             $63,136.98                                                                                     $63,136.98



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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
NICOR GAS
PO BOX 549
AURORA, IL 60507                                 2849    10/30/2013   Exide Technologies, LLC              $1,142.58                                                                                      $1,142.58
ATMOS ENERGY CORPORATION
PO BOX 650205
DALLAS, TX 75265-0205                            2850    10/30/2013   Exide Technologies, LLC              $1,492.52                                                                                      $1,492.52
BNSF RAILWAY COMPANY
ATTN JASON SPENCER
3001 LOU MENK BUILDING A
FORT WORTH, TX 76131                             2851    10/30/2013   Exide Technologies, LLC             $29,495.19                                                                                     $29,495.19
WICKER SMITH O'HARA MCCOY AND FORD, PA
2800 PONCE DE LEON BLVD STE 800
CORAL GABLES, FL 33134                           2852    10/30/2013   Exide Technologies, LLC               $630.20                                                                                         $630.20
CITY OF MEMPHIS TREASURER
PO BOX 185
MEMPHIS, TN 38101-0185                           2853    10/30/2013   Exide Technologies, LLC                                                         $26.29                                                 $26.29
UNION PACIFIC RAILROAD COMPANY
ATTN MARY ANN KILGORE
1400 DOUGLAS ST STOP 1580
OMAHA, NE 68179                                  2854    10/28/2013   Exide Technologies, LLC             $26,455.00                                                                                     $26,455.00
CITY OF MEMPHIS TREASURER
PO BOX 185
MEMPHIS, TN 38101-0185                           2855    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHAPIRO, ANDREW I
4074 TREEBROOK DR
HILLIARD, OH 43026                               2856    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CASTEEL, BRUCE
3479 N LINDA DR
BOURBONNAIS, IL 60914-4323                       2857    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
O'BRIEN, GLADYS
307 ORCHARD ST
CHEBANSE, IL 60922-9758                          2858    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
TEMP STAFF INC
962 NORTH ST
JACKSON, MS 39202-2614                           2859    10/31/2013   Exide Technologies, LLC              $5,441.95                $0.00                                                                 $5,441.95
ESTHELA TARAZON
7625 E SLAUSON AVE
COMMERCE, CA 90040-3826                          2860    10/31/2013   Exide Technologies, LLC            $250,000.00                                                                                    $250,000.00
BENSON, MICHAEL
568 N FAIRMONT AVE
KANKAKEE, IL 60901-2641                          2861    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DEVINE, BRENDAN
62 S WARNER AVE
BRYN MAWR, PA 19010-2609                         2862    10/31/2013   Exide Technologies, LLC                    $0.00          $1,834.52                                  $0.00                          $1,834.52
GREGORY W FURNEAUX
C/O CHARLES M GREEN, PA
55 EAST PINE ST
ORLANDO, FL 32801                                2863    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
MADEWELL & MADEWELL, INC.
PO BOX 386
JONES, OK 73049                                  2864    10/31/2013   Exide Technologies, LLC            $186,220.79                                                                                    $186,220.79
MADEWELL & MADEWELL INC.
9400 N CHOCTAW RD
JONES, OK 73049-7807                             2865    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MADEWELL AND MADEWELL
P.O. BOX 386
JONES, OK 73049                                  2866    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MADEWELL METALS
P.O. BOX 386
JONES, OK 73049                                  2867    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MADEWELL & MADEWELL
PO BOX 386
JONES, OK 73049                                  2868    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MADEWELL & MADEWELL INC
PO BOX 386
JONES, OK 73049-0386                             2869    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAWNSCAPE ASSOCIATES
ATTN NEIL MCGORISK
PO BOX 930282
WIXOM, MI 48393                                  2870    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
REV W KURT VON ROESCHLAUB
4 CORNWALL LN
PORT WASHINGTON, NY 11050-1345                   2871    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
PENA'S DISPOSAL INC
12094 AVE 408
OROSI, CA 93647                                  2872    11/1/2013    Exide Technologies, LLC              $1,337.60                                                   $1,634.40                          $2,972.00
ADP INC
AUTOMATIC DATA PROCESSING INC
ATTN BRANDON ZIEGLER
ONE ADP BLVD MS 325
ROSELAND, NJ 07068                               2873    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DON E WALKER
PO BOX 194
PRENTISS, MS 39474                               2874    11/1/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
WALTZER, ADRIAN
16 SANDUSKY RD
NEW CITY, NY 10956                               2875    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
CAROLINA COMMERCIAL HOLDINGS LLC
ATTN GENE WARR
2917 W PALMETTO ST
FLORENCE, SC 29501                               2876    11/1/2013    Exide Technologies, LLC             $15,000.00                                                                                     $15,000.00
FLOWERS, ROBERT
1605 BUTLER AVE
OCOEE, FL 34761-3828                             2877    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
PETTY, BUCKY
6705 GRAPEVINE RD
FLOWER MOUND, TX 75022-5822                      2878    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
DUKE HWYNN
1535 N HERBERT AVE
LOS ANGELES, CA 90063-1936                        2879    11/1/2013    Exide Technologies, LLC            $250,000.00                                                                                    $250,000.00
GAINES, ISAAC
986 FORDS CREEK RD
WOODVILLE, MS 39669-3706                          2880    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LARRY HARRISON
1100 W MAGNOLIA AVE
GENEVA, AL 36340-1204                             2881    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CARTER, VELMA
113 ALLENDALE DR
VICKSBURG, MS 39180-8926                          2882    11/1/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
JOHNSON, ROSIE
200 MAPLE CIR
VICKSBURG, MS 39180-8995                          2883    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
FRANKLIN, CAROLYN
1226 GRANGE HALL RD
VICKSBURG, MS 39180-5810                          2884    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WASHINGTON, RUBENA
106 LILLYE DR
VICKSBURG, MS 39180-6328                          2885    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
CLARK, ARNELL
PO BOX 820325
VICKSBURG, MS 39182-0325                          2886    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MAJOR, PAULINE
112 GREENVIEW DR
VICKSBURG, MS 39183-9003                          2887    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SMITH, JOANNIE
101 MELROSE AVE
VICKSBURG, MS 39180-6186                          2888    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ALBERTA SANDERS
60 KITTY BINGHAM DRIVE
VICKSBURG, MS 39183                               2889    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WHITE, TERRY
1104 MORRIS RD
EDWARDS, MS 39066-9714                            2890    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BURNHAM, CHARITY
207 DRUSILLA LN
VICKSBURG, MS 39180-6123                          2891    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEWIS, JUDI
554 WHITE RD
FLORENCE, MS 39073-9571                           2892    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
KENNETH GIFFORD
6 ALICIA CIR
READING, PA 19608-9404                            2893    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DE SANTIS, FRANCIS P
154-05 BEECH AVE
FLUSHING, NY 11355                                2894    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00




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                                                                                                      Amount                                                       Amount
WYATT, DONALD
PO BOX 1262
WOODVILLE, MS 39669-1262                          2895    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
STEVENSON, JOANN
250 BERRYMAN RD
VICKSBURG, MS 39180-4453                          2896    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
TED POLK
1009 DEAD END LANE
CRYSTAL SPRINGS, MS 39059                         2897    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
HOOD, RHONDA
15544 FAITH ST
FONTANA, CA 92336-5740                            2898    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
HENRY'S PALLETS
BOX 226
OSLER SK S0K 3A0 CANADA

CANADA                                            2899    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SHAUB, PATRICIA
312 HOLLOW RD
NEW PROVIDENCE, PA 17560-9765                     2900    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BUDWASH, ROBERT
57 W WYOMISSING AVE
MOHNTON, PA 19540-1917                            2901    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
OCHOA, CARLOS
214 JUNIPER LEAF WAY
GREER, SC 29651-3942                              2902    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
CRERAR, PETER
TWEED HEADS
9/90 KEITH COMPTON DRIVE
NEW SOUTH WALES 2485 AUSTRALIA

AUSTRALIA                                         2903    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ALMA I ACEVEDO PALACIOS
3229 GLENN AVE
LOS ANGELES, CA 90023-3513                        2904    11/1/2013    Exide Technologies, LLC              $468.00                                                                                         $468.00
JORGE LUJAN
1626 DOVER CIR
SALINA, KS 67601                                  2905    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BLOOM, P
11394 MERIDIAN ST
INDEPENDENCE, OR 97351-9724                       2906    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
STEWART, VIVIEN
3023 SE GLADSTONE ST
PORTLAND, OR 97202-3553                           2907    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
JESSE AND JESSIE CARDIEL
2315 1/2 OPAL ST
LOS ANGELES, CA 90023-2123                        2908    11/1/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
RESIDENT
2546 COMMERCE WAY
COMMERCE, CA 90040-1411                           2909    11/1/2013    Exide Technologies, LLC                               Unliquidated                                                                     $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BENTON COUNTY TAX COLLECTOR
215 E CENTRAL AVE STE 101
BENTONVILLE, AR 72712                            2910    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DEBORAH REMIGIO & CRYSTAL SERRANO
532 1/2 NORTH 4TH STREET
MONTEBELLO, CA 90640                             2911    11/1/2013    Exide Technologies, LLC                                  $20,000.00                                                                $20,000.00
THOMAS, DONAL C
1433 WHITECAP LN
WACONIA, MN 55387                                2912    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LUNDQUIST, JOHN W
4224 QUEEN AVE S
MINNEAPOLIS, MN 55410                            2913    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAKEMAN AND SONS INC
STEVEN LEE
PO BOX 787
HOLDEN, ME 04429                                 2914    11/1/2013    Exide Technologies, LLC             $2,434.60                                    $0.00               $0.00                          $2,434.60
SANNER BROTHERS SALVAGE
2719 E. ROAD 1 SOUTH
MONTE VISTA, CO 81144                            2915    11/1/2013    Exide Technologies, LLC              $682.38                                                         $0.00                            $682.38
ROSEMARY DUFOUR
PO BOX 2276
BRANFORD, CT 06405-1376                          2916    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BRATTON, NORA
PO BOX 552
FLORA, MS 39071-0552                             2917    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KISHORE H GIDVANI & ASHA K GIDVANI
C/O KISHORE H GIDVANI
7000 VILLAGE PKWY #4
DUBLIN, CA 94568                                 2918    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
WATER GREMLIN COMPANY
4350 OTTER LAKE RD
SAINT PAUL, MN 55110-3761                        2919    11/1/2013    Exide Technologies, LLC            $69,108.93                                                        $0.00                         $69,108.93
THOMAS RALPH WADE
PO BOX 54
WELLFORD, SC 29385                               2920    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUFF, STANLEY
75 IMPERIAL CT
WAYNESVILLE, NC 28785-2403                       2921    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HILDA T POLZER
1108 CHESTNUT ST
COPLAY, PA 18037-1415                            2922    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
POLZER, MICHAEL
3420 N 2ND ST
WHITEHALL, PA 18052-3109                         2923    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRADY SYSTEMS
STEPHANIE GILLETTE
811 NORTH ALVORD STREET
SYRACUSE, NY 13208                               2924    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
PESTA, JOSEPH
505 S IRVING AVE
SCRANTON, PA 18505-2037                         2925    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
SONABEND, SOL
3701 NE 200 ST
AVENTURA, FL 33180                              2926    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SERGIO & NANCY TORRES
7412 CALIFORNIA AVE
HUNTINGTON PARK, CA 90255-5903                  2927    11/2/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ALLEN, LAWRENCE
211 OXFORD WAY
LOGANSPORT, IN 46947-2452                       2928    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ROGERS, RONALD
2105 N JOSEY LN APT 212
CARROLLTON, TX 75006-2918                       2929    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LEONARD MANDUJANO
PO BOX 241
SOUTH GATE, CA 90280-0241                       2930    11/2/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KAREN NEWBOLD SEP / IRA
1006 SYLVAN BLVD
HENDERSONVILLE, NC 28791                        2931    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SALVADOR DIAZ
2722 HILL ST
WALNUT PARK, CA 90255                           2932    11/2/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KRAUS, HEINZ JOSEPH
LAMBERTUSSTRASSE 23
ROMMERSKIRCHEN D-41569 GERMANY

GERMANY                                         2933    11/2/2013    Exide Technologies, LLC                    $0.00              $0.00                                 $0.00                              $0.00
NORWOOD, DOROTHY J.
156 MARY MYLES DR
BRANDON, MS 39042-9289                          2934    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
MARSHALL, MARY
1079 HARDGE LANE
EDWARDS, MS 39066                               2935    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
HARRIS, OLLIE
241 N FAIRMONT AVE
KANKAKEE, IL 60901-2706                         2936    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
WANISHA BURTON
719 E 79TH ST APT 4
LOS ANGELES, CA 90001-3251                      2937    11/2/2013    Exide Technologies, LLC                                     $321.00                                                                  $321.00
ENSTAR NATURAL GAS COMPANY
PO BOX 190288
ANCHORAGE, AK 99519-0288                        2938    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
DIMITRI I VITKOFF
PO BOX 9101
MARINA DEL REY, CA 90295                        2939    11/2/2013    Exide Technologies, LLC            $200,000.00                                                                                   $200,000.00




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                                                                                                     Amount                                                        Amount
AGILENT TECHNOLOGIES INC
ATTN RAY BRYANT
3750 BROOKSIDE PKWY
ALPHARETTA, GA 30022                             2940    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GREEN, MINA
22307 W NIAGARA CT
PLAINFIELD, IL 60544-6042                        2941    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HASLAM, DIANE
1230 PINE CREEK RD
NEW RINGGOLD, PA 17960-9780                      2942    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ELLIS, VERNON
4321 GILBERT AVE
COLUMBUS, GA 31904-6518                          2943    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PONCIANO RICO JR
3756 DOZIER ST
LOS ANGELES, CA 90063-2223                       2944    11/2/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
PADDOCK BROTHERS INC.-FRANFORT
4410 WEST ROAD 28
FRANKFORT, IN 46041                              2945    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CHATMAN, GREGORY
125 NORMAN RD
MAGEE, MS 39111-2901                             2946    11/2/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
SIMS, ANNETTE
255 UNION AVE
VICKSBURG, MS 39183-9096                         2947    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MURDOCK MACKAY LTD
5 NIXON ROAD
BOLTON, ON L7E 1L2
CANADA                                           2948    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAMS, VOLLEY
210 RAILROAD ALY
VICKSBURG, MS 39183-9010                         2949    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, BRENDA
210 RAILROAD ALY
VICKSBURG, MS 39183-9010                         2950    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
NELSON, IVORY
PO BOX 726
YAZOO CITY, MS 39194-0726                        2951    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SIMS, ALFRED
255 UNION AVE
VICKSBURG, MS 39183-9096                         2952    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
JENKINS, EDDIE
1435 LEE RD #288
SMITHS, AL 36877                                 2953    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ELIZABETH HERNANDEZ
5221 1/2 MAYWOOD AVE
MAYWOOD, CA 90270-2011                           2954    11/4/2013    Exide Technologies, LLC                                   $5,000.00                                                                 $5,000.00
BEARINGS & DRIVES INC
PO BOX 116733
ATLANTA, GA 30368-6733                           2955    11/4/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00

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                                                                                                     Amount                                                        Amount
SCALE SYSTEMS INC
PO BOX 116733
ATLANTA, GA 30368-6733                           2956    11/4/2013    Exide Technologies, LLC             $1,729.00                                                      $975.00                           $2,704.00
HYPHEN TRANSPORTATION MANAGEMENT INC.
C/O T9976U
PO BOX 9976, STN A
TORONTO ON M5W 2J2 CANADA

CANADA                                           2957    11/4/2013    Exide Technologies, LLC            $22,411.34                                                                                       $22,411.34
MARTIN, ALFRED
2947 LONGWOOD DR
JACKSON, MS 39212-2514                           2958    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
RICHMOND, CAROLYN
8705 GRAYWOOD
DALLAS, TX 75243                                 2959    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
DIANA L DIAZ
2722 HILL ST
WALNUT PARK, CA 90255                            2960    11/4/2013    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
CALL ONE, INC
PO BOX 9002
CAPE CANAVERAL, FL 32920                         2961    11/4/2013    Exide Technologies, LLC              $240.80                                                       $214.66                             $455.46
MILLER, IDA
220 IRONWOOD DRIVE LOT #25
VICKSBURG, MS 39180                              2962    11/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                  $0.00            $0.00
O'NEAL, MARY
201 CAIRO DR
VICKSBURG, MS 39180-5903                         2963    11/4/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
WILSON, LORA
45 FALK STEEL RD
VICKSBURG, MS 39183-7948                         2964    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
DAILEY, HARRIETTE
44 TAYLORS ST
VICKSBURG, MS 39183-7692                         2965    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
ANNA M THOMAS
2930 GRANGE HALL RD
VICKSBURG, MS 39180                              2966    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
SMITH, GLADYS
1717 MARTIN L. KING
VICKSBURG, MS 39180                              2967    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
DEBORA HARDY
210 AZALEA LN
VICKSBURG, MS 39180                              2968    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
KAREN DIAZ
2722 HILL ST
WALNUT PARK, CA 90255                            2969    11/4/2013    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
NORMA DIAZ
2722 HILL ST
HUNTINGTON PARK, CA 90255-6336                   2970    11/4/2013    Exide Technologies, LLC         Unliquidated                                                                                             $0.00




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                                                                                                       Amount                                                        Amount
BERRY, ROY
1104 SIMPSON HIGHWAY 28 W
PINOLA, MS 39149-3114                              2971    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BERRY, JEROME
PO BOX 431
MENDENHALL, MS 39114-0431                          2972    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
EILEEN ACOSTA
962 S SPENCE ST
LOS ANGELES, CA 90023-2345                         2973    11/4/2013    Exide Technologies, LLC                                                  Unliquidated                                                   $0.00
LEWIS, MELINDA
529 WHITE RD
FLORENCE, MS 39073-9627                            2974    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DOROTHY HERRING SIMS
1746 HIGHWAY 22
EDWARDS, MS 39066-9017                             2975    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ANDERSON, LORY
1338 WARNER AVE N
MAHTOMEDI, MN 55115-1955                           2976    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HEFNER, MICHAEL P & DIANE J
C/O MICHAEL P HEFNER
14124 WESTBURY DR
LITTLEROCK, AR 72223                               2977    11/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
RADERMACHER, RANDALL
63 HIGH ST
NEW CASTLE, PA 16101-1638                          2978    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RICO STEVENSON
250 BERRYMAN RD
VICKSBURG, MS 39180-4453                           2979    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ALLEN, MILDRED
2603 OAK ST
VICKSBURG, MS 39180-4643                           2980    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
RAYS AUTO SUPPLY - SPIRIT LAKE
2323 CIRCLE DR W
SPIRIT LAKE, IA 51360-1066                         2981    11/4/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
COLEMAN, ARTHUR
244 SIDWAY ST
JACKSON, MS 39202-1932                             2982    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MILDRED BLACK
114 FLEETWOOD DR
VICKSBURG, MS 39180                                2983    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
EILEEN SULLIVAN
22055 46 AVE APT 12C
BAYSIDE, NY 11361                                  2984    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SULLIVAN, EILEEN G
220-55 46TH AVE APT 12-C
BAYSIDE, NY 11361-3663                             2985    11/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
AT&T LONG DISTANCE LLC
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY RM 3A104
BEDMINSTER, NJ 07921                             2986    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
PACIFIC BELL TELEPHONE COMPANY
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY RM 3A104
BEDMINSTER, NJ 07921                             2987    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SOUTHWESTERN BELL TELEPHONE COMPANY
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY RM 3A104
BEDMINSTER, NJ 07921                             2988    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BELL SOUTH COMMUNICATION SYSTEMS LLC
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY RM 3A104
BEDMINSTER, NJ 07921                             2989    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARIA P CARRILLO
913 N EASTMAN AVE
LOS ANGELES, CA 90063-2111                       2990    11/5/2013    Exide Technologies, LLC             $4,750.00                                                                                      $4,750.00
DAVID R MIRANDA
920 N EASTMAN AVE
LOS ANGELES, CA 90063-2112                       2991    11/5/2013    Exide Technologies, LLC            $19,750.00                                                                                     $19,750.00
STUART C IRBY CO
PO BOX 1819
JACKSON, MS 39215-1819                           2992    11/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FATIMA REID
643 S KERN AVE
LOS ANGELES, CA 90022-2509                       2993    11/5/2013    Exide Technologies, LLC                               Unliquidated                                                                     $0.00
EVERT REID
643 S KERN AVE
LOS ANGELES, CA 90022                            2994    11/5/2013    Exide Technologies, LLC                               Unliquidated                                                                     $0.00
ENRIQUE RUIZ
643 S KERN AVE
LOS ANGELES, CA 90022                            2995    11/5/2013    Exide Technologies, LLC                               Unliquidated                                                                     $0.00
SPRUILL, THOMAS
4038 RED RIVER LANE
GONZELES, LA 70737                               2996    11/5/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
BLUE SKY RECYCLING
ATTN: ALLEN WILLIAMS
PO. BOX 241071
ANCHORAGE, AK 99524                              2997    11/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BEHRENS, KENNETH G
912 S BUTTERNUT PL
BROKEN ARROW, OK 74012                           2998    11/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                          Amount                                                   Amount
CRP HOLDINGS A-1 LLC
C/O THE SADER LAW FIRM
ATTN NEIL S SADER, ESQ
2345 GRAND BLVD STE 1925
KANSAS CITY, MI 64108                                 2999    10/17/2013   Exide Technologies, LLC                                                                                            $0.00            $0.00
SEAGATE PLASTICS COMPANY ("SEAGATE")
C/O POTTER ANDERSON & CORROON LLP
ATTN JEREMY W RYAN
1313 N MARKET ST 6TH FL
WILMINGTON, DE 19801                                  3000    10/23/2013   Exide Technologies, LLC                                                                         $0.00                               $0.00
ROYSTER, HENRIETTA
109 CARVER DR
VICKSBURG, MS 39180-6303                              3001    11/6/2013    Exide Technologies, LLC                                   $0.00                                                                     $0.00
ASUNCION & DANIEL GUZMAN
C/O DANIEL GUZMAN
2551 IOWA AVE
SOUTH GATE, CA 90280                                  3002    11/6/2013    Exide Technologies, LLC                            $100,000.00                                                                $100,000.00
LEESBURG IRON & METAL-LEESBURG
229 DEPOT CT SE
LEESBURG, VA 20175-3017                               3003    11/6/2013    Exide Technologies, LLC              $659.88                                                                                      $659.88
TERESA PENA, GUARDIAN OF MINOR ANGEL SANDOVAL
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3004    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIA CRUZ, GUARDIAN OF MINOR MARIBEL CRUZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3005    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MICHELLE L FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3006    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
JOSE P VELASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3007    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
AMY GUERRERO, GUARDIAN OF MINOR
YUNUE AMAYELI MAYA ARIAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3008    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00




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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                   Amount

MANUELA MEDINA GUARDIAN OF MINOR ALEJANDRO MEDINA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3009    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

ELIZABETH TORRES, GUARDIAN OF MINOR CRYSTAL ACEVES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3010    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

ANDREA LOPEZ, GUARDIAN OF MINOR AVOREE J ANTONIO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3011    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

VIVIANA OSATIO, GUARDIAN OF MINOR SALVADOR FLORES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3012    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

GABRIELA RAMOS, GUARDIAN OF MINOR DENNIS ALEJANDRE
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3013    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
SONIA ANGUIANO GUARDIAN OF MINOR
JUAN LUIS ANGUIANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3014    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

SONIA ANGUIANO GUARDIAN OF MINOR KIMBERLY ANGUIANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3015    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ANA M FLORES GUARDIAN OF MINOR DAVID FUENTES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3016    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                   Amount
CHERYLE MEDINA GUARDIAN OF MINOR
BRYSEN K PALOMARES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3017    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
FLOR REYES GUARDIAN OF MINOR NICOLE MEJIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3018    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
REINA TORRES, GUARDIAN OF MINOR ODALYZ ABREO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3019    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
AREKY MERINA, GUARDIAN OF MINOR MARILYN LOPEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3020    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
RUTH TOLEDO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3021    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
GABRIELA RAMOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3022    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
RAFAEL RODRIGO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3023    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
VANESSA F RODRIGUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3024    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
GERARDO NUNEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3025    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                   Amount
JOVITA MORALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3026    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
VIVIANA OSORIO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3027    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
GRACIELA MARTINEZ, GUARDIAN OF MINOR
VALERIA RODRIGUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3028    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
STEPHEN ROJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3029    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
BRENDA VELA, GUARDIAN OF MINOR VALERIA SEGURA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3030    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

BRENDA VELA, GUARDIAN OF MINOR HUMBERTO SEGURA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3031    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JACKIE PEREZ, GUARDIAN OF MINOR JAYLEEN PEREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3032    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
YESENIA RAMOS, GUARDIAN OF MINOR ALEXIS RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3033    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
YESENIA RAMOS, GUARDIAN OF MINOR ANGEL RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3034    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                   Amount

NATHALIE DIAZ, GUARDIAN OF MINOR KEVAN J URGUILLA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3035    11/7/2013    Exide Technologies, LLC       $25,000,000.00                                                                               $25,000,000.00
AMY UVERA, GUARDIAN OF MINOR ISAAC OCHOA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3036    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR ELIJAH RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3037    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
LAURA BANUELOS, GUARDIAN OF MINOR ARIEL SALINAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3038    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
LAURA BANUELOS, GUARDIAN OF MINOR
KING ISAIAH SALINAS
C/O BROWN RUDNICK, LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3039    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JOSALYN PEREZ, GUARDIAN OF MINOR BELLA MEJIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3040    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
KARINA DIAZ, GUARDIAN OF MINOR LUNA MAGANA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3041    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

RUTH M TOLEDO, GUARDIAN OF MINOR DAVIAN MARQUEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3042    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
KARINA DIAZ, GUARDIAN OF MINOR CAMILA MAGANA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3043    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                   Amount
CYNTHIA M ALANIS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3044    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARTHA LAURA IBARRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3045    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

ALICIA JURADO, GUARDIAN OF MINOR ANTHONY ROSALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3046    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
YESENIA G BARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3047    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
DIANA BERNAL
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3048    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
GONSALO MEDRANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3049    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
BRANDON X RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3050    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA DEL CARMEN VASQUEZ, GUARDIAN OF MINOR
ANTONIO VASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3051    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA DEL CARMEN VASQUEZ, GUARDIAN OF MINOR
CARLOS VASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3052    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
LAURA BANUELOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3053    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
AMY UVERA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3054    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
RUBEN GARCIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3055    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3056    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
KELLY CURIMAO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3057    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
RUBEN CORTEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3058    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARCOS IBARRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3059    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
SAUL HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3060    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
CHERYL A MEDINA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3061    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
CHRISTIAN VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3062    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

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                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                   Amount
MANUEL HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3063    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JULIEANNA M DURAN
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3064    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
PEDRO M ESTRADA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3065    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ADRIAN ESCAREGA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3066    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JESSICA DIAZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3067    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ANA CARDENAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3068    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MICHAEL ACEVES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3069    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
VICTOR LUEVANOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3070    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
GABRIELA RAMOS, GUARDIAN OF MINOR
VALERIA HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3071    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                   Amount
JOANNA VELAZQUEZ, GUARDIAN OF MINOR
NATALIE JARAMILLO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3072    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

AZUCENA LAGUNA, GUARDIAN OF MINOR ALLISON LONA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3073    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

AZUCENA LAGUNA, GUARDIAN OF MINOR ARNOLD LONA
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3074    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
DALILIA MENDEZ, GUARDIAN OF MINOR
GABRIELLE L LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3075    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
OSMAR LOPEZ, GUARDIAN OF MINOR KAMILAH LOPEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3076    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
HERIBERTO HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3077    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
OSMAR LOPEZ, GUARDIAN OF MINOR KATIE LOPEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3078    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
KIMBERLY L CURIMAO-BUTAC
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3079    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

EVA SEGURA, GUARDIAN OF MINOR CHRISTOPHER SEGURA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3080    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

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                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                   Amount
BRENDA VELA, GUARDIAN OF MINOR ADRIEN SEGURA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3081    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

JOANNA HERNANDEZ, GUARDIAN OF MINOR DNELL CAMPOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3082    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
AMY UVERA, GUARDIAN OF MINOR BREEHELEN CHAVEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3083    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
YUNUE AMAYELI MAYA ARIAS, GUARDIAN OF
MINOR EVA GUERRERO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3084    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ELENA IBARRA, GUARDIAN OF MINOR EBONY TOSCANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3085    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ROOSEVELT HUMPHREY
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3086    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
PEDRO IBARRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3087    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
BRENDA L NUNEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3088    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
FLOR REYES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3089    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
OLMSTEAD, LARRY
446 LUTHER ST SW
CEDAR RAPIDS, IA 52404-8220                          3090    11/7/2013    Exide Technologies, LLC                                   $0.00                                                                    $0.00

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                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
FARMER, PERCY
2820 CANARY CT
MESQUITE, TX 75149-2934                                3091    11/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
HELEN MERCADO
3417 GLEASON AVE
LOS ANGELES, CA 90063                                  3092    11/7/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
EUREKA WATER COMPANY - OKLAHOMA CITY
PO BOX 26730
OKLAHOMA CITY, OK 73126-0730                           3093    11/7/2013    Exide Technologies, LLC              $122.41                                                                                         $122.41
CHEMETALL US INC
PO BOX 23100
LOS ANGELES, CA 90023-0100                             3094    11/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
OSMAR LOPEZ, GUARDIAN OF MINOR KENIA LOPEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3095    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALEXANDRO MERAZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3096    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARIA LUISA GONSALEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3097    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
KIMBERLY FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3098    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

ANA MARIA FLORES, GUARDIAN OF MINOR SERGIO FUENTES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3099    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MICHELLE VERA, GUARDIAN OF MINOR ANDY ARIZAGA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3100    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

MARIA CASTILLO, GUARDIAN OF MINOR MATTHEW A RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3101    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00


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                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
              Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                        Amount                                                   Amount
MARIA DEL CARMEN VASQUEZ, GUARDIAN OF MINOR
LEONNIDES J BARASA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3102    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ALMA VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3103    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
RUBEN VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3104    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
RUBEN VARGAS-GARCIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3105    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA DEL CARMEN VASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3106    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JUAN M RENTERIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3107    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
BLANCA MORENO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3108    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JOEY NAVARETTE
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3109    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ERIKA AYON, GUARDIAN OF MINOR JESSUS LUQUE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3110    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                   Amount
ALMA VARGAS, GUARDIAN OF MINOR ALEN VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3111    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
TERESA PENA, GUARDIAN OF MINOR ANGEL SANDOVAL
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3112    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
SERGIO A FUENTES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3113    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
CARINA LIZETH FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3114    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JOSE L FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3115    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ANA FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3116    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
VANESSA RODRIGUEZ, GUARDIAN OF MINOR
DAISY M RENTERIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3117    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
GRISELDA VARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3118    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JIMMY MORALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3119    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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               Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                   Amount
ALEXANDER A GARCIA
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3120    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
TERESA PENA, GUARDIAN OF MINOR CHRISTIAN CORTEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3121    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARTIN VALENSI VARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3122    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ERIKA AYON
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3123    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
VANESSA RODRIGUEZ, GUARDIAN OF MINOR
DESTINY A RENTERIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3124    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR BRANDY RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3125    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
DARLENE L ORTIZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3126    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
RAFAEL NARANJO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3127    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MATA NEVARES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3128    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                Creditor Name and Address          Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
VANESSA GARCIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3129    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARIA DEUSTUA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3130    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

BLANCA MORENO, GUARDIAN OF MINOR ANGEL AGUILAR
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3131    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
SAUL HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3132    11/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ALICIA JURADO, GUARDIAN OF MINOR HECTOR ROSALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3133    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JOSE J VELASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3134    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALMA VARGAS, GUARDIAN OF MINOR ISAI F RINCON
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3135    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR AUDRINA S RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3136    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ANA I GALVES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3137    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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               Creditor Name and Address               Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                             Amount                                                   Amount
MARIA CASTILLO, GUARDIAN OF MINOR NATALIA S RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3138    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
CLAUDIA MORENO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3139    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
YENI RIVERA, GUARDIAN OF MINOR MATTHEW J WADE
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3140    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
KAREN CALERO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3141    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
TERESA PENA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3142    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR
PRINCESS SERINA L ROSS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3143    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

BERTHA ESTRADA, GUARDIAN OF MINOR ARMANDO GUERRERO
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3144    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

YUNUE AM ARIAS, GUARDIAN OF MINOR JARINTIZI MAYA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3145    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
LURDES VILLEGAS, GUARDIAN OF MINOR
CLAUDIA MARTINEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3146    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00


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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                   Amount
MICHELLE VERA, GUARDIAN OF MINOR JOHNNY G VERA
C/O BROWN RUDNICK LLP
ATT WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3147    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

RUBEN VARGA QUIROGA, GUARDIAN OF MINOR MARK VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3148    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

NEMALYN BUTAC, GUARDIAN OF MINOR NEVAEH CURIMAO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3149    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

KELLY CURIMAO, GUARDIAN OF MINOR CHRISTIAN CURIMAO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3150    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ROSA LASCANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3151    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ASHLEY L MARTINEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3152    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ANGEL VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3153    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ANDREA A LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3154    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MICHELLE VERA, GUARDIAN OF MINOR NATHALIE I VERA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3155    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                   Amount

CLAUDIA MORENO, GUARDIAN OF MINOR FERNANDO VERGARA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3156    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JACKIE PEREZ, GUARDIAN OF MINOR ALIZE MEJIA
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3157    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

VANESSA GARCIA, GUARDIAN OF MINOR JIMMY MORALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3158    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

EVA SEGURA, GUARDIAN OF MINOR KAITLYN A NOGUERA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3159    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ANA L PEREIRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3160    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
CLAUDIA I PEREIRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3161    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JACKIE PEREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3162    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CRUZ, GUARDIAN OF MINOR MARISELA CRUZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3163    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JOANNA E HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3164    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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              Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                   Amount
ROSA GOMEZ, GUARDIAN OF MINOR JENNIFER GOMEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3165    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

RAQUEL SANCHEZ, GUARDIAN OF MINOR ROSA HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3166    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
HERIBERTO HERNANDEZ, GUARDIAN OF MINOR
MIA R HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3167    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

BERTHA ESTRADA GUARDIAN OF MINOR BRANDON GUERRERO
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3168    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
YUNUE A M ARIAS GUARDIAN OF MINOR JOSE GAITAN
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3169    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

MARTA SANCHEZ GUARDIAN OF MINOR CHRISTOPHER GARCIA
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3170    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
KAREN CALERO GUARDIAN OF MINOR BRIAN GOMEZ JR
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3171    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
GRISELDA VARAJAS, GUARDIAN OF MINOR
FATIMA JASMIN VARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3172    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ASHLEY ROSALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3173    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

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               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                   Amount
JUSTIN K SERGIO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3174    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ROGERS SORIANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3175    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ANTHONY SORIANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3176    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
BRIAN TAPIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3177    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JESSICA HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3178    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
RAQUEL SANCHEZ, GUARDIAN OF MINOR
GUSTAVO HERNANDEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3179    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
LUCIA V ROMO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3180    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

YESENIA RAMOS, GUARDIAN OF MINOR KENNETH RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3181    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

JOANNA HERNANDEZ, GUARDIAN OF MINOR DNEEY CAMPOS
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3182    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                   Amount
JAMEIRA TOSCANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3183    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
HUMBERTO HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3184    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
URIEL TOVAR
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3185    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

LAURA BANUELOS, GUARDIAN OF MINOR RUBEN B SALINAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3186    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
REINA TORRES, GUARDIAN OF MINOR
HAILEY N TORREZ-ORASCO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3187    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ERIKA AYON, GUARDIAN OF MINOR GERARDO LUQUE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3188    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
BRIAN MEJIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3189    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
NICHOLAS MAYA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3190    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ARTURO MONTERO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3191    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount

GRISELDA VARAJAS, GUARDIAN OF MINOR MARTIN VARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3192    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
NEMALYN BUTAC
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3193    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALICIA JURADO, GUARDIAN OF MINOR ONNIKA ROSALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3194    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

VANESSA GARCIA, GUARDIAN OF MINOR GERMAN NUNEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3195    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JESUS L ACOSTA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3196    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
RAQUEL SANCHEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3197    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
WILLIAM LUCKETT
C/O DANIEL M SORRICK, ESQ
PO BOX 109
BRANDON, MS 39043                                      3198    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
US DEPARTMENT OF LABOR - OSHA
2300 MAIN ST STE 168
KANSAS CITY, MO 64108                                  3199    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
US DEPARTMENT OF LABOR - OSHA
2300 MAIN ST STE 168
KANSAS CITY, MO 64108                                  3200    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CAREER BUILDER LLC
C/O JONATHAN NEIL & ASSOCIATES INC
PO BOX 7000
TARZANA, CA 91357                                      3201    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
ACKLANDS GRAINGER INC.
BOX 2970, STN. MAIN
WINNIPEG MB R3C 4B5 CANADA

CANADA                                           3202    11/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EPINGER, ALLETTA
901 JOY RD LOT G26
COLUMBUS, GA 31906-4733                          3203    11/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
GUNN, ROBERT
8526 GROVER PL
SHREVEPORT, LA 71115-2708                        3204    11/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALFONSO URZUA & DELFINA NUNEZ
4252 WOOLWINE DR
LOS ANGELES, CA 90063-3239                       3205    11/9/2013    Exide Technologies, LLC                               Unliquidated       Unliquidated                                                   $0.00
SHELBY, MARIE
4308 WELOTA DR
JACKSON, MS 39209-2640                           3206    11/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
KELLY-FISHER, SMEADIE
1832 LULA LN HWY 18
JACKSON, MS 39209                                3207    11/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WALTON, LISA
1307 DIVISION ST
VICKSBURG, MS 39180-4717                         3208    11/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
CARRIER CORPORATION
ATTN AMY HEBERT, BLDG TR-5
PO BOX 4808
SYRACUSE, NY 13221                               3209    11/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HENRY DAWKINS
815 E 77TH ST
LOS ANGELES, CA 90001-2816                       3210    11/12/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
DAVID P BROWNING
PO BOX 911164
LOS ANGELES, CA 90091-1164                       3211    11/12/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
FRANK DAVIS
1760 WALDEN ST
AURORA, CO 80017                                 3212    11/12/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
CALHOUN, SHERMAN
1525 S 5TH AVE
KANKAKEE, IL 60901-4827                          3213    11/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ELSEVIER BV (LEGAL COLLECTIONS)
RADARWEG 29
1043 NX AMSTERDAM NETHERLANDS

NETHERLANDS                                      3214    11/12/2013   Exide Technologies, LLC            $9,798.14                                                                                        $9,798.14
RAABE
P.O BOX 1090
MENOMONEE, WI 53052                              3215    11/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RANDY'S
PO BOX 67
RACINE, WV 25165-0067                            3216    11/12/2013   Exide Technologies, LLC            $9,178.26                                                         $0.00                          $9,178.26

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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                      Amount                                                        Amount
FORST, PAUL E
1231 CANON WAY
WESTMINSTER, MD 21157                             3217    11/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GLORIA FLORES
1038 S TOWNSEND AVE
LOS ANGELES, CA 90023-2420                        3218    11/12/2013   Exide Technologies, LLC                               Unliquidated                                                                       $0.00
KAREN KOMABA
3421 LANFRANCO ST
LOS ANGELES, CA 90063-2910                        3219    11/12/2013   Exide Technologies, LLC                                   $2,000.00      Unliquidated                                                $2,000.00
RICHARD SOTO
7511 EMIL AVE APT F
BELL GARDENS, CA 90201-4944                       3220    11/12/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
RACK, CHARLES J
454 NE 93RD ST
MIAMI SHORES, FL 33138                            3221    11/12/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
CIMCO RESOURCES
1616 WINDSOR RD
LOVES PARK, IL 61111                              3222    11/12/2013   Exide Technologies, LLC             $29,124.72                                                                                      $29,124.72
CLAUDIA VIDAURRI
3931 TWEEDY BLVD
SOUTH GATE, CA 90280-6119                         3223    11/12/2013   Exide Technologies, LLC                                   $9,000.00                                                                  $9,000.00
ERNESTO GARCIA
PO BOX 227322
LOS ANGELES, CA 90022-0807                        3224    11/13/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
UNITED ELECTRIC SUPPLY
ATTN STEVEN J PATTEN, CREDIT DEPT
10 BELLECOR DR
NEW CASTLE, DE 19720                              3225    11/14/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
UGI UTILITIES INC
C/O BLANK ROME LLP
ATTN SAMUEL H BECKER, ESQ
ONE LOGAN SQUARE
130 N 18TH ST
PHILADELPHIA, PA 19103                            3226    11/14/2013   Exide Technologies, LLC            $918,018.49                                                                          $0.00      $918,018.49
FORTUNE SKY RECYCLING
4210 BF GOODRICH BLVD
MEMPHIS, TN 38118-6920                            3227    11/14/2013   Exide Technologies, LLC              $7,613.68                                                                                       $7,613.68
SWARTZ, MARGARET W
304 ROSLYN RD
RICHMOND, VA 23226                                3228    11/15/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
SWARTZ, W BRUCE
304 ROSLYN RD
RICHMOND, VA 23226                                3229    11/15/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
HILL, MILDRED
1135 ELLIS DR
P O BOX 523
WASKOM, TX 75692-3718                             3230    11/15/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ENVIRO-FLOW
2630 LEONIS BLVD
VERNON, CA 90058-2204                             3231    11/15/2013   Exide Technologies, LLC              $5,768.00                                                                                       $5,768.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
MEREDITH, BENNY
8 CAVENDISH CIR
TAYLORS, SC 29687-3117                           3232    11/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DODD, WILLIE
311 HIGHLAND AVE
GREER, SC 29651-3205                             3233    11/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PACIFIC CHLORIDE INCORPORATED
C/O MCCARTER & ENGLISH LLP
ATTN KATHERINE L MAYER, ESQ
405 N KING ST
WILMINGTON, DE 19801                             3234    11/15/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
JENNIFER ZELENIAKAS
6341 EMIL AVE APT D
COMMERCE, CA 90040-3759                          3235    11/16/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
DOCULOGIC INC
C/O ALEX MERCADO, PRESIDENT
PO BOX 23498
LOS ANGELES, CA 90023-0409                       3236    11/16/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
DOCULOGIC INC
C/O ALEX MERCADO, PRESIDENT
1127 CALADA ST
LOS ANGELES, CA 90023-3114                       3237    11/16/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ARTHUR MACIAS
5423 1/2 VIA CAMPO ST
LOS ANGELES, CA 90022-2254                       3238    11/16/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
LINDIE JOHNSON
PO BOX 873096
VANCOUVER, WA 98687-3096                         3239    11/16/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ZONES CORPORATE SOLUTIONS - AUBURN
1102 15TH ST SW STE 102
AUBURN, WA 98001-6524                            3240    11/16/2013   Exide Technologies, LLC            $17,667.47                                                                                      $17,667.47
DARREN C TOLLIVER
PO BOX 1870
WOODVILLE, MS 39669-1870                         3241    11/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
OMAHA PUBLIC POWER DISTRICT
PO BOX 3995
OMAHA, NE 68103-0995                             3242    11/18/2013   Exide Technologies, LLC               $82.90                                                                                           $82.90
VERONICA SALAZAR
5859 REPETTO AVE
LOS ANGELES, CA 90022-2814                       3243    11/19/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
OLIVIA ESPINOZA
464 S FETTERLY AVE
LOS ANGELES, CA 90022-1925                       3244    11/19/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
OLIVIA ESPINOZA
464 1/2 S FETTERLY AVE
LOS ANGELES, CA 90022-1983                       3245    11/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MUNCIE CASTING CORP
PO BOX 2328
MUNCIE, IN 47307                                 3246    11/20/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
ATTN WILBUR E HOOKS DIRECTOR
PO BOX 20207
NASHVILLE, TN 37202-0207                         3247    11/19/2013   Exide Technologies, LLC                                                                                                 $0.00            $0.00
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
PO BOX 20207
NASHVILLE, TN 37202-0207                         3248    11/19/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
SAM ORONA
5463 VIA CAMPO ST
LOS ANGELES, CA 90022-2205                       3249    11/21/2013   Exide Technologies, LLC                                  $12,475.00                                                                 $12,475.00
BRANTLEY, EDITH
306 WALNUT CIR
BOSSIER CITY, LA 71111-5124                      3250    11/21/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ROBERT VIRAMONTES
8110 COMMERCIAL PL APT C
SOUTH GATE, CA 90280-2002                        3251    11/22/2013   Exide Technologies, LLC                                  $28,000.00                                                                 $28,000.00
TANIA GUILLEN
810 COMMERCIAL PL APT C
SOUTH GATE, CA 90280                             3252    11/22/2013   Exide Technologies, LLC                                  $30,000.00                                                                 $30,000.00
HERACLIO P MURILLO SR
9308 1/2 DEARBORN AVE
SOUTH GATE, CA 90280-4404                        3253    11/22/2013   Exide Technologies, LLC                               Unliquidated       Unliquidated                                                    $0.00
HERACLIO P MURILLO SR
9308 DEARBORN AVE
SOUTH GATE, CA 90280-4404                        3254    11/22/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
DIANA M MORALES
3607 BROADWAY APT A
HUNTINGTON PARK, CA 90255-6527                   3255    11/22/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
JOHNS, ANITA
6820 OAK BRANCH CIR
SHREVEPORT, LA 71109-8338                        3256    11/22/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ARLENE & BERNARD WITTE
7500 KEPLER RD
CANAL FULTON, OH 44614                           3257    11/22/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                   $0.00
QUALITY SECURITY SYSTEMS INV
PO BOX 687
RIDGE, NY 11961-0687                             3258    11/22/2013   Exide Technologies, LLC              $325.88                                                                                           $325.88
STONCOR GROUP INC BY AND THROUGH ITS
STONHARD DIVISION
C/O CAPEHART & SCATCHARD PA (SIS)
8000 MIDLANTIC DR STE 300-S
MT LAUREL, NJ 08054                              3259    11/22/2013   Exide Technologies, LLC            $79,610.00                                                                                       $79,610.00
HOLT COUNTY TAX COLLECTOR
PO BOX 572
OREGON, MO 64473-0572                            3260    11/22/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                   $0.00




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                                                                                                      Amount                                                        Amount
C & H DISTRIBUTORS, INC.
770 S 70TH ST
PO BOX 14770
MILWAUKEE, WI 53214-3109                          3261    11/23/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MISSOURI DEPARTMENT OF REVENUE
ATTN YOLANDA CALVIN, LEGAL AIDE
PO BOX 475
JEFFERSON CITY, MO 65105                          3262    11/23/2013   Exide Technologies, LLC                                                                                                 $0.00            $0.00
SALAZAR, ELIUD
8953 DRIFTWOOD DR
RIVERSIDE, CA 92503-2160                          3263    11/25/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
WASHINGTON, BARBARA
174 JAMES GARFIELD CIR
JACKSON, MS 39213-3122                            3264    11/25/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CHRISTINE M GRAESSLE
6119 GRAND LOOP RD
SUGAR HILL, GA 30518                              3266    11/25/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
TOMS FOREIGN AUTO PARTS - WATERBURY
35 S 5TH ST
WATERBURY, CT 06708-4202                          3267    11/25/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
EDWARD C AGUIRRE
6674 FAIRFIELD ST
LOS ANGELES, CA 90022-4709                        3268    11/25/2013   Exide Technologies, LLC                                                     $75,000.00                                              $75,000.00
ELEANOR F AGUIRRE
6674 FAIRFIELD ST
LOS ANGELES, CA 90022-4709                        3269    11/25/2013   Exide Technologies, LLC                                                     $75,000.00                                              $75,000.00
MS DEPARTMENT OF ENVIRONMENTAL QUALITY (MDEQ)
OBO MS COMMISSON ON ENVIRONMENTAL QUALITY
ATTN TED LAMPTON, LEGAL DIVISION
PO BOX 2261
JACKSON, MS 39225-2261                            3270    11/25/2013   Exide Technologies, LLC        $1,125,173.00                                                                                      $1,125,173.00
JOSE ANDRES LOZANO
PO BOX 933
HUNTINGTON PARK, CA 90255-0933                    3271    11/26/2013   Exide Technologies, LLC                    $0.00            $500.00                                                                    $500.00
MILES CHEMICAL COMPANY INC
12801 RANGOON ST
ARLETA, CA 91331                                  3272    11/26/2013   Exide Technologies, LLC            $138,055.78                                                       $0.00                         $138,055.78
DUNN COUNTY SOLID WASTE DIV
390 RED CEDAR ST STE C
MENOMONIE, WI 54751-2265                          3273    11/26/2013   Exide Technologies, LLC               $509.60                                                      $741.20                           $1,250.80
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128-0946                         3274    11/27/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
US CUSTOMS AND BORDER PROTECTION
ATTN REVENUE DIVISION/BANKRUPTCY TEAM
6650 TELECOM DR STE 100
INDIANAPOLIS, IN 46278                            3275    11/27/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00




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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
THE PEOPLE OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES
ATTN KEVIN HALLIGAN
201 N FIGUEROA ST STE 1200
LOS ANGELES, CA 90012                             3276    11/27/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ILLINOIS DEPARTMENT OF REVENUE
PO BOX 64338
CHICAGO, IL 60664-0338                            3277    11/26/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
THE PEOPLE OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES
ATTN KEVIN HALLIGAN
201 N FIGUEROA ST STE 1200
LOS ANGELES, CA 90012                             3278    11/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RPM TRANSPORTATION (HAWAII) INC
1901 RAYMER AVE
FULLERTON, CA 92833-2512                          3279    11/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROYAL HAWAIIAN EXPRESS
1901 RAYMER AVE
FULLERTON, CA 92833-2512                          3280    11/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BERTHA HERNANDEZ
3735 WOOLWINE DR
LOS ANGELES, CA 90063-2033                        3281    11/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
RONALD AGUIRRE
3550 E CESAR E CHAVEZ AVE
LOS ANGELES, CA 90063-2239                        3282    11/29/2013   Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
JUAN MARTINES
3550 E CESAR E CHAVEZ AVE
LOS ANGELES, CA 90063-2239                        3283    11/29/2013   Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
FERRY, TODD
4272 HEINE STRASSE ST
EAGAN, MN 55122-1805                              3284    11/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TOMIKO SAITA
121 S CONCORD ST
LOS ANGELES, CA 90063-3017                        3285    11/29/2013   Exide Technologies, LLC                               Unliquidated                                                                      $0.00
ALLIED WASTE SERVICES
ATTN CREDIT MGR
9813 FLYING CLOUD DR
EDEN PRAIRIE, MN 55347                            3286    11/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLIED WASTE SERVICES TWIN CITIES
ATTN NAOMI SWEEP
9813 FLYING CLOUD DR
EDEN PRAIRIE, MN 55347                            3287    12/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALMA LYDIA OLVERA
10324 WASHINGTON AVE
SOUTH GATE, CA 90280-6940                         3288    12/2/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
OREGON D.O.T.
ATTN DOROTHY SEBASTIAN
355 CAPITOL ST NE
SALEM, OR 97301-3871                              3289    12/2/2013    Exide Technologies, LLC                                  $12,987.38              $0.00                                             $12,987.38


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                                                                                                          Amount                                                       Amount
MARIA PEREZ
3528 PERCY ST
LOS ANGELES, CA 90023-1718                            3290    12/3/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
RODOLFO GODINEZ
PO BOX 63306
LOS ANGELES, CA 90063-0306                            3291    12/3/2013    Exide Technologies, LLC                                $100,000.00                                                               $100,000.00
JOHNSTON COUNTY
PO BOX 451
SMITHFIELD, NC 27577-0451                             3292    12/2/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
US EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
100 ALABAMA ST SW STE 4R30
ATLANTA, GA 30303                                     3293    11/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
OFFICE OF THE ATTORNEY GENERAL
ATTN HAL F MORRIS, ASSISTANT ATTORNEY GENERAL
MANAGING ATTY/BANKRUPTCY REGULATORY SECTION
300 W 15TH ST
AUSTIN, TX 78701                                      3294    12/4/2013    Exide Technologies, LLC            $1,033.00                                                                                       $1,033.00
TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
OFFICE OF THE ATTORNEY GENERAL
ATTN HAL F MORRIS, ASSISTANT ATTORNEY GENERAL
MANAGING ATTY/BANKRUPTCY REGULATORY SECTION
300 W 15TH ST
AUSTIN, TX 78701                                      3295    12/4/2013    Exide Technologies, LLC        $2,301,984.00                                                                                    $2,301,984.00
PEOPLE OF THE STATE OF CA/CITY OF LOS ANGELES
C/O LOS ANGELES CITY ATTORNEY'S OFFICE
ATTN WENDY A LOO, DEPUTY CITY ATTORNEY
200 N MAIN ST STE 920
LOS ANGELES, CA 90012                                 3296    12/5/2013    Exide Technologies, LLC         Unliquidated          $5,000,000.00                                                             $5,000,000.00
MARCO PEREZ
C/O LAW OFFICES OF DENNIS R FUSI
4909 LAKEWOOD BLVD 6TH FL
LAKEWOOD, CA 90712                                    3297    12/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00

COMMONWEALTH OF PENNSYLVANIA, DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN BETH LISS SHUMAN
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                             3298    12/6/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BALTIMORE COUNTY MARYLAND
C/O BALTIMORE COUNTY OFFICE OF LAW
ATTN BAMBI GLENN, ASST COUNTY ATTORNEY
400 WASHINGTON AVE RM 219
TOWSON, MD 21204                                      3299    12/6/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
DAVID MCCONVILLE
49 COUNTY ROAD
AMHERST, NH 03031                                     3300    12/6/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                          Amount                                                       Amount

CALIFORNIA DEPARTMENT OF TOXIC SUBSTANCES CONTROL
C/O CA DEPARTMENT OF JUSTICE
ATTN SDAG MARGARITA PADILLA
1515 CLAY ST 20TH FL
PO BOX 70550
OAKLAND, CA 94612-0550                                3301    12/6/2013    Exide Technologies, LLC            $712,302.09                $0.00                                                    $0.00      $712,302.09
UNITED STATES ON BEHALF OF EPA
C/O DEPARTMENT OF JUSTICE
ATTN ALAN S TENENBAUM
BEN FRANKLIN STATION
PO BOX 7611
WASHINGTON, DC 20044-7611                             3302    12/6/2013    Exide Technologies, LLC         Unliquidated          Unliquidated       Unliquidated                                                   $0.00
CITY OF SALINA, KANSAS
C/O CLARK MIZE & LINVILLE, CHARTERED
ATTN AARON O MARTIN
PO BOX 380
SALINA, KS 67402-0380                                 3303    12/6/2013    Exide Technologies, LLC             $27,697.41                                                                                     $27,697.41
FRANCHISE TAX BOARD
BANKRUPTCY SECTION MS A340
PO BOX 2952
SACRAMENTO, CA 95812-2952                             3304    12/5/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00

COMMONWEALTH OF PENNSYLVANIA DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN CRAIG LAMBETH
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                             3305    12/6/2013    Exide Technologies, LLC              $7,774.29                                                                                       $7,774.29

COMMONWEALTH OF PENNSYLVANIA, DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN BETH LISS SHUMAN
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                             3306    12/6/2013    Exide Technologies, LLC             $33,761.00                                                                                     $33,761.00

COMMONWEALTH OF PENNSYLVANIA, DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN MARTIN SIEGEL
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                             3307    12/6/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE KANSAS DEPARTMENT OF HEALTH & ENVIRONMENT
ATTN GRANT A HARSE
1000 SW JACKSON STE 560
TOPEKA, KS 66612                                      3308    12/6/2013    Exide Technologies, LLC         Unliquidated                                                                  $49,068,328.00    $49,068,328.00




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                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                            Amount                                                        Amount
CITY OF HUNTINGTON PARK CALIFORNIA
C/O ARENT FOX LLP
ATTN ANDY S KONG
555 W FIFTH ST 48TH FL
LOS ANGELES, CA 90013                                   3309    12/6/2013    Exide Technologies, LLC         Unliquidated                                                                    Unliquidated            $0.00
GEORGIA DEPARTMENT OF NATURAL RESOURCES
ENVIRONMENTAL PROTECTION DIVISION
ATTN MS AMY MUSSLER
RESPONSE & REMEDIATION PROGRAM
2 MARTIN LUTHER KING JR DR STE 1054, EAST TOWER
ATLANTA, GA 30334-9000                                  3310    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ENVIRONMENTAL PROTECTION DIVISION
DEPT OF NATURAL RESOURCES, STATE OF GA
ATTN MS AMY MUSSLER, LEGAL AFFAIRS COORDINATOR
RESPONSE & REMEDIATION PROGRAM, GEORGIA EPD
2 MARTIN LUTHER KING JR DR STE 1054, EAST TOWER
ATLANTA, GA 30334                                       3311    12/9/2013    Exide Technologies, LLC                                                  $9,400,446.00                                           $9,400,446.00

ENVIRONMENTAL PROTECTION DIVISION
DEPT OF NATURAL RESOURCES, STATE OF GA
ATTN KAREN HAYS, MGR STATIONARY SOURCE COMPLIANCE
AIR PROTECTION BRANCH, GEORGIA EPD
4244 INTERNATIONAL PKWY STE 120
ATLANTA, GA 30354-3906                                  3312    12/9/2013    Exide Technologies, LLC            $27,000.00                                                                                      $27,000.00
GEORGIA DEPARTMENT OF NATURAL RESOURCES
ENVIRONMENTAL PROTECTION DIVISION
ATTN MS AMY MUSSLER
RESPONSE & REMEDIATION PROGRAM
2 MARTIN LUTHER KING JR DR STE 1054, EAST TOWER
ATLANTA, GA 30334-9000                                  3313    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
LINDROSE, FLORENCE
6960 LAFAYETTE RD
MEDINA, OH 44256-8580                                   3314    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MASSACHUSETTS DEPARTMENT OF REVENUE
LITIGATION BUREAU, BANKRUPTCY UNIT
PO BOX 9564
BOSTON, MA 02114-9564                                   3315    12/9/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
BOROUGH OF LAURELDALE
3406 KUTZTOWN RD
LAURELDALE, PA 19605-2647                               3316    12/9/2013    Exide Technologies, LLC             $1,331.71                 $0.00                                                                  $1,331.71
SOUTH COAST AIR QUALITY MANAGEMENT DISTRICT
C/O WERB & SULLIVAN
ATTN "J" JACKSON SHRUM, ESQ
300 DELAWARE AVE STE 1300
WILMINGTON, DE 19801                                    3317    12/9/2013    Exide Technologies, LLC       $38,915,000.00                                                                                    $38,915,000.00
FRISCO COMMUNITY DEVELOPMENT CORPORATION
C/O ABERNATHY ROEDER BOYD & JOPLIN PC
1700 REDBUD BLVD STE 300
MCKINNEY, TX 75069                                      3318    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00


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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
FRISCO ECONOMIC DEVELOPMENT CORPORATION
C/O ABERNATHY ROEDER BOYD & JOPLIN PC
1700 REDBUD BLVD STE 300
MCKINNEY, TX 75069                                     3319    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CITY OF FRISCO TEXAS
C/O ABERNATHY ROEDER BOYD & JOPLIN PC
1700 REDBUD BLVD STE 300
MCKINNEY, TX 75069                                     3320    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
US DEPARTMENT OF LABOR-EBSA
61 FORSYTH ST SW STE 7B54
ATLANTA, GA 30303-8943                                 3321    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
US DEPARTMENT OF LABOR-EBSA
61 FORSYTH ST SW STE 7B54
ATLANTA, GA 30303-8943                                 3322    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GEORGIA DEPARTMENT OF NATURAL RESOURCES
ENVIRONMENTAL PROTECTION DIVISION
ATTN MS AMY MUSSLER
RESPONSE AND REMEDIATION PROGRAM
2 MARTIN LUTHER KING JR DR STE 1054 EAST TOWER
ATLANTA, GA 30334-9000                                 3323    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GEORGIA DEPARTMENT OF NATURAL RESOURCES
ENVIRONMENTAL PROTECTION DIVISION
ATTN MS AMY MUSSLER
RESPONSE AND REMEDIATION PROGRAM
2 MARTIN LUTHER KING JR DR STE 1054 EAST TOWER
ATLANTA, GA 30334-9000                                 3324    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

ENVIRONMENTAL PROTECTION DIVISION, DEPT OF
NATURAL RESOURCES, STATE OF GA
ATTN MS KAREN HAYS, MGR STATIONARY SOURCE COMP AIR
PROTECTION BRANCH, GEORGIA EPD
4244 INTERNATIONAL PKWY STE 120
ATLANTA, GA 30354-3906                                 3325    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ENVIRONMENTAL PROTECTION DIVISION, DEPT OF
NATURAL RESOURCES, STATE OF GA
ATTN MS AMY MUSSLER, LEGAL AFFAIRS COORDINATOR
RESPONSE AND REMEDIATION PROGRAM, GEORGIA EPD
2 MARTIN LUTHER KING JR DR STE 1054 EAST TOWER
ATLANTA, GA 30334                                      3326    12/9/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
THE KANSAS DEPARTMENT OF HEALTH & ENVIRONMENT
ATTN GRANT A HARSE
1000 SW JACKSON STE 560
TOPEKA, KS 66612                                       3327    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
STRINGER, ANTHONY
971 OMEGA DR
COLUMBUS, GA 31907-5312                                3328    12/9/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                               3329    12/9/2013    Exide Technologies, LLC            $52,000.00                                                                                      $52,000.00

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                                                                                                          Amount                                                       Amount
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                              3330    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                              3331    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                              3332    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                              3333    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                              3334    12/9/2013    Exide Technologies, LLC            $3,275.61                                                                                        $3,275.61
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                              3335    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
INDIANA DEPT OF ENVIRONMENTAL MGMT
BANKRUPTCY COORDINATOR
MAIL CODE 60-01
100 N SENATE AVE
INDIANAPOLIS, IN 46204                                3336    12/9/2013    Exide Technologies, LLC        $2,601,971.50                                                                                    $2,601,971.50
FL DEPT OF ENVIRONMENTAL PROTECTION
C/O OFFICE OF THE GENERAL COUNSEL
3900 COMMONWEALTH BLVD MS 35
TALLAHASSEE, FL 32399-3000                            3337    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
SOUTH CAROLINA DEPARTMENT OF HEALTH &
ENVIRONMENTAL CONTROL
C/O OFFICE OF GENERAL COUNSEL
ATTN CLAIRE PRINCE
2600 BULL STREET
COLUMBIA, SC 29201                                    3338    12/9/2013    Exide Technologies, LLC       $14,156,309.05          Unliquidated       Unliquidated                          Unliquidated    $14,156,309.05
LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY
C/O ELLIOTT B VEGA
PO BOX 4302
BATON ROUGE, LA 70821-4302                            3339    12/9/2013    Exide Technologies, LLC         Unliquidated          Unliquidated       Unliquidated                                                  $0.00
SUSAN HOLLIN SULLIVAN
1115 SILVER LAKE LN
BLUE BELL, PA 19422-1940                              3340    12/9/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00




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                                                                                                           Amount                                                       Amount

MECKLENBURG COUNTY TAX COLLECTOR
OFFICE OF THE TAX COLLECTOR/TAX BANKRUPTCY SECTION
PO BOX 31637
CHARLOTTE, NC 28231-1637                               3341    12/9/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
C-K ASSOCIATES LLC
17170 PERKINS RD
BATON ROUGE, LA 70810-3817                             3342    12/9/2013    Exide Technologies, LLC             $8,285.65                                                                                      $8,285.65
ELIZABETH CRAIG JACKSON
PO BOX 322
TERRY, MS 39170                                        3343    12/10/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
WA STATE DEPARTMENT OF LABOR & INDUSTRIES
BANKRUPTCY UNIT
PO BOX 44171
OLYMPIA, WA 98504-4171                                 3344    12/10/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
RESIDENT
5950 IMPERIAL HWY APT 29
SOUTH GATE, CA 90280-7628                              3345    12/11/2013   Exide Technologies, LLC                               Unliquidated                                                                     $0.00
SUTTON, JAMES
3112 ANDORA TRL SW
MARIETTA, GA 30064-2455                                3346    12/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
US DEPARTMENT OF LABOR
OFFICE OF THE SOLICITOR
ATTN H ALICE JACKS
TWO PERSHING SQ
2300 MAIN ST STE 1020
KANSAS CITY, MO 64108                                  3347    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
UNITED STATES DEPT OF LABOR
OFFICE OF THE SOLICITOR
TWO PERSHING ST STE 1020
KANSAS CITY, MO 64108                                  3348    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00

COMMONWEALTH OF VIRGINIA DEPARTMENT OF TAXATION
PO BOX 2156
RICHMOND, VA 23218-2156                                3349    12/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BURRELL, LEONARD
PO BOX 1515
WOODVILLE, MS 39669-1515                               3350    12/13/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SHIRLEY MORRIS
296 DAVID SHERMAN RD
NEW HEBRON, MS 39140                                   3351    12/13/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
REPUBLIC CONTRACTORS INC
ATTN MR CURTISS D WRIGHT
6870 BERT KOUNS INDUSTRIAL LOOP
SHREVEPORT, LA 71129                                   3352    12/17/2013   Exide Technologies, LLC            $88,425.02                                                       $0.00                         $88,425.02
DANIEL CORDOVA
4011 E 61ST ST
HUNTINGTON PARK, CA 90255-3314                         3353    12/17/2013   Exide Technologies, LLC                                   $2,500.00                                                                $2,500.00




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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
JOSE & CELIA OLVERA
8954 OTIS ST
SOUTH GATE, CA 90280-3204                          3354    12/18/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JORGE L JUAREZ ROMERO
706 W 74TH ST
LOS ANGELES, CA 90044                              3355    12/20/2013   Exide Technologies, LLC                                                  Unliquidated                                                   $0.00
JEARIM JUAREZ
PO BOX 1388
LOS ANGELES, CA 90001-0388                         3356    12/20/2013   Exide Technologies, LLC                                                  Unliquidated                                                   $0.00
DULCE I ORTIZ
PO BOX 1388
LOS ANGELES, CA 90001-0388                         3357    12/20/2013   Exide Technologies, LLC                                                  Unliquidated                                                   $0.00
DEKALB COUNTY GEORGIA
TREASURY & ACCOUNTING DIVISION
ATTN BANKRUPTCY CLERK
PO BOX 1027
DECATUR, GA 30031                                  3358    12/16/2013   Exide Technologies, LLC                                       $0.00          $1,063.73                                              $1,063.73
MID SOUTH CONTROL & SUPPLY
3803 POINTER TRL E
VAN BUREN, AR 72956-8843                           3359    12/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PAULINE A JONES
2230 S EASTERN AVE APT 62
COMMERCE, CA 90040-1458                            3360    12/23/2013   Exide Technologies, LLC                                   $5,000.00          $5,000.00                                             $10,000.00
ASHLEY MILANEZ
3931 TWEEDY BLVD #B
SOUTH GATE, CA 90280-6119                          3361    12/24/2013   Exide Technologies, LLC                               Unliquidated       Unliquidated                                                   $0.00
HAZEL J SMITH
1082 BRIDGEPORT RD
PINOLA, MS 39149                                   3362    12/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BURTON, DARRYLE
PO BOX 534
MENDENHALL, MS 39114-0534                          3363    12/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
NANCY RAMOS
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                   3364    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
GABRIEL JAKEZ
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                   3365    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00

OSWALDO RAMOS FOR AIDA RAMOS (DECEASED SPOUSE)
5218 1/2 LIVE OAK ST
CUDAHY, CA 90201                                   3366    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
OSWALDO RAMOS
5218 1/2 LIVE OAK ST
CUDAHY, CA 90201                                   3367    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ROCIO RAMOS
5218 1/2 LIVE OAK ST
CUDAHY, CA 90201                                   3368    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
AIDA RAMOS
1100 WILSHIRE BLVD
UNIT 2801
LOS ANGELES, CA 90017                            3369    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
GUADALUPE MAGANA
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                 3370    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ALVARO RAMOS
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                 3371    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JACQUELYN RAMOS
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                 3372    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ANTHONY RAMOS
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                 3373    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
SONIA FUENTES
10726 LA REYNA AVENUE
DOWNEY, CA 90241                                 3374    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ANDREW FUENTES
10726 LA REYNA AVENUE
DOWNEY, CA 90241                                 3375    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
EDGAR FUENTES
10726 LA REYNA AVENUE
DOWNEY, CA 90241                                 3376    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
STEVE FUENTES
10726 LA REYNA AVENUE
DOWNEY, CA 90241                                 3377    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JUAN CORONA
3135 CALIFORNIA ST
HUNTINGTON PARK, CA 90255                        3378    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ELIZABETH VALENZUELA
PO BOX 655
HUNTINGTON PARK, CA 90255-0655                   3379    12/31/2013   Exide Technologies, LLC                                                    $333,000.00          $14,950.00                        $347,950.00

STATE OF OKLAHOMA
OKLAHOMA DEPARTMENT OF ENVIRONMENTAL QUALITY
707 N ROBINSON AVE
OKLAHOMA CITY, OK 73102-6010                     3380    12/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GUADALUPE LEON
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3381     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ALEJANDRA V HUSMAN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3382     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00


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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
LUZ MENDOZA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3383     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
YOLANDA MEDINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3384     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
FIDENCIO MEDINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3385     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ESPERANZA MEDINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3386     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
RAMON MEDINA MOJARRO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3387     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GABRIEL MARTINEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3388     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ZULEMA LOPEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3389     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
IVAN LOPEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3390     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
IMELDA ESPARZA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3391     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ELI M LOPEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3392     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
MARIE LANDEROS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3393     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
BRIANNA B IBARRA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3394     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JAYCOB GAONA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3395     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
CARLOS HUSMAN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3396     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
OMAR HUSMAN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3397     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JENNIFER HERNANDEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3398     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
KAREN HERNANDEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3399     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JIMMY HERNANDEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3400     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
KARINA HERNANDEZ GUTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3401     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MICHELLE D GUTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3402     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                  Current General                                              Current 503(b)(9)
                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
JOSE LUIS GUTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3403     1/2/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
VERONICA GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3404     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ISRAEL GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3405     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ALMA GONZALES FLORES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3406     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DANILO JOSE DE AVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3407     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ANTONIO DAVILA (SON)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3408     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
RAMONA DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3409     1/2/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ANTONIO DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3410     1/2/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
PATRICIA CONTRERAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3411     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
LUISA MARIA CARRANZA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              3412     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00

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                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
ASHLEY RAMIREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3413     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
KARLA RAMIREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3414     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANGELICA MACIAS CARDENAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3415     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GUSTAVO ARIAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3416     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA ACENEDO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3417     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR LANCASTER MOLD INC
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                    3418     1/2/2014    Exide Technologies, LLC                                                                   $112,913.18                        $112,913.18
FRANCISCA SOTO
6022 FISHBURN AVE
HUNTINGTON PARK, CA 90255                        3419     1/7/2014    Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
MARISELA SOTO
6022 FISHBURN AVE
HUNTINGTON PARK, CA 90255                        3420     1/7/2014    Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
DOLORES SOTO
6022 FISHBURN AVE
HUNTINGTON PARK, CA 90255                        3421     1/7/2014    Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
KENYA SOTO
6022 FISHBURN AVE
HUNTINGTON PARK, CA 90255                        3422     1/7/2014    Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
ROGER BUCKLEY
2700 E 8TH ST
LOS ANGELES, CA 90023-2106                       3423     1/7/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
XPECTIT INC
ATTN KIM MOBLEY
PO BOX 1308
LAGRANGE, GA 30241                               3424     1/7/2014    Exide Technologies, LLC            $6,076.28                                                  $740.00                           $6,816.28




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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
ACTION BATTERY SERVICE INC
2529 MUNROE AVE S
SAKATOON SK S7J 1S8 CANADA

CANADA                                           3425     1/8/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACTION BATTERY SERVICE INC
2529 MUNROE AVE S
SASKATOON SK S7J 1S8 CANADA

CANADA                                           3426     1/8/2014    Exide Technologies, LLC            $4,595.72                                                                                       $4,595.72
ACTION BATTERY SERVICE INC
2529 MUNROE AVE S
SAKATOON SK S7J 1S8 CANADA

CANADA                                           3427     1/8/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACTION BATTERY SERVICE INC
2529 MUNROE AVE S
SASKATOON SK S7J 1S8 CANADA

CANADA                                           3428     1/8/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACTION BATTERY SERVICE INC.
2529 MUNROE AVE. SOUTH
SASKATOON, SK S7J1S8 CANADA
                                                 3429     1/8/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
HOUNG E POENG
271 MARGARET AVE
LOS ANGELES, CA 90022-2226                       3430     1/9/2014    Exide Technologies, LLC                                                                             $0.00                              $0.00
HAY MECHANICAL LLC
622 E TWICKENHAM TRL
HOUSTON, TX 77076                                3431    1/10/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
CADILLAC PLACE STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                3432    1/10/2014    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
VICTORIA TORRES
1167 1/2 MIRASOL ST
LOS ANGELES, CA 90023-3118                       3433    1/13/2014    Exide Technologies, LLC                                                  Unliquidated                                                  $0.00
MARK PEREZ
1167 MIRASOL ST
LOS ANGELES, CA 90023                            3434    1/13/2014    Exide Technologies, LLC                                                  Unliquidated                                                  $0.00
ARTHUR TORRES
1167 1/2 MIRASOL ST
LOS ANGELES, CA 90023-3118                       3435    1/13/2014    Exide Technologies, LLC                                                  Unliquidated                                                  $0.00
OMEGA CONTROLS
PO BOX 275
VAN BUREN, AR 72957                              3436    1/14/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
GLORIA E RUH
5514 PUEBLO CT
COMMERCE, CA 90040-1530                          3437    1/15/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00


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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
THOMAS J RUH
PO BOX 911434
LOS ANGELES, CA 90091-1238                            3438    1/15/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
STEPHANIE CAMPBELL
640 E 77TH ST
LOS ANGELES, CA 90001-2813                            3439    1/17/2014    Exide Technologies, LLC                                                      $5,000.00                                              $5,000.00
CLAUDE, SHIRLEY
PO BOX 17
BLAKESLEE, PA 18610                                   3440    1/17/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KANSAS CITY POWER & LIGHT (KCP&L)
PO BOX 418679
KANSAS CITY, MO 64141-8679                            3441    1/21/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROTEX TRUCK CENTER INC
11802 SARA RD
LAREDO, TX 78045                                      3442    1/21/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NANCY C LIRA ADRIAN VASQUEZ & AUDRINA VASQUEZ
740 ORME AVE
LOS ANGELES, CA 90023-1454                            3443    1/21/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00

COMMONWEALTH OF PENNSYLVANIA, DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN MARTIN SIEGEL
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                             3444    1/21/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MARIA L ORRANTIA MARTIN GARCIA & JOSE LIRA (SON)
740 1/2 ORME AVE
LOS ANGELES, CA 90023-1454                            3445    1/21/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JASON J KESTON
748 S PLYMOUTH
LOS ANGELES, CA 90005                                 3446    1/22/2014    Exide Technologies, LLC            $250,000.00                                                                                    $250,000.00
JULIE GALAZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                      3447    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
LAZARO PEREZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                      3448    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
LUIS GALAZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                      3449    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
JENNY GALAZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                      3450    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
MAGDA GALAZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                      3451    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
JOSE LUIS VAASCO
BANK OF AMERICA
6034 SOUTHSIDE DR
LOS ANGELES, CA 90022-5217                            3452    1/25/2014    Exide Technologies, LLC                                                  Unliquidated                                                   $0.00

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                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                             Admin Priority
                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                     Amount
GUADALUPE CONTRERAS
6717 PLASKA AVE
HUNTINGTON PARK, CA 90255                        3453    1/25/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
MICHELLE HWYNN
1535 N HERBERT AVE
LOS ANGELES, CA 90063-1936                       3454    1/27/2014    Exide Technologies, LLC            $200,000.00                                                                                 $200,000.00
NORMAN S ROSENFELD
813 BERKENSTOCK CIR
PLACENTIA, CA 92879                              3455    1/27/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
BERTHA ARELLANO
664 S FORD BLVD APT C
LOS ANGELES, CA 90022-2486                       3456    1/28/2014    Exide Technologies, LLC        $1,000,000.00                                                                                  $1,000,000.00
CHANTEL CRUZ
31031 FRETWELL AVE
HOMELAND, CA 92548                               3457    1/28/2014    Exide Technologies, LLC        $1,000,000.00                                                                                  $1,000,000.00
SYLVIA NUNEZ
6318 LOMA VISTA AVE
BELL, CA 90201                                   3458    1/28/2014    Exide Technologies, LLC        $1,000,000.00                                                                                  $1,000,000.00
JESUS IBARRA
10315 RICHLEE AVE
SOUTH GATE, CA 90280                             3459    1/28/2014    Exide Technologies, LLC        $1,000,000.00                                                                                  $1,000,000.00
MARCELO HERNANDEZ RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3460    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
JORGE STOPANI
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3461    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
DOLORES PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3462    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
EDILBER PALACIOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3463    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
MANUEL MORFIN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3464    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00




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                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
SAVANNAH MORFIN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3465    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARINA MORFIN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3466    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIO MORALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3467    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
DARREN A WILLIAMS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3468    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA DE LOS ANGELES VELEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3469    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANDREW VASQUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3470    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
THEO VINCENT URISTA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3471    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
AZAEL MUNGUIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3472    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JORGE L NAVARRO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3473    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
CARLOS M BARRON
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3474    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
MARIA E BARRON
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3475    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ESPERANZA N PORTILLO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3476    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANA ROSA PADILLA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3477    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ABRAHAM RAMON VILLA OSORIO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3478    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
OLIVER GUDINO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3479    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
CLEO GARCIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3480    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JUAN JOSE GUDINO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3481    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
LEILANI PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3482    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
NATALY MUNGUIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3483    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
DAISY HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3484    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
CARMEN FELIX
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3485    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MELANIA MORA RODRIGUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3486    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
TERESA A LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3487    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
CRUZ CURIEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3488    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOSE MENDOZA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3489    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARY ELENA RODRIGUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3490    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARYJANE RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3491    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
OSCAR RENE RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3492    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA DEL CARMEN RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3493    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JESUS E GONZALEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3494    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
JOSE MARIA GUTIERREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3495    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
DANIELA URISTA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3496    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
SALVADOR BUENROSTRO CHAVEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3497    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
CARMEN BUENROSTRO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3498    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GLORIA BUELNA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3499    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
DIEGO ALEXANDER PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3500    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
PAULA JIMENEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3501    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
HILDA E MENDOZA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3502    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
VANESSA HERNANDEZ ZERMENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3503    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
LUCY CURIEL CESENA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3504    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
ELISABETH BELTRAN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3505    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
COREY PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3506    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ANDY PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3507    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ABDON MERCADO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3508    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DAISY ASHLEY BUELNA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3509    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ERNESTINA BAUTISTA HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3510    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE ANTONIO RAMIREZ
3365 BROADWAY
HUNTINGTON PARK, CA 90255-6441                         3511    1/28/2014    Exide Technologies, LLC            $500,000.00                                                                                   $500,000.00
MARTHA ROSALINA RAMIREZ
3365 BROADWAY
HUNTINGTON PARK, CA 90255-6441                         3512    1/28/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
ANDY ANTHONY RAMIREZ
8933 TOPE AVE
SOUTH GATE, CA 90280-2644                              3513    1/28/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
ELIZABETH ALAMILLO
8933 TOPE AVE
SOUTH GATE, CA 90280-2644                              3514    1/28/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00

MAYA ELY RAMIREZ
A MINOR BY & THROUGH HER PARENT ELIZABETH ALAMILLO
8933 TOPE AVE
SOUTH GATE, CA 90280-2644                              3515    1/28/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
GRACIELA ARELLANO
754 E 76TH ST
LOS ANGELES, CA 90001                                  3516    1/30/2014    Exide Technologies, LLC                               Unliquidated       Unliquidated                                                  $0.00

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               Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                       Amount                                                   Amount
JAIME RAMIREZ
636 BRADSHAWE AVE
LOS ANGELES, CA 90022-3403                         3517    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JESUS LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3518    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA VELEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3519    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
LUZ MARIA ROMAN GUARDIAN OF MINOR
ISRAEL LORENZO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3520    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
WENDY ORTIZ GUARDIAN OF MINOR STEPHANIE ORTIZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3521    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARTHA AMBRIZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3522    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
WENDY ORTIZ GUARDIAN OF MINOR ISABEL HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3523    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
WENDY ORTIZ GUARDIAN OF MINOR JESUS HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3524    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARICARMEN ZEPEDA GUARDIAN OF MINOR
ANGEL JIMENEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3525    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARICARMEN ZEPEDA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3526    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

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                                                                                                            Amount                                                    Amount
JULIAN RICHARD CHAVEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3527    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
ROBERTO FRANCO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3528    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIA VELEZ GUARDIAN OF MINOR LESZLY GOMEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3529    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
SOON JA CHOI
405 S INDIANA ST
LOS ANGELES, CA 90063-3908                              3530    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
JONG BEAK CHOI
405 S INDIANA ST
LOS ANGELES, CA 90063-3908                              3531    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
OTHONIEL SIERRA
PO BOX 455
BELL, CA 90201-0455                                     3532    1/30/2014    Exide Technologies, LLC            $20,000.00                                                                                  $20,000.00
SERGIO SALAZAR GALINDO
PO BOX 455
BELL, CA 90201                                          3533    1/30/2014    Exide Technologies, LLC            $12,000.00                                                                                  $12,000.00
SELINA RAMIREZ GUARDIAN OF MINOR OLIVIA RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3534    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
PEDRO LORENZO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3535    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
ANA ROSA FRANCO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3536    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
EDWIN LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3537    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00




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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
MARIA ZEPEDA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3538    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
CARLOS JIMENEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3539    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARICARMEN ZEPEDA GUARDIAN OF MINOR
KARLA JIMENEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3540    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALICIA MONCADA GUARDIAN OF MINOR BILLY LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3541    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
VERIZON COMMUNICATIONS INC
ATTN VERIZON BANKRUPTCY DEPT
500 TECHNOLOGY DR STE 550
WELDON SPRING, MO 63304                              3542    1/29/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SELINA RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3543    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
OSARK RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3544    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARICARMEN ZEPEDA GUARDIAN OF MINOR
MICHELLE VASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3545    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
LUZ MARIA ROMAN GUARDIAN OF MINOR
PEDRO LUIS LORENZO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3546    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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               Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                   Amount
ALEJO VELEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3547    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JUAN MENDEZ
C/O BROWN RUDNICK LLP
ATTN WILLAIM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3548    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ALICIA MONCADA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3549    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA OCHOA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3550    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
WENDY ORTIZ, GUARDIAN OF MINOR ANGEL ORTIZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3551    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JERRY PAVIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3552    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
CARMEN PAVIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3553    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ALBERTO TORRES III BY & THROUGH HIS GUARDIAN AD
LITEM MARLENE A ALEMAN-ZUNIGA, MOTHER
286 MARGARET AVE
LOS ANGELES, CA 90022-2225                              3554    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ESTATE OF JORGE M ZUNIGA BY & THROUGH HIS REP
MARLENE A ALEMAN-ZUNIGA WIFE CECILY L ZUNIGA
DAUGHTER & ALBERTO TORRES III STEPSON
286 MARGARET AVE
LOS ANGELES, CA 90022-2225                              3555    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
CECILY L ZUNIGA BY & THROUGH HER GUARDIAN
AD LITEM MARLENE A ALEMAN-ZUNIGA MOTHER
286 MARGARET AVE
LOS ANGELES, CA 90022-2225                              3556    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00



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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
MARLENE A ALEMAN-ZUNIGA
286 MARGARET AVE
LOS ANGELES, CA 90022-2225                       3557    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
LUCILLE FARFAN RAMOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3558    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
COREY PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3559    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ANDY PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3560    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARCELO HERNANDEZ RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3561    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LEILANI PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3562    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SILVIA ROMO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3563    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ALEXIS PONCE
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3564    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
IRANY PONCE
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3565    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MIGUEL ANGEL LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3566    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00




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                                                                                                 Current General                                              Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
OLIVER GUDINO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3567    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ORALIA GUDINO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3568    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JESSIE EMANUEL GOMEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3569    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
LETICIA FARIAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3570    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE A FARIAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3571    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JAVIER GARCIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3572    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ALAN SALVADOR AGUIRRE
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3573    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
CARLOS ORTIZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3574    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE ANTONIO GUTTIEREZ JR
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3575    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
GEORGE A CHANG
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3576    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00

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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
VERONICA IRENE CHANG
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3577    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GEORGINA J CHANG
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3578    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
SAMANTHA I CHANG
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3579    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
YANITZA ROSAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3580    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
BALDOMERO MARROQUIN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3581    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
VICTOR PULIDO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3582    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
PABLO GOMEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3583    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
THOMAS LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3584    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EMMANUEL JIMENEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3585    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOAQUIN GUZMAN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3586    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
AHILYN CUMPLIDO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3587    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
VICTOR DIAZ RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3588    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
FRANK DISCUSSION
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3589    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
LESLY FLOREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3590    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA ELENA RIVERA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3591    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARISOL MENDOZA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3592    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA G LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3593    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ARMANDO BUELNA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3594    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
LORENZA RIVERA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3595    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALICIA ESQUIVEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3596    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
JILBERTO MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3597    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
PAULO CESAR BUELNA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3598    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MIKE GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3599    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
PATRICIO SOTO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3600    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
OLGA RUIZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3601    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JUAN RODRIGUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3602    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ROMINA MORA MARTINEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3603    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
RAUL VEGA MARTINEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3604    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
NORA DALIA GOMEZ-TORRES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3605    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
AUDRINA RIOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3606    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
ELIYAH S RIOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3607    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOCELYN AVILA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3608    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ARMANDO MARTOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3609    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
CYNTHIA MARTOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3610    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
PEGGY ERICA LUCAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3611    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
FERNANDO GONZALES ESPINOZA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3612    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JUANITA VANEGAS TORRES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3613    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EVANGELIA GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3614    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
YVONE GUILLEN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3615    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ESMERALDA GONZALES VANEGAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3616    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                    Amount
ALEJANDRO MERAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3617    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
GUDELIA TERRAZAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3618    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
GISELA GARCIA
14527 AUTUMN PL
FONTANA, CA 92337-0531                           3619    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
FELIPE AGUIRRE
6042 KING AVE
MAYWOOD, CA 90270                                3620    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ELBA EDITH FERNANDEZ
5309 S LOMA VISTA AVE #A
MAYWOOD, CA 90270                                3621    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ALEJANDRA HUSMAN
PO BOX 861
MAYWOOD, CA 90270                                3622    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JOVANY GAONA
PO BOX 861
MAYWOOD, CA 90270                                3623    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JAVIER DEL CARMEN
4922 1/2 E 60TH PL
MAYWOOD, CA 90270                                3624    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ANA I POPPER
6801 KING AVE
BELL, CA 90201                                   3625    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ELIZABETH GARCIA
3544 E 54TH ST #A
MAYWOOD, CA 90270-2020                           3626    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
VERONICA GUERRERO
9429 TILMONT ST
PICA RIVERA, CA 90660                            3627    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ANA GLORIA TAPIA
6137 PALA AVE
MAYWOOD, CA 90270                                3628    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ISRAEL CHAVELAS
6015 1/2 WOODWARD AVE
MAYWOOD, CA 90270                                3629    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JUANA TENAUD
4544 E 58TH ST
MAYWOOD, CA 90270                                3630    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
OMAR ABOGADOS HERNANDEZ
3552 WHITESIDE ST
LOS ANGELES, CA 90063                            3631    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00


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                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                            Admin Priority
                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                    Amount
GUADALUPE CRUZ
3552 WHITESIDE ST
LOS ANGELES, CA 90063                            3632    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
LETICIA DEL CARMEN
6015 1/2 WOODWARD AVE
MAYWOOD, CA 90270                                3633    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
HERIBERTO FERNANDEZ
5309 LOMA VISTA AVE #A
MAYWOOD, CA 90270                                3634    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
EDILBERTO CEBALLOS HDEZ
3552 WHITESIDE ST
LOS ANGELES, CA 90063                            3635    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
LAURA AVILA
530 S FERRIS AVE
LOS ANGELES, CA 90022                            3636    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
MARTHA ESQUIVEL
5064 E 60TH PL
MAYWOOD, CA 90270                                3637    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
VIRGINIO MENDOZA
4913 60TH PL
MAYWOOD, CA 90270                                3638    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
AURELIO ALEMAN
4729 E 58TH ST
MAYWOOD, CA 90270                                3639    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ROMAN HERNANDEZ
4913 E 60TH PL
MAYWOOD, CA 90270                                3640    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ALEJANDRA AYALA
8169 SAN GABRIEL AVE
SOUTH GATE, CA 90280                             3641    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
MARBEL FERNANDEZ
5309 LOMA VISTA AVE #A
MAYWOOD, CA 90270                                3642    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
OMAR HUZMAN
PO BOX 861
MAYWOOD, CA 90270                                3643    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ALEX RAMIREZ
4118 E 60TH ST
HUNTINGTON PARK, CA 90255                        3644    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ELIZABETH MATAMOROS
6042 KING AVE
MAYWOOD, CA 90270                                3645    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
CARLOS HUSMAN
PO BOX 861
MAYWOOD, CA 90270                                3646    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
MARIANA GUTIERREZ
5307 LOMA VISTA AVE
MAYWOOD, CA 90270                                3647    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00




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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                    Amount
RAFAEL CASTRO
5064 E 60TH PL
MAYWOOD, CA 90270                                     3648    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JORGE GUTIERREZ
5307 LOMA VISTA AVE
MAYWOOD, CA 90270                                     3649    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JUANA V RAMIREZ
4118 E 60 ST
HUNTINGTON PARK, CA 90255                             3650    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
CECILIA BANDA
PO BOX 636
HUNTINGTON PARK, CA 90255-0636                        3651    1/30/2014    Exide Technologies, LLC                            Unliquidated                                                                     $0.00
MARIA VELEZ GUARDIAN OF MINOR VALARIE VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3652    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
CYNTHIA AGUILAR GUARDIAN AD LITEM
FOR JEREMY REYES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3653    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
PEDRO LORENZO OBO DECEDENT LINO LORENZO
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3654    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
LURDES VILLEGAS OBO DECEDENT CLAUDIA MARTINEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3655    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIA CASTILLO OBO DECEDENT BRANDON RIOS
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3656    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
JESSICA PARENTE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3657    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
JEFFREY FORSYTHE GUARDIAN AD LITEM FOR
ALEXA J FORSYTHE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3658    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00


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                                                                                                      Amount                                                   Amount
ESTHELA FERNANDEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                3659    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
LUIGI H AGUILAR
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                3660    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
JEFFREY FORSYTHE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                3661    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
CYNTHIA AGUILAR
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                3662    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
LUZ MARIA ROMAN
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                3663    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ALLINE D THOMAS
708 E 73RD ST
LOS ANGELES, CA 90001-2304                        3664    1/31/2014    Exide Technologies, LLC                                              Unliquidated                                                  $0.00
JOVANNI FLORES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3665    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
DANIEL FLORES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3666    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
RAMON FLORES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3667    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
CONCEPCION GOMEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3668    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00




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                                                                                                      Amount                                                   Amount
DOMINGO GONZALES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3669    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
CECILIA AGUILAR
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3670    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
BRYAN GONZALES (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3671    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
RANDOLPH GONZALES (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3672    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
DANIEL HERRERA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3673    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
RAFAEL LUNA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3674    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
BARBARA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3675    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
BOBBY JOE MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3676    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
DOMINIC MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3677    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
FRANCISCO MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3678    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                      Amount                                                   Amount
JADE MARIE MARTINEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3679    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
RENI MARTINEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3680    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GEORGE MONTANO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3681    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GUADALUPE ROSALES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3682    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MERCEDEZ ROSALES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3683    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
DAVID SANCHEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3684    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
DELORES TINAJERO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3685    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
CANDACE PEINADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3686    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JULIAN ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3687    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ANA VIVIAN
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3688    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                      Amount                                                   Amount
MARIA TRINIDAD JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3689    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ARACELI JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3690    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GERARDO JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3691    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JUDITH DELGADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3692    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ABELARDO DELGADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3693    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
KIMBERLY LUNA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3694    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MICHELLE LUNA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3695    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GILBERTO RANGEL
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3696    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ROBERT GONZALEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3697    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ITZEL LOPEZ-PAZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3698    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                      Amount                                                       Amount
SIDNEY LOPEZ-PAZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3699    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CESAR RAMIREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3700    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
REVECA LLAMOS
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3701    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
VERONICA RAMIREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3702    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CESAR RAMIREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3703    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRAULIO RAMIREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3704    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
EDITH MENDOZA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3705    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
LUIS ENRIQUE MENDOZA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3706    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARISOL JUAREZ DELEON
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3707    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
AARON SANTIBANEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3708    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00

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                                                                                                      Amount                                                   Amount
ENZO SANTIBANEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3709    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
TALOMA SANTIBANEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3710    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JAZIER SANTIBANEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3711    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
RICARDO SANTIBANEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3712    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
FRANCISCA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3713    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GABRIELLA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3714    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MENOR DE EDAD
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3715    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
DENIS QUINONEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3716    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
NORMA RUIZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3717    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ZIZTORINA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3718    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
SERZANDO ROBELS
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3719    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
OSZALDO BAUTIZTA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3720    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
YESENIA MENDOZA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3721    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
CARLOS ESQUIZEL
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3722    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MARCOS SUENTES (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3723    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
CARLOS DOMINZUEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3724    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MAGZA PAZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3725    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ARTURO LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3726    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
EDWIN LOPEZ-PAZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3727    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
EVELYN LOPEZ-PAZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3728    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                      Amount                                                   Amount
CRUZ BECERRA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3729    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JUDE ORTIZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3730    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MATTHEW ORTIZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3731    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
RONNIE ORTIZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3732    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MARTHA RUIZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3733    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
NOMAS AMAYA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3734    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JOHN TINAJERO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3735    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MARIA GUERARA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3736    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
LETICIA LINAN
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3737    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MARIA ANGELINA RAMIREZ GUTIERRAZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3738    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
KARLA S ROSGADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3739    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
SERGIO ARANA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3740    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
KENDERICK ROSGADO (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3741    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
BLANCA TIRADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3742    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
HAZELLE SANCHEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3743    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
HAILEY SANCHEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3744    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GUADALUPE LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3745    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
FRANCISCO JAVIER JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3746    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
KARINA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3747    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
KHRIS A SANCHEZ MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3748    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
ANGEL N SANCHEZ MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3749    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
NAHUM SANCHEZ LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3750    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
KATSUMI L MIRALRIO LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3751    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
KARY MIRALRIO LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3752    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
KARINA LOPEZ ZUNIGO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3753    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JUAN SANCHEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3754    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MARTHA OFELIA JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3755    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
RIGOBERTO JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3756    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JOSEFINA JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3757    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
RAUL JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3758    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                      Amount                                                   Amount
VERONICA ARREOLA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3759    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
VINDIANA LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3760    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
MATHEW LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3761    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
VIVIAN LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3762    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ISAAC LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3763    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
AVAHI LOPEZ ZONIGA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3764    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
CHRISTIAN ZAVALA (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3765    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
KEVIN GONZALEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3766    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
JUAN GONZALEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3767    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
ANGELICA CALDERON
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3768    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                                                                                                      Amount                                                       Amount
GUILLERMO A PEREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3769    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CHRISTIAN ZAVALA (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3770    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
RENAE ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3771    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CAROLINE ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3772    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
SIERRA GUERARA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3773    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MADELINE GUERARA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3774    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
RAUL GUERARA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3775    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
PERLA CORARRUBRAS
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3776    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ARACELI CABRERA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3777    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CAROLINE ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3778    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                      Amount                                                       Amount
RENAE ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3779    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARIA DEL ROSARIO ALCANTAR
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3780    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ALICIA ALEMAN
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3781    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ISAAIAH ALEMAN (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3782    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MIGUEL ALFARO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3783    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
EVANGELINA ALFARO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3784    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MIGUEL ANGEL ALFARO (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3785    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
BRYANT ALFARO (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3786    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JASMINE ALFARO (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3787    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
LEONARDO AVILA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3788    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00

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                                                                                                      Amount                                                        Amount
KARINA AVILA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3789    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
RITA BIBIAN
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3790    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MARIA CERVANTES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3791    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
VANESSA CHAIDEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3792    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MARIA ELENA DUPONE
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3793    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CHRISTIAN ZAVALA (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                            3794    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CIT FINANCE LLC
C/O WELTMAN WEINBERG & REIS
3705 MARLANE DR
GROVE CITY, OH 43123                              3795    1/30/2014    Exide Technologies, LLC                                                          $0.00                                                  $0.00
ZACK HERNANDEZ
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                             3796    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
FRANCISCA CONTRERAS CERVANTES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                               3797    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
GUADALUPE CONTRERAS CERVANTES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                               3798    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00



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               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                             Admin Priority
                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                     Amount
ERICA VILLICANA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3799    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
ELIZABETH ALAMILLO
8933 TOPE AVE
SOUTH GATE, CA 90280-2644                            3800    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00

BRINNA DELA ROSA A MINOR BY & THROUGH HER PARENT
ESTRELLITA DELGADILLO
629 ORME AVE
LOS ANGELES, CA 90023                                3801    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
ABRIEL DELA ROSA A MINOR BY & THROUGH HIS PARENT
ESTRELLITA DELGADILLO
629 ORME AVE
LOS ANGELES, CA 90023                                3802    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
URIEL DELA ROSA
629 ORME AVE
LOS ANGELES, CA 90023                                3803    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
ESTRELLITA DELGADILLO
629 ORME AVE
LOS ANGELES, CA 90023                                3804    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
CAROLYN RUELAS A MINOR BY & THROUGH HER PARENT
JACKELINE WITRON
10111 SAN JUAN AVE
SOUTH GATE, CA 90280                                 3805    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
ANDRES SANTIAGO VALENZUELA
MINOR BY PARENT JACKELINE WITRON
10111 SAN JUAN AVE
SOUTH GATE, CA 90280                                 3806    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
ERIC VALENZUELA
10111 SAN JUAN AVE
SOUTH GATE, CA 90280                                 3807    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
JACKELINE WITRON
10111 SAN JUAN AVE
SOUTH GATE, CA 90280                                 3808    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
CARLOS C QUEZADA
3596 E 52ND ST
MAYWOOD, CA 90207                                    3809    1/31/2014    Exide Technologies, LLC                             Unliquidated                                                                     $0.00
NORDIS PARENTE
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3810    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                  $5,000,000.00
ALICIA RANGEL
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3811    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                  $5,000,000.00

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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                    Amount
MONIQUE BRISSON
2701 RANDOLPH ST APT 207
HUNTINGTON PARK, CA 90255-3078                   3812    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
LILIA CASTILLO
4922 1/2 E 60TH PL
MAYWOOD, CA 90270                                3813    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JENICE ALEMAN
735 E VERNON AVE
LOS ANGELES, CA 90011                            3814    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JAVIER SANTOS P
4905 60TH PL APT C
MAYWOOD, CA 90270                                3815    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
MARIA FERNANDA SANTOS P
4905 60TH PL APT C
MAYWOOD, CA 90270                                3816    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
RICARDA NOYOLA
3825 S TRINITY ST
LOS ANGELES, CA 90011                            3817    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
IGNACIO GALLEGOS
326 W 65TH ST
LOS ANGELES, CA 90003                            3818    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
SOCORRO ANALCO
3631 1/2 TRINITY ST
LOS ANGELES, CA 90011                            3819    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JOEL ALEMAN
3631 1/2 TRINITY ST
LOS ANGELES, CA 90011                            3820    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
NURY BALMACEDA
5842 PRIORY ST
BELL GARDENS, CA 90201                           3821    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ROBERTA SANCHEZ
326 W 65TH ST
LOS ANGELES, CA 90003                            3822    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
DEMAV ANALCO
3825 S TRINITY ST
LOS ANGELES, CA 90011                            3823    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
VICTOR MANUEL MENDOZA
530 S FERRIS AVE
LOS ANGELES, CA 90022                            3824    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
STEPHANIE SUASTEGUI
3800 E SLAUSON AVE
MAYWOOD, CA 90270                                3825    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ROSANA ALEMAN
3602 1/2 ADAIR ST APT B
LOS ANGELES, CA 90011                            3826    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
MARIA NAVARRO
14121 SHOEMAKER AVE APT 4
NORWALK, CA 90650-4539                           3827    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
BLAS MANRIQUE
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                               3828    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
GENESIS MANRIQUE
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                               3829    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ORLANDO CASTILLO
4515 E 61ST ST
MAYWOOD, CA 90270                               3830    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ELIAZAR FLORES
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                               3831    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ALEJANDRA SANCHEZ
4922 1/2 E 60TH PL
MAYWOOD, CA 90270                               3832    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
REYNALDO LOEZE
4913 E 60TH PL
MAYWOOD, CA 90270                               3833    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ADRIANA MAYA
6015 VINEVALE AVE
MAYWOOD, CA 90270                               3834    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ANDREA MANRIQUE
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                               3835    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ALFREDO MATILDES
205 S GREENWOOD AVE #A
MONTEBELLO, CA 90640                            3836    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
SERGIO MORALES
530 S FERRIS AVE
LOS ANGELES, CA 90022                           3837    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
CRISTINA MATILDES
205 S GREENWOOD AVE #A
MONTEBELLO, CA 90640                            3838    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
JULIAN ALARCON
6015 VINEVALE AVE
MAYWOOD, CA 90270                               3839    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
BLAS JR MANRIQUE
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                               3840    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ROMAN HERNANDEZ
4913 E 60TH PL
MAYWOOD, CA 90270                               3841    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
JESENIA DEL CARMEN
4922 1/2 E 60TH PL
MAYWOOD, CA 90270                               3842    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
MAXIMA VICTORIANO
4913 E 60TH PL
MAYWOOD, CA 90270                               3843    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
JOSE A SANCHEZ
146 N ROWAN AVE
LOS ANGELES, CA 90063                             3844    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
JONATHAN DE LA ROSA
1350 VAN PELT
LOS ANGELES, CA 90063                             3845    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
CHRISTIAN SANCHEZ
146 N ROWAN AVE
LOS ANGELES, CA 90063                             3846    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ROBERTO CASTILLO
144 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                             3847    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
FERNANDO DIAZ
144 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                             3848    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
DIANA CASTILLO
144 1/2 ROWAN AVE
LOS ANGELES, CA 90063                             3849    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
SOCORRO SALAZAR
144 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                             3850    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ABIGUAIL SANCHEZ
146 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                             3851    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
FLORA CASTILLO
144 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                             3852    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
MARILU CASTANON
146 N ROWAN AVE
LOS ANGELES, CA 90063                             3853    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
SERGIO MORALES
530 S FERRIS AVE
LOS ANGELES, CA 90022                             3854    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
GLORIA LOEZA MANRRIQUE
4922 E 60TH PL
MAYWOOD, CA 90270                                 3855    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
CIFREDO FLORES
6142 WOODLAWN AVE APT 5
MAYWOOD, CA 90270                                 3856    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ROSE HERNANDEZ
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                             3857     2/1/2014    Exide Technologies, LLC        $2,000,000.00                                                                                    $2,000,000.00
HILARIO HERNANDEZ
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                             3858     2/1/2014    Exide Technologies, LLC        $2,000,000.00                                                                                    $2,000,000.00




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               Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
ZACK HERNANDEZ
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                                  3859     2/1/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ARTRA VILLAREAL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3860     2/1/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00

AMY GUERRERO OBO DECEDENT YUNUE AMAYELI MAYA ARIAS
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3861     2/3/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
CYNTHIA AGUILAR GUARDIAN AD LITEM FOR
SAMANTHA REYES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3862     2/3/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
EDWIN AGUILAR
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3863     2/3/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARTINA GONZALEZ
3042 GUIRADO ST
LOS ANGELES, CA 90023                                  3864    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ANGEL GONZALEZ
3042 GUIRADO ST
LOS ANGELES, CA 90023                                  3865    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
M CURIEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3866    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ARTRA VILLAREAL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3867    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
HERLINDA HERNANDEZ
9609 BOWMAN AVE
SOUTH GATE, CA 90280-5027                              3868     2/4/2014    Exide Technologies, LLC                                  $12,475.00                                                               $12,475.00
DOLORES BARBARICK
6400 RUGBY AVE
HUNTINGTON PARK, CA 90255-4004                         3869     2/4/2014    Exide Technologies, LLC                                  $50,000.00                                                               $50,000.00




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                Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
ALMA D MARTINEZ
302 S SADLER AVE
LOS ANGELES, CA 90022-2325                               3870     2/4/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ELEANOR GATICA
3601 E 55TH ST
MAYWOOD, CA 90270-2131                                   3871     2/4/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ROBERTO G GOMEZ
2414 LIVE OAK ST
HUNTINGTON PARK, CA 90255                                3872     2/5/2014    Exide Technologies, LLC              $1,000.00                                                                                       $1,000.00
CARLOS PANDO
PO BOX 3441
HUNTINGTON PARK, CA 90255-2341                           3873     2/6/2014    Exide Technologies, LLC                                     $576.00                                                                   $576.00
PACIFIC CHLORIDE INCORPORATED
C/O MCCARTER & ENGLISH LLP
ATTN KATHARINE L MAYER, ESQ
405 N KING ST STE 800
WILMINGTON, DE 19801                                     3874     2/6/2014    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
SYLVIA D ELKISCH
5611 E MISSION WAY
LOS ANGELES, CA 90040-1543                               3875     2/7/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
RICARDO D DIAZ
5034 JARDINE ST
COMMERCE, CA 90040                                       3876     2/7/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JOSE A ROMAN
6151 WILCOX AVE APT A
MAYWOOD, CA 90270-3414                                   3877     2/8/2014    Exide Technologies, LLC             $75,000.00                                                                                     $75,000.00
CITY OF PHILADELPHIA /
SCHOOL DISTRICT OF PHILADELPHIA
ATTN LAW DEPARTMENT - TAX UNIT
MUNICIPAL SERVICES BUILDING
1401 JOHN F KENNEDY BLVD 5TH FL
PHILADELPHIA, PA 19102                                   3878     2/8/2014    Exide Technologies, LLC                                       $0.00                                                                     $0.00
AHERN RENTALS INC
1401 AHERN AVE
LAS VEGAS, NV 89106                                      3879    2/10/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MITSUBISHI ELECTRIC POWER PRODUCTS INC
C/O MITSUBISHI ELECTRIC US, AMERICAS CORP OFFICE
ATTN JOHN CIPRIANO, ASST GENERAL COUNSEL
500 CORPORATE WOODS PKWY
VERNON HILLS, IL 60061                                   3880    2/13/2014    Exide Technologies, LLC            $600,000.00                                                                                    $600,000.00
TRANSCAT
C/O CCC OF NY
PO BOX 288
TONAWANDA, NY 14150                                      3881    2/18/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
BELL ALIANT
BUSINESS CREDIT SERVICES
ATTN LORI COYLE
71 BELVEDERE AVE PO BOX 820 STN CENTRAL
CHARLOTTETOWN PE C1A 7M1

CANADA                                            3882    2/20/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MTU ONSITE ENERGY
100 POWER DR
MANKATO, MN 56001                                 3883    2/25/2014    Exide Technologies, LLC                                                                             $0.00                              $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING
NORTH AMERICA INC OBO OF ITSELF ET AL
C/O FROST BROWN TODD LLC
ATTN CHRISTY HRUSKA, ESQ
150 3RD AVE S STE 1900
NASHVILLE, TN 37201                               3884    2/26/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CASH-N-CARRY PULL YOUR PART
PO BOX 22307
SAVANNAH, GA 31403                                3885     3/3/2014    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
STEVEN J CASALE
5 JOMERLYN DR
TAYLOR, PA 18517-1321                             3886     3/3/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CASALE, STEVEN
5 JOMERLYN DR
TAYLOR, PA 18517-1321                             3887     3/3/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LANDSBERG
C/O ORORA
6600 VALLEY VIEW ST
BUENA PARK, CA 90620                              3888     3/5/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SUMMERS HARDWARE & SUPPLY CO
400 BUFFALO ST
PO BOX 210
JOHNSON CITY, TN 37605-0210                       3889    3/14/2014    Exide Technologies, LLC            $8,611.34                                                       $75.73                          $8,687.07
CUSTOM BRUSH COMPANY INCORP
1933 OWL CT
CHERRY HILL, NJ 08003-2920                        3890    3/18/2014    Exide Technologies, LLC                                                                             $0.00                              $0.00
CADI COMPANY INC
C/O DANA CAPOZZI
PO BOX 1127
60 RADO DR
NAUGATUCK, CT 06770                               3891    3/20/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
TEMPCO ELECTRIC HEATER CORPORATION
607 N CENTRAL AVE
WOOD DALE, IL 60191                               3892    3/20/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BENTON COUNTY TAX COLLECTOR
215 E CENTRAL AVE STE 101
BENTONVILLE, AR 72712                             3893    3/17/2014    Exide Technologies, LLC                                       $0.00                                                                    $0.00




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                                                                                                   Current General                                              Current 503(b)(9)
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               Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                            Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                       Amount                                                       Amount
STATE OF MICHIGAN DEPARTMENT OF TREASURY
ATTN HEATHER L DONALD ASST AG
CADILLAC PLACE, STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                  3894    3/31/2014    Exide Technologies, LLC                                                                                                $0.00            $0.00
UNITED RENTALS (NORTH AMERICA) INC
3200 HARBOR LANE N
MINNEAPOLIS, MN 55447                              3896     4/8/2014    Exide Technologies, LLC            $62,446.08                                                                                      $62,446.08
HOUNG E POENG
271 MARGARET AVE
LOS ANGELES, CA 90022-2226                         3897     4/7/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
INTRAPACK INDUSTRIES
ATTN TRACY ZAFFINO
10650 MARKISON RD
DALLAS, TX 75238                                   3898    4/29/2014    Exide Technologies, LLC                    $0.00                                                    $0.00                               $0.00
PITNEY BOWES GLOBAL FINANCIAL SERVICES
C/O PITNEY BOWES INC
27 WATERVIEW DR
SHELTON, CT 06484                                  3899    5/19/2014    Exide Technologies, LLC                                                                                                $0.00            $0.00
PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC
C/O PITNEY BOWES INC
ATTN RECOVERY DEPT
27 WATERVIEW DR
SHELTON, CT 06484-4361                             3900    5/19/2014    Exide Technologies, LLC             $1,265.14                                                                                       $1,265.14
BRENNTAG MID-SOUTH INC
ATTN ROBERT BURBANK
5083 POTTSVILLE PIKE
READING, PA 19605                                  3901     6/2/2014    Exide Technologies, LLC                                                                             $0.00                               $0.00
RANKIN COUNTY COLLECTOR
211 E. GOVERNMENT ST.
BRANDON, MS 39042                                  3902     6/9/2014    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MASSACHUSETTS DEPARTMENT OF REVENUE
BANKRUPTCY UNIT
PO BOX 9564
BOSTON, MA 02114                                   3903    6/12/2014    Exide Technologies, LLC                                       $0.00                                                                     $0.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
CADILLAC PLACE STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                  3904    6/12/2014    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
ATTN HEATHER L DONALD ASSISTANT AG
CADILLAC PLACE STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                  3905    6/12/2014    Exide Technologies, LLC                                                                                                $0.00            $0.00
ANALYTICAL SERVICES INC
110 TECHNOLOGY PKWY
NORCROSS, GA 30092-2908                            3906    6/24/2014    Exide Technologies, LLC             $5,901.50                                                                                       $5,901.50




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                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
BRANDIE NICOLE LLAMAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3907    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
STELLA MARIS ABRAHAN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3908    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GERONIMA NEVAREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3909    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
BRASCOMBE FLORES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3910    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
IZKOATL ANGULO LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3911    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
BENJAMIN T ACOSTA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3912    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
CIRILIO MARTINEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3913    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ELIZABETH SANCHEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3914    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
SERGIO ORTIZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3915    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ROBERT M BENAVIDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3916    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
ISABELLA HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3917    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARTIN AMEZCUA ZAMORA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3918    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
NATALIA PAZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3919    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOVANNIE MATHEW MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3920    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
FLORENTINO MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3921    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EMILIANO MARTINEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3922    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA E SANCHEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3923    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA LETICIA SANCHEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3924    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
BRYAN GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3925    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GILBERTO DELGADO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3926    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
ARLENE I RAMOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3927    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JUANITA MARQUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3928    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
RICARDO VASQUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3929    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ELVIA MEJIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3930    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA A MACIEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3931    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOSE L MACIEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3932    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
LOURDES GARIBAY
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3933    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOSE MEJIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3934    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EPITACIO RUIZ GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3935    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
HERMINIA LEON
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3936    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
EDUARDO FIERRO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3937    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
OLIVIA ALDRETE
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3938    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ROSA M GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3939    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
PETER BENAVIDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3940    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GEORGE MONTANO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3941    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
CARLOS HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3942    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MICHAEL ZERMENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3943    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARGARITA ACEVEDO QUINTANA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3944    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EDUARDO SANCHEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3945    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
GUADALUPE GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3946    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
ISMAEL GUZMAN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3947    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
FRANCISCO JAVIER GARCIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3948    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ELVIA MEJILLA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3949    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOSE MANUEL CALDERON
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3950    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
HECTOR MATA JR
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3951    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JAVIER GONZALES JR
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3952    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JOHNNIE A MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3953    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALLIANA CECILIA MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3954    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
JACOB IAN MEDEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3955    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ELIZABETH HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3956    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                        Amount                                                        Amount
FERNANDO LLAMAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3957    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
SPENCER TURBINE COMPANY, THE
ATTN MONIQUE DUNN
600 DAY HILL RD
WINDSOR, CT 06095                                   3958     7/7/2014    Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
FRANCHISE TAX BOARD
BANKRUPTCY SECTION MS A340
PO BOX 2952
SACRAMENTO, CA 95812-2952                           3959    7/11/2014    Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
EDWARD HILL
9855 REGENCY SQUARE BLVD
APT 118
JACKSONVILLE, FL 32225                              3960    7/30/2014    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
221 RECYCLING CENTER
ATTN KATHY BOGLE
903 S ALABAMA AVE
CHESNEE, SC 29323                                   3961     8/5/2014    Exide Technologies, LLC                                                                              $0.00                               $0.00
THE SPENCER TURBINE COMPANY
ATTN MONIQUE DUNN
600 DAY HILL RD
WINDSOR, CT 06095                                   3962     8/4/2014    Exide Technologies, LLC             $9,185.85                                                    $3,177.09                          $12,362.94
FEDEX CUSTOM CRITICAL
C/O RMS
PO BOX 5126
TIMONIUM, MD 21094                                  3964    8/14/2014    Exide Technologies, LLC             $9,721.60                                                                                         $9,721.60
SEALING DEVICES INC - LANCASTER
4400 WALDEN AVE
LANCASTER, NY 14086-9716                            3965    8/20/2014    Exide Technologies, LLC            $15,250.00                                                                                       $15,250.00
SOUTH COAST AIR QUALITY MANAGEMENT DISTRICT
C/O KLEE TUCHIN BOGDANOFF & STERN LLP
ATTN ROBERT J PFISTER, ESQ
1999 AVENUE OF THE STARS 39TH FL
LOS ANGELES, CA 90067                               3966    8/22/2014    Exide Technologies, LLC                    $0.00                                                                        $0.00            $0.00
DONALD MCCALL
C/O BODENHEIMER JONES & SZWAK LLC
ATTN DAVID A SZWAK
416 TRAVIS ST STE 1404
MID SOUTH TOWER
SHREVEPORT, LA 71101                                3967     9/8/2014    Exide Technologies, LLC                                       $0.00                                                                      $0.00
M-LINE INC
ATTN DUFF HELMERS
3186 N CHARLOTTE ST
GILBERTSVILLE, PA 19525                             3968    9/15/2014    Exide Technologies, LLC                                                                              $0.00                               $0.00




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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                         Amount                                                        Amount
DONALD MCCALL
C/O BODENHEIMER JONES & SZWAK LLC
ATTN DAVID A SZWAK
416 TRAVIS ST STE 1404
MID SOUTH TOWER
SHREVEPORT, LA 71101                                 3969    9/15/2014    Exide Technologies, LLC                                       $0.00                                                                      $0.00
HERMAN J HERRON
1734 VICTORIA DR
MEMPHIS, TN 38116                                    3970    9/16/2014    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
PACIFIC CHLORIDE INCORPORATED
C/O MCCARTER & ENGLISH LLP
ATTN KATHARINE L MAYER, ESQ
RENAISSANCE CENTRE
405 N KING ST STE 800
WILMINGTON, DE 19801                                 3971    9/26/2014    Exide Technologies, LLC            $862,919.51                                   $0.00                                             $862,919.51
STATE BOARD OF EQUALIZATION
SPECIAL OPERATIONS BRANCH MIC55
PO BOX 942879
SACRAMENTO, CA 94279-0055                            3972    10/1/2014    Exide Technologies, LLC                                       $0.00                                                                      $0.00
JAMES R RIGGINS TRUST DTD 4/24/2012
213 MARINERS POINT RD
SEQUIM, WA 98382                                     3973    10/3/2014    Exide Technologies, LLC                    $0.00                                                                                         $0.00

STATE OF MICHIGAN DEPARTMENT OF TREASURY
C/O BILL SCHUETTE ATTORNEY GENERAL
ATTN HEATHER L DONALD ASSISTANT ATTORNEY GENERAL
CADILLAC PLACE STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                    3974    10/6/2014    Exide Technologies, LLC                                                                                                 $0.00            $0.00
MISSISSIPPI DEPARTMENT OF REVENUE
ATTN BANKRUPTCY SECTION
PO BOX 22808
JACKSON, MS 39225-2808                               3975    10/6/2014    Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
MISSISSIPPI DEPARTMENT OF REVENUE
BANKRUPTCY SECTION
PO BOX 22808
JACKSON, MS 39225-2808                               3976    10/6/2014    Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
OREGON FARMERS MUTUAL TELEPHONE CO
PO BOX 227
OREGON, MO 64473-0227                                3977    10/3/2014    Exide Technologies, LLC                    $0.00                                                                                         $0.00
HCL AMERICA INC
ATTN CARL E AILARA JR, ESQ
15 EXCHANGE PL STE 730
JERSEY CITY, NJ 07302                                3978    10/29/2014   Exide Technologies, LLC        $1,481,063.00                                                                                      $1,481,063.00
ROBERT BOSCH LLC
ATTN ADAM WIENNER
38000 HILLS TECH DR
FARMINGTON HILLS, MI 48331                           3979    10/29/2014   Exide Technologies, LLC                                                          $0.00                                                   $0.00



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               Creditor Name and Address        Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                           Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                      Amount                                                        Amount
STATE OF IOWA
IOWA DEPARTMENT OF REVENUE
ATTN BANKRUPTCY UNIT
PO BOX 10471
DES MOINES, IA 50306                              3980    11/17/2014   Exide Technologies, LLC                                                                                                 $0.00            $0.00
GARY NATE
4786 BURCH CREEK DR
OGDEN, UT 84403                                   3981    11/26/2014   Exide Technologies, LLC                                                          $0.00                                                   $0.00
WELTON RIGGINS
3823 MUNGER AVE
DALLAS, TX 75204-4248                             3982    11/26/2014   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
VANFAB INC
C/O NEAL GERBER & EISENBERG LLP
ATTN NICHOLAS M MILLER
TWO N LASALLE ST STE 1700
CHICAGO, IL 60602-3801                            3983    11/24/2014   Exide Technologies, LLC                                                                                                 $0.00            $0.00
GENERAL YOUNG
964 N 28TH AVE
OMAHA, NE 68131                                   3984     1/5/2015    Exide Technologies, LLC                                       $0.00                                                                      $0.00
WELTON RIGGINS
3823 MUNGER AVE
DALLAS, TX 75204-4248                             3985     1/9/2015    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
BUTTS, ROBERT & PATRICIA
5 PINEWOOD DR
WILKES BARRE, PA 18702-7219                       3986    1/12/2015    Exide Technologies, LLC             $1,077.00                 $0.00                                                                  $1,077.00
OHDEN, DOUG
11580 60TH AVE SW
RAYMOND, MN 56282                                 3987    1/12/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
COCCIA, VINCENT
2411 KENILWORTH AVE
BERWYN, IL 60402                                  3988    1/13/2015    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128-0946                         3989    1/16/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
CITY OF EL PASO
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN DAVID G AELVOET
711 NAVARRO ST STE 300
SAN ANTONIO, TX 78205                             3990    1/20/2015    Exide Technologies, LLC                                                      $2,375.40                                               $2,375.40
REXTAC, LLC
PO BOX 4148
ODESSA, TX 79760-4148                             3991    1/20/2015    Exide Technologies, LLC            $43,680.00                                                        $0.00                          $43,680.00
WELTON RIGGINS
3823 MUNGER AVE
DALLAS, TX 75204-4248                             3992    1/31/2015    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
CHARLES A LIEUPO
C/O JACKSON W ADAMS PA
33 E ROBINSON ST STE 209
ORLANDO, FL 32801                                 3993    2/10/2015    Exide Technologies, LLC            $15,000.00                                                                                       $15,000.00

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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
RAM'S CAR CARE CENTER
3330 N SR-7
LAUDERDALE LAKES, FL 33319                        3994    2/13/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF REVENUE
ATTN MARIA ROBINETT LEGAL AIDE
BOX 475
JEFFERSON CITY, MO 65105                          3995    2/17/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NATE, GARY
4786 BURCH CREEK DR
OGDEN, UT 84403                                   3996    2/23/2015    Exide Technologies, LLC                                                          $0.00                                                  $0.00
CITY OF EL PASO
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN DAVID G AELVOET
711 NAVARRO ST STE 300
SAN ANTONIO, TX 78205                             3997    2/26/2015    Exide Technologies, LLC                                                      $2,375.40                                              $2,375.40
ISRA DAWSON
2515 HWY 261 N
DALZELL, SC 29040-9099                            3998     3/2/2015    Exide Technologies, LLC                                  $19,394.24                                                                $19,394.24
EVELYN DAWSON
2515 HWY 261 N
DALZELL, SC 29040-9099                            3999     3/2/2015    Exide Technologies, LLC                                  $25,025.49                                                                $25,025.49
CHARLES WEATHERLY
866 WHATLEY ST
SUMTER, SC 29154-6042                             4000     3/2/2015    Exide Technologies, LLC                                  $16,570.98                                                                $16,570.98
JUANITA WEATHERLY
866 WHATLEY ST
SUMTER, SC 29154-6042                             4001     3/2/2015    Exide Technologies, LLC                                  $10,927.35                                                                $10,927.35
AZALEE W KNOX
C/O A PAUL WEISSENSTEIN JR
PO BOX 2446
SUMTER, SC 29151                                  4002     3/2/2015    Exide Technologies, LLC                                  $21,847.58                                                                $21,847.58
JOSEPH GAINES
717 N MAIN ST
SUMTER, SC 29150-3521                             4003     3/2/2015    Exide Technologies, LLC                                  $14,691.60                                                                $14,691.60
JAMES TOMLIN
5130 JOE BILLY RD
GABLE, SC 29051-9649                              4004     3/2/2015    Exide Technologies, LLC                                  $14,245.06                                                                $14,245.06
JOHN GILLIARD
4325 PATRIOT PKWY
SUMTER, SC 29154-9772                             4005     3/2/2015    Exide Technologies, LLC                                  $14,904.17                                                                $14,904.17
VERNICE BRUNSON
130 MAIL BOX LN
LYNCHBURG, SC 29080-8419                          4006     3/2/2015    Exide Technologies, LLC                                  $21,056.98                                                                $21,056.98
SARAH GIBSON
PO BOX 236
MAYSVILLE, SC 29104                               4007     3/2/2015    Exide Technologies, LLC                                  $29,857.77                                                                $29,857.77
EARNEST HAMPTON
7770 SHINE LN
PINEWOOD, SC 29125-9585                           4008     3/2/2015    Exide Technologies, LLC                                  $28,599.61                                                                $28,599.61


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                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                 Amount
ANNIE GREEN
80 MICKENS ST
SUMTER, SC 29150                                 4009     3/2/2015    Exide Technologies, LLC                            $31,270.32                                                               $31,270.32
CLAYBOURNE WHITE
PO BOX 2446
SUMTER, SC 29151                                 4010     3/2/2015    Exide Technologies, LLC                            $13,168.80                                                               $13,168.80
GLADYS JONES
2780 BONNELL DR
SUMTER, SC 29154-4605                            4011     3/2/2015    Exide Technologies, LLC                            $18,167.88                                                               $18,167.88
ALBERTUS HAMPTON
7730 SHINE LN
PINEWOOD, SC 29125-9585                          4012     3/2/2015    Exide Technologies, LLC                            $23,868.00                                                               $23,868.00
EDWARD LOWERY
2905 HOMESTEAD RD
SUMTER, SC 29153-7632                            4013     3/2/2015    Exide Technologies, LLC                            $19,539.07                                                               $19,539.07
BETTY PLENGE
111 CEDAR RIDGE LN
CONWAY, SC 29526-8916                            4014     3/2/2015    Exide Technologies, LLC                             $7,036.13                                                                $7,036.13
CONSTANCE WESTON
1022 DECATUR ST
SUMTER, SC 29150-7418                            4015     3/2/2015    Exide Technologies, LLC                            $20,846.62                                                               $20,846.62
JAMES HAMPTON
2910 ERVIN LN
SUMTER, SC 29154-8600                            4016     3/2/2015    Exide Technologies, LLC                            $29,242.08                                                               $29,242.08
CHARLOTTE KELLEY
2121 GREENVILLE CIR
SUMTER, SC 29154-6176                            4017     3/2/2015    Exide Technologies, LLC                            $35,184.73                                                               $35,184.73
LARRY BROWN
688 MARLBOROUGH DR
SUMTER, SC 29154                                 4018     3/2/2015    Exide Technologies, LLC                            $54,870.00                                                               $54,870.00
NATHAN CARTER
126 THELMA DR
SUMTER, SC 29150                                 4019     3/2/2015    Exide Technologies, LLC                            $16,605.79                                                               $16,605.79
CHARLIE HAMPTON
7765 SHINE LN
PINEWOOD, SC 29125-9586                          4020     3/2/2015    Exide Technologies, LLC                            $13,581.42                                                               $13,581.42
THOMAS BREWER
2255 STONE RD
MANNING, SC 29102-4559                           4021     3/2/2015    Exide Technologies, LLC                            $60,129.00                                                               $60,129.00
DELMAR PEET
1318 POCALLA DR
MANNING, SC 29102-4673                           4022     3/2/2015    Exide Technologies, LLC                            $41,025.60                                                               $41,025.60
RONALD TILLIE
1191 BILLUPS RD
PINEWOOD, SC 29125                               4023     3/2/2015    Exide Technologies, LLC                            $18,706.80                                                               $18,706.80
MARY CUMMINGS
PO BOX 2231
SUMTER, SC 29161-2231                            4024     3/2/2015    Exide Technologies, LLC                            $18,427.97                                                               $18,427.97




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                    Amount                                                       Amount
CARRIE LANCASTER
344 WILDWOOD AVE
SUMTER, SC 29154-5400                           4025     3/2/2015    Exide Technologies, LLC                                  $28,896.00                                                                $28,896.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128-0946                       4026     3/2/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
RODGER E OROKE
3029 CAMPFIRE DR
LAWRENCE, KS 66049                              4027     3/3/2015    Exide Technologies, LLC                                       $0.00                                                                     $0.00
YALE INDUSTRIAL PRODUCTS INC
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                               4028    3/20/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COLUMBUS MCKINNON CORPORATION
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                               4029    3/20/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COLUMBUS MCKINNON LIMITED
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                               4030    3/20/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHERRI HUFFER
315 LAKE ST
UPLAND, IN 46989                                4031    3/20/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF ENVIRONMENTAL PROTECTION
ATTN SHAWN ARBAUGH
CLEAN WATER PROGRAM
909 ELMERTON AVE
HARRISBURG, PA 17110                            4032    3/30/2015    Exide Technologies, LLC                                                                                            $5,899.00         $5,899.00
JOHN TAYLOR
C/O DREW TAYLOR, TRUSTEE
7198 41ST ST N
MOORHEAD, MN 56560                              4033     4/7/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
JUAN DE DIOS ALTAMIRANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            4034     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
NADIA OJEDA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            4035     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00




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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
SALVADOR ANDRADE
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4036     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA ELENA ESPINOSA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4037     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MEYRA ESPINOSA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4038     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARISA GUADALUPE GALLARDO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4039     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
DANIEL MARTIN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4040     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALEXIS MARTINEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4041     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALEXIS JOSE PASTOR
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4042     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALFREDO PLIEGO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4043     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
REY PLIEGO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4044     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
URIEL RAMOS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4045     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

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                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                   Amount
MARIO LEON REYES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4046     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ENRIQUE ORTEGA RUIZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4047     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
LORENZA CARMEN RUIZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4048     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
RICHARD SANTANA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4049     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ERNESTO PERALTA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4050     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
DELFINA P PERALTA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4051     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ADRIAN COLE TORRES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4052     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALBERT MICHAEL BUSTAMANTE II
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4053     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ANGELINA MARIE MORENO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4054     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
SERGIO FLORES (FATHER)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4055     4/7/2015    Exide Technologies, LLC         Unliquidated                                                                                       $0.00

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                Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                            Admin Priority
                                                                                                                        Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                      Amount                                                    Amount
SERGIO FLORES (SON)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4056     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
ESTHER LLAMAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4057     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
FERNANDO LOPEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4058     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
RUTH LARA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4059     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
EVA JIMENEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4060     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
MARCELA SOSA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4061     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
IRENE LLAMAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4062     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
AVNET INC
5400 PRAIRIE STONE PKWY
HOFFMAN ESTATES, IL 60192                         4063    4/14/2015    Exide Technologies, LLC            $50,450.83                                                                       $0.00       $50,450.83
LARA ALEXANDRINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4064    4/15/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
JOSE GUTTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4065    4/15/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00




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                                                                                                  Current General                                              Current 503(b)(9)
                                                                                                                          Current Priority   Current Secured                        Current Admin     Total Current
                Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                           Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                      Amount                                                       Amount
MARIA E CASTILLO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4066    4/15/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
JESUS GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4067    4/15/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
CHEVRON USA INC
C/O DAVIS WRIGHT TREMAINE LLP
ATTN GERALD F GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                           4068    4/21/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TEXACO DOWNSTREAM PROPERTIES INC
C/O DAVIS WRIGHT TREMAINE LLP
ATTN GERALD F GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                           4069    4/21/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNION OIL COMPANY OF CALIFORNIA
C/O DAVIS WRIGHT TREMAINE LLP
ATTN GERALD F GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                           4070    4/21/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPERATIONS BRANCH MIC 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                         4071    4/23/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
MIDTRONICS INC
ATTN CHAD NORTON
7000 MONROE ST
WILLOWBROOK, IL 60521                             4072    4/23/2015    Exide Technologies, LLC                                                                             $0.00                               $0.00
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
PO BOX 20207
NASHVILLE, TN 37202-0207                          4073    4/23/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
TENNESSEE DEPT OF REVENUE
C/O ATTORNEY GENERAL
ATTN CARL GILLIAM ASSISTANT DIRECTOR
PO BOX 20207
NASHVILLE, TN 37202-0207                          4074    4/24/2015    Exide Technologies, LLC                                       $0.00                                                                     $0.00
JARED E LARA (MINOR)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                              4075    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
FABIOLA LARA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                             4076    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LUIS H LARA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                             4077    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LUIS LARA JR
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                             4078    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
MARIA MEDINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                             4079    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ROCKWELL AUTOMATION INC
C/O GONZALEZ SAGGIO & HARLAN LLP
3945 HOLCOMB BRIDGE RD STE 300
PEACHTREE CORNERS, GA 30092                      4080    4/28/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
MIDTRONICS INC
ATTN CHAD NORTON
7000 MONROE ST
WILLOWBROOK, IL 60521                            4081    4/29/2015    Exide Technologies, LLC                                                                             $0.00                               $0.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
CADILLAC PL STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                4082    4/29/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
ROCKWELL AUTOMATION INC
C/O GONZALEZ SAGGIO & HARLAN LLP
3945 HOLCOMB BRIDGE RD STE 300
PEACHTREE CORNERS, GA 30092                      4083     5/4/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPERATIONS BRANCH MIC 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                        4084     5/8/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
JOHN M BELCEA
2550 VENTURA CIR
W MELBOURNE, FL 32904                            4085     5/9/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
JOHN M BELCEA
2550 VENTURA CIR
W MELBOURNE, FL 32904                            4086     5/9/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00




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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                         Amount                                                       Amount
ESOPUS CREEK VALUE SERIES FUND LP SER A
ATTN ANDREW SOLE,
MEMBER OF THE CREDITOR'S COMMITTEE
1325 AVENUE OF THE AMERICAS STE 2724
NEW YORK, NY 10019                                   4087    5/11/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
ANNE C HEFNER
25 KENINGTON RD
AVON, CT 06001-5102                                  4088    5/11/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
RUDY MONTANEZ
9077 ROAD 238B
TERRA BELLA, CA 93270                                4089    5/11/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00

BEST LUCKY INTERNATIONAL ENTERPRISE CORP
C/O BARACK FERRAZZANO KIRSCHBAUM & NAGELBERG LLP
ATTN WILLIAM J BARRETT
200 W MADISON ST, STE 3900
CHICAGO, IL 60606                                    4090    5/13/2015    Exide Technologies, LLC                                                                             $0.00                               $0.00
RUDY MONTANEZ
9077 ROAD 238B
TERRA BELLA, CA 93270                                4091    5/13/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
VAN AM TOOL & ENGINEERING LLC
ATTN TODD LAWRENCE
5025 EASTON RD
ST JOSEPH, MO 64507                                  4092    5/15/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
JOE & IRMA DAVIS
10072 HIGHWAY 65
HOUSTONIA, MO 65333                                  4093    5/18/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
EDWIN D POST
PO BOX 160
GRANGER, WA 98932                                    4094    5/18/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SAMUEL ORONA
5463 VIA CAMPO ST
LOS ANGELES, CA 90022                                4095    5/18/2015    Exide Technologies, LLC                                                                                           $10,000.00       $10,000.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
CADILLAC PL STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                    4096    5/20/2015    Exide Technologies, LLC            $9,966.00                $434.00                                                                $10,400.00
ASSOCIATED EQUIPMENT CORP
ATTN DUANE E OBERT
5043 FARLIN AVE
ST LOUIS, MO 63115                                   4097    5/20/2015    Exide Technologies, LLC                                                                             $0.00                               $0.00
CONCENTRA MEDICAL CENTERS
PO BOX 3700
RANCHO CUCAMONGA, CA 91729                           4098    5/19/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAVID S FERGUSON
2469 RIVERS RD NW
ATLANTA, GA 30305                                    4099    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAVID S FERGUSON
2469 RIVERS RD NW
ATLANTA, GA 30305                                    4100    5/22/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00

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               Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
MICHAEL R DAPPOLONIA
2100 RIVOLI CT
NAPLES, FL 34105                                 4101    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOHN P REILLY
940 CAPE MARCO UNIT 2201
MARCO ISLAND, FL 34145                           4102    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOHN P REILLY
940 CAPE MARCO UNIT 2201
MARCO ISLAND, FL 34145                           4103    5/22/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
CARROLL R WETZEL
PO BOX 654
CAPTIVA, FL 33924                                4104    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CARROLL R WETZEL
PO BOX 654
CAPTIVA, FL 33924                                4105    5/22/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
JOHN O'HIGGINS
C/O SPECTRIS PLC
HERITAGE HOUSE
CHURCH ROAD
EGHAM SURREY TW20 9QD

UNITED KINGDOM                                   4106    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
JOHN O'HIGGINS
C/O SPECTRIS PLC
HERITAGE HOUSE
CHURCH ROAD
EGHAM SURREY TW20 9QD

UNITED KINGDOM                                   4107    5/22/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
FIRE EXTINGUISHER CO INC
ATTN DAVID SHELL
PO BOX 814
JONESBOROUGH, TN 37659                           4108    5/23/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CHUNMAN YU
8920 MERION DR
DULUTH, GA 30097                                 4109    5/26/2015    Exide Technologies, LLC            $19,591.67                                                                          $0.00       $19,591.67
RICHARDSON MOLDING INCORPORATED
ATTN ROGER WINSLOW
PO BOX 288
CORYDON, IA 50060                                4110    5/27/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
LAVELLE INDUSTRIES INC
ATTN DEBORAH SCHEFFLER
665 MCHENRY ST
BURLINGTON, WI 53105                             4111    5/27/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS
ASSISTANT ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                         4112    5/28/2015    Exide Technologies, LLC                                                                                           $30,000.00       $30,000.00


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                                                                                                                               Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                          Amount                                                       Amount
CATALYST RESOURCE GROUP LLC
2050 MARCONI DR STE 300
ALPHARETTA, GA 30005                                  4113    5/28/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
MICHAEL P RESSNER
2013 PRESCOTT PL
RALEIGH, NC 27615-5555                                4114    5/29/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
M P RESSNER
2013 PRESCOTT PL
RALEIGH, NC 27615-5555                                4115    5/29/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
PUREWORKS INC
C/O BASS BERRY & SIMS PLC
ATTN PAUL G JENNINGS
150 THIRD AVE S STE 2800
NASHVILLE, TN 37201                                   4116    5/29/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ARBUTUS BUSINESS CENTER LLC
THROUGH HILL MANAGEMENT SERVICES INC
C/O NEUBERGER QUINN GIELEN RUBIN & GIBBER PA
ATTN DIANE C BRISTOW, ESQ
1 SOUTH ST 27TH FL
BALTIMORE, MD 21202-3282                              4117    5/29/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
ENVIRONMENTAL RECOVERY SERVICES INC
C/O ERVIN COHEN & JESSUP LLP
ATTN BYRON Z MOLDO, ESQ
9401 WILSHIRE BLVD 9TH FL
BEVERLY HILLS, CA 90212-2974                          4118    5/29/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
UNITED STEELWORKERS
ATTN DAVID R JURY, ASSOCIATE GENERAL COUNSEL
FIVE GATEWAY CTR RM 807
PITTSBURGH, PA 15222                                  4119    5/29/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
HERBERT F ASPBURY
15 WAX MYRTLE WAY
VERO BEACH, FL 32963                                  4120    5/29/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HERBERT F ASPBURY
15 WAX MYRTLE WAY
VERO BEACH, FL 32963                                  4121    5/29/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00

CITY OF FRISCO, FRISCO ECONOMIC DEVELOPMENT CORP,
FRISCO COMMUNITY DEVELOPMENT CORPORATION
C/O ABERNATHY ROEDER BOYD & HULLETT PC
1700 REDBUD BLVD STE 300
MCKINNEY, TX 75069                                    4122    5/30/2015    Exide Technologies, LLC                                                                                        Unliquidated             $0.00
SOUTH COAST AIR QUALITY MANAGEMENT DISTRICT
C/O KLEE TUCHIN BOGDANOFF & STERN LLP
ATTN ROBERT J PFISTER, ESQ
1999 AVENUE OF THE STARS 39TH FL
LOS ANGELES, CA 90067                                 4123    5/30/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
CASCADES ENVIROPAC HPM LLC
C/O HARTER SECREST & EMERY LLP
12 FOUNTAIN PLAZA STE 400
BUFFALO, NY 14202                                     4124     6/1/2015    Exide Technologies, LLC                                                                                            $3,460.80        $3,460.80

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                Creditor Name and Address               Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                              Amount                                                       Amount
VITAL MATERIALS CO LIMITED
C/O BERNSTEIN-BURKLEY PC
707 GRANT ST STE 2200
PITTSBURGH, PA 15219                                      4125     6/1/2015    Exide Technologies, LLC                                                                             $0.00                               $0.00
AT&T SERVICES INC AND ITS AFFILIATED ENTITIES
ATTN JAMES W GRUDUS, ESQ
GENERAL ATTORNEY
ONE AT&T WAY RM 3A115
BEDMINSTER, NJ 07921                                      4126     6/1/2015    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
AT&T SERVICES INC AND ITS AFFILIATED ENTITIES
ATTN JAMES W GRUDUS, ESQ
GENERAL ATTORNEY
ONE AT&T WAY RM 3A115
BEDMINSTER, NJ 07921                                      4127     6/1/2015    Exide Technologies, LLC                                                                                        Unliquidated             $0.00
ORACLE CORP & ITS AFFILIATES ORACLE CREDIT CORP &
ORACLE AMERICA INC SUCCESSOR IN INTEREST ET AL
C/O BUCHALTER NEMER PC
ATTN SHAWN CHRISTIANSON ESQ
55 SECOND ST 17TH FL
SAN FRANCISCO, CA 94105                                   4128     6/1/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
BENJAMIN ALBERT CHANG
9206 WILD SPRUCE DR
FREDERICKSBRG, VA 22407-9255                              4129     6/1/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
RICARDO SANTOS
89 BIRNAMWOOD DR
BURNSVILLE, MN 55337                                      4130     6/1/2015    Exide Technologies, LLC                                       $0.00                                                                     $0.00
VITAL MATERIALS CO LIMITED
C/O BERNSTEIN-BURKLEY PC
707 GRANT ST STE 2200
PITTSBURGH, PA 15219                                      4131     6/2/2015    Exide Technologies, LLC                                                                             $0.00                               $0.00
ELSEVIER GLOBAL LEGAL COLLECTIONS DEPARTMENT
21GRE012B
PO BOX 1270
1000 BG AMSTERDAM THE NETHERLANDS

NETHERLANDS                                               4132     6/2/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
JASON MILLER
2624 MAPLE AVE
PALMYRA, NY 14522                                         4133     6/4/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
MARK S WEISSMAN
17316 CHENANGO LN
TAMPA, FL 33647                                           4134     6/4/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PAPE MACHINERY INC
2430 GRAND AVE
SACRAMENTO, CA 95838                                      4135     6/4/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                                  4136    6/12/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
SAMMIE SMITH
PO BOX 3168
SUMTER, SC 29151                                 4137    6/16/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ANDIS WOOD PRODUCTS INC
13129 SMITH CREEK RD
BRISTOL, VA 24202                                4138    6/23/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISON
PO BOX 280946
HARRISBURG, PA 17128-0946                        4139    6/23/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING
NORTH AMERICA INC ET AL
C/O FROST BROWN TODD LLC
ATTN ROBERT V SARTIN, ESQ
150 3RD AVE S STE 1900
NASHVILLE, TN 37201                              4140    6/25/2015    Exide Technologies, LLC        $3,564,286.88                                                                                     $3,564,286.88
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128-0946                        4141    6/29/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
ADP LLC
ATTN ISABEL FINCH
1851 N RESLER
EL PASO, TX 79912                                4142    6/24/2015    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
PULSETECH PRODUCTS CORPORATION
ATTN TOM BRANSFORD
1100 S KIMBALL AVE
SOUTHLAKE, TX 76092-9009                         4143    7/17/2015    Exide Technologies, LLC             $43,855.00                                                                                     $43,855.00
INDIANA FARM BUREAU INSURANCE
C/O LAW OFFICES OF PATRICK SCANLON P A
203 NE FRONT ST STE 101
MILFORD, DE 19963                                4144    7/29/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               4145     8/3/2015    Exide Technologies, LLC            $241,963.83                                                                                    $241,963.83
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               4146     8/3/2015    Exide Technologies, LLC        $1,118,223.91                                                                                     $1,118,223.91
WEBER PAPER COMPANY
ATTN DOUGLAS M HENRY
200 SECURITY BUILDING
151 W EIGHTH ST
DUBUQUE, IA 52001                                4147     8/4/2015    Exide Technologies, LLC             $10,500.00                                                                                     $10,500.00




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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                              Amount                                                       Amount
QUALITY POWER SOLUTIONS LLC
C/O BOARDMAN & CLARK LLP
ATTN JOSH C KOPP
1 S PINCKNEY ST STE 410
MADISON, WI 53701                                         4148     8/7/2015    Exide Technologies, LLC            $17,464.49                                                                                     $17,464.49
INDIANA FARM BUREAU INSURANCE
C/O LAW OFFICES OF PATRICK SCANLON PA
203 NE FRONT ST STE 101
MILFORD, DE 19963                                         4149    8/18/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
INDIANA FARM BUREAU INSURANCE
C/O LAW OFFICES OF PATRICK SCANLON PA
203 NE FRONT ST STE 101
MILFORD, DE 19963                                         4150    8/18/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
INDIANA FARM BUREAU INSURANCE
C/O LAW OFFICES OF PATRICK SCANLON PA
203 NE FRONT ST STE 101
MILFORD, DE 19963                                         4151    8/18/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MK TECHNOLOGIES INC DBA OMEGA CONTROLS INC
C/O OMEGA CONTROLS INC
PO BOX 275
VAN BUREN, AR 72957                                       4152    8/20/2015    Exide Technologies, LLC            $29,366.00                                                                                     $29,366.00
K&L ELECTRICAL INC FKA MILLER ELECTRIC SUPPLY INC
C/O O'CONNOR & THOMAS PC
ATTN TONYA TRUMM
700 LOCUST ST STE 200
DUBUQUE, IA 52001                                         4153     9/1/2015    Exide Technologies, LLC             $4,500.00                                                                                      $4,500.00
THE WILMINGTON IRON AND METAL COMPANY INC
C/O COOLIDGE WALL CO LPA
ATTN PATRICIA J FRIESINGER
33 W FIRST ST STE 200
DAYTON, OH 45402                                          4154    9/21/2015    Exide Technologies, LLC             $5,720.92                                                                                      $5,720.92
MERCHANT & GOULD PC
C/O LINDQUIST & VENNUM LLP
ATTN GEORGE H SINGER
80 S 8TH ST STE 4200
MINNEAPOLIS, MN 55402                                     4155    10/8/2015    Exide Technologies, LLC            $14,000.00                                                                                     $14,000.00
T-MOBILE USA INC
C/O ALSTON & BIRD LLP
ATTN SAGE M SIGLER
1201 W PEACHTREE ST NW
ATLANTA, GA 30309                                         4156    10/9/2015    Exide Technologies, LLC             $8,000.00                                                                                      $8,000.00
STONCOR GROUP INC BY AND THROUGH ITS
STONHARD DIVISION
C/O CAPEHART & SCATCHARD PA (SIS)
8000 MIDLANTIC DR STE 300-S
MT LAUREL, NJ 08054                                       4157    10/20/2015   Exide Technologies, LLC            $16,688.00                                                                                     $16,688.00




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               Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
STONCOR GROUP INC BY AND THROUGH ITS
STONHARD DIVISION
C/O CAPEHART & SCATCHARD PA (SIS)
8000 MIDLANTIC DR STE 300-S
MT LAUREL, NJ 08054                                    4158    10/20/2015   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GOFF INDUSTRIAL ELECTRICAL INC
PO BOX 158
DYER, AR 72935                                         4159    10/27/2015   Exide Technologies, LLC            $13,750.00                                                                                     $13,750.00
LVP 11301 INDUSTRIPLEX LLC
C/O RONALD GELLERT
1201 N. ORANGE STREET, SUITE 300
WILMINGTON, DE 19801                                   4160    11/4/2015    Exide Technologies, LLC             $1,000.00                                                                                      $1,000.00
ACCESS TCA INC
C/O MIRICK O'CONNELL DEMALLIE & LOUGEE LLP
ATTN PAUL W CAREY, ESQ
100 FRONT ST
WORCESTER, MA 01608                                    4161    11/23/2015   Exide Technologies, LLC            $31,000.00                                                                                     $31,000.00
VSS LLC
ATTN BILL GROTHE
303 BRAME RD
RIDGELAND, MS 39157                                    4162    11/25/2015   Exide Technologies, LLC            $16,000.00                                                                                     $16,000.00
ACCESS TCA INC
C/O MIRICK O'CONNELL DEMALLIE & LOUGEE LP
ATTN PAUL W CAREY, ESQ
100 FRONT ST
WORCESTER, MA 01608                                    4163    11/30/2015   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SOUTHERN COUNTIES OIL CO A LIMITED PARTNERSHIP
DBA SC FUELS
ATTN LEGAL DEPT
1800 W KATELLA AVE STE 400
ORANGE, CA 92867                                       4164    11/30/2015   Exide Technologies, LLC             $3,250.00                                                                                      $3,250.00
SOUTHERN COUNTIES OIL CO
A CALIFORNIA LIMITED PARTNERSHIP DBA SC FUELS
ATTN LEGAL DEPARTMENT
1800 W KATELLA AVE STE 400
ORANGE, CA 92867                                       4165    12/1/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACCESS TCA INC
C/O MIRICK O'CONNELL DEMALLIE & LOUGEE LLP
ATTN PAUL W CAREY, ESQ
100 FRONT ST
WORCESTER, MA 01608                                    4166    12/4/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
GEOTECHNOLOGY INC
11816 LACKLAND RD STE 150
ST LOUIS, MO 63146                                     4167    12/7/2015    Exide Technologies, LLC            $11,718.00                                                                                     $11,718.00
ACCESS TCA INC
C/O MIRICK O'CONNELL DEMALLIE & LOUGEE LLP
ATTN PAUL W CAREY, ESQ
100 FRONT ST
WORCESTER, MA 01608                                    4168    12/16/2015   Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                           Amount                                                        Amount
SECURITAS SECURITY SERVICES USA INC
C/O BEALL & BURKHARDT APC
ATTN CARISSA N HOROWITZ
1114 STATE ST STE 200
SANTA BARBARA, CA 93101                                4169    12/22/2015   Exide Technologies, LLC            $204,062.26                                                                                     $204,062.26
UNITED BATTERY SYSTEMS INC
C/O SHAW LAW GROUP
ATTN DAVID D SHAW, ATTORNEY
421 SW 6TH AVE STE 1150
PORTLAND, OR 97204                                     4170    1/28/2016    Exide Technologies, LLC             $15,500.00                                                                                      $15,500.00
FISCHER PROCESS INDUSTRIES
155 COMMERCE BLVD
LOVELAND, OH 45140                                     4171     2/4/2016    Exide Technologies, LLC                    $0.00                                                                                         $0.00
UNITED BATTERY SYSTEMS INC
C/O SHAW LAW GROUP
ATTN DAVID D SHAW, ATTORNEY
421 SW 6TH AVE STE 1150
PORTLAND, OR 97204                                     4172     2/3/2016    Exide Technologies, LLC                    $0.00                                                                                         $0.00
COMMERCIAL METALS COMPANY
C/O WICK PHILLIPS GOULD & MARTIN LLP
ATTN JASON RUDD
3131 MCKINNEY AVE STE 100
DALLAS, TX 75204                                       4173    5/27/2016    Exide Technologies, LLC             $81,250.00                                                                                      $81,250.00
BRANDENBURG INDUSTRIAL SERVICE COMPANY
ATTN LYNN JASINOWSKI
501 W LAKE ST STE 104
ELMHURST, IL 60126                                     4174     6/9/2016    Exide Technologies, LLC             $67,000.00                                                                                      $67,000.00
BREHOB CORPORATION
C/O RUBIN & LEVIN PC
ATTN JOHN C HOARD
135 N PENNSYLVANIA ST STE 1400
INDIANAPOLIS, IN 46204                                 4175    6/23/2016    Exide Technologies, LLC             $16,611.00                                                                                      $16,611.00
DELMARVA MOTOR ACCEPTANCE CORP
10977 STATE ST UNIT 5
DELMAR, DE 19940                                       4176    8/23/2016    Exide Technologies, LLC                                                          $0.00                                                   $0.00
MISSOURI DEPARTMENT OF REVENUE
ATTN HEATHER MCDONALD
BOX 475
JEFFERSON CITY, MO 65105                               4177    9/12/2016    Exide Technologies, LLC                    $0.00                                                                        $0.00            $0.00
RESIDENT
5915 LUDELL ST
BELL GARDENS, CA 90201-4027                            4178    11/10/2016   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
DC POWER SOLUTIONS INC FBDA TIMA POWER SYSTEMS
C/O KEMPINSKY LAW LTD
11111 SANTA MONICA BLVD STE 1700
LOS ANGELES, CA 90025                                  4179    2/10/2017    Exide Technologies, LLC             $10,000.00                                                                                      $10,000.00
DC POWER SOLUTIONS INC FDBA TIMA POWER SYSTEMS
C/O KEMPINKSY LAW LTD
11111 SANTA MONICA BLVD STE 1700
LOS ANGELES, CA 90025                                  4180    2/17/2017    Exide Technologies, LLC                    $0.00                                                                                         $0.00

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                                                                                                       Current General                                            Current 503(b)(9)
                                                                                                                            Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                     Amount
LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
PO BOX 54110
LOS ANGELES, CA 90054-0110                             4181    7/19/2018    Exide Technologies, LLC                                                 $179,381.06                                            $179,381.06
John Deere Financial
c/o Weltman, Weinberg and Reis Co., LPA
965 Keynote Circle
Brooklyn Hts, OH 44131                                 4182    11/20/2019   Exide Technologies, LLC            $21,084.23                                                                                   $21,084.23
John Deere Financial, f.s.b.
P.O. Box 6600
Johnston, IA 50131                                     4183    11/20/2019   Exide Technologies, LLC            $21,084.23                                                                                   $21,084.23




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